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                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF VIRGINIA
                                             RICHMOND DIVISION

 ------------------------------------------------------------ x
                                                              :
 In re                                                        :                  Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :                  Case No. 20–32181 (KLP)
                                                              :
                                                   1
                                        Debtors.              :                  (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x

                        PROPOSED DISCLOSURE STATEMENT FOR
         JOINT PREARRANGED CHAPTER 11 PLAN OF REORGANIZATION OF CHINOS
        HOLDINGS, INC. AND ITS AFFILIATED DEBTORS (WITH TECHNICAL CHANGES)

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     and Debtors in Possession                                              and Debtors in Possession

     June 11, 2020
     Richmond, Virginia



      THIS IS NOT A SOLICITATION OF VOTES OF ACCEPTANCE OR REJECTION BY THE
      DEBTORS OF THE PLAN. ACCEPTANCES OR REJECTIONS WILL NOT BE SOLICITED
      UNTIL A DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
      COURT. THE DEBTORS RESERVE THE RIGHT TO AMEND, SUPPLEMENT, OR
      OTHERWISE MODIFY THIS DISCLOSURE STATEMENT BEFORE THE DISCLOSURE
      STATEMENT HEARING.



 1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
       applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos Intermediate, Inc. (3871);
       Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew Operating Corp. (0930); Grace Holmes,
       Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew International, Inc. (2712); J. Crew Virginia, Inc. (5626);
       Madewell Inc. (8609); J. Crew Brand Holdings, LLC (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC
       (1647); J. Crew Brand Corp. (1616); J. Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471).
       The Debtors’ corporate headquarters and service address is 225 Liberty St., New York, NY 10281.




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  THE DEADLINE TO VOTE TO ACCEPT OR REJECT THE PLAN IS 5:00 P.M., EASTERN
  TIME, ON [●], 2020, UNLESS EXTENDED BY THE COURT OR THE DEBTORS.

  THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS OR
  INTERESTS MAY VOTE ON THE PLAN IS [●], 2020 (THE “VOTING RECORD DATE”).


                                  RECOMMENDATION BY THE DEBTORS

  THE DEBTORS RECOMMEND THAT ALL CREDITORS WHOSE VOTES ARE BEING
  SOLICITED SUBMIT BALLOTS TO ACCEPT THE PLAN.




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 HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF
 THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR
 TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISORS BEFORE VOTING
 ON THE PLAN.

 THE OFFER, ISSUANCE, AND DISTRIBUTION OF THE NEW COMMON SHARES ISSUED
 ON ACCOUNT OF ALLOWED TERM LOAN SECURED CLAIMS (AS DEFINED IN THE PLAN)
 AND ALLOWED IPCO NOTES CLAIMS (AS DEFINED IN THE PLAN) AND AS BACKSTOP
 PREMIUM (AS DEFINED IN THE PLAN) WILL BE EXEMPT FROM REGISTRATION UNDER
 THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), AND ANY
 OTHER APPLICABLE SECURITIES LAWS PURSUANT TO SECTION 1145 OF THE
 BANKRUPTCY CODE. THESE SECURITIES MAY BE RESOLD WITHOUT REGISTRATION
 UNDER THE SECURITIES ACT, AND ALL RULES AND REGULATIONS PROMULGATED
 THEREUNDER, AND ANY STATE OR LOCAL LAW REQUIRING REGISTRATION FOR THE
 OFFER, ISSUANCE, OR DISTRIBUTION OF SECURITIES. THESE SECURITIES SHALL BE
 FREELY TRADABLE BY THE RECIPIENTS THEREOF, SUBJECT TO: (I) THE HOLDER NOT
 BEING AN “UNDERWRITER” WITH RESPECT TO SUCH SECURITIES, AS THAT TERM IS
 DEFINED IN SECTION 1145(B) OF THE BANKRUPTCY CODE OR AN “AFFILIATE” OF THE
 REORGANIZED DEBTOR THAT ISSUED SUCH SECURITIES; (II) COMPLIANCE WITH ANY
 RULES AND REGULATIONS OF THE SECURITIES AND EXCHANGE COMMISSION
 APPLICABLE AT THE TIME OF ANY FUTURE TRANSFER OF SUCH SECURITIES OR
 INSTRUMENTS; (III) ANY RESTRICTIONS ON THE TRANSFERABILITY OF THE NEW
 COMMON SHARES CONTAINED IN THE STOCKHOLDERS AGREEMENT; AND
 (IV) APPLICABLE REGULATORY APPROVAL.

 THE OFFER, ISSUANCE, AND DISTRIBUTION OF THE NEW EQUITY ALLOCATION AND
 THE NEW WARRANTS TO THE NEW TERM LENDERS ARE BEING MADE IN RELIANCE
 ON THE EXEMPTION FROM REGISTRATION SET FORTH IN SECTION 4(a)(2) OF THE
 SECURITIES ACT AND REGULATION D THEREUNDER. SUCH SECURITIES TOGETHER
 WITH THE SHARES OF NEW COMMON SHARES ISSUABLE UPON EXERCISE OF THE
 NEW WARRANTS SHALL BE CONSIDERED “RESTRICTED SECURITIES” AND MAY NOT
 BE TRANSFERRED EXCEPT PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT
 OR UNDER AN AVAILABLE EXEMPTION FROM THE REGISTRATION REQUIREMENTS
 OF THE SECURITIES ACT SUCH AS, UNDER CERTAIN CONDITIONS, THE RESALE
 PROVISIONS OF RULE 144 OF THE SECURITIES ACT. ADDITIONALLY, THE NEW
 WARRANTS ARE SUBJECT TO ANY RESTRICTIONS ON THE TRANSFERABILITY OF
 SUCH NEW WARRANTS CONTAINED IN THE WARRANT AGREEMENT.

 THE AVAILABILITY OF THE EXEMPTION UNDER SECTION 1145 OF THE BANKRUPTCY
 CODE, SECTION 4(A)(2) OF THE SECURITIES ACT, OR ANY OTHER APPLICABLE
 SECURITIES LAWS WILL NOT BE A CONDITION TO THE OCCURRENCE OF THE
 EFFECTIVE DATE.

 THE NEW COMMON SHARES AND NEW WARRANTS HAVE NOT BEEN APPROVED OR
 DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR BY
 ANY STATE SECURITIES COMMISSION OR SIMILAR PUBLIC, GOVERNMENTAL, OR
 REGULATORY AUTHORITY, AND NEITHER THE SEC NOR ANY SUCH AUTHORITY HAS
 PASSED UPON THE ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED IN
 THIS DISCLOSURE STATEMENT OR UPON THE MERITS OF THE PLAN.          ANY
 REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.


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 CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT, INCLUDING
 STATEMENTS    INCORPORATED     BY    REFERENCE,   PROJECTED    FINANCIAL
 INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
 ESTIMATES AND ASSUMPTIONS.        CERTAIN OF THESE FORWARD-LOOKING
 STATEMENTS CAN BE IDENTIFIED BY THE USE OF WORDS SUCH AS “BELIEVES,”
 “EXPECTS,” “PROJECTS,” “INTENDS,” “PLANS,” “ESTIMATES,” “ASSUMES,” “MAY,”
 “SHOULD,” “WILL,” “SEEKS,” “ANTICIPATES,” “OPPORTUNITY,” “PRO FORMA,”
 “PROJECTIONS,” OR OTHER SIMILAR EXPRESSIONS AND VARIATIONS OF SUCH
 WORDS. THERE CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL BE
 REFLECTIVE OF ACTUAL OUTCOMES. FORWARD-LOOKING STATEMENTS ARE
 PROVIDED IN THIS DISCLOSURE STATEMENT PURSUANT TO THE SAFE HARBOR
 ESTABLISHED UNDER THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995
 AND SHOULD BE EVALUATED IN THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS,
 UNCERTAINTIES, AND RISKS DESCRIBED HEREIN.

 NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR APPROVED THE
 LIQUIDATION ANALYSIS HEREIN.

 ALL PARTIES ENTITLED TO VOTE ARE ADVISED AND ENCOURAGED TO READ THE
 DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE VOTING TO
 ACCEPT OR REJECT THE PLAN. THE PLAN SUMMARIES AND STATEMENTS MADE IN
 THIS DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE
 TO THE PLAN AND THE EXHIBITS ATTACHED TO THE PLAN AND THIS DISCLOSURE
 STATEMENT. THE TERMS OF THE PLAN GOVERN IN THE EVENT OF ANY
 INCONSISTENCY WITH THE SUMMARIES IN THIS DISCLOSURE STATEMENT.

 THE DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH SECTION
 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016 AND NOT
 NECESSARILY IN ACCORDANCE WITH OTHER NON-BANKRUPTCY LAW.

 THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED SOLELY
 FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR IN CONNECTION
 WITH CONFIRMATION OF THE PLAN. NOTHING IN THIS DISCLOSURE STATEMENT
 MAY BE USED BY ANY PARTY FOR ANY OTHER PURPOSE.

 ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO AND ARE
 A PART OF THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.

  PLEASE BE ADVISED THAT SECTIONS 10.6, 10.7, AND 10.8 OF THE PLAN CONTAIN
  RELEASE, EXCULPATION AND INJUNCTION PROVISIONS. YOU SHOULD REVIEW
  AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS MAY BE AFFECTED.




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 EXHIBIT A: Plan
 EXHIBIT B:         Financial Projections
 EXHIBIT C: Liquidation Analysis
 EXHIBIT D: Valuation Analysis




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                                                           I.
                                                     INTRODUCTION

          Chinos Holdings, Inc. (“Chinos Holdings”) and its debtor affiliates (collectively, the “Debtors”)
 submit this joint disclosure statement (the “Disclosure Statement”) in connection with the solicitation of
 votes on the Joint Prearranged Chapter 11 Plan of Reorganization of Chinos Holdings, Inc. and Its
 Affiliated Debtors, (the “Plan”) 2, attached hereto as Exhibit A. The Debtors commenced their chapter 11
 cases (the “Chapter 11 Cases”) in the United States Bankruptcy Court for the Eastern District of Virginia
 (the “Bankruptcy Court”) on May 4, 2020 (the “Petition Date”).

         The purpose of this Disclosure Statement, including the exhibits annexed hereto, is to provide
 information of a kind, and in sufficient detail, to enable creditors of the Debtors that are entitled to vote on
 the Plan to make an informed decision on whether to vote to accept or reject the Plan. This Disclosure
 Statement contains summaries of the Plan, explanation of certain statutory provisions, events contemplated
 in the Chapter 11 Cases, and certain documents related to the Plan.

          On May 3, 2020, after extensive arm’s-length, good faith negotiations overseen by an independent
 special committee, the Debtors and certain of their stakeholders executed a transaction support agreement
 (the “Transaction Support Agreement”), attached as Exhibit B to the Declaration of Michael J. Nicholson
 In Support of Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 6]. Specifically, the
 following stakeholders executed the Transaction Support Agreement: (i) certain holders of Term Loans,
 IPCo Notes, Series A Preferred Stock, and Common Stock (each as defined herein) (collectively, with any
 subsequent joinders, the “Consenting Support Parties”) and (ii) the prepetition equity sponsors composed
 of funds managed or affiliated with TPG Capital LP (“TPG”) and Leonard Green & Partners LP (“LGP”
 and together with TPG, the “Sponsors”). As of June 11, 2020, Consenting Support Parties and Sponsors
 holding approximately 96% of the Term Loans, 100% of the IPCo Notes, 85% of Series A Preferred Stock,
 and 89% of the Common Stock are party to the Transaction Support Agreement. Under the terms of the
 Transaction Support Agreement, the Consenting Support Parties, the Sponsors, and the Debtors agreed to
 the series of transactions set forth in the Plan and described herein (the “Restructuring”).

         The Restructuring is expected to materially de-leverage the Debtors’ balance sheet, thereby
 positioning the Debtors to successfully compete in the retail industry. The Restructuring is also expected
 to enhance the Debtors’ long-term growth prospects and allow them to focus on operational performance
 and value creation.

 The material terms of the Plan are summarized below:

         Each holder of an Allowed ABL Facility Claim will receive cash in the full amount of its Allowed
          ABL Facility Claim. 3

         Each holder of an Allowed Term Loan Secured Claim will receive its pro rata share of the common
          shares of Reorganized Chinos Holdings (the “New Common Shares”) representing, in the
          aggregate, 76.5% of the New Common Shares issued on the Effective Date remaining after
          distribution on account of the Backstop Premium and the New Equity Allocation, and of any other

 2   Capitalized terms used in this Disclosure Statement, but not defined herein, have the meanings ascribed to them in the Plan.
     To the extent any inconsistencies exist between this Disclosure Statement and the Plan, the Plan shall govern in all respects.
     Figures referenced in this Disclosure Statement are as of the Petition Date unless otherwise expressly provided.

 3   Pursuant to the terms of the ABL Credit Agreement, the existing commitments under the ABL Credit Agreement were
     terminated automatically upon the Petition Date.




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          New Common Shares distributed pursuant to the Plan (other than the New Common Shares
          distributed to holders of IPCo Notes Claims as described below), subject to dilution from New
          Common Shares (i) issuable upon exercise of the New Warrants, (ii) issued pursuant to the
          Management Incentive Plan, and (iii) otherwise issued by the Reorganized Debtors after the
          Effective Date, including the Incremental Debt Equity.

         Each holder of an Allowed IPCo Notes Claim will receive its pro rata share of New Common
          Shares representing, in the aggregate, 23.5% of the New Common Shares issued on the Effective
          Date remaining after distribution on account of the Backstop Premium, the New Equity Allocation,
          and of any other New Common Shares distributed pursuant to the Plan (other than the New
          Common Shares distributed to holders of Term Loan Secured Claims as described above), subject
          to dilution from New Common Shares (i) issuable upon exercise of the New Warrants, (ii) issued
          pursuant to the Management Incentive Plan, and (iii) otherwise issued by the Reorganized Debtors
          after the Effective Date, including the Incremental Debt Equity.

         Each holder of a general unsecured claims that will provide goods and services necessary to the
          operation of the Reorganized Debtors, as determined by the Debtors in consultation with the
          Requisite Consenting Support Parties 4 (the “Ongoing Trade Claims”) and that has executed a
          trade agreement that expressly designates such party as a holder of an Ongoing Trade Claim, 5 will
          on the Effective Date receive its pro rata share of $71 million in cash; provided that the aggregate
          amount of cash distributed on account of any Ongoing Trade Claim will not exceed 50% of the
          allowed amount of such Claim.

         Holders of Other General Unsecured Claims, which include rejection damages claims and the Term
          Loan Deficiency Claims, 6 will, on the Effective Date, receive their pro rata share of cash allocable
          to the applicable Debtor from a cash pool that will aggregate (a) $3 million if the class votes to
          accept the Plan and (b) $1 million if the class votes to reject the Plan; provided, that the aggregate
          amount of cash distributed on account of any Other General Unsecured Claim will not exceed 50%
          of the allowed amount of such Claim.

         On the Effective Date, all Existing Holdings Preferred Equity and Existing Holdings Equity shall
          be cancelled and will be of no further force and effect, regardless of whether surrendered for
          cancellation.

         In addition to supporting the Plan, certain Consenting Support Parties (in such capacity, the “DIP
 Lenders”) have committed to provide the Debtors with debtor-in-possession financing pursuant to a term
 loan facility in an aggregate principal amount of up to $400,000,000 (the “DIP Facility”, and the Debtors’
 obligations thereunder, the “DIP Obligations”). On May 3, 2020, certain of the Consenting Support Parties
 (in such capacity, the “Backstop Parties”) executed that certain Backstop Commitment Letter (as the same
 may be amended from time to time, the “Backstop Commitment Letter”), committing to backstop the

 4   Pursuant to the Transaction Support Agreement, “Requisite Consenting Support Parties” means, as of the date of
     determination, Consenting Support Parties (excluding the Sponsors), holding at least two-thirds in aggregate principal amount
     of Term Loans and IPCo Notes, taken together, held by all Consenting Support Parties.

 5   Such agreements obligate the holders of Ongoing Trade Claims to provide goods and services to the Reorganized Debtors for
     a period of at least 365 days after the Effective Date on terms no less favorable to the Debtors than those in place for the year
     before the Petition Date, except as otherwise agreed by the Debtors with the consent of the Requisite Consenting Support
     Parties (such consent not to be unreasonably withheld).

 6   As a gift to holders of Other General Unsecured Claims, holders of Term Loan Claims will forgo their entitled distribution on
     account of Term Loan Deficiency Claims, subject to occurrence of the Effective Date and solely for purposes of the Plan.


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 DIP Facility and to provide, if necessary, the Additional New Term Loans (as defined in the Transaction
 Support Agreement).

         The Debtors expect to conduct these chapter 11 cases on an expedited timeline to preserve and
 maximize the going-concern value of their estates. The Transaction Support Agreement reflects, among
 other things, the mutual commitment by the Debtors and their economic stakeholders to pursue the
 following timeline (subject to the Bankruptcy Court’s availability):

                  Milestone                              Transaction Support Agreement Deadline
   Entry of Disclosure Statement Order          Within 70 calendar days of the Petition Date
                                                (i.e., by July 13, 2020)
   Begin Solicitation of the Plan               Within 80 calendar days of the Petition Date
                                                (i.e., by July 23, 2020)
   Entry of Confirmation Order                  Within 120 calendar days of the Petition Date
                                                (i.e., by September 1, 2020)
   Effective Date                               Within 130 calendar days after the Petition Date
                                                (i.e., by September 11, 2020)

                    THE DEBTORS URGE ALL HOLDERS OF CLAIMS ENTITLED
                     TO VOTE ON THE PLAN TO VOTE TO ACCEPT THE PLAN

                   Summary of Plan Classification and Treatment of Claims and Interests

          Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are entitled
 to vote on a chapter 11 plan (unless, for reasons discussed in more detail below, such holders are deemed
 to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code). Under section 1124 of the
 Bankruptcy Code, a class of claims or interests is deemed to be “impaired” unless the plan leaves unaltered
 the legal, equitable, and contractual rights to which such claim or interest entitles the holder thereof or
 notwithstanding any legal right to an accelerated payment of such claim or interest, a plan, among other
 things, cures all existing defaults (other than defaults resulting from the occurrence of events of bankruptcy)
 and reinstates the maturity of such claim or interest as it existed before the default.

          The following table summarizes (i) the treatment of Claims and Interests under the Plan, (ii) which
 Classes are impaired by the Plan, (iii) which Classes are entitled to vote on the Plan, and (iv) the estimated
 recoveries for holders of Claims and Interests. The table is qualified in its entirety by reference to the full
 text of the Plan. For a more detailed summary of the terms and provisions of the Plan, see Article VI—
 Summary of the Plan, below.




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                                                                                                 Impairment
                                                                                                                 Estimated Allowed
                Claim or                                                                             and
Class                                                    Treatment                                                  Amount and
              Equity Interest                                                                    Entitlement
                                                                                                                Percentage Recovery 7
                                                                                                   to Vote
     1      Priority Non-Tax      Except if a holder of an Allowed Priority Non-Tax Claim        Unimpaired      Estimated Allowed
            Claims (All           agrees to a less favorable treatment of such Claim, in full                    Amount: $250,000
            Debtors)              and final satisfaction, settlement, release, and discharge     Not Entitled
                                  of, and in exchange for, such Allowed Priority Non-Tax           to Vote      Estimated Percentage
                                  Claim, at the sole option of the Reorganized Debtors,          (Presumed        Recovery: 100%
                                  (i) each such holder shall receive payment in cash in an        to accept)
                                  amount equal to the Allowed amount of such Claim,
                                  payable on the later of the Effective Date and the date
                                  that is 10 business days after the date on which such
                                  Priority Non-Tax Claim becomes an Allowed Priority
                                  Non-Tax Claim, or as soon thereafter as is reasonably
                                  practicable, (ii) such holder’s Allowed Priority Non-Tax
                                  Claim shall be Reinstated, or (iii) such holder shall
                                  receive such other treatment consistent with
                                  section 1129(a)(9) of the Bankruptcy Code so as to
                                  render such holder’s Allowed Priority Non-Tax Claim
                                  Unimpaired.
     2      Other Secured         Except if a holder of an Allowed Other Secured Claim           Unimpaired      Estimated Allowed
            Claims (All           agrees to a less favorable treatment of such Claim, in full                   Amount: Non-Material
            Debtors)              and final satisfaction, settlement, release, and discharge     Not Entitled    and Undetermined
                                  of, and in exchange for, such Allowed Other Secured              to Vote
                                  Claim, at the option of the Reorganized Debtors, on the        (Presumed      Estimated Percentage
                                  later of the Effective Date and the date that is 10 business    to accept)      Recovery: 100%
                                  days after the date such Other Secured Claim becomes
                                  an Allowed Claim, or as soon thereafter as is reasonably
                                  practicable, each holder of an Allowed Other Secured
                                  Claim shall receive on account of such Allowed Claim
                                  (i) cash in an amount equal to the Allowed amount of
                                  such Claim, (ii) delivery of the collateral securing such
                                  Allowed Claim and cash for any interest required under
                                  section 506(b) of the Bankruptcy Code, or
                                  (iii) Reinstatement or such other treatment that will
                                  render such holder’s Allowed Other Secured Claim
                                  Unimpaired. If an Other Secured Claim is treated under
                                  clauses (i) or (ii), the Liens securing such Other Secured
                                  Claim shall be deemed released immediately upon
                                  payment or delivery of collateral, as applicable.
     3      ABL Facility          Except if a holder of an Allowed ABL Facility Claim            Unimpaired      Estimated Allowed
            Claims (Only Loan     agrees to a less favorable treatment of such Claim, in full                   Amount: $309,093,952
            Debtors)              and final satisfaction, settlement, release, and discharge     Not Entitled    plus $63,960,717 of
                                  of, and in exchange for, each Allowed ABL Facility               to Vote          letter of credit
                                  Claim, each holder of an Allowed ABL Facility Claim            (Presumed            obligations
                                  will receive, on the Effective Date, cash in the full           to accept)
                                  amount of its Allowed ABL Facility Claim and all issued                       Estimated Percentage
                                  and outstanding letters of credit shall be cash                                 Recovery: 100%
                                  collateralized in accordance with the terms and
                                  conditions of the ABL Credit Agreement. To the extent
                                  that any ABL Facility Claim is contingent as of the
                                  Effective Date, the Reorganized Debtors may, in their

 7       Estimated amounts are as of the date hereof and are subject to material change. Recovery percentages presented on account
         of Term Loan Secured Claims and IPCo Notes Claims do not reflect the estimated value of securities issued in consideration
         of capital committed by Backstop Parties or Electing Subsequent Consenting Support Parties (as defined in the Transaction
         Support Agreement). In addition, the estimated amount of the Term Loan Secured Claims and of the percentage recovery for
         Term Loan Secured Claims and IPCo Notes Claims each assume New Common Shares having value based on a transaction
         enterprise value of $1.75 billion.


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                                                                                              Impairment
                                                                                                              Estimated Allowed
             Claim or                                                                             and
Class                                                  Treatment                                                 Amount and
           Equity Interest                                                                    Entitlement
                                                                                                             Percentage Recovery 7
                                                                                                to Vote
                                sole discretion, elect to (i) terminate any further
                                commitments under the ABL Facility, (ii) cash
                                collateralize such contingent amounts, or (iii) provide
                                the ABL Lenders with such other treatment mutually
                                satisfactory.
  4      Term Loan Secured      Except if a holder of an Allowed Term Loan Secured             Impaired       Estimated Allowed
         Claims (Only Loan      Claim agrees to a less favorable treatment of such Claim,                    Amount: $716,645,605
         Debtors)               in full and final satisfaction, settlement, release, and       Entitled to
                                discharge of, and in exchange for, its Allowed Term              Vote        Estimated Percentage
                                Loan Secured Claim, each holder of an Allowed Term                             Recovery: 100%
                                Loan Secured Claim will receive, on the Effective Date,
                                its Pro Rata share of New Common Shares representing,
                                in the aggregate, 76.5% of the New Common Shares
                                issued on the Effective Date remaining after distributing
                                the Backstop Premium, the New Equity Allocation, and
                                any other New Common Shares distributed pursuant to
                                the Plan other than the New Common Shares distributed
                                to holders of IPCo Notes Claims, which will be subject
                                to dilution from New Common Shares (i) issuable upon
                                exercise of the New Warrants, (ii) issued pursuant to the
                                Management Incentive Plan, and (iii) otherwise issued
                                by Reorganized Chinos Holdings after the Effective
                                Date, including the Incremental Debt Equity.
  5      IPCo Notes Claims      Except if a holder of an Allowed IPCo Notes Claim              Impaired       Estimated Allowed
         (Only IPCO             agrees to a less favorable treatment of such Claim and                       Amount: $411,668,976
         Debtors)               notwithstanding anything to the contrary in the IPCo           Entitled to
                                Intercreditor Agreement, in full and final satisfaction,         Vote        Estimated Percentage
                                settlement, release, and discharge of, and in exchange                         Recovery: 53.4%
                                for, its Allowed IPCo Notes Claim, each holder of an
                                Allowed IPCo Notes Claim will receive, on the Effective
                                Date, its Pro Rata share of New Common Shares
                                representing, in the aggregate, 23.5% of the New
                                Common Shares issued on the Effective Date remaining
                                after distributing the Backstop Premium, the New Equity
                                Allocation, and any other New Common Shares
                                distributed pursuant to the Plan other than the New
                                Common Shares distributed to holders of Term Loan
                                Secured Claims, subject to dilution from New Common
                                Shares (i) issuable upon exercise of the New Warrants,
                                (ii) issued pursuant to the Management Incentive Plan,
                                and (iii) otherwise issued by Reorganized Chinos
                                Holdings after the Effective Date, including the
                                Incremental Debt Equity.
 6-A     Ongoing Trade          Except if a holder of an Allowed Ongoing Trade Claim           Impaired       Estimated Allowed
         Claims (All            agrees to a less favorable treatment of such Claim, in full                  Amount: $134,934,228
         Debtors)               and final satisfaction, settlement, release, and discharge     Entitled to
                                of, and in exchange for, such Claim, each holder of an           Vote        Estimated Percentage
                                Allowed Ongoing Trade Claim will receive, on the                                Recovery: 50%
                                Effective Date, its Pro Rata share of a cash pool in an
                                aggregate amount equal to $71,000,000; provided that
                                the aggregate amount of cash distributed on account of
                                any Allowed Ongoing Trade Claim will not exceed 50%
                                of the Allowed amount of such Claim.




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                                                                                                Impairment
                                                                                                                Estimated Allowed
                Claim or                                                                            and
Class                                                    Treatment                                                 Amount and
              Equity Interest                                                                   Entitlement
                                                                                                               Percentage Recovery 7
                                                                                                  to Vote
 6-B 8      Other General         Except if a holder of an Allowed Other General                 Impaired       Estimated Allowed
            Unsecured Claims      Unsecured Claim agrees to a less favorable treatment of                        Amount against
            (All Debtors)         such Claim, in full and final satisfaction, settlement,        Entitled to       J. Crew Inc.:
                                  release, and discharge of, and in exchange for, such             Vote             $4,373,607
                                  Claim, each holder of an Allowed Other General
                                  Unsecured Claim will receive, on the Effective Date, its                     Estimated Percentage
                                  Pro Rata share of the cash pool allocated to each Debtor                       Recovery: 1.6%
                                  as set forth in Section 4.7(b) of the Plan; provided that
                                  the aggregate amount of cash distributed on account of
                                  any Allowed Other General Unsecured Claim will not
                                  exceed 50% of the Allowed amount of such Claim. The
                                  cash pool may be reallocated among the Debtors after
                                  the occurrence of the Claims bar date, in their reasonable
                                  business judgement, to recalibrate for, among other                           Estimated Allowed
                                  things, the Claims asserted against each Debtor.                                Amount against
                                                                                                                 J. Crew Operating
                                                                     Cash Pool                                  Corp.: $118,504,008
                                          Debtor           If Class 6-B    If Class 6-B
                                                             Accepts          Rejects                          Estimated Percentage
                                   J. Crew Inc.               $69,000         $23,000                            Recovery: 1.6%
                                   J. Crew Operating                                                            Estimated Allowed
                                                            $1,877,000        $625,900
                                   Corp.                                                                       Amount against Grace
                                   Grace Holmes, Inc.        $399,000         $133,000                             Holmes, Inc.:
                                   H.F.D. No. 55, Inc.       $165,000          $55,000                             $25,161,779
                                   Madewell Inc.             $489,700         $163,000
                                   J. Crew Group,                                                               Estimated Percentage
                                                               $300              $100                             Recovery: 1.6%
                                   Inc.
                                   Total                    $3,000,000       $1,000,000                          Estimated Allowed
                                                                                                               Amount against H.F.D.
                                  The Plan shall be deemed a filed objection for purposes                           No. 55, Inc.:
                                  of section 502 of the Bankruptcy Code to any Claim                                $10,391,449
                                  arising out of or relating to the rejection of an Executory
                                  Contract or Unexpired Lease whose holder is seeking the                      Estimated Percentage
                                  allowance of such Claim in excess of the amounts                               Recovery: 1.6%
                                  allowable under section 502(b) of the Bankruptcy Code.                        Estimated Allowed
                                                                                                                 Amount against
                                  Subject to occurrence of the Effective Date and solely                          Madewell Inc.:
                                  for purposes of the Plan, holders of the Term Loan                               $30,908,575
                                  Deficiency Claims agree to forgo any distribution under
                                  the Plan on account of the $625,475,614 9 of such Term                       Estimated Percentage
                                  Loan Deficiency Claims.                                                         Recovery: 1.6%
                                                                                                                Estimated Allowed
                                                                                                                  Amount against
                                                                                                               J. Crew Group, Inc.:
                                                                                                                     $18,414

                                                                                                               Estimated Percentage
                                                                                                                 Recovery: 1.6%




 8       The estimated allowed amounts included herein (a) exclude rejection damages and the Term Loan Deficiency Claims and
         (b) do not take into account reductions to the Class on account of curing executory contracts and unexpired leases.

 9       Subject to change if the amount of the Term Loan Secured Claims change.


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                                                                                             Impairment
                                                                                                             Estimated Allowed
             Claim or                                                                            and
Class                                                  Treatment                                                Amount and
           Equity Interest                                                                   Entitlement
                                                                                                            Percentage Recovery 7
                                                                                               to Vote
  7      Intercompany           From and after the Effective Date, all Intercompany          Unimpaired      Estimated Allowed
         Claims (for each       Claims, including the PIK Toggle Notes Claim, shall be                         Amount: N/A
         Debtor)                adjusted, continued, settled, Reinstated, discharged,        Not Entitled
                                contributed to capital, or eliminated, in each case to the      to Vote     Estimated Percentage
                                extent determined to be appropriate by the Reorganized       (Presumed         Recovery: N/A
                                Debtors in their sole discretion.                             to accept)
  8      Section 510(b)         On the Effective Date, all Section 510(b) Claims will be       Impaired      Estimated Allowed
         Claims (All            cancelled, released, discharged, and extinguished and                          Amount: N/A
         Debtors)               will be of no further force or effect, and holders of such   Not Entitled
                                claims will not receive any distribution on account of         to Vote      Estimated Percentage
                                such claims.                                                 (Presumed          Recovery: 0%
                                                                                              to reject)
  9      Intercompany           From and after the Effective Date, all Intercompany          Unimpaired      Estimated Allowed
         Interests (All         Interests shall be adjusted, Reinstated, or cancelled, to                      Amount: N/A
         Debtors)               the extent reasonably determined to be appropriate by        Not Entitled
                                the Reorganized Debtors in their sole discretion.              to Vote      Estimated Percentage
                                                                                             (Presumed          Recovery: 0%
                                                                                              to accept)

10-A     Existing Holdings      Holders of Series A Preferred Stock and Series B              Impaired       Estimated Allowed
         Preferred Equity       Preferred Stock (together, the “Existing Holdings                              Amount: N/A
         (Only Chinos           Preferred Equity”) shall not receive or retain any           Not Entitled
         Holdings)              property under the Plan on account of such Existing            to Vote      Estimated Percentage
                                Holdings Preferred Equity. On the Effective Date, all        (Deemed to         Recovery: 0%
                                Existing Holdings Preferred Equity shall be cancelled           reject)
                                and shall be of no further force and effect, regardless of
                                whether surrendered for cancellation.
10-B     Existing Holdings      Holders of equity in Chinos Holdings as of the Petition       Impaired       Estimated Allowed
         Equity (Only           Date except for Existing Holdings Preferred Equity (the                        Amount: N/A
         Chinos Holdings)       “Existing Holdings Equity”) shall not receive or retain      Not Entitled
                                any property under the Plan on account of such Existing        to Vote      Estimated Percentage
                                Holdings Equity. On the Effective Date, all Existing         (Deemed to         Recovery: 0%
                                Holdings Equity shall be cancelled and shall be of no           reject)
                                further force and effect, regardless of whether
                                surrendered for cancellation.


                                                 II.
                                  OVERVIEW OF THE DEBTORS’ BUSINESS

          A.        History and Formation

          Introduced in 1983, the Debtors emerged as a fashion retailer rooted in iconic American style, and,
 in 1989, the Debtors opened their first store in downtown Manhattan with a clothing line targeting working
 professionals. From there, the Debtors began expanding by opening retail locations across the United
 States. In 2006, the Debtors acquired the defunct “Madewell” brand from the brand’s former private
 owners, and later that year, launched their first Madewell store and quickly expanded Madewell stores
 across the United States. The Debtors also began expanding internationally in 2011.

        Although the Debtors began as a privately-held company, the Debtors went public in 2006, with its
 common shares traded on the New York Stock Exchange. In 2011, the Debtors again became a privately-
 held company.



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          B.        Debtors’ Business Operations

         Today, the Debtors are an internationally recognized multi-brand apparel and accessories retailer
 for young professionals and fashion-conscious men and women. With the J. Crew brand recognized as a
 household name for nearly four decades, the Debtors enjoy a strong reputation for providing their customers
 with stylish and quality products. In recent years, the Debtors have also seen fast and innovative growth
 from their Madewell brand, which offers a full product assortment rooted in premium denim and packaged
 in a cool, unexpected, and artful aesthetic.

         The Debtors operate their retail stores under two distinct brands: (a) the J. Crew brand, which is
 the Debtors’ primary global brand used for both J. Crew stores and J. Crew factory outlet stores, and (b) the
 Madewell brand. The Debtors sell their merchandise in stores, online, as well as through partnered
 wholesalers, such as Nordstrom. The differentiation across the business lines allows the Debtors to operate
 multiple store locations in close proximity and to serve a wider demographic.

                    1.          J. Crew Business

          There are approximately 181 J. Crew stores across the world, with the flagship J. Crew retail store
 located in South Street Seaport, Manhattan, where the J. Crew store first opened in 1983. The J. Crew
 brand represents signature “classics with a twist” apparel and accessories, featuring the highest-quality
 style, design, and fabrics with consistent fits and authentic details. J. Crew retail stores are located in
 upscale regional malls, lifestyle centers, and street locations.

          The Debtors also operate approximately 170 J. Crew Factory brand stores related to the J. Crew
 business. First launched in 1988, J. Crew Factory stores offer the same iconic J. Crew style but sold through
 outlet stores instead of traditional retail locations. J. Crew Factory features merchandise with different
 designs, fabrics, and washes than those offered at the regular J. Crew retail stores.

        For fiscal year 2019, revenues from the J. Crew brand, including J. Crew factory stores, totaled
 approximately $1.7 billion or approximately 67.2% of the Debtors’ revenue in fiscal year 2019.

                    2.          Madewell Business

         In 2006, the Debtors introduced the first Madewell store in Dallas, Texas. Initially only featuring
 women’s clothing and accessories, the Debtors’ approximately 140 Madewell stores now offer merchandise
 for both men and women, including jeans and related products, swimwear, accessories, shoes, beauty
 products, and other leather goods. Madewell stores focus on providing customers with a cool, unexpected,
 and artful aesthetic. The Madewell brand has amassed a community of loyal customers and brand
 enthusiasts who actively participate in the brand through (a) Madewell Insider, Madewell’s membership
 loyalty program that offers benefits and deals to loyal customers, (b) store events, such as pop-ups, panels,
 workshops, and charity events, and (c) digital content featured on the Madewell website and social media
 platforms.

        For fiscal year 2019, revenues from the Madewell brand totaled approximately $602 million or
 approximately 23.7% of the Debtors’ revenue in fiscal year 2019. 10




 10   An additional approximately $230 million and 9.1% of the Debtors’ revenue come from wholesale customers and shipping
      and handling fees.


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                    3.          Business Operations and Employees

          Nearly all of the Debtors’ merchandise is sourced either (a) by purchasing directly from
 manufacturing vendors or (b) through the use of buying agents. Like many retailers, the substantial majority
 of the vendors and service providers utilized by the Debtors are based outside of the United States. In fiscal
 year 2019, the Debtors purchased nearly all of their inventory from suppliers located outside of the United
 States. The Debtors have historically done business with over 200 vendors that operate hundreds of
 factories, with the top 10 vendors supplying 32% of the Debtors’ merchandise. The Debtors have strong
 relationships with their vendors, some of which rely upon the Debtors for a significant portion of their
 business and others who advance costs for the Debtors in connection with producing the Debtors’
 merchandise.

          The Debtors source the balance of their merchandise on an order-by-order basis with a select group
 of buying agents that, among other things, identify suitable vendors, place orders with those vendors for
 merchandise on the Debtors’ behalf, manage timely delivery of goods to the Debtors, inspect the finished
 merchandise, and handle vendor communications on the Debtors’ behalf. In an effort to directly source
 and reduce reliance on buying agents, the Debtors have established a sourcing office in Hong Kong under
 the purview of a non-debtor affiliate, J. Crew Sourcing Asia, Limited. The sourcing office acts as a local
 intermediary between the Debtors and their foreign sourcing base. The Debtors also have smaller sourcing
 offices in mainland China, India, and Vietnam. In the fiscal year 2019, 87% of the Debtors’ merchandise
 was sourced in Asia (with 45% of their products sourced from mainland China and 16% of their products
 sourced from Vietnam), 12% sourced in Europe and other regions, and 1% in the United States.

          As of the Petition Date, the Debtors own and operate two distribution facilities in Asheville, North
 Carolina and Lynchburg, Virginia. The Asheville facility houses the Debtors’ distribution operations for
 their stores and wholesale business and historically has employed approximately 330 full and part-time
 associates, with additional temporary associates, sourced from various staffing agencies, as needed during
 peak seasons. The Lynchburg facility houses the Debtors’ customer call center and order fulfillment
 operations for the Debtors’ e-commerce business. The Lynchburg facility historically has employed
 approximately 1,270 full and part-time associates and an additional 310 additional temporary associates,
 also sourced from various staffing agencies, during peak seasons. Merchandise sold through the Debtors’
 e-commerce business is sent through the mail system directly to domestic customers from the Lynchburg
 distribution center or to the Debtors’ stores for in-store pickup. For international orders, the Debtors use a
 single third-party provider to accept and fulfill online orders from customers in approximately 100 countries
 outside of the United States.

         Before implementing a furlough program that began on April 1, 2020 as a result of the COVID-19
 pandemic, the Debtors employed approximately 13,000 individuals in the United States, Canada, the United
 Kingdom, China, Hong Kong, Vietnam, and India, approximately 4,000 of whom were employed on a full-
 time basis, and approximately 9,000 of whom were employed on a part-time basis (collectively, the
 “Employees”). Due to store closures in response to the COVID-19 pandemic, the Debtors made the
 decision to furlough approximately 11,000 Employees. As of the Petition Date, the Debtors employed
 approximately 2,000 active full-time Employees.

                    4.          International Operations

          As noted, the Debtors sell merchandise to customers in approximately 100 countries worldwide.
 Such merchandise first arrives to the Debtors in the United States, and the Debtors then export inventory
 from the United States to their stores in the United Kingdom and Canada. The bulk of revenue generated
 internationally comes from customers located in the United Kingdom and Canada.


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          In order to ensure a seamless process with their international operations, the Debtors, in the ordinary
 course of their business, are party to arm’s-length procurement and sourcing services agreements with
 certain of their non-debtor affiliates. Under these agreements, several non-debtor affiliates acquire, source,
 and facilitate the purchase of materials and goods for the Debtors’ products. In exchange, the Debtors pay
 commissions for such services to J. Crew Global Holdings B, LLC (a non-debtor foreign affiliate), which
 in turn pays the appropriate foreign account for the provision of goods and services provided by the
 applicable non-debtor affiliate.

                    5.          Recent Operational Initiatives

          Cost-Optimization. The Debtors’ management team have made significant efforts to reduce costs,
 improve efficiencies, and increase brand loyalty and presence. For example, during the second quarter of
 fiscal year 2019, the Debtors completed a comprehensive review of their J. Crew business and launched a
 multi-year cost-optimization program, which the Debtors expected to generate savings of approximately
 $50 million over three years with approximately $15 million realized in the 2019 fiscal year. The Debtors’
 cost-optimization efforts have been spearheaded by a dedicated management team, which recently
 experienced leadership changes in both the J. Crew and Madewell businesses. In March 2019, for example,
 the Debtors promoted Libby Wadle to President and Chief Executive Officer of Madewell, and in January
 2020, the Debtors hired Jan Singer as the new Chief Executive Officer of J. Crew.

         Lease Negotiations. The Debtors lease all of their retail store locations from approximately 140
 landlords and are party to approximately 500 unexpired leases of nonresidential real property, located in
 nearly every state in the United States. The Debtors’ lease agreements typically have terms between five
 and ten years. As of the Petition Date, the Debtors have approximately $20 million in monthly domestic
 lease obligations.

         Beginning in early April 2020, after several weeks of government mandated store closures and
 uncertainty as to the duration and resulting impact of the pandemic, the Debtors began to evaluate their
 lease portfolio to, among other things, quantify and realize the potential for lease savings. In furtherance
 of the comprehensive lease strategy, the Debtors with the assistance of their real estate consultants, Hilco
 Real Estate, LLC (“Hilco”), communicated with landlords in an effort to improve lease terms. If certain
 accommodations with landlords are not achieved, the Debtors likely will reject certain burdensome leases
 and close the related stores. On May 5, 2020, the Bankruptcy Court entered the Order Authorizing Debtors
 to (I) Establish Procedures for Rejection of Unexpired Leases of Nonresidential Real Property and
 Abandonment of Property in Connection Therewith and (II) Granting Related Relief [Docket No. 118] (the
 “Lease Procedures Order”) authorizing the Debtors to establish procedures for the rejection of unexpired
 leases and related subleases of nonresidential real property and the abandonment of certain de minimis
 property in connection therewith and granting related relief.

         On May 26, 2020, the Bankruptcy Court entered the Order (I) Extending Time for Performance of
 Obligations Arising Under Unexpired Non-Residential Real Property Leases, and (II) Granting Related
 Relief [Docket No. 323] (the “365(d)(3) Order”). Pursuant to the 365(d)(3) Order, the Bankruptcy Court
 extended performance of the Debtors’ lease obligations under their unexpired real property leases for 60
 days from the Petition Date though July 6, 2020.

         COVID-19 Initiatives. In light of disruptions and challenges posed by the current environment, the
 Debtors have undertaken critical initiatives in an effort to effectively manage liquidity while continuing to
 provide their customers with high-quality products and services. Based on the Debtors’ budget plan for the
 2020 fiscal year prepared before COVID-19, the Debtors expect a loss of almost $900 million in sales due
 primarily to store closures across all brands. The Debtors have taken action to redirect and reduce inventory


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 and explore options to modify delivery time and costs of merchandise. During this time, the Debtors are
 leveraging their e-commerce platform to generate revenue while certain stores remain closed.

          Moreover, the Debtors initiated a variety of temporary Employee-related measures to ensure public
 health and safety and manage the impact of the crisis until business stabilizes, including closing all retail
 store locations, furloughing Employees, reducing certain Employee hours, and decreasing the salary of
 certain field, distribution, and corporate Employees. Specifically, and as noted above, starting April 1,
 2020, the Debtors furloughed approximately 11,000 Employees, which constituted approximately 85% of
 their full-time Employees and all of their part-time Employees—though the Debtors remain hopeful that
 jobs will be minimally impacted when stores reopen.

         Beginning May 2020, the Debtors began reopening stores on a limited basis, as permitted by
 applicable law and the economic and social circumstances. Approximately 475 stores are expected to
 reopen by the end of June 2020, subject to any closures that result from the Debtors’ evaluation of their
 lease portfolio and lease rejections attendant therewith.

          C.        Board of Directors and Senior Executive Officers.

          The following table sets forth the names of the Debtors’ executive officers as of the Petition Date:

            Name                                                           Position
            Jan Singer                                         Chief Executive Officer, J. Crew
            Vincent Zanna                                    Chief Financial Officer and Treasurer
            Michael Nicholson                                President and Chief Operating Officer
            Libby Wadle                                President and Chief Executive Officer, Madewell
            Lynda Markoe                                         Chief Administrative Officer
            Lisa Greenwald                                       Chief Merchandising Officer


         The identities of the members of the New Board and other board of directors or managers of a
 Reorganized Debtor, and to the extent applicable, the officers of each Reorganized Debtor, shall be
 disclosed at or before the Confirmation Hearing in accordance with section 1129(a)(5) of the Bankruptcy
 Code.

         Commencing on the Effective Date, each of the directors, managers, and officers of each of the
 Reorganized Debtors shall be elected and serve pursuant to the terms of the applicable organizational
 documents of such Reorganized Debtor and may be replaced or removed in accordance with such
 organizational documents.

          D.        Regulation of Debtors’ Business.

           The Debtors are subject to regulation by a variety of governmental authorities, including federal,
 state and local agencies that regulate customs, truth-in-advertising, consumer protection, employment, data
 privacy, product safety and other laws, including zoning and occupancy ordinances that regulate retailers
 and/or govern the promotion and sale of merchandise and the operation of retail stores and warehouse
 facilities.

          A substantial portion of the Debtors’ products are manufactured outside the United States. These
 products are imported and are subject to U.S. customs laws, which impose tariffs as well as import quota
 restrictions for textiles and apparel. Some of the Debtors’ imported products are eligible for duty-
 advantaged programs. In addition, the Debtors’ importation of goods from foreign countries from which
 the Debtors buy their products may be subject to embargo by U.S. Customs authorities if shipments exceed
 quota limits.

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          E.        Prepetition Capital Structure.

                    1.          Corporate Structure

         An organizational chart illustrating the Debtors’ corporate structure is below. As set forth on the
 organizational chart, Chinos Holdings is the Debtors’ ultimate parent, which directly or indirectly owns
 each of the other Debtor entities. Additionally, the Debtors have 24 non-debtor affiliates, 17 of which are
 foreign subsidiaries. The foreign non-debtor affiliates are incorporated in India, Japan, China, Hong Kong,
 the Cayman Islands, Bermuda, Canada, France, the Netherlands, and the United Kingdom.




                    2.          Prepetition Indebtedness

         As of the Petition Date, the Debtors’ prepetition capital structure included approximately $2 billion
 in funded debt. The Debtors’ funded debt obligations are summarized below:




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      As of Petition Date:                                                                               Approximate
      Debt Instrument                                                                             Outstanding Amount
                                                                                                           ($ millions)
      ABL Facility                                                                         $                     310.0
      Term Loans                                                                           $                   1,337.4
      IPCo Notes                                                                           $                   411.7 11
      Total Funded Debt                                                                    $                   2,059.1

                                       Prepetition ABL

          On March 7, 2011, certain of the Debtors entered into the Credit Agreement (as amended, restated,
 supplemented, or otherwise modified from time to time, the “ABL Credit Agreement”), among J. Crew
 Group, Inc. (“Group, Inc.”) as borrower, Chinos Intermediate Holdings B, Inc. (“Chinos B”), Bank of
 America, N.A. (“ABL Agent”), as administrative agent, collateral agent, lender and issuer, and the other
 lenders and issuers from time to time party thereto (collectively, the “ABL Lenders”), pursuant to which,
 among other things, the ABL Lenders agreed to provide the Debtors with an asset-based revolving credit
 facility (the “ABL Credit Facility”). As of the Petition Date, approximately $310 million in principal
 amount was outstanding under the ABL Credit Facility, along with approximately $64 million of
 outstanding but undrawn letters of credit securing the Debtors’ obligations with respect to their workers’
 compensation policies, certain leases, customs bonds, and inventory. In addition, the Debtors are obligated
 on account of any outstanding cash management obligations. The ABL Credit Facility will mature on
 December 4, 2020.

          Pursuant to a guaranty agreement, Chinos B, J. Crew Operating Corp (“J. Crew OpCo”), J. Crew
 Inc. (“JCI”), J. Crew International, Inc., Grace Holmes, Inc., H. F. D. No. 55, Inc., Madewell Inc., and
 J. Crew Virginia, Inc. (the “Guarantors”, and together with Group, Inc., the “Loan Debtors”) guaranteed
 Group, Inc.’s obligation under the ABL Credit Agreement. All obligations of the Loan Debtors under the
 ABL Credit Facility and the related guarantees are secured by substantially all of the assets of the Loan
 Debtors, including: (a) a first-priority security interest in the Loan Debtors’ accounts receivable, inventory,
 cash, certain deposit accounts, securities accounts, commodities accounts, and certain proceeds thereof (the
 “ABL Priority Collateral”), and (b) a second-priority security interest in the Term Loan Priority Collateral
 (as defined below).

                                       Prepetition Term Loan

         On March 5, 2014, certain of the Debtors entered into the Amended and Restated Credit Agreement
 (as amended, restated, supplemented, or otherwise modified from time to time, the “Term Loan
 Agreement”), among Group, Inc. as borrower, Chinos B., Wilmington Savings Fund Society, FSB (“Term
 Loan Agent”), as administrative agent and collateral agent, and the other lenders from time to time party
 thereto (collectively, the “Term Lenders”), pursuant to which, among other things, the Term Lenders
 agreed to provide Group, Inc. with a term loan in the initial principal amount of approximately $1.57 billion
 (the “Term Loans”). As of the Petition Date, approximately $1.34 billion in principal amount of the Term
 Loans remained outstanding. The Term Loans will mature on March 5, 2021.

         Group, Inc.’s obligations under the Term Loan are also guaranteed by each of the Guarantors. All
 obligations of the Loan Debtors with respect to the Term Loans and the related guarantees are secured by
 substantially all of the assets of the Loan Debtors, including: (a) a first-priority security interest in
 substantially all of the tangible and intangible assets of the Loan Debtors (other than ABL Priority

 11   This amount includes the makewhole premium equal to $58,044,927, calculated as of the Petition Date.


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 Collateral), including certain capital stock directly held by any Loan Party (the “Term Loan Priority
 Collateral”) and (b) a second-priority security interest in the ABL Priority Collateral.

                                    IPCo Notes and License Agreements

          Pursuant to the Indenture dated July 13, 2017 (as amended, restated, supplemented, waived or
 otherwise modified from time to time, the “IPCo New Money Notes Indenture”), among J. Crew Brand,
 LLC (“Brand”), J. Crew Brand Corp. (“Brand Corp., and together with Brand, the “IPCo Issuers”), the
 guarantors party thereto, and U.S. Bank National Association, as trustee and collateral agent, the IPCo
 Issuers issued 13.00% Senior Secured Notes due 2021 (the “IPCo New Money Notes”) in the aggregate
 principal amount of $97,000,000.

          Pursuant to the Indenture, dated July 13, 2017 (as amended, restated, supplemented, waived or
 otherwise modified from time to time, the “IPCo Exchange Notes Indenture”, and together with the IPCo
 New Money Notes Indenture, the “IPCo Indentures”), among the IPCo Issuers, the guarantors party
 thereto, and U.S. Bank National Association, as trustee and collateral agent, the IPCo Issuers issued 13.00%
 Senior Secured Notes due 2021 (the “IPCo Exchange Notes”, and together with the IPCo New Money
 Notes, the “IPCo Notes,” and their holders, the “IPCo Noteholders) in the aggregate principal amount of
 approximately $250 million. The IPCo Notes mature on September 15, 2021.

         All obligations under the IPCo Notes and IPCo Indentures are guaranteed on (a) a secured basis by
 the IPCo Issuers and J. Crew Brand Intermediate, LLC (“Brand Intermediate”), J. Crew International
 Brand, LLC (“JCI Brand”), and J. Crew Domestic Brand, LLC (“Domestic Brand”) (each, an “IPCo
 Guarantor”), and (b) an unsecured basis by Chinos Intermediate Holdings A, Inc. (“Chinos A”), as
 supplemental guarantor. The IPCo Notes and the guarantees thereof are senior secured obligations of the
 IPCo Issuers and IPCo Guarantors, secured by the Licensed Marks (as defined below). The collateral
 securing the IPCo Notes, including with respect to the Licensed Marks (as defined below), is governed by
 each of the IPCo Indentures, the Intercreditor Agreement, dated July 13, 2017, between the IPCo Trustees,
 and related security documents.

          Domestic Brand owns 100% of an undivided ownership interest in the domestic J. Crew brand
 intellectual property (the “Licensed Marks”). Pursuant to two license agreements (the “License
 Agreements”), Domestic Brand, as the licensor, provides exclusive, non-transferrable, sublicensable,
 royalty-bearing licenses with respect to 100% of the Licensed Marks to JCI Brand, as licensee. J. Crew
 OpCo., as payor, on behalf of JCI Brand, is obligated to pay a fixed license fee in the amount of $59 million
 to Domestic Brand, with $29.5 million due on each of March 1st and September 1st (collectively, the
 “License Fees”). The proceeds from the License Fees are used by Brand and Domestic Brand to service
 the IPCo Notes, and any License Fees in excess of such debt service requirements are loaned back to other
 Debtors on a subordinated basis.

                                    Intercreditor Relationships

         The relative contractual rights of the ABL Lenders and Term Lenders are governed by the
 Intercreditor Agreement between Bank of America, N.A., as administrative agent for the ABL Lenders and
 the Term Loan Agent, dated as of March 7, 2011 (as amended, supplemented, restated or otherwise
 modified from time to time). As noted previously, the liens on the ABL Priority Collateral held by the ABL
 Agent on behalf of the ABL Lenders are senior in priority to the liens on the ABL Priority Collateral granted
 to the Term Loan Agent on behalf of the Term Lenders. Conversely, the liens on the Term Priority
 Collateral held by the Term Loan Agent on behalf of the Term Lenders are senior in priority to the liens on
 the Term Priority Collateral granted to the ABL Agent on behalf of the ABL Lenders.


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                                       Intercompany Claims and Interests

          On November 4, 2013, Chinos A issued approximately $500 million in aggregate 7.75%/8.50%
 Senior PIK Toggle Notes due 2022 (the “PIK Toggle Notes”). The PIK Toggle Notes were initially set to
 mature on May 1, 2019, but such maturity has since been extended to March 15, 2022. Thus, the PIK
 Toggle Notes remain outstanding and are held by Brand as collateral for the IPCo Notes. Under the terms
 of the PIK Toggle Notes, upon certain events of default, Chinos A and certain other Debtors are subject to
 certain restrictions concerning, among others, the ability to declare or pay dividend or any distributions,
 create encumbrances or incur indebtedness.

         Pursuant to the IPCo Intercompany Note dated July 13, 2017 (the “Intercompany Note”), among
 Group, Inc. as borrower, and the IPCo Issuers and IPCo Guarantors as lenders (collectively, the
 “Intercompany Lenders”), Group, Inc. is obligated to the Intercompany Lenders in the principal amount
 of approximately $120 million and interest on such amount accruing at 1.89% per annum. The
 Intercompany Note matures on September 6, 2021 and constitutes collateral for the IPCo Notes.
 Additionally, under the terms of the Intercompany Note, obligations thereunder are subordinate and junior
 to payment in full of any outstanding amounts under the Term Loan Agreement.

         Chinos Intermediate, Inc. (“Intermediate”) has issued 300,000 shares of preferred Series A
 common stock (the “Intercompany Preferred Shares”), which were distributed to Chinos Holdings in
 July 2017 in exchange for Chinos Holdings’ participation in the 2017 Exchange Offer. The Intercompany
 Preferred Shares have a liquidation value of $1,000 per share. On account of the Intercompany Preferred
 Shares, Intermediate pays preferential dividends of 7% in kind to Holdings on each March 15 and
 September 15.

         Although the Debtors and their non-debtor affiliates regularly engage in ordinary-course
 intercompany transactions to support the global enterprise, none of the Debtors are obligated on any of their
 non-debtor affiliates’ funded debt; and, conversely, none of the Debtors’ non-debtor affiliates are obligated
 on any of the Debtors’ funded debt. 12 The intercompany transfers are tracked and accounted for, as
 discussed in greater detail in the Cash Management Motion (as defined below).

                                       Preferred Stock

          As of February 1, 2020, Chinos Holdings issued approximately 190,000 shares of 7% non-
 convertible perpetual series A preferred stock (“Series A Preferred Stock”) and approximately 130,000
 shares of 7% non-convertible perpetual series B preferred stock (“Series B Preferred Stock”). As of the
 Petition Date, the Consenting Support Parties held approximately 66% of the Series A Preferred Stock, with
 the remainder held by other holders. The Sponsors held approximately 92.0% of the Series B Preferred
 Stock, with the remainder held by various other holders.

                                       Common Stock

        As of February 1, 2020, Chinos Holdings has also issued approximately 115 million shares of class
 A common stock (“Common Stock”). As of the Petition Date, the Sponsors held approximately 76% of
 the Common Stock, the Consenting Support Parties held approximately 9% of the Common Stock, and the
 remainder was held by other holders.



 12   Pursuant to the ABL Credit Agreement and Term Loan Agreement, equity of certain non-debtor affiliates has been pledged
      to secure the Loan Parties’ obligations under the ABL Credit Facility and Term Loans.


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                                        General Unsecured Claims

           In addition to their funded debt, in the ordinary course of business, the Debtors incur fixed,
 liquidated, and undisputed payment obligations to various third-party providers of goods and services. As
 discussed in greater details in the Vendors Motion (as defined below), certain of these claims (a) are entitled
 to statutory priority in payment, such as under section 503(b)(9) of the Bankruptcy Code, or (b) may give
 rise to liens on the Debtors’ property if left unpaid.

                                        III.
                 EVENTS LEADING TO COMMENCEMENT OF CHAPTER 11 CASES

          The Debtors commenced these chapter 11 cases to implement a prearranged restructuring supported
 by the Sponsors and the Consenting Support Parties, as described above and memorialized in the
 Transaction Support Agreement. Although the Debtors’ business is operationally sound, the Debtors have
 substantial long-term funded debt and lease obligations that they must restructure. In addition, the Debtors
 have been heavily impacted, like many of their retail peers, by the unprecedented and evolving global
 pandemic, COVID-19. Through these chapter 11 cases, the Debtors will have the opportunity to address
 their substantial indebtedness and lease obligations while raising additional capital to fund their operations
 and make strategic investments to allow them to emerge as a stronger global enterprise.

          A.        COVID-19: Liquidity Challenges and Preservation Measures

          The President of the United States has declared COVID-19 to be a national emergency.
 See Proclamation No. 9994, 85 Fed. Reg. 15,337 (Mar. 13, 2020). Similarly, nearly every state (including
 the states where the Debtors operate) has declared a state of emergency and issued orders mandating non-
 essential business closures or otherwise restricting the movement of people in a manner that would
 functionally prevent the Debtors from operating their stores. 13

           Beginning in late February 2020, the Debtors began to face unprecedented liquidity and operational
 challenges with the spread of COVID-19. Though many companies across all industries faced hardships
 and tumultuous market conditions, the Debtors were uniquely and severely impacted as a customer-facing
 retailer in an already struggling industry. The Debtors quickly encountered, among other things, (a) a steep
 decrease in net sales across their business lines and (b) inability of the Debtors’ foreign vendors to operate,
 produce, and ship merchandise. By early March 2020, the Debtors were forced to close all retail stores
 13   See Ala. Order of the State Health Officer (Apr. 28, 2020); Alaska Essential Services and Critical Workforce Infrastructure
      Order (amended May 5, 2020); Ariz. Exec. Order 2020-33 (Apr. 29, 2020); Cal. Exec. Order N-33-20 (Mar. 4, 2020); Colo.
      Exec. Order D 2020 024 (Apr. 6, 2020); Conn. Exec. Order No. 7H (Mar. 20, 2020); Del. Fourth Modification of the Decl. of
      State of Emergency (Mar. 22, 2020); D.C. Mayor’s Order 2020-053 (Mar. 24, 2020); Ga. Exec. Order No. 04.30.20.01 (Apr.
      20, 2020); Haw. Third Supplementary Proclamation (Mar. 23, 2020); Haw. Sixth Supplementary Proclamation (Apr. 16,
      2020); Idaho Order to Self-Isolate (amended Apr. 15, 2020); Ill. Exec. Order 2020-32 (Apr. 30, 2020); Ind. Exec. Order 20-
      22 (Apr. 20, 2020); Kan. Exec. Order No. 20-16 (Mar. 28, 2020); Ky. Exec. Order 2020-257 (Mar. 25, 2020); La. Proclamation
      Number 33 JBE 2020 (Mar. 22, 2020); La. Proclamation Number 41 JBE 2020 (Apr. 2, 2020); Me. Exec. Order No. 28 FY
      19/20 (Mar. 31, 2020); Md. Exec. Order No. 20-03-30-01 (Mar. 30, 2020); Mass. COVID-19 Order No. 21 (Mar. 31, 2020);
      Mich. Exec. Order No. 2020-59 (Apr. 24, 2020); Minn. Emergency Exec. Order 20-33 (Apr. 8, 2020); Miss. Exec Order 1473
      (Apr. 17, 2020); Mo. Dep’t of Health & Human Servs. Order (Apr. 16, 2020); Mont. Exec. Order extending 2-2020 and 3-
      2020 (Apr. 7, 2020); Nev. Directive 010 (Mar. 31, 2020); N.H. Emergency Order #17 Pursuant to Exec. Order 2020-04 (Mar.
      26, 2020); N.J. Exec. Order No. 107 (Mar. 21, 2020); N.M. Public Health Order (Apr. 30, 2020); N.Y. Exec. Order No. 202.18
      (Apr. 16, 2020); Ohio Dep’t of Health Amended Stay at Home Order (Apr. 2, 2020); N.C. Exec. Order No. 135 (Apr. 23,
      2020); Or. Exec. Order No. 20-12 (Mar. 23, 2020); Pa. Amendment to Stay at Home Order (Apr. 20, 2020); R.I. Executive
      Order 20-14 (Mar. 28, 2020); S.C. Exec. Order No. 2020-21 (Apr. 6, 2020); Tenn. Exec. Order No. 22 (Mar. 30, 2020); Tenn.
      Exec. Order No. 27 (Apr. 13, 2020); Tex. Exec. Order No. GA-14 (Mar. 31, 2020); Vt. Addendum 9 to Exec. Order 01-20
      (Apr. 10, 2020); Va. Exec. Order No. 55 (Mar. 30, 2020); Wash. Proclamation 20-25.1 (Apr. 2, 2020); W. Va. Exec. Order
      No. 9-20 (Mar. 23, 2020); Wis. Emergency Order #12 (Mar. 24, 2020); and Wis. Emergency Order #28 (Apr. 16, 2020).


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 consistent with governmental health guidelines and directives. The Debtors have been relying primarily on
 e-commerce activities. As noted, the Debtors expect a loss of almost $900 million in sales due primarily
 to store closures across all brands. As a result of the foregoing, the Debtors have experienced a steep drop
 in revenue, which forced the Debtors to employ liquidity preservation measures.

        The precipitous decline in the Debtors’ revenue has resulted in shared concessions by nearly all of
 the Debtors’ economic constituencies, including:

                    •           temporary closures of approximately 500 retail stores worldwide;

                    •           furlough of approximately 11,000 employees;

                    •           reduction of salaries for remaining corporate employees between 10-25%; and

                    •           prepetition extension of trade payment terms, in some cases by up to 75 days.

          B.        Trends and Uncertainties Affecting the Businesses

          The specialty retail industry is highly competitive and, in recent years, the retail industry as a whole
 has been challenged by shifts in consumer purchasing preferences and habits. The Debtors primarily
 compete with specialty retailers, department stores, and e-commerce businesses that engage in the sale of
 women’s, men’s and children’s apparel, accessories, and similar merchandise. The Debtors are not in the
 business of “fast fashion” and pride themselves on long-lasting merchandise, quality designs, and attentive
 customer service. Nevertheless, the Debtors face increasing competition from “fast fashion” retailers due
 to their aggressive pricing strategies.

         Moreover, economic conditions around the world have impacted the Debtors’ customers and
 affected the general business environment in which the Debtors operate and compete. Because apparel and
 accessories generally are discretionary purchases, consumer purchases of the Debtors’ products have
 declined when consumer disposable income is lower. As a result, the Debtors’ sales, growth, and
 profitability have been adversely affected by unfavorable economic conditions across the United States and
 abroad.

          Before the sharp decline in sales due directly to COVID-19, however, the Debtors’ business
 performance showed signs of an upward trend. Below is a summary of the Debtors’ revenues in fiscal year
 2019 14 as compared to fiscal year 2018, which showed an overall revenue increase of 2.3% of the combined
 enterprise.

               Business                  Fiscal Year 2018          Fiscal Year 2019            Variance

               J. Crew                    $1,779,500,000           $1,707,700,000             4% decrease

               Madewell                    $529,200,000              602,400,000             13.8% increase
           Other Revenues
                                           $175,300,000             $230,000,000             31.2% increase
       (i.e. wholesale revenue)
                 Total                    $2,484,000,000           $2,540,100,000            2.3% increase



 14   The Debtors’ 2019 fiscal year ended February 1, 2020.


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          In addition, unfavorable economic conditions abroad have impacted the Debtors’ ability to meet
 production goals. As noted previously, approximately 87% of the Debtors’ merchandise is sourced in Asia,
 with approximately 45% of the Debtors’ products sourced from mainland China and 12% sourced from
 Europe and other regions. Each of those regions have been particularly affected by COVID-19 and have
 faced significant prolonged shutdowns, which has affected the Debtors’ ability to obtain supplies and
 finished goods from those areas. Although the Debtors believe their quality, design, customer service, and
 price remain a compelling proposition over the long term, the Debtors are not immune from these broader
 trends, particularly in light of COVID-19.

           C.        Funded Debt and Contractual Obligations

          The Debtors have a substantial amount of funded debt and a considerable level of interest expense.
 For example, the Debtors paid approximately $143 million in fiscal year 2019 for cash interest expense.
 The debt service obligations reduced the Debtors’ ability to make capital expenditures, including to refresh
 store locations, drive growth initiatives, and further enhance their customer experience. The Debtors also
 have substantial fixed contractual commitments, including, as noted above, approximately $20 million of
 monthly domestic lease obligations or approximately $240 million of such rental expense on an annualized
 basis.

           D.        Prepetition Balance Sheet Restructuring Initiatives

                     1.         2017 Transaction

          In 2016, the Debtors began exploring options to address the maturity of approximately $543 million
 of the PIK Toggle Notes. In an effort to reduce their indebtedness and address their obligations under the
 PIK Toggle Notes, the Debtors entered into a two-step liability management transaction (the “2017
 Transaction”). First, in late 2016, the Debtors transferred the Licensed Marks (such transfer, the “IP
 Transfer”) into an unrestricted subsidiary, Domestic Brand. The IP Transfer allowed the IPCo Issuers to
 issue IPCo Notes secured by the Licensed Marks. Then, in June 2017, with the support of an ad hoc group
 of holders of PIK Toggle Notes, the Debtors executed a debt-for-debt exchange (the “2017 Exchange
 Offer”), 15 whereby approximately 99.85% of the PIK Toggle Notes were consensually exchanged through
 a public offer for a pro rata share of (a) IPCo Notes, (b) $190 million of Series A Preferred Stock, and
 (c) 15% of the Common Stock. The 2017 Exchange Offer functionally extended the Debtors’ maturity
 profile by exchanging PIK Toggle Notes maturing May 2019 with IPCo Notes maturing 2021.

           Concurrently with the 2017 Exchange Offer, the Debtors amended the Term Loan Agreement to
 facilitate, among other things, the repayment of Term Loans then-outstanding, the 2017 Exchange Offer,
 and the raising of approximately $30 million of Term Loans from the Sponsors (collectively, the “Term
 Loan Amendment”). The Debtors obtained support for the Term Loan Amendment from approximately
 87.8% of the Term Lenders.

         The Debtors were party to two lawsuits in connection with the 2017 Transaction. 16 On
 February 1, 2017, the Debtors initiated a lawsuit against the Term Loan Agent seeking a declaratory
 judgment that the IP Transfer was permissible under the applicable documents, which was ultimately settled
 in connection with the Term Loan Amendment to allow the closing of the 2017 Transaction. On June 22,
 2017, certain Term Lenders that did not consent to the 2017 Transaction or the Term Loan Amendment

 15   The Debtors were represented by Weil, Gotshal & Manges LLP (“Weil”) and Lazard Frères & Co. LLC (“Lazard”) in the
      2017 Exchange Offer.

 16   One lawsuit is still pending as of the Petition Date.


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 filed a lawsuit alleging, among other things, that the Term Loan Amendment and other transactions in
 connection with the 2017 Transaction violated the Term Lenders’ unanimous consent rights under the Term
 Loan Agreement and that the transfer of the Licensed Marks was a fraudulent conveyance. The Debtors
 filed a partial motion to dismiss all claims asserted by the dissenting Term Lenders, except for their breach
 of contract claims relating to their alleged unanimous consent rights. On April 25, 2018, the Supreme Court
 of New York County granted the Debtors’ partial motion to dismiss. On April 25, 2019, the Appellate
 Division of the Supreme Court in the First Department unanimously affirmed the trial court’s decision.

         Among other benefits, the 2017 Transaction permitted the Debtors to extend their maturity profile,
 implement key turnaround changes for the business, and delever their balance sheet by approximately $340
 million. Moreover, the Debtors were able to gain greater flexibility under their existing debt instruments
 with the Term Loan Amendment. The Debtors utilized the runway provided by the 2017 Transaction to
 continue to evaluate strategic alternatives to achieving optimal, long-term, and sustainable growth.

         Though the issues surrounding the 2017 Transaction have been extensively litigated, the Debtors
 have established a committee (the “Review Committee”) to investigate potential estate claims and causes
 of action relating to the 2017 Transaction, including fraudulent transfer claims. The Debtors appointed
 Mr. D.J. (Jan) Baker on or about April 24, 2020 as the sole member of the Review Committee, which has
 retained independent legal counsel and financial advisor and has undertaken and finalized a review of the
 2017 Transaction in accordance with its mandate, as described herein.

                    2.          2019 and 2020 Stakeholder Engagement and Chapter 11 Filing

         Since the 2017 Transaction and in the time leading up to the Petition Date, the Debtors have taken
 a number of steps to evaluate strategic alternatives, enhance performance, right-size their capital structure,
 and position themselves for success within their current operating environment. Despite their best efforts,
 the general economic downturn and industry trends affecting retail, as discussed above, has strained the
 Debtors’ liquidity.

         In April 2019, the Debtors engaged Lazard as investment banker and Weil as legal counsel to assist
 with, among other things, identifying and developing potential strategic alternatives, including strategic
 considerations surrounding a potential separation of the Madewell and J. Crew businesses.

         At that time, the Debtors established the special committee of the board of directors of Chinos A
 (the “Chinos A Special Committee”) to evaluate strategic alternatives or transactions that may be available
 to the Debtors. The Chinos A Special Committee is composed of Messrs. Chad Leat, Richard Feintuch,
 and Seth Farbman, and, together with the special committee of J.Crew OpCo, 17 remains charged with
 overseeing the Debtors’ strategic review.

          As noted, the Debtors and their advisors proactively engaged with their stakeholder groups before
 the Petition Date. Since May 2019, the Debtors engaged in arms-length negotiations with a certain ad hoc
 committee (the “Ad Hoc Committee”) represented by PJT Partners LP as investment banker and Milbank
 LLP as legal counsel. As of the Petition Date, members of the Ad Hoc Committee held approximately
 69.1% of the Term Loans, 77.9% of the IPCo Notes, 66.5% of the Series A Preferred Stock, and 9.8% of
 the Common Stock.

        After eight months of arms-length and good faith negotiations, on December 2, 2019, the Debtors
 executed a consensual transaction support agreement (as amended, modified, or restated from time to time,
 17   In May 2020, the Debtors also established a special committee of the Board of Directors of J. Crew OpCo composed of Messrs.
      D.J. (Jan) Baker, Chad Leat, Richard Feintuch, and Seth Farbman.


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 the “IPO Support Agreement”) with the members of the Ad Hoc Committee and the Sponsors. The IPO
 Support Agreement contemplated, among other things, a separation of the J. Crew and Madewell
 businesses, enabling a potential initial public offering for the Madewell business, and a material
 deleveraging of the Debtors’ capital structure through the use of the IPO proceeds and the issuance of new
 capital stock. In the subsequent months, the Debtors took substantial steps to effectuate the transactions
 contemplated under the IPO Support Agreement. The Debtors, through their advisors, engaged with certain
 Term Lenders to execute joinders to the IPO Support Agreement. The Debtors also filed a preliminary
 prospectus, dated January 17, 2020, for the issuance of common stock by Chinos Holdings.

          Beginning in late February 2020, however, the Debtors began to face abrupt and unprecedented
 liquidity and operational challenges with the spread of COVID-19. In the span of just a few weeks, by
 early March 2020, the Debtors were forced to close all retail stores consistent with governmental health
 guidelines and directives, which stressed the Debtors’ cash liquidity. On March 2, 2020, the parties further
 amended the IPO Support Agreement to modify certain milestones therein to provide more time for the
 parties to review and explore additional strategic alternatives in light of the uncertain market for initial
 public offerings and other global economic considerations.

         In February 2020, the Debtors reengaged with the Ad Hoc Committee and the Sponsors with the
 good faith goal of maximizing and preserving the value of the Debtors’ business. After weeks of
 negotiations, the Debtors and their various stakeholders agreed that the transactions contemplated by the
 IPO Support Agreement would entail significant execution risk under the circumstances. On May 3, 2020,
 the Debtors, after good faith and arm’s-length negotiations, reached a consensual resolution with the
 Consenting Support Parties and the Sponsors regarding the value-maximizing transactions contemplated
 under the Transaction Support Agreement and, with the approval of an independent special committee,
 entered into the Transaction Support Agreement, as described herein.

          E.        Material Terms of Transaction Support Agreement

         On May 3, 2020, the Debtors executed the Transaction Support Agreement with (i) certain of the
 Consenting Support Parties and (ii) the Sponsors. Pursuant to the Transaction Support Agreement, the
 Consenting Support Parties and the Sponsors agreed to support a restructuring transaction by, among other
 things:

                    •           subject to Disclosure Statement approval, voting to accept a plan embodying the
                                restructuring transaction described in the Transaction Support Agreement;

                    •           agreeing to grant and not opt-out of the releases contemplated by the Plan;

                    •           refraining from taking any action that would delay or impede consummation of the
                                Plan; and

                    •           supporting and effectuating the documentation within the timeframes
                                contemplated in the Transaction Support Agreement.

          F.        DIP Financing and Backstop Commitment

          A key component of the Transaction Support Agreement necessary to facilitate the transactions
 contemplated by the Plan is the financing commitments provided the Backstop Parties. Contemporaneous
 with the execution of the Transaction Support Agreement, the Debtors and the Backstop Parties entered
 into the Backstop Commitment Letter, pursuant to which the Backstop Parties committed to provide the
 DIP Facility in an aggregate principal amount of up to $400,000,000. On the Effective Date, in accordance
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 with the DIP Credit Agreement, the principal amount of the DIP Facility will be converted into the New
 Term Loans, and the DIP Lenders will, severally but not jointly, provide any additional New Term Loans.
 In exchange for providing the commitments under the Backstop Commitment Letter, the Backstop Parties
 will receive a premium in an amount equal to $40,000,000, which will be paid on the Effective Date in the
 form of New Common Shares (the “Backstop Premium”), which shares will be subject to dilution by New
 Common Shares issuable upon exercise of the New Warrants, issued pursuant to the Management Incentive
 Plan, and otherwise issued after the Effective Date in accordance with the Backstop Commitment Letter
 and the Plan.

          In accordance with the Transaction Support Agreement, each IPCo Noteholder and Term Lender
 that is a qualified institutional buyer or accredited institutional investor was given the right to join the
 Transaction Support Agreement. As of June 11, 2020, Consenting Support Parties and Sponsors holding
 approximately 96% of the Term Loans, 100% of the IPCo Notes, 85% of Series A Preferred Stock, and
 89% of the Common Stock are party to the Transaction Support Agreement. Each such person that joined
 the Transaction Support Agreement within 10 business days after the Petition Date and any Electing
 Sponsor (as defined in the Transaction Support Agreement) was given the right to participate in providing
 the DIP Obligations. If they exercised such right to participate in providing the DIP Obligations, each such
 person is required to participate in providing the New Term Loans upon the Effective Date and, in
 connection therewith, will receive the New Equity Allocation and New Warrants on the Effective Date.

                                                   IV.
                                           THE CHAPTER 11 CASES

          A.        First Day Motions

         On the Petition Date, the Debtors filed multiple motions seeking various relief from the Bankruptcy
 Court to enable the Debtors to facilitate a smooth transition into chapter 11 (the “First Day Motions”).
 The Bankruptcy Court has granted substantially all of the relief requested in the First Day Motions and
 entered various interim and final orders authorizing the Debtors to, among other things:

            •       obtain postpetition financing and authorization to use cash collateral [Docket Nos. 84 and
                    447];

            •       continue the use of the Debtors’ cash management system, bank accounts, and business
                    forms [Docket Nos. 101 and 378] (such motion, the “Cash Management Motion”);

            •       continue insurance programs and the processing of workers’ compensation claims [Docket
                    Nos. 102 and 379];

            •       pay certain prepetition taxes and assessments [Docket No. 103];

            •       continue certain customer programs, promotions, and practices [Docket Nos. 104 and 380];

            •        establish procedures for utility companies to request adequate assurance of payment and to
                     prohibit utility companies from altering or discontinuing service [Docket Nos. 105 and
                     381];

            •        restrict certain transfers of equity interests in the Debtors [Docket Nos. 106 and 382];

            •        continue paying employee wages and benefits [Docket Nos. 108 and 383]; and

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            •       pay certain shipping charges and other amounts owed to lien holders and prepetition
                    obligations for certain vendors [Docket Nos. 110 and 384] (such motion, the “Vendors
                    Motion”).

          B.        DIP Order

         On May 5, 2020, the Bankruptcy Court approved the DIP Facility on an interim basis [Docket No.
 84], and on June 5, 2020, approved the DIP Facility on a final basis [Docket No. 447] (together, the “DIP
 Order”).

          The DIP Facility includes certain milestones with respect to the Chapter 11 Cases, such as (a) no
 later than 70 calendar days after the Petition Date, the Bankruptcy Court shall have entered the Disclosure
 Statement Order; (b) no later than 80 calendar days after the Petition Date, the solicitation of the Approved
 Plan of Reorganization shall have commenced; (c) no later than 120 calendar days after the Petition Date,
 the Bankruptcy Court shall have entered the Confirmation Order; and (d) the effective date of the Approved
 Plan of Reorganization shall have occurred not later than 130 calendar days following the Petition Date.

         In accordance with the DIP Order, upon (a) the failure of the Debtors to perform, in any respect,
 any of the terms, provisions, conditions, covenants, or obligations under the DIP Order, (b) the occurrence
 of an “Event of Default” as defined in the DIP Credit Agreement, or (c) delivery of an ABL Cash Collateral
 Termination Declaration (as defined therein), the DIP Agent may (i) terminate any further commitments
 under the DIP Credit Agreement and (ii) reduce or restrict the Debtors’ use of cash collateral.

          C.        Procedural Motions

         The Debtors have filed various motions regarding procedural issues common to chapter 11 cases
 of similar size and complexity. On May 5, 2020, the Bankruptcy Court granted the relief requested in the
 motions noted below and entered orders to, among other things:

            •       approving joint administration of the Debtors’ Chapter 11 Cases [Docket No. 99];

            •       approving the form and manner of notice of commencement of the Chapter 11 Cases
                    [Docket No. 100]; and

            •       establishing certain notice, case management, and administrative procedures [Docket No.
                    109].

          D.        Retention of Chapter 11 Professionals

          The Debtors have filed applications and obtained authority to retain various professionals to assist
 the Debtors in carrying out their duties under the Bankruptcy Code during the Chapter 11 Cases. These
 professionals include (i) AlixPartners, LLP as financial advisor [Docket No. 404]; (ii) Hilco as real estate
 consultant [Docket No. 387]; (iii) Hunton Andrews Kurth LLP as co-counsel [Docket No. 385]; (iv) Lazard
 as investment banker [Docket No. 449]; (v) Omni Agent Solutions (“Omni”) as claims, noticing, and
 administrative agent [Docket No. 107], and (vi) Weil as counsel [Docket No. 448]. Debtor J. Crew OpCo
 also filed applications and obtained authority to retain (i) Quinn Emanuel Urquhart & Sullivan, LLP to
 render independent services to, and at the direction of Mr. Baker as independent director and sole member
 of the Review Committee [Docket No. 391], and (ii) Goldin Associates, LLC to render independent
 financial advisory services to, and at the direction of Mr. Baker [Docket No. 392]. The Debtors intend to
 file an application to retain KPMG as tax service provider.


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 On May 26, 2020, the Bankruptcy Court entered the Order (I) Establishing Procedures for Interim
 Compensation and Reimbursement of Expenses of Professionals and (II) Granting Related Relief [Docket
 No. 389] and Order (I) Authorizing Debtors to Retain and Employ Professionals Utilized in the Ordinary
 Course of Business, Effective as of the Petition Date, and (II) Granting Related Relief [Docket No. 388].

          E.        Statements and Schedules and Claims Bar Dates

         On May 6, 2020, the Bankruptcy Court entered an order extending the deadline by which the
 Debtors must file (a) their schedules of assets and liabilities and statements of financial affairs (collectively,
 the “Schedules”) to June 12, 2020, and (b) the deadline by which the Debtors must file the financial reports
 required under Bankruptcy Rule 2015.3 to the earlier of (i) five business days before any Disclosure
 Statement Objection Deadline and (ii) 45 days after the 341 meeting [Docket No. 117].

          On May 28, 2020, the Bankruptcy Court entered the Order (I) Establishing a General Bar Date to
 File Proofs Of Claim, (II) Establishing a Bar Date to File Proofs of Claim By Governmental Units,
 (III) Establishing an Amended Schedules Bar Date, (IV) Establishing a Rejection Damages Bar Date,
 (V) Approving the Form and Manner For Filing Proofs of Claim, (VI) Approving the Proposed Notice of
 Bar Dates, and (VII) Granting Related Relief [Docket No. 390] (the “Bar Date Order”). Pursuant to the
 Bar Date Order, the Bankruptcy Court has established (i) July 15, 2020, at 5:00 p.m., Eastern Time, as the
 deadline for all non-governmental units (as defined in section 101(27) of the Bankruptcy Code), including
 claims arising under section 503(b)(9), to file proofs of claim in the Chapter 11 Cases (the “General Bar
 Date”); (ii) November 2, 2020, at 5:00 p.m., Eastern Time, as the deadline for all governmental units (as
 defined in section 101(27) of the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases
 (the “Governmental Bar Date”); (iii) the later of (a) the General Bar Date or the Governmental Bar Date,
 as applicable, and (b) 5:00 p.m., Eastern Time, on the date that is thirty (30) days from the date on which
 the Debtors provide notice of an amendment or supplement to the Schedule as the deadline by which
 persons or entities affected by such filing, amendment, or supplement must file proofs of claim in the
 Chapter 11 Cases; and (iv) the later of (y) the General Bar Date or the Governmental Bar Date, as applicable,
 and (z) 5:00 p.m. (Eastern Time) on the date that is thirty days following the entry of an order approving
 rejection of any executory contract or unexpired lease of the Debtors as the deadline by which persons or
 entities asserting claims resulting from such rejection must file proofs of claim in the Chapter 11 Cases.

          F.        Exclusivity

         Section 1121(b) of the Bankruptcy Code provides for a period of 120 days after the commencement
 of a chapter 11 case (i.e., September 1, 2020) during which time a debtor has the exclusive right to file a
 plan of reorganization (the “Exclusive Plan Period”). In addition, section 1121(c)(3) of the Bankruptcy
 Code provides that if a debtor files a plan within the Exclusive Plan Period, it has a period of 180 days after
 commencement of the chapter 11 case (i.e., November 2, 2020) to obtain acceptances of such plan (the
 “Exclusive Solicitation Period,” and together with the Exclusive Plan Period, the “Exclusive Periods”).
 Pursuant to section 1121(d) of the Bankruptcy Code, the Bankruptcy Court may, upon a showing of cause,
 extend the Exclusive Periods. The Exclusive Periods currently remain in effect.

          G.        Executory Contracts and Unexpired Leases

         As of the Petition Date, the Debtors were parties to approximately 500 unexpired leases of
 nonresidential real property (the “Leases”) and approximately 600 unexpired executory contracts. Section
 365(d)(4)(A) of the Bankruptcy Code provides that a debtor has a period of 120 days after the
 commencement of the chapter 11 case (in this case, until September 1, 2020) to assume, assign, or reject
 unexpired leases of nonresidential real property (the “Lease Assumption Period”). Pursuant to section


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 365(d)(4)(B), the Bankruptcy Court may, upon a showing of cause, extend the Lease Assumption Period
 an additional 90 days.

         As noted above, on May 5, 2020, the Bankruptcy Court entered the Lease Procedures Order (as
 defined above) establishing procedures for the rejection of unexpired leases and related subleases of
 nonresidential real property and the abandonment of certain de minimis property in connection therewith.

          With the assistance of their advisors, the Debtors have continued their prepetition efforts of
 examining their lease portfolio and curating the optimal footprint necessary for their viability as a
 reorganized enterprise. The Debtors’ lease analysis includes, among other things, a review of the historical
 and future revenue and profits of each store, considerations of the impact of COVID-19, and the likelihood
 of realizing future cost savings through, for example, negotiating lease modifications with landlords.
 Through this process, the Debtors have identified stores that are underperforming or not part of their core
 business needs and that they determine, in their business judgment, should be sold, assigned or otherwise
 closed in furtherance of maximizing value for the benefit of their estates and stakeholders.

          As noted above, the Bankruptcy Court has extended the Debtors’ lease obligations under their
 leases for 60 days from the Petition Date though July 6, 2020.

          H.        Trade Agreements

         On May 28, 2020, the Bankruptcy Court approved a form of the Debtors’ trade agreements [Docket
 No. 384]. As of June 11, 2020, the Debtors have entered into trade agreements with 81 key vendors that
 represent approximately $212 million of prepetition trade claims (the “Trade Agreements”). The key
 vendors were identified by the Debtors with the assistance of their advisors as essential to the Debtors’
 operations and essential to the Reorganized Debtors’ success. These Trade Agreements generally require
 the vendors to provide customary trade terms for the Reorganized Debtors for a period of one year after the
 Effective Date as a condition for being classified in Class 6-A under the Plan.

          I.        Appointment of Creditors’ Committee

         On May 13, 2020, the United States Trustee for the Eastern District of Virginia appointed an official
 committee of unsecured creditors in these chapter 11 cases pursuant to section 1102 of the Bankruptcy
 Code [Docket No. 188]. The members of the Creditors’ Committee are: (a) Simon Properties, (b) United
 Parcel Services, Inc., (c) Brookfield Property REIT, Inc., (d) First Glory Limited, and (e) Pan Pacific Co.
 Ltd.

          The Creditors’ Committee has filed applications to retain (a) Pachulski Stang Ziehl & Jones LLP
 and Hirschler Fleischer, P.C. as counsel and co-counsel, respectively, and (b) Province, Inc. as its financial
 advisor.

          J.        Review Committee

          As noted above, the Debtors have established a Review Committee to investigate potential estate
 claims and causes of action relating to the 2017 Transaction, including fraudulent transfer claims. As
 discussed in greater details in the Response of the Review Committee of J. Crew Operating Corp. to Motion
 of Debtors for Entry of Orders (I) Authorizing the Debtors to Obtain Postpetition Financing,
 (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
 Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition Secured Parties,
 (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief
 [Docket No. 414] (“Review Committee Report”), the Review Committee determined that any potential

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 claims or causes of action related to the 2017 Transaction are “speculative and unlikely to lead to any value
 to the estate of [J. Crew OpCo] or any of its subsidiaries.” Review Committee Report, ¶ 25. The Review
 Committee further noted that the mutual releases contemplated under the Plan with respect to participants
 in the 2017 Transaction are similarly appropriate. Review Committee Report, n. 9.

                                                  V.
                                          PENDING LITIGATION

          A.        Eaton Vance Litigation

         The Debtors are subject to ongoing litigation pursuant to the lawsuit filed on June 22, 2017 by,
 among others, Eaton Vance Management, along with certain of their affiliates. The Debtors believe this
 matter will be resolved in connection with the Restructuring contemplated by their Transaction Support
 Agreement. Any Claims relating to such litigation will be classified as Other General Unsecured Claims.

          B.        Other Litigation

         The Debtors are involved in a number of lawsuits and matters that have arisen in the ordinary course
 of business. Any Claims relating to such litigation will be classified as Other General Unsecured Claims.
 The Debtors expect that to the extent Allowed, certain of these Claims may be covered by the Debtors’
 insurance coverage, in whole or in part. The Debtors do not expect any liability they may have in these
 matters to have a material adverse effect on their business or restructuring efforts.

                                                  VI.
                                            SUMMARY OF PLAN

        This Section of the Disclosure Statement summarizes the Plan, a copy of which is annexed hereto
 as Exhibit A. This summary is qualified in its entirety by reference to the Plan. YOU SHOULD READ
 THE PLAN IN ITS ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

         In general, a chapter 11 plan (a) divides claims and equity interests into separate classes,
 (b) specifies the consideration that each class is to receive under the plan and (c) contains other provisions
 necessary to implement the plan. Under the Bankruptcy Code, “claims” and “equity interests,” rather than
 “creditors” and “shareholders,” are classified because creditors and shareholders may hold claims and
 equity interests in more than one class. Under section 1124 of the Bankruptcy Code, a class of claims is
 “impaired” under a plan unless the plan (a) leaves unaltered the legal, equitable, and contractual rights of
 each holder of a claim in such class or (b) provides, among other things, for the cure of certain existing
 defaults and reinstatement of the maturity of claims in such class. Under the Plan, Class 4 (Term Loan
 Secured Claims), Class 5 (IPCo Notes Claims), Class 6-A (Ongoing Trade Claims), Class 6-B (Other
 General Unsecured Claims), Class 8 (Section 510(b) Claims), Class 10-A (Existing Holdings Preferred
 Equity), and Class 10-B (Existing Holdings Equity) are impaired, and Holders of Claims or Interests in
 such Classes are entitled to vote to accept or reject the Plan unless such Classes of Claims or Interests are
 deemed to reject the Plan (e.g., Classes 8, 10-A, and 10-B) or a Holder’s Claim is subject to an objection
 filed by the Debtors. Ballots are being furnished herewith to all Holders of Claims in Classes 4, 5, 6-A,
 and 6-B that are entitled to vote to facilitate their voting to accept or reject the Plan. Classes 2, 3, 7, and 9
 are presumed to accept the Plan and Classes 8, 10-A, and 10-B are deemed to reject the Plan, and, therefore,
 holders of Claims or Interests in such Classes will not vote on the Plan.

          A Claim or Interest is placed in a particular Class for all purposes, including voting, confirmation,
 and Distribution under the Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy Code; provided
 that a Claim or Interest is placed in a particular Class for the purpose of receiving Distributions pursuant to

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 the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in that Class
 and such Allowed Claim or Allowed Interest has not been satisfied, released, or otherwise settled.

         For additional information regarding the Plan not discussed in this section, please refer to the
 following select Plan provisions:

                                     Topic                                                  Plan Provision
  Special Provision Governing Unimpaired Claims                                           Section III.4
  Voting Classes; Presumed Acceptance by Non-Voting Classes                               Section III.6
  Treatment of Claims and Interests                                                       Article IV
  Means for Implementation of the Plan                                                    Article V
  Provisions Governing Distributions                                                      Article VI
  Procedures for Disputed Claims                                                          Article VII
  Treatment of Executory Contracts and Unexpired Leases                                   Article VIII
  Compromise and Settlement of Claims, Interests, and Controversies                       Section X.3
  Retention of Causes of Action/Reservation of Rights                                     Section X.9
  Retention of Jurisdiction                                                               Article XI
  Miscellaneous Provisions                                                                Article XII
  Modification and Amendments of the Plan                                                 Section XII.5

          A.        Administrative Expense and Priority Claims

                    1.          Administrative Expense Claims

           Each holder of an Allowed Administrative Expense Claim (other than a Professional Fee Claim or
 DIP Claim), except to the extent such holder agrees to less favorable treatment, shall receive, in full and
 final satisfaction, settlement, release, and discharge of, and in exchange for, such Claim, cash in an amount
 equal to such Allowed Administrative Expense Claim on, or as soon thereafter as is reasonably practicable,
 the later of (a) the Effective Date, and (b) the first business day after the date that is 30 calendar days after
 the date such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided
 that (a) any Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course
 of business shall be paid by the Debtors or the Reorganized Debtors, as applicable, in the ordinary course
 of business, consistent with past practice and in accordance with the terms and subject to the conditions of
 any course of dealing or agreements governing, instruments evidencing, or other documents relating to the
 applicable transaction and (b) the holders of any adequate protection claims granted by the DIP Order will
 not receive any recovery on account of such claims, having waived such recovery solely for purposes of
 the Plan.

         Except as otherwise provided in Section 2.1 of the Plan and except with respect to Professional Fee
 Claims, requests for payment of Administrative Expense Claims must be filed and served on the Debtors
 or Reorganized Debtors no later than the Administrative Claims Bar Date. Holders of Administrative
 Expense Claims that are required to file and serve a request for payment and that do not timely file and
 serve such a request shall be forever barred from asserting such Administrative Expense Claims against the
 Debtors, the Reorganized Debtors or their respective property, and such Administrative Expense Claims
 shall be forever barred, estopped, and enjoined from asserting such Administrative Expense Claims as of
 the Effective Date.




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                    2.          Professional Fee Claims

                    (a)         Final Fee Applications

        All final requests for Professional Fee Claims shall be filed no later than 60 days after the Effective
 Date unless otherwise ordered by the Bankruptcy Court.

                    (b)         Professional Fee Reserve Amount

          All Professionals shall estimate in good faith their unpaid Professional Fee Claims before and as of
 the Effective Date and shall deliver such estimate to the Debtors and counsel to the Ad Hoc Committee at
 least three calendar days before the Effective Date; provided that such estimate shall not be deemed to limit
 the amount of the fees and expenses that are the subject of the Professional’s final request for payment of
 Professional Fee Claims. If a Professional does not provide such estimate, the Debtors and Reorganized
 Debtors may estimate the unbilled fees and expenses of such Professional; provided that such estimate shall
 not be considered an admission or limitation with respect to the fees and expenses of such Professional.
 The total amount so estimated as of the Effective Date shall comprise the Professional Fee Reserve Amount.

                    (c)         Professional Fee Escrow

          If the Professional Fee Reserve Amount is greater than zero, then as soon as reasonably practicable
 after the Confirmation Date and no later than the Effective Date, the Debtors will establish and fund the
 Professional Fee Escrow with cash equal to the Professional Fee Reserve Amount, and no Liens, Claims,
 or interests will encumber the Professional Fee Escrow in any way. The Professional Fee Escrow (including
 funds held in the Professional Fe Escrow) will (i) not be and will not be deemed to be property of the
 Debtors or the Reorganized Debtors and (ii) will be held in trust for the Professionals; provided that funds
 remaining in the Professional Fee Escrow after all Allowed Professional Fee Claims have been irrevocably
 paid in full will revert to the Reorganized Debtors. Allowed Professional Fee Claims will be paid in cash
 to such Professionals from funds held in the Professional Fee Escrow when such Claims are Allowed by an
 order of the Bankruptcy Court; provided that the Debtors’ obligations with respect to Professional Fee
 Claims will not be limited nor deemed to be limited in any way to the balance of funds held in the
 Professional Fee Escrow.

          If the amount of funds in the Professional Fee Escrow is insufficient to fund payment in full of all
 Allowed Professional Fee Claims and any other Allowed amounts owed to Professionals, the deficiency
 will be promptly funded to the Professional Fee Escrow from the Debtors’ estates and Reorganized Debtors
 without any further action or order of the Bankruptcy Court.

                    (d)         Post-Effective Date Fees and Expenses

          On and after the Effective Date, the Debtors and the Reorganized Debtors, as applicable, will pay
 in the ordinary course of business and without any further action or order of the Bankruptcy Court, pay in
 cash the reasonable legal, professional, or other fees and expenses related to implementation of the Plan
 incurred by the Debtors and Reorganized Debtors, as applicable.

         On the Effective Date, any requirement that Professionals comply with sections 327 through 331
 and 1103 of the Bankruptcy Code in seeking retention or compensation for services provided after such
 date shall terminate, and the Reorganized Debtors may employ and pay any post-Effective Date fees and
 expenses of any Professional in the ordinary course of business without any further notice to or action,
 order, or approval of the Bankruptcy Court.


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                    3.          DIP Claims

         Except if a holder of an Allowed DIP Claim agrees to less favorable treatment, each holder of an
 Allowed DIP Claim will receive, on the Effective Date, in full and final satisfaction, settlement, release,
 and discharge of such Allowed DIP Claim, (a) (i) on account of the outstanding principal amount of such
 Claim, an equal principal amount of New Term Loans, (ii) a portion of the New Equity Allocation and New
 Warrants, and (iii) cash on account of accrued and unpaid interest and other charges payable through the
 Effective Date, or (b) such other treatment agreed upon among the Debtors, the Requisite Consenting
 Support Parties, and the holders of Allowed DIP Claims.

                    4.          Priority Tax Claims

          Except if a holder of an Allowed Priority Tax Claim agrees to less favorable treatment, each holder
 of an Allowed Priority Tax Claim shall receive, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such Allowed Priority Tax Claim, at the sole option of the Reorganized
 Debtors, cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is
 reasonably practicable, the later of (a) the Effective Date, to the extent such Claim is an Allowed Priority
 Tax Claim on the Effective Date, (b) the first business day after the date that is 30 calendar days after the
 date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and (c) the date such Allowed
 Priority Tax Claim is due and payable in the ordinary course; provided that the Debtors and the Reorganized
 Debtors, as applicable, reserve the right to prepay all or a portion of any Allowed Priority Tax Claim at any
 time without penalty or premium.

                    5.          Payment of Statutory Fees

          On and after the Effective Date, the Reorganized Debtors shall pay all fees incurred pursuant to
 section 1930 of chapter 123 of title 28 of the United States Code, together with interest, if any, pursuant to
 section 3717 of title 31 of the United States Code for each Debtor’s case, or until such time as a final decree
 is entered closing a particular Debtor’s case, a Final Order converting such Debtor’s case to a case under
 chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing such Debtor’s case is entered.

          B.        Reclamation Claims

          Pursuant to section 546(c) of the Bankruptcy Code, a seller of goods that sold goods to a debtor in
 the ordinary course of such seller’s business may reclaim such goods if the debtor received the goods while
 insolvent and within forty-five days of commencement of a bankruptcy case (each such claim, a
 “Reclamation Claim”). Section 546(c) of the Bankruptcy Code requires that the seller demand, in writing,
 reclamation of such goods not later than forty-five days after the date of receipt of such goods by the debtor
 or not later than twenty days after the date of commencement of the case, if the forty-five day period expires
 after the commencement of a case. The Plan does not include any recovery for Reclamation Claims.
 Rather, pursuant to section 546(c) of the Bankruptcy Code, Reclamation Claims are subject to the prior
 perfected liens held by other parties on the Debtors’ inventory. Accordingly, the Debtors do not believe
 that any valid Reclamation Claims exist, and any claims on account of such losses would be Other General
 Unsecured Claims.

          C.        Classification of Claims and Interests

                    1.          Formation of Debtor Groups for Convenience Only

        The Plan groups the Debtors together solely for the purpose of describing treatment under the Plan,
 confirmation of the Plan, and making distributions in accordance with the Plan. Such groupings shall not

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 affect any Debtor’s status as a separate legal Entity, change the organizational structure of the Debtors’
 business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger or
 consolidation of any legal entities, or cause the transfer of any assets; and, except as otherwise provided by
 or permitted under the Plan, all Reorganized Debtors shall continue to exist as separate legal entities after
 the Effective Date.

          D.        Conditions Precedent to Confirmation of Plan and Effective Date

                    1.          Conditions Precedent to Confirmation of Plan

          The following are conditions precedent to confirmation of the Plan:

                                the Bankruptcy Court shall have entered an order approving the Disclosure
 Statement as containing adequate information with respect to the Plan within the meaning of section 1125
 of the Bankruptcy Code;

                                the proposed Confirmation Order shall be consistent with the Transaction
 Support Agreement and otherwise in form and substance reasonably satisfactory to the Debtors, the
 Requisite Consenting Support Parties, the Required DIP Lenders, the DIP Agent, the Exit ABL Agent, and
 the Exit Term Agent; provided that the Debtors will also consult in good faith with the ABL Agent
 regarding the form and substance of the Confirmation Order; and

                                 the Backstop Commitment Letter and the Transaction Support Agreement
 shall not have been terminated by the parties thereto and shall be in full force and effect and binding on all
 parties thereto.

                    2.          Conditions Precedent to Effective Date

         The occurrence of the Effective Date will be subject to the following conditions precedent, among
 others; provided that any condition can be waived with the prior written consent of the Debtors and the
 Requisite Consenting Support Parties:

                 (a)      the Transaction Support Agreement shall not have been terminated by the parties
 thereto and remains in full force and effect and binding on the parties thereto;

                 (b)     the Bankruptcy Court shall have entered the Confirmation Order consistent with
 the Transaction Support Agreement and the Confirmation Order shall not have been stayed;

                  (c)      the Definitive Documents shall be consistent with the Transaction Support
 Agreement and otherwise approved by the parties thereto consistent with their respective consent and
 approval rights as set forth in the Transaction Support Agreement;

                  (d)     all actions, documents, and agreements necessary to implement and consummate
 the Plan shall have been performed or executed, as applicable;

                    (e)     the Bankruptcy Court shall have entered the DIP Order, the DIP Loan Documents
 shall be in full force and effect in accordance with their terms, the DIP Termination Date (as defined in the
 DIP Order) shall not have occurred, no Event of Default (as defined in the DIP Loan Documents) shall have
 occurred or be continuing, and the obligations outstanding under the DIP Credit Agreement shall not have
 been accelerated in accordance with the terms thereof;


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                 (f)     all documentation related to the Exit ABL Facility shall have been executed and
 delivered by each party thereto, and any conditions precedent related thereto shall have been satisfied or
 waived;

                  (g)     all documentation related to the New Term Credit Agreement shall have been
 executed and delivered by each party thereto, and any conditions precedent related thereto shall have been
 satisfied or waived; provided that the DIP Lenders shall be deemed to have executed and delivered the New
 Term Credit Agreement in accordance with the terms of the DIP Credit Agreement;

                 (h)      all conditions precedent to the issuance of the New Common Shares, other than
 the occurrence of the Effective Date, shall have occurred;

               (i)      the New Equity Allocation and New Warrants shall have been issued to the
 Consenting Support Parties in accordance with the Transaction Support Agreement;

                 (j)     the organizational documents and bylaws for Reorganized Chinos Holdings will
 be adopted on terms consistent with the Transaction Support Agreement and otherwise in form and
 substance reasonably satisfactory to the Debtors and the Requisite Consenting Support Parties;

                  (k)           the Backstop Commitment Letter shall not have been terminated and remains in
 full force and effect;

                 (l)            the Professional Fee Escrow Account shall have been established and funded as
 provided herein;

                 (m)      all fees and expenses owed pursuant to the Transaction Support Agreement or the
 DIP Order, including all Ad Hoc Committee Fees, to the extent unpaid and invoiced at least two business
 days before the Effective Date, shall have been paid by the Debtors or the Reorganized Debtors;

                  (n)     all governmental and third-party approvals and consents, including Bankruptcy
 Court approval, necessary in connection with the transactions contemplated by the Transaction Support
 Agreement shall have been obtained, not be subject to unfulfilled conditions, and be in full force and effect,
 and all applicable waiting periods shall have expired without any action being taken or threatened by any
 competent authority that would restrain, prevent or otherwise impose materially adverse conditions on such
 transactions; and

                  (o)      all other actions, documents, and agreements necessary to implement and
 effectuate the Plan shall have been performed or executed, as applicable.

                     3.         Satisfaction or Waiver of Conditions Precedent

                         Except as otherwise provided herein, all actions required to be taken on the
 Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
 shall be deemed to have occurred before the taking of any other such action. No leave or order of the
 Bankruptcy Court shall be required for the waiver by the Debtors, with the prior written consent of the
 Requisite Consenting Support Parties, of any condition precedent set forth in Section 9.1 of the Plan, except
 the condition precedent set forth in Section 9.1(a), in accordance with the terms thereof.

                          The Confirmation Order shall contain a waiver of any stay of enforcement
 otherwise applicable, including pursuant to Bankruptcy Rule 3020(e), 6004(h), and 7062.


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                    4.          Effect of Failure of a Condition

         If the Effective Date does not occur, then (a) the Plan shall be null and void in all respects, (b) any
 settlement or compromise embodied in the Plan, assumption of Executory Contracts or Unexpired Leases
 effected under the Plan, and document or agreement executed pursuant to the Plan shall be deemed null and
 void, and (c) nothing contained in the Plan or the Disclosure Statement shall (i) constitute a waiver or
 release of any Claim or Interest or any claims or Causes of Action by the Debtors, (ii) prejudice in any
 manner the rights of any Entity, or (iii) constitute any admission, acknowledgement, offer, or undertaking
 by the Debtors, any of the Consenting Support Parties, or any other Entity.

          E.        Effect of Confirmation of Plan

                    1.          Vesting of Assets

         On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all assets and
 property of the Debtors’ Estates shall vest in the Reorganized Debtors, free and clear of all Claims, Liens,
 encumbrances, charges, and other interests, except as provided in the Plan or the Confirmation Order. On
 and after the Effective Date, the Reorganized Debtors may take any action, including, the operation of their
 businesses; the use, acquisition, sale, lease and disposition of property; and the entry into transactions,
 agreements, understandings, or arrangements, whether in or other than in the ordinary course of business,
 and execute, deliver, implement, and fully perform any and all obligations, instruments, documents, and
 papers or otherwise in connection with any of the foregoing, free of any restrictions of the Bankruptcy Code
 or Bankruptcy Rules and in all respects as if there were no pending cases under the Bankruptcy Code,
 except as expressly provided herein.

                    2.          Binding Effect

          As of the Effective Date, the Plan shall bind (a) all Entities that are parties to or are subject to the
 settlements, compromises, releases, discharges, and injunctions described in the Plan, (b) each Entity
 acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
 Leases, (c) all parties to the Transaction Support Agreement, and (d) all holders of Claims and Interests and
 their respective successors and assigns, notwithstanding whether any such holders were (i) Impaired or
 Unimpaired under the Plan, (ii) deemed to accept or reject the Plan, (iii) failed to vote to accept or reject
 the Plan, or (iv) voted to reject the Plan.

                    3.          Discharge of Claims and Termination of Interests

         Upon the Effective Date, in consideration of the distributions to be made hereunder, except as
 otherwise expressly provided herein, each holder (as well as any representatives, trustees, or agents on
 behalf of each holder) of a Claim or Interest and any affiliate of such holder shall be deemed to have forever
 waived, released, and discharged the Debtors, to the fullest extent permitted by section 1141 of the
 Bankruptcy Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
 Effective Date. Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code
 and except as otherwise specifically provided in the Plan, the distributions, rights, and treatment provided
 in the Plan shall be in full and final satisfaction, settlement, release, and discharge, effective as of the
 Effective Date, of all Interests and Claims of any nature whatsoever, including (unless otherwise
 specifically provided herein) any interest accrued on Claims from and after the Petition Date, whether
 known or unknown, regardless of whether any property shall have been distributed or retained pursuant to
 the Plan on account of such Claims or Interests, including demands, liabilities, and Causes of Action that
 arose before the Effective Date, any contingent or non-contingent liability on account of representations or
 warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g),

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 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (a) a proof of claim or interest is
 filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest is Allowed;
 or (c) the holder of such Claim or Interest has accepted the Plan. The Confirmation Order shall be a judicial
 determination, subject to the Effective Date occurring, of the discharge of all Claims and Interests except
 as otherwise expressly provided in the Plan. Upon the Effective Date, all holders of Interests and Claims
 of any nature whatsoever shall be forever precluded and enjoined, pursuant to section 524 of the Bankruptcy
 Code, from prosecuting or asserting any such discharged Claim or terminated Interest against the Debtors,
 the Reorganized Debtors, or any of their assets or property, whether or not such holder has filed a proof of
 claim and whether or not the facts or legal bases therefor were known or existed before the Effective Date.

                    4.          Term of Injunctions or Stays

           Unless otherwise provided herein, in the Confirmation Order, or in another Final Order of the
 Bankruptcy Court, all injunctions or stays arising or issued under section 105 or 362 of the Bankruptcy
 Code or otherwise, and in existence on the Confirmation Date, shall remain in full force and effect until the
 later of the Effective Date and the date indicated in the order providing for such injunction or stay.

                    5.          Injunction

                                 Upon entry of the Confirmation Order, all holders of Claims and
 Interests and other parties in interest, along with their respective present or former employees,
 agents, officers, directors, principals, and affiliates, shall be enjoined from taking any actions to
 interfere with the implementation or consummation of the Plan.

                                 Except as expressly provided in the Plan, the Confirmation Order, or
 another order of the Bankruptcy Court or agreed to by the Debtors and a holder of a Claim or
 Interest, all Entities who have held, hold, or may hold Claims or Interests (whether or not proof of
 such claims or interests has been filed and whether or not such Entities voted for or against the Plan
 or abstained from voting on the Plan or are presumed to have accepted or deemed to have rejected
 the Plan) and other parties in interest, along with their respective present or former employees,
 agents, officers, directors, principals, and affiliates are permanently enjoined, on and after the
 Effective Date, solely with respect to the Claims, Interests, and Causes of Action that are
 extinguished, discharged, or released pursuant to the Plan, from (i) commencing, conducting, or
 continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
 (including, any proceeding in a judicial, arbitral, administrative or other forum) against or affecting
 the Released Parties or the property of any of the Released Parties, (ii) enforcing, levying, attaching
 (including any prejudgment attachment), collecting, or otherwise recovering by any manner or
 means, whether directly or indirectly, any judgment, award, decree, or order against the Released
 Parties or the property of any of the Released Parties, (iii) creating, perfecting, or otherwise enforcing
 in any manner, directly or indirectly, any encumbrance of any kind against the Released Parties or
 the property of any of the Released Parties, (iv) asserting any right of setoff, directly or indirectly,
 against any obligation due the Released Parties or the property of any of the Released Parties, except
 as contemplated by the Plan, and (v) acting in any manner that does not conform to or comply with
 the provisions of the Plan or the Confirmation Order.

                                 By accepting distributions under the Plan, each holder of an Allowed
 Claim extinguished, discharged, or released pursuant to the Plan shall be deemed to have
 affirmatively and specifically consented to be bound by the Plan, including the injunctions set forth
 in Section 10.6 of the Plan.



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                               The injunctions in Section 10.6 of the Plan shall extend to any
 successors of the Debtors and the Reorganized Debtors and their respective property and interests
 in property.

                    6.          Releases

                                         Releases by Debtors

          As of the Effective Date, for good and valuable consideration, on and after the Effective Date,
 the Released Parties shall be deemed to be conclusively, absolutely, unconditionally, irrevocably, and
 forever released and discharged by the Debtors, their Estates, the Reorganized Debtors, and any
 Entity seeking to exercise the rights of the foregoing, including any successors to the Debtors or any
 estate representatives appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy Code,
 from any and all claims, obligations, rights, suits, judgments, damages, demands, debts, rights,
 Causes of Action, remedies, losses, and liabilities whatsoever, including any derivative claims,
 asserted or assertable on behalf of the Debtors, their Estates, or the Reorganized Debtors, whether
 known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured,
 contingent or fixed, existing or hereinafter arising, in law, equity or otherwise, that the Debtors, their
 Estates, the Reorganized Debtors, or their affiliates would have been legally entitled to assert in their
 own right (whether individually or collectively) or on behalf of the holder of any Claim or Interest or
 other Entity, based on or relating to, or in any manner arising from, in whole or in part, the Debtors,
 their Estates, the formation, operation, and conduct of the Debtors’ businesses, the Chapter 11 Cases,
 the acquisition, purchase, sale, or rescission of the purchase or sale of any debt or security of the
 Debtors or the Reorganized Debtors (including the New Equity Allocation and the New Warrants),
 the subject matter of, or the transactions or events giving rise to, any Claim or Interest, the business
 or contractual arrangements between the Debtors and any Released Party, the Debtors’
 restructuring, the restructuring of any Claim or Interest before or during the Chapter 11 Cases
 (including the restructuring of the IPCo Notes Claims notwithstanding the IPCo Intercreditor
 Agreement), the DIP Order, the Disclosure Statement, the Transaction Support Agreement, the New
 Term Loan, the Backstop Commitment, the Backstop Commitment Letter, the Plan, the Plan
 Supplement and other related agreements, instruments, and documents related to the foregoing
 (including the Definitive Documents), and the negotiation, formulation, or preparation thereof, the
 solicitation of votes on the Plan, or any other act or omission, in all cases based upon any act or
 omission, transaction, agreement, event, or other occurrence taking place on or before the Effective
 Date, including all Claims and Causes of Action under Chapter 5 of the Bankruptcy Code or any
 other Avoidance Actions under the Bankruptcy Code or applicable federal or state law, including
 any preference or fraudulent transfer Claims or Causes of Action; provided that nothing in this
 release shall be construed to release any post-Effective Date obligations of any Entity under the Plan,
 the Transaction Support Agreement, or any document, instrument, or agreement (including those
 set forth in the Plan Supplement) executed to implement the Plan.

                                         Consensual Releases by Holders of Claims or Interests

        As of the Effective Date, for good and valuable consideration, on and after the Effective Date,
 each of the Released Parties shall be deemed to be conclusively, absolutely, unconditionally,
 irrevocably, and forever released and discharged by:

                                i.       the other Released Parties;
                                ii.      the holders of Impaired Claims who voted to accept the Plan;
                                iii.     the holders of Impaired Claims who abstained from voting on the Plan

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                                      or voted to reject the Plan but did not opt-out of these releases on their
                                      ballots;
                                iv.   the holders of Unimpaired Claims and Interests in Classes 1, 2, 3, 7,
                                      and 9 that are presumed to accept the Plan but do not timely opt-out
                                      of the releases by completing a written opt-out form; and
                                v.    the holders of Impaired Claims and Interests in Classes 8, 10-A, and
                                      10-B, that are deemed to reject the Plan but do not timely opt-out of
                                      the releases by completing a written opt-out form;
 and with respect to any Entity in the foregoing clauses (i) through (iv), (a) such Entity’s predecessors,
 successors, and assigns, and (b) all Entities entitled to assert Claims through or on behalf of such
 Entities with respect to the matters to which these releases apply, in each case, from any and all
 claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever,
 including any derivative claims, asserted or assertable on behalf of a Debtor, whether known or
 unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, contingent or
 fixed, existing or hereinafter arising, in law, equity or otherwise, that such Entity would have been
 legally entitled to assert in its own right (whether individually or collectively) based on or relating to,
 or in any manner arising from, in whole or in part, the Debtors and their Estates, the formation,
 operation, and conduct of the Debtors’ businesses, the Chapter 11 Cases, the acquisition, purchase,
 sale, or rescission of the purchase or sale of any debt or security of the Debtors or the Reorganized
 Debtors (including the New Equity Allocation and New Warrants), the subject matter of, or the
 transactions or events giving rise to, any Claim or Interest, the business or contractual arrangements
 between the Debtors and any Released Party, the Debtors’ restructuring (including the restructuring
 of the IPCo Notes Claims notwithstanding the IPCo Intercreditor Agreement), the restructuring of
 any Claim or Interest before or during the Chapter 11 Cases, the DIP Order, the Disclosure
 Statement, the Transaction Support Agreement, the New Term Loan, the Backstop Commitment,
 the Backstop Commitment Letter, the Plan, the Plan Supplement, and related agreements,
 instruments, and other documents (including the Definitive Documents), and the negotiation,
 formulation, or preparation thereof, the solicitation of votes on the Plan, or any other act or omission,
 in all cases based upon any transaction, agreement, event, or other occurrence taking place on or
 before the Effective Date, including all Claims and Causes of Action under chapter 5 of the
 Bankruptcy Code or any other Avoidance Actions under the Bankruptcy Code or applicable federal
 or state law, including any preference or fraudulent transfer Claims or Causes of Action; provided
 that nothing in this release shall be construed to release any post-Effective Date obligations of any
 Entity under the Plan, the Transaction Support Agreement, or any document, instrument, or
 agreement (including those set forth in the Plan Supplement) executed to implement the Plan.

                                 Entry of the Confirmation Order shall constitute the Bankruptcy
 Court’s approval, pursuant to Bankruptcy Rule 9019, of the compromises memorialized in the
 releases set forth herein, and shall constitute the Bankruptcy Court’s finding that the releases set
 forth in the Plan are: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in
 exchange for good and valuable consideration provided by the Released Parties, including the
 Released Parties’ contributions to facilitating the restructuring and implementing the Plan; (d) a
 good faith settlement and compromise of the claims released; (e) in the best interests of the Debtors
 and their Estates; (f) fair, equitable, and reasonable; and (g) given and made after due notice and
 opportunity for hearing.




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                    7.          Exculpation

         Notwithstanding anything herein to the contrary, and to the maximum extent permitted by
 applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby released
 and exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, cause of
 action, remedy, loss, and liability for any claim in connection with or arising out of the administration
 of the Chapter 11 Cases, the formulation, preparation, and pursuit of the Disclosure Statement, the
 Transaction Support Agreement, the transactions relating to the Debtors’ restructuring, the Plan
 (including the Plan Supplement), the solicitation of votes for, or confirmation of, the Plan, the funding
 or consummation of the Plan, the Definitive Documents, or any related agreements, instruments, or
 other documents, the offer, issuance, and distribution of any securities issued or to be issued pursuant
 to the Plan, whether or not such distribution occurs following the Effective Date, the occurrence of
 the Effective Date, negotiations regarding or concerning any of the foregoing, or the administration
 of the Plan or property to be distributed under the Plan, except for actions determined to constitute
 gross negligence, willful misconduct, or intentional fraud as determined by a Final Order by a court
 of competent jurisdiction. This exculpation shall be in addition to, and not in limitation of, all other
 releases, indemnities, exculpations and any other applicable law or rules protecting the Exculpated
 Parties from liability.

                                     VII.
          ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

          The Plan reflects a consensus among the Debtors, the Consenting Support Parties, and the Sponsors.
 The Debtors have determined that the Plan is the best alternative available for their successful emergence
 from chapter 11. If the Plan is not confirmed and consummated, the alternatives to the Plan are (a) the
 filing of an alternative chapter 11 plan of reorganization, (b) a sale of some or all of the Debtors’ assets
 pursuant to section 363 of the Bankruptcy Code, or (c) a liquidation under chapter 7 of the Bankruptcy
 Code.

          A.        Continuation of the Chapter 11 Cases

          If the Plan is not confirmed, the Debtors (or, if the Debtors’ Plan Exclusive Period has expired, any
 other party in interest) could attempt to formulate a different plan. Such alternative plan might involve
 either a reorganization and continuation of the Debtors’ business or an orderly liquidation of their assets.

          B.        363 Sale

          Alternatively, if the Plan is not confirmed, the Debtors could seek from the Bankruptcy Court, after
 notice and a hearing, authorization to sell all of their assets under section 363 of the Bankruptcy Code.
 Holders of Claims in Classes 3, 4, and 5 would be entitled to credit bid on any property to which their
 security interests attach to the extent of the value of such security interests, and to offset their Claims against
 the purchase price of such property. In addition, the security interests of the holders of Other Secured Claims
 would attach to the proceeds of any sale of their respective collateral to the extent of their secured interests
 therein. Upon analysis and consideration of this alternative, the Debtors do not believe a sale of their assets
 under section 363 of the Bankruptcy Code would yield a higher recovery for Hthe holders of Allowed
 Claims than what they would receive under the Plan.

          C.        Liquidation under Chapter 7

        If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter 7 of
 the Bankruptcy Code in which a trustee would be appointed to liquidate the assets of the Debtors and

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 distribute their proceeds to their creditors in accordance with the priorities established by the Bankruptcy
 Code.

          As demonstrated in the Liquidation Analysis, attached hereto as Exhibit C, the Debtors believe
 that liquidation under chapter 7 would result in smaller distributions to creditors than those provided for in
 the Plan because of, among other things, the delay resulting from the conversion of the Chapter 11 Cases
 to cases under chapter 7, the additional administrative expenses associated with the appointment of a trustee
 and the trustee’s retention of professionals, and the loss in value attributable to an expeditious liquidation
 of the Debtors’ assets as required by chapter 7.

                                            VIII.
                                 TRANSFER RESTRICTIONS AND
                         CONSEQUENCES UNDER FEDERAL SECURITIES LAWS

          A.        Section 1145 Securities

         The issuance of and the distribution under the Plan of the New Common Shares on account of
 Allowed Term Loan Secured Claims and Allowed IPCo Notes Claims, and as Backstop Premium will be
 exempt from registration under the Securities Act and all rules and regulations promulgated thereunder, as
 well as any state or local law requiring registration for the offer, issuance, or distribution of securities (the
 “Registration Requirements”), pursuant to section 1145 of the Bankruptcy Code, without further act or
 action by any Entity.

          Section 1145 of the Bankruptcy Code generally exempts from the Registration Requirements the
 offer or sale under a chapter 11 plan of a security of the debtor, of an affiliate participating in a joint plan
 with the debtor, or of a successor to the debtor under such plan, if such securities are offered or sold in
 exchange for a claim against, or an interest in, the debtor or such affiliate, or principally in such exchange
 and partly for cash. In reliance upon this exemption, the New Common Shares issued on account of
 Allowed Term Loan Secured Claims and IPCo Notes Claims, will be exempt from the Registration
 Requirements. These securities shall be freely tradable by the recipients thereof, subject to: (i) the holder
 not being an “underwriter” with respect to such securities, as that term is defined in subsection (b) of section
 1145 the Bankruptcy Code or being directly or indirectly controlling or controlled by, or under direct or
 indirect common control with, the Reorganized Debtor that issued such securities; (ii) compliance with any
 rules and regulations of the Securities and Exchange Commission applicable at the time of any future
 transfer of such securities or instruments; (iii) any restrictions on the transferability of the New Common
 Shares contained in the Stockholders Agreement; and (iv) any applicable regulatory approval.

          Section 1145(b) of the Bankruptcy Code defines “underwriter” for purposes of the Securities Act
 as one who, except with respect to ordinary trading transactions, (i) purchases a claim with a view to
 distribution of any security to be received in exchange for the claim, (ii) offers to sell securities issued under
 a plan for the holders of such securities, (iii) offers to buy securities issued under a plan from persons
 receiving such securities, if the offer to buy is made with a view to distribution, or (iv) is an issuer, as used
 in section 2(a)(11) of the Securities Act, with respect to such securities, which includes control persons of
 the issuer.

          “Control,” as defined in Rule 405 of the Securities Act, means the possession, directly or indirectly,
 of the power to direct or cause the direction of the management and policies of a person, whether through
 the ownership of voting securities, by contract, or otherwise. The legislative history of Section 1145 of the
 Bankruptcy Code suggests that a creditor who owns ten percent (10%) or more of a class of voting securities
 of a reorganized debtor may be presumed to be a “controlling person” and, therefore, an underwriter.


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          Notwithstanding the foregoing, control person underwriters may be able to sell securities without
 registration pursuant to the resale limitations of Rule 144 of the Securities Act which, in effect, permit the
 resale of securities received by such underwriters pursuant to a chapter 11 plan, subject to applicable volume
 limitations, notice and manner of sale requirements, and certain other conditions. Parties who believe they
 may be statutory underwriters as defined in section 1145 of the Bankruptcy Code are advised to consult
 with their own legal advisers as to the availability of the exemption provided by Rule 144.

          B.        Private Placement

          The offer, issuance, and distribution of the New Common Shares allocated to the Consenting
 Support Parties in consideration for commitments to participate in the New Term Loans in accordance with
 the Transaction Support Agreement (the “New Equity Allocation”) and of the New Warrants (together
 with the New Common Shares issued as the New Equity Allocation and upon exercise of the New Warrants,
 the “4(a)(2) Securities”) to the New Term Lenders are being made in reliance on the exemption from
 registration set forth in section 4(a)(2) of the Securities Act and/or Regulation D thereunder. Only Term
 Lenders and IPCo Noteholders that are “accredited investors” (as defined in Rule 501(a) of Regulation D
 under the Securities Act) will be eligible to participate in the New Term Loans and thus receive the 4(a)(2)
 Securities. The 4(a)(2) Securities will be “restricted securities” and may not be transferred except pursuant
 to an effective registration statement or under an available exemption from the Registration Requirements
 such as, under certain conditions, the resale provisions of Rule 144 of the Securities Act. Additionally, the
 New Warrants are subject to the restrictions on transferability contained in the Warrant Agreement.

          Rule 144 provides a limited safe harbor for the public resale of restricted securities if certain
 conditions are met. These conditions vary depending on whether the holder of the restricted securities is
 an “affiliate” of the issuer. Rule 144 defines an affiliate of the issuer as “a person that directly, or indirectly
 through one or more intermediaries, controls, or is controlled by, or is under common control with, such
 issuer.”

         A non-affiliate of an issuer that is not subject to the reporting requirements of Section 13 or 15(d)
 of the Exchange Act and who has not been an affiliate of the issuer during the ninety (90) days preceding
 such sale may resell restricted securities after a one-year holding period whether or not there is current
 public information regarding the issuer.

           An affiliate of an issuer that is not subject to the reporting requirements of Section 13 or 15(d) of
 the Exchange Act may resell restricted securities after the one-year holding period if at the time of the sale
 certain current public information regarding the issuer is available. An affiliate must also comply with the
 volume, manner of sale and notice requirements of Rule 144. First, the rule limits the number of restricted
 securities (plus any unrestricted securities) sold for the account of an affiliate (and related persons) in any
 three-month period to the greater of 1% of the outstanding securities of the same class being sold or, if the
 class is listed on a stock exchange, the average weekly reported volume of trading in such securities during
 the four weeks preceding the filing of a notice of proposed sale on Form 144 or if no notice is required, the
 date of receipt of the order to execute the transaction by the broker or the date of execution of the transaction
 directly with a market maker. Second, the manner of sale requirement provides that the restricted securities
 must be sold in a broker’s transaction, directly with a market maker or in a riskless principal transaction (as
 defined in Rule 144). Third, if the amount of securities sold under Rule 144 in any three month period
 exceeds 5,000 shares or has an aggregate sale price greater than $50,000, an affiliate must file or cause to
 be filed with the SEC three copies of a notice of proposed sale on Form 144, and provide a copy to any
 exchange on which the securities are traded.

         The Debtors believe that the Rule 144 exemption will not be available with respect to the 4(a)(2)
 Securities (whether held by non-affiliates or affiliates) until at least one year after the Effective Date.

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 Accordingly, unless transferred pursuant to an effective registration statement or another available
 exemption from the registration requirements of the Securities Act, nonaffiliated holders of the 4(a)(2)
 Securities will be required to hold their 4(a)(2) Securities for at least one year and, thereafter, to sell them
 only in accordance with the applicable requirements of Rule 144, pursuant to the filing an effective
 registration statement or pursuant to another available exemption from the registration requirements of
 applicable securities laws.

                                                    *****

                   Legends. Each book entry position or certificate representing the 4(a)(2) Securities or the
 New Common Shares issued pursuant to Section 1145 of the Bankruptcy Code to the Entities that are
 “underwriters” as defined in section 1145(b) of the Bankruptcy Code (collectively, the “Restricted
 securities”), will bear a legend substantially in the form below:

       THE SECURITIES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN
 REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR UNDER THE
 SECURITIES LAWS OF ANY STATE OR OTHER JURISDICTION AND MAY NOT BE SOLD,
 OFFERED FOR SALE OR OTHERWISE TRANSFERRED UNLESS REGISTERED OR QUALIFIED
 UNDER SUCH ACT AND APPLICABLE STATE SECURITIES LAWS OR UNLESS REORGANIZED
 SEG RECEIVES AN OPINION OF COUNSEL REASONABLY SATISFACTORY TO IT THAT SUCH
 REGISTRATION OR QUALIFICATION IS NOT REQUIRED.

          The Debtors and Reorganized Debtors, as applicable, reserve the right to reasonably require
 certification, legal opinions or other evidence of compliance with Rule 144 as a condition to the removal
 of such legend or to any resale of the Restricted Securities. The Debtors and Reorganized Debtors, as
 applicable, also reserve the right to stop the transfer of any Restricted Securities if such transfer is not in
 compliance with Rule 144, pursuant to an effective registration statement or pursuant to another available
 exemption from the registration requirements of applicable securities laws. All persons who receive
 Restricted Securities will be required to acknowledge and agree that (a) they will not offer, sell or otherwise
 transfer any Restricted Securities except in accordance with an exemption from registration, including
 under Rule 144 under the Securities Act, if and when available, or pursuant to an effective registration
 statement, and (b) the Restricted Securities will be subject to the other restrictions described above.

         In any case, recipients of securities issued under the Plan are advised to consult with their own legal
 advisers as to the availability of any such exemption from registration under state law in any given instance
 and as to any applicable requirements or conditions to such availability.

       BECAUSE OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION OF
 WHETHER A PARTICULAR PERSON MAY BE AN UNDERWRITER OR AN AFFILIATE AND
 THE HIGHLY FACT-SPECIFIC NATURE OF THE AVAILABILITY OF EXEMPTIONS FROM
 REGISTRATION UNDER THE SECURITIES ACT, INCLUDING THE EXEMPTIONS
 AVAILABLE UNDER SECTION 1145 OF THE BANKRUPTCY CODE AND RULE 144 UNDER
 THE SECURITIES ACT, NONE OF THE DEBTORS MAKES ANY REPRESENTATION
 CONCERNING THE ABILITY OF ANY PERSON TO DISPOSE OF THE SECURITIES TO BE
 ISSUED UNDER OR OTHERWISE ACQUIRED PURSUANT TO THE PLAN. THE DEBTORS
 RECOMMEND THAT POTENTIAL RECIPIENTS OF THE SECURITIES TO BE ISSUED
 UNDER OR OTHERWISE ACQUIRED PURSUANT TO THE PLAN CONSULT THEIR OWN
 COUNSEL CONCERNING WHETHER THEY MAY FREELY TRADE SUCH SECURITIES AND
 THE CIRCUMSTANCES UNDER WHICH THEY MAY RESELL SUCH SECURITIES.



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                                           IX.
                 CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF PLAN

         The following discussion summarizes certain material U.S. federal income tax consequences of the
 implementation of the Plan to the Debtors (including the Reorganized Debtors) and to holders of certain
 Claims. This discussion does not address the U.S. federal income tax consequences to holders of Claims
 or equity interests who are unimpaired or deemed to reject the Plan. In addition, this discussion does not
 address any consideration being received on account of a person’s capacity other than as a holder of a
 Claim.

         The discussion of U.S. federal income tax consequences below is based on the Internal Revenue
 Code of 1986, as amended (the “Tax Code”), the U.S. Department of the Treasury regulations (“Treasury
 Regulations”), judicial authorities, published positions of the Internal Revenue Service (“IRS”), and other
 applicable authorities, all as in effect on the date of this Disclosure Statement and all of which are subject
 to change or differing interpretations (possibly with retroactive effect). The U.S. federal income tax
 consequences of the contemplated transactions are complex and subject to significant uncertainties. The
 Debtors have not requested an opinion of counsel or a ruling from the IRS or any other taxing authority
 with respect to any of the tax aspects of the contemplated transactions, and the discussion below is not
 binding upon the IRS or any court. No assurance can be given that the IRS would not assert, or that a court
 would not sustain, a different position than any position discussed herein.

          This summary does not address foreign, state, or local tax consequences of the contemplated
 transactions, nor does it purport to address the U.S. federal income tax consequences of the transactions to
 special classes of taxpayers (e.g., foreign taxpayers, small business investment companies, regulated
 investment companies, real estate investment trusts, banks and certain other financial institutions, insurance
 companies, tax-exempt organizations, retirement plans, individual retirement and other tax-deferred
 accounts, holders that are, or hold their Term Loan Secured Claims, IPCo Notes Claims, Ongoing Trade
 Claims, or Other General Unsecured Claims through, S corporations, partnerships or other pass-through
 entities for U.S. federal income tax purposes, persons whose functional currency is not the U.S. dollar,
 dealers in securities or foreign currency, traders that mark-to-market their securities, persons subject to the
 “Medicare” tax on net investment income, persons subject to the alternative minimum tax or to the special
 accounting rules under section 451(b) of the Tax Code, and persons whose Term Loan Secured Claims,
 IPCo Notes Claims, Ongoing Trade Claims, or Other General Unsecured Claims are part of a straddle,
 hedging, constructive sale, or conversion transaction). In addition, this discussion does not address U.S.
 federal taxes other than income taxes, nor does it apply to any person that acquired the New Common
 Shares in the secondary market, unless otherwise provided herein. This discussion assumes that the New
 Common Shares will be held as “capital assets” (generally, property held for investment) within the
 meaning of section 1221 of the Tax Code and, except as otherwise discussed herein, that the various debt
 and other arrangements to which any of the Debtors is a party will be respected for U.S. federal income tax
 purposes in accordance with their form.

         In accordance with the Transaction Support Agreement and in connection with the implementation
 of the Plan, holders of Term Loan Secured Claims and IPCo Notes Claims that are qualified institutional
 buyers or accredited investors were given the right to join the Transaction Support Agreement. Each holder
 of Term Loan Secured Claims or IPCo Notes Claims that joined the Transaction Support Agreement was
 given the right to participate in providing the DIP Obligations and, if it so participated, is required to
 participate in providing the New Term Loans and thereby will receive the New Equity Allocation and New
 Warrants in proportion to its ownership of such Term Loan Secured Claims or IPCo Notes Claims, as
 applicable (the “Joinder Right”). Any value attributable to the Joinder Right may be considered for tax
 purposes as value received by such holders of Term Loan Secured Claims and IPCo Notes Claims as a
 recovery on such Claims under the Plan. The Debtors have not yet determined whether treatment of the
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 Joinder Right as a recovery on the Term Loan Secured Claims and IPCo Notes Claims is appropriate or
 whether the Joinder Right has any value. The remainder of this summary assumes (unless otherwise
 indicated) that the Joinder Right is treated for U.S. federal income tax purposes as an option to acquire an
 “investment unit” comprised of a portion of the New Term Loans, New Equity Allocation and New
 Warrants. Another possible characterization is that the receipt and exercise of the Joinder Right could be
 treated as an integrated transaction pursuant to which a portion of the New Term Loans, New Equity
 Allocation and New Warrants is acquired directly in partial satisfaction of a holder’s Term Loan Secured
 Claim or IPCo Notes Claim. The Debtors have not yet determined whether this treatment is appropriate.
 The characterization of the Joinder Right and its subsequent exercise for U.S. federal income tax purposes—
 as the exercise of an option to acquire an investment unit comprised of a portion of the New Term Loans,
 New Equity Allocation or New Warrants or, alternatively, as an integrated transaction pursuant to which a
 portion of the New Term Loans, New Equity Allocation and New Warrants is acquired directly in partial
 satisfaction of a holder’s Term Loan Secured Claim or IPCo Notes Claim—is uncertain.

        The following summary of certain material U.S. federal income tax consequences is for
 informational purposes only and is not a substitute for careful tax planning and advice based upon a
 U.S. Holder’s individual circumstances. All holders of Claims are urged to consult their own tax
 advisor for the U.S. federal, state, local, non-U.S., and other tax consequences applicable under the
 Plan.

          A.        Consequences to Debtors

          For U.S. federal income tax purposes, Chinos Holdings is a common parent of an affiliated group
 of corporations that files a single consolidated U.S. federal income tax return (the “Chinos Group”), of
 which the other Debtors are members or are disregarded entities, directly or indirectly, wholly-owned by a
 member of the Chinos Group. The Debtors estimate that, as of the end of the fiscal year ending February
 2, 2020, the Chinos Group had carryforwards of disallowed business interest expense in excess of $148
 million, unused general business credits in excess of $1 million, a deferred loss of approximately $828
 million, and certain other tax attributes (collectively, the “Tax Attributes”). With respect to the fiscal year
 ending on February 2, 2021, the Debtors currently project book losses before interest expense of $180
 million (which are expected to result in consolidated federal net operating loss carryforwards (“NOLs”))
 and expect that a portion of their interest expense for the fiscal year ending on February 2, 2021 will be
 subject to disallowance and carryforward under section 163(j) of the Tax Code. The amount of any such
 NOLs and other Tax Attributes remain subject to further analysis of the Debtors and audit and adjustment
 by the IRS. Certain equity trading activity and the claiming of certain worthless stock deductions prior to
 the Effective Date could result in an ownership change of Chinos Holdings independent of the Plan, which
 could adversely affect the ability to fully utilize the Chinos Group’s Tax Attributes. In an attempt to
 minimize the likelihood of such an ownership change occurring, the Debtors obtained at the inception of
 the Chapter 11 Cases an interim order from the Bankruptcy Court authorizing protective procedures with
 respect to certain equity trading and worthless stock deductions.

         As discussed below, in connection with the implementation of the Plan, the Debtors expect the
 amount of certain of the Tax Attributes will be reduced. In addition, the subsequent utilization of any loss
 and other Tax Attributes remaining following the Effective Date may be limited. The Debtors are currently
 exploring an alternative transaction that would constitute a taxable transfer of the Debtors’ assets (an
 “Alternative Transaction”). The Debtors expect that the acquirer(s) in such an Alternative Transaction
 would initially hold the Debtors’ assets with a fair market value tax basis and none of the Debtors’ NOLs
 or other Tax Attributes would be carried over. The tax consequences to the Debtors of an Alternative
 Transaction, including the potential amount of cash tax liability (if any) resulting from the taxable transfer
 of assets, remain subject to ongoing analysis. The determination of whether to engage in an Alternative


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 Transaction will be made by the Requisite Consenting Support Parties and the Debtors. Except as otherwise
 noted, the following summary assumes that the Debtors will not engage in an Alternative Transaction.

                    1.          Cancellation of Debt

          In general, absent an exception, a debtor will realize and recognize cancellation of debt (“COD”)
 income upon satisfaction of its outstanding indebtedness for total consideration less than the amount of
 such indebtedness. The amount of COD income, in general, is the excess of (a) the adjusted issue price of
 the indebtedness satisfied, over (b) the sum of (i) the amount of cash paid, (ii) the issue price of any new
 indebtedness of the debtor issued, and (iii) the fair market value of any other new consideration (including
 stock of the debtor or a party related to the debtor) given in satisfaction, or as part of the discharge, of such
 indebtedness at the time of the exchange. The Plan provides that holders of Term Loan Secured Claims
 and holders of IPCo Note Claims will receive New Common Shares in exchange for their Term Loan
 Secured Claims and IPCo Notes Claims, respectively, so the amount of COD income for J.Crew Group,
 Inc., the borrower with respect to the Term Loan, and J.Crew Brand, LLC, the borrower with respect to the
 IPCo Notes, will depend in part on the fair market value of the New Common Shares. In addition, as
 discussed below (see IX.B.1(b)—“Consequences to Holders of Certain Claims—Treatment of the Joinder
 Right”), the Joinder Right or a portion of the New Term Loans, New Equity Allocation and New Warrants
 received pursuant to the exercise of the Joinder Right may be viewed for tax purposes as a recovery on the
 Term Loan Secured Claims and IPCo Notes Claims, in which case the value of the Joinder Right or such
 portion of the New Term Loans, New Equity Allocation and New Warrants received pursuant to the
 exercise of the Joinder Right would be taken into account in determining the amount of COD income.
 Accordingly, the estimated amount of COD income with respect to the Term Loan Secured Claims or IPCo
 Notes Claims is subject to further analysis.

          Under section 108 of the Tax Code, any COD income of a debtor is excluded from gross income if
 the debtor is under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy Code and the
 discharge of debt occurs pursuant to that proceeding. As a consequence of such exclusion, a debtor
 generally must reduce its tax attributes by the amount of COD income that it excluded from gross income.
 In general, tax attributes of the debtor are reduced in the following order: (a) NOLs; (b) general business
 credit carryovers; (c) alternative minimum tax credit carryovers; (d) capital loss carryovers; (e) tax basis in
 assets, which includes the stock of subsidiaries; (f) passive activity loss and credit carryovers; and
 (g) foreign tax credit carryovers. Alternatively, a debtor with excluded COD income may elect first to
 reduce the basis of its depreciable assets. Although not free from doubt, it is expected that carryovers of
 disallowed business interest expense are not tax attributes subject to such reduction. The reduction of the
 debtor’s tax attributes occurs at the end of the tax year for which the excluded COD income is realized, but
 only after the net income or loss for the taxable year of the debt discharge has been determined; in this way,
 the attribute reduction is generally effective as of the start of the taxable year following the discharge. If
 the amount of excluded COD income exceeds available tax attributes, the excess generally is not subject to
 U.S. federal income tax and has no other U.S. federal income tax impact. Where the debtor joins in the
 filing of a consolidated U.S. federal income tax return, applicable Treasury Regulations require, in certain
 circumstances, that certain tax attributes of other members of the group also be reduced.

           In connection with the implementation of the Plan, the Debtors expect to realize a substantial
 amount of excluded COD income for U.S. federal income tax purposes, with an attendant reduction in Tax
 Attributes (but in the case of tax basis where no election is made to reduce the basis of depreciable assets
 as described above, only to the extent such tax basis exceeds the amount of the respective Debtor’s
 liabilities, as determined for these purposes, immediately after the Effective Date). As noted above, if an
 Alternative Transaction is implemented, the acquirer(s) in such an Alternative Transaction will not succeed
 to any Tax Attributes of the Debtors.


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                    2.          Limitation on NOLs and Other Tax Attributes

          Following the Effective Date, any NOLs, carryforwards of disallowed business interest expense
 and certain other Tax Attributes allocable to tax periods or portions thereof ending on or prior to the
 Effective Date (collectively, “Pre-Change Losses”) may be subject to certain limitations under sections
 382 and 383 of the Tax Code. Any such limitations apply in addition to, and not in lieu of, the use of
 attributes or the attribute reduction that results from the exclusion of COD income arising in connection
 with the Plan.

          If a corporation or consolidated group undergoes an “ownership change” as defined under section
 382 of the Tax Code, the amount of its “pre-change losses” that may be utilized to offset future taxable
 income generally is subject to an annual limitation. The Debtors anticipate that the distribution of the New
 Common Shares pursuant to the Plan will result in an ownership change of the Reorganized Debtors for
 these purposes, and that the Reorganized Debtors’ use of their Pre-Change Losses will be subject to
 limitation unless an exception to the general rules of sections 382 and 383 of the Tax Code applies. If an
 Alternative Transaction is implemented, the rules under sections 382 and 383 of the Tax Code are not
 expected to be relevant, and the acquirer(s) in such an Alternative Transaction will not succeed to any Tax
 Attributes of the Debtors.

                                       General Annual Limitation

         In general, the amount of the annual limitation to which a corporation or consolidated group that
 undergoes an ownership change would be subject is equal to the product of (a) the fair market value of the
 stock of the corporation (or parent of the consolidated group) immediately before the ownership change
 (with certain adjustments) multiplied by (b) the “long-term tax-exempt rate” (which is the highest of the
 adjusted federal long-term rates in effect for any month in the three (3)-calendar-month period ending with
 the calendar month in which the ownership change occurs, e.g., 1.47 percent for ownership changes
 occurring in May, 2020). For a corporation or consolidated group in bankruptcy that undergoes an
 ownership change pursuant to a confirmed bankruptcy plan, unless the special exception described below
 (see IX.A.2(b)—“Limitation on NOLs and Other Tax Attributes —Section 382(l)(5) Exception”) applies,
 the annual limitation is generally determined by reference to the fair market value of the stock of the
 corporation (or the parent of the consolidated group) immediately after (rather than before) the ownership
 change and after giving effect to the discharge of creditors’ claims, subject to certain adjustments (the
 “382(l)(6) Exception”); in no event, however, can the stock value for this purpose exceed the pre-change
 gross value of the assets of the corporation or consolidated group.

         Any portion of the annual limitation that is not used in a given year may be carried forward, thereby
 adding to the annual limitation for the subsequent taxable year.

          Under certain circumstances, the annual limitation otherwise computed may be increased if the
 corporation or consolidated group has an overall built-in gain in its assets at the time of the ownership
 change. If a loss corporation or consolidated group has such “net unrealized built-in gain” at the time of an
 ownership change (taking into account most assets and items of “built-in” income, gain, loss, and
 deduction), any built-in gains recognized (or, according to a currently effective IRS notice, treated as
 recognized) during the following sixty (60)-month period (up to the amount of the original net unrealized
 built-in gain) generally will increase the annual limitation in the year of such recognition, such that the loss
 corporation or consolidated group would be permitted to use its pre-change losses against such built-in gain
 income in addition to its otherwise applicable annual limitation. Alternatively, if a loss corporation or
 consolidated group has a “net unrealized built-in loss” at the time of an ownership change, then built-in
 losses (including, but not limited to, amortization or depreciation deductions attributable to such built-in
 losses) recognized during the sixty (60)-month period following the ownership change (up to the amount

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 of the original net unrealized built-in loss) will be treated as pre-change losses, the deductibility of which
 will be subject to the annual limitation. In general, the net unrealized built-in gain or loss will be deemed
 to be zero unless it is greater than the lesser of (a) $10,000,000 or (b) fifteen percent (15%) of the fair
 market value of the corporation’s or consolidated group’s assets (with certain adjustments) before the
 ownership change. On September 9, 2019, the U.S. Department of the Treasury issued proposed regulations
 that would significantly modify the calculation and treatment of net unrealized built-in gains and losses;
 however, the U.S. Department of the Treasury subsequently amended the proposed effective date provision
 to exempt from the new regulations ownership changes pursuant to chapter 11 cases filed prior to the
 regulations becoming effective. Thus, the proposed regulations should not apply to the Debtors. Although
 not free from doubt, it is currently expected that the Chinos Group will have a net unrealized built-in gain
 as of the Effective Date.

          If the corporation or consolidated group does not continue its historic business or use a significant
 portion of its historic assets in a new business for at least two years after the ownership change, the annual
 limitation resulting from the ownership change is reduced to zero, thereby precluding any utilization of the
 corporation’s pre-change losses (absent any increases due to recognized built-in gains). Currently, the
 Debtors anticipate that regardless of the application of section 382 of the Tax Code, all of their NOLs
 generated in taxable years ending prior to the Effective Date will be fully utilized in the fiscal year ending
 February 2, 2020 and/or carried back to prior taxable years pursuant to provisions of the recently enacted
 coronavirus-related stimulus legislation known as the CARES Act. However, section 382 of the Tax Code
 may restrict the subsequent utilization of other Tax Attributes, such as the carryforward of any disallowed
 business interest expense allocable to the period through the Effective Date and the portion of any NOLs
 generated during the current taxable year and allocable to the period through the Effective Date.

                                    Section 382(l)(5) Bankruptcy Exception

          An exception to the foregoing annual limitation rules generally applies when, among other
 requirements, existing shareholders and “qualified creditors” of a debtor corporation receive, in respect of
 their equity interests or claims (as applicable), at least fifty percent (50%) of the vote and value of the stock
 of the reorganized debtor (or a controlling corporation) pursuant to a confirmed chapter 11 plan (the
 “382(l)(5) Exception”). The IRS has in private letter rulings applied the 382(l)(5) Exception on a
 consolidated basis where the parent corporation is in bankruptcy. Generally, qualified creditors are
 creditors who (a) held their claims continuously for at least eighteen (18) months at the time the bankruptcy
 petition is filed and thereafter, (b) hold claims incurred in the ordinary course of the debtor’s business and
 held those claims continuously since they were incurred, or (c) in certain cases, do not become five percent
 (5%) shareholders of the reorganized corporation.

           Under the 382(l)(5) Exception, a debtor’s pre-change losses are not subject to the annual limitation.
 However, if the 382(l)(5) Exception applies, the amount of the debtor’s pre-change losses is re-determined
 as if no interest deductions were allowable during the three (3) taxable years preceding the taxable year that
 includes the effective date of the plan of reorganization, and during the part of the taxable year prior to and
 including the effective date of the plan of reorganization, in respect of all debt converted into stock in the
 reorganization. If the 382(l)(5) Exception applies and the Reorganized Debtors thereafter undergo another
 ownership change within two (2) years after the Effective Date, the annual limitation with respect to such
 later ownership change could be zero, effectively precluding the utilization of any Pre-Change Losses at
 the time of such later ownership change against future income of the Reorganized Debtors. Any future
 ownership change after such two (2)-year period would subject the Reorganized Debtors to the general
 limitations under sections 382 and 383 of the Tax Code. A debtor that qualifies for this exception may, if
 it so desires, elect not to have the 382(l)(5) Exception apply and instead remain subject to the annual
 limitation described above.


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         The Debtors have not determined whether or not the 382(l)(5) Exception will apply in connection
 with the Plan. Accordingly, it is possible that the Debtors will not qualify for, or that the Debtors will elect
 not to apply, this exception. In order to preserve the potential to qualify for the 382(l)(5) Exception, the
 Debtors provided notice at the inception of the Chapter 11 Cases that if and to the extent determined
 necessary, the Debtors may seek to implement certain procedures to monitor the trading and accumulation
 of Claims against the Debtors, and subsequent court orders in connection therewith may require that a
 purchaser of certain Claims after the Petition Date resell some or all of such Claims.

                                       Section 382(l)(6) Bankruptcy Exception

          As described above, where the 382(l)(5) Exception is not applicable (either because the debtor does
 not qualify for it or the debtor otherwise elects not to utilize the 382(l)(5) Exception), the 382(l)(6)
 Exception will generally apply. When the 382(l)(6) Exception applies, a debtor corporation that undergoes
 an ownership change generally is permitted to determine the fair market value of its stock after taking into
 account the increase in value resulting from any surrender or cancellation of creditors’ claims in the
 bankruptcy. This differs from the ordinary rule that requires the fair market value of a debtor corporation
 that undergoes an ownership change to be determined before the events giving rise to the change. The
 382(l)(6) Exception also differs from the 382(l)(5) Exception in that the debtor corporation is not required
 to re-determine the amount of its pre-change losses as if no interest deductions were allowable with respect
 to the debt exchanged for stock in the manner described above, and the debtor may undergo a change of
 ownership within two years without completely losing the ability to use its pre-change losses.

                    3.          Potential Application of AHYDO Provisions

            The New Term Loan may be subject to the provisions of the Tax Code dealing with “applicable
 high yield discount obligations” (“AHYDOs”). These provisions can result in the deferral, and even
 disallowance, of an issuer’s deduction of interest with respect to “original issue discount” (“OID”). The
 New Term Loan is expected to be issued with OID. A debt obligation is generally treated as an AHYDO
 if it is issued with substantial OID (meaning that there is accrued unpaid OID as of the close of the first
 accrual period ending after the fifth (5th) anniversary of issuance in excess of one year’s interest, both
 actual and imputed), has a yield to maturity of at least five percentage points (5%) over the applicable
 federal rate in effect for the calendar month in which such notes are issued, and has a maturity of over five
 (5) years.

          In the event that a debt instrument constitutes an AHYDO, the issuer’s deduction with respect to
 any interest is generally deferred until such interest is paid in cash. Moreover, if the yield to maturity on
 the debt instrument is more than six percentage points (6%) over the applicable federal rate, a portion of
 the issuer’s interest deduction is disallowed. Because the New Term Loan will be structured to include so-
 called AHYDO catch-up payments, the New Term Loan is not expected to constitute an AHYDO. If,
 however, contrary to that expectation, the New Term Loan is considered to be an AHYDO, Reorganized
 Chinos Holdings’ deduction with respect to any interest relating to New Term Loan may, in part, be deferred
 or disallowed.

          B.        Consequences to Holders of Claims

          This summary discusses the U.S. federal income tax consequences to holders of Term Loan
 Secured Claims, IPCo Notes Claims, Ongoing Trade Claims, and Other General Unsecured Claims who
 are U.S. Holders and does not discuss tax consequences for those who are not U.S. Holders. Except as
 otherwise discussed herein, the summary below generally assumes that holders of such Claims will, each
 as a class, vote to accept the Plan. As used herein, the term “U.S. Holder” means a beneficial owner of
 Term Loan Secured Claims, IPCo Notes Claims, Ongoing Trade Claims, Other General Unsecured Claims,

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 New Common Shares or, if applicable, the Joinder Right or New Warrants, that is for U.S. federal income
 tax purposes:

          •         an individual who is a citizen or resident of the United States;

          •         a corporation, or other entity taxable as a corporation for U.S. federal income tax purposes,
                    created or organized in or under the laws of the United States, any state thereof or the
                    District of Columbia;

          •         an estate the income of which is subject to U.S. federal income taxation regardless of its
                    source; or

          •         a trust, if a court within the United States is able to exercise primary jurisdiction over its
                    administration and one or more U.S. persons have authority to control all of its substantial
                    decisions, or if the trust has a valid election in effect under applicable Treasury Regulations
                    to be treated as a U.S. person.

          If a partnership or other entity or arrangement taxable as a partnership for U.S. federal income tax
 purposes holds such Term Loan Secured Claims, IPCo Notes Claims, Ongoing Trade Claims, Other General
 Unsecured Claims, New Common Shares or, if applicable, the Joinder Right or New Warrants, the tax
 treatment of a partner in such partnership generally will depend upon the status of the partner and the
 activities of the partnership. Each U.S. Holder that is a partner in such a partnership holding any of such
 instruments should consult its own tax advisor.

                    1.          Holders of Class 4 Term Loan Secured Claims and Holders of Class 5 IPCo
                                Notes Claims

                                       Gain or Loss

          Pursuant to the Plan, holders of Allowed Term Loan Secured Claims and holders of Allowed IPCo
 Notes Claims will receive New Common Shares in Reorganized Chinos Holdings in satisfaction of their
 Claims against certain subsidiary Debtors. Each U.S. Holder of a Term Loan Secured Claim or an IPCo
 Notes Claim, as applicable, will recognize gain or loss in an amount equal to the difference, if any, between
 (i) the fair market value of the New Common Shares received in respect of the Claim and potentially the
 fair market value of the Joinder Right or a portion of the New Term Loans, New Equity Allocation and
 New Warrants received pursuant to the exercise of the Joinder Right, as discussed below under “Treatment
 of the Joinder Right” (other than the fair market value of any consideration received for accrued but unpaid
 interest and possibly accrued OID), and (ii) the U.S. Holder’s adjusted tax basis in the Claim exchanged
 (other than any tax basis attributable to accrued but unpaid interest and possibly accrued OID). See
 IX.B.4—“Character of Gain or Loss,” below. The tax treatment of a holder of Allowed Term Loan Secured
 Claims or Allowed IPCo Notes Claims is expected to be the same if an Alternative Transaction is
 implemented.

         In addition, a U.S. Holder of a Term Loan Secured Claim or an IPCo Notes Claim will have
 ordinary interest income to the extent of any exchange consideration allocable to accrued but unpaid interest
 or accrued OID not previously included in income in respect of the Term Loan or IPCo Note, as applicable.
 See B.5.—“Distributions in Discharge of Accrued Interest,” below. A U.S. Holder of Term Loan Secured
 Claims or IPCo Notes Claims will have a tax basis in the New Common Shares received in exchange for
 its Term Loan Secured Claims or IPCo Notes Claims, as applicable, equal to the fair market value of the
 New Common Shares received. The U.S. Holder’s holding period in such New Common Shares received
 should commence on the day following the Effective Date.

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                                    Treatment of the Joinder Right

          Because the Joinder Right was made available to holders of Term Loan Secured Claims and IPCo
 Notes Claims that are qualified institutional buyers or accredited investors in accordance with the
 Transaction Support Agreement and in connection with the implementation of the Plan, any value
 attributable to the Joinder Right may be considered for tax purposes as value received by holders of Term
 Loan Secured Claims and IPCo Notes Claims as a recovery on such Claims under the Plan. The Debtors
 have not yet determined whether the treatment of the Joinder Right as a recovery on the Term Loan Secured
 Claims and IPCo Notes Claims is appropriate or whether the Joinder Right has any value. As discussed
 above, the characterization of the Joinder Right and its subsequent exercise for U.S. federal income tax
 purposes—as the exercise of an option to acquire an investment unit comprised of a portion of the New
 Term Loans, New Equity Allocation and New Warrants or, alternatively, as an integrated transaction
 pursuant to which a portion of the New Term Loans, New Equity Allocation and New Warrants is acquired
 directly in partial satisfaction of a U.S. Holder’s Term Loan Secured Claim or IPCo Notes Claim—is
 uncertain.

         If the Joinder Right is treated as a recovery on the Term Loan Secured Claims and the IPCo Notes
 Claims, the fair market value of the Joinder Right would be taken into account in determining a U.S.
 Holder’s gain or loss with respect to its Term Loan Secured Claim or IPCo Notes Claim, as applicable, and
 a U.S. Holder would have a tax basis in the Joinder Right equal to the fair market value of the Joinder Right.
 To the extent the Joinder Right and its subsequent exercise are treated as an integrated transaction for U.S.
 federal income tax purposes, any portion of the New Term Loans, New Equity Allocation and New
 Warrants treated as acquired directly in partial satisfaction of such Claims would be taken into account in
 determining gain or loss with respect to a U.S. Holder’s Term Loan Secured Claim or IPCo Notes Claim,
 as applicable. The Debtors have not yet determined whether this treatment is appropriate.

          Regardless of the characterization of the Joinder Right as an option or, alternatively, under the
 integrated transaction analysis, a U.S. Holder of Term Loan Secured Claims or IPCo Notes Claims
 generally would not recognize any gain or loss upon the exercise of the Joinder Right. The Debtors have
 not yet determined whether either characterization is appropriate. If one of these characterizations was to
 apply, a U.S. Holder’s aggregate tax basis in the New Term Loans, New Equity Allocation and New
 Warrants would be equal to the sum of (a) the amount paid, whether in the form of cash or in the form of
 the converted DIP Obligations, for the New Term Loans, New Equity Allocation and New Warrants and
 (b) the U.S. Holder’s tax basis, if any, in either (i) the Joinder Right, or (ii) under an integrated transaction
 analysis, any New Term Loans, New Equity Allocation and New Warrants received pursuant to the exercise
 of the Joinder Right to the extent that they are treated as directly acquired in partial satisfaction of the U.S.
 Holder’s Term Loan Secured Claim or IPCo Notes Claim. Such aggregate basis would be allocated
 between the New Term Loans, New Equity Allocation and New Warrants so received in accordance with
 their relative fair market values. A U.S. Holder’s holding period in the New Term Loans, New Equity
 Allocation and New Warrants received upon exercise of the Joinder Right generally should commence on
 the day following the Effective Date.

          It is uncertain whether a U.S. Holder that receives but does not exercise the Joinder Right should
 be treated as receiving anything of additional value in respect of its Term Loan Secured Claim or IPCo
 Notes Claim. If the U.S. Holder is treated as having received a Joinder Right of value (despite their
 subsequent lapse), such that it obtains a tax basis in the Joinder Right, the U.S. Holder generally would
 recognize a loss to the extent of the U.S. Holder’s tax basis in the Joinder Right. In general, such loss would
 be a short-term capital loss.




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                                       New Common Shares

          If Reorganized Chinos Holdings makes cash distributions with respect to the New Common Shares,
 the distributions will generally be includible as ordinary dividend income on the day on which the dividends
 are actually or constructively received by a U.S. Holder to the extent paid out of the Reorganized Chinos
 Holdings’ current earnings and profits or earnings and profits accumulated as of the end of the prior year,
 as determined under U.S. federal income tax principles. To the extent the amount of any such distribution
 exceeds such current and accumulated earnings and profits, the excess will be treated as a non-taxable return
 of capital to the extent, and in reduction, of the U.S. Holder’s adjusted tax basis in the New Common Shares
 and as gain from the sale or exchange of such stock to the extent it exceeds the U.S. Holder’s adjusted tax
 basis. Non-corporate U.S. Holders may be eligible for reduced rates of taxation on dividends. Dividends
 paid to corporate U.S. Holders may be eligible for the dividends received deduction.

          Unless a nonrecognition provision applies, U.S. Holders generally will recognize gain or loss upon
 the sale or exchange of the New Common Shares in an amount equal to the difference, if any, between
 (i) the U.S. Holder’s adjusted tax basis in the New Common Shares held and (ii) the sum of the cash and
 the fair market value of any property received from such disposition. Any such gain or loss generally
 should be long-term capital gain or loss if the U.S. Holder’s holding period for its New Common Shares
 exceeds one year at that time. A reduced tax rate on long-term capital gain may apply to non-corporate
 U.S. Holders. The deductibility of capital loss is subject to significant limitations.

          In general, any gain recognized by a U.S. Holder upon a disposition of the New Common Shares
 (or any stock or property received for such New Common Shares in a later tax-free exchange) received in
 exchange for a Term Loan Secured Claim or IPCo Notes Claim, as applicable, will be treated as ordinary
 income for U.S. federal income tax purposes to the extent of (i) any ordinary loss deductions previously
 claimed as a result of the write-down of the Claim, decreased by any income (other than interest income)
 recognized by the U.S. Holder upon exchange of the Claim, and (ii) with respect to a cash-basis holder and
 in addition to clause (i) above, any amounts which would have been included in its gross income if the U.S.
 Holder’s Claim had been satisfied in full but which was not included by reason of the cash method of
 accounting.

                    2.          Holders of Class 6(a) Ongoing Trade Claims

          Pursuant to the Plan, holders of Allowed Ongoing Trade Claims will receive, in final satisfaction
 of their Claims, their Pro Rata share of a cash pool in an aggregate amount equal to $71,000,000; provided
 that the aggregate amount of cash distributed on account of an Allowed Ongoing Trade Claim will not
 exceed fifty percent of the Allowed amount of such Claim.

          In general, a U.S. Holder of an Allowed Ongoing Trade Claim will recognize gain or loss in an
 amount equal to the difference, if any, between (i) the cash received in satisfaction of its Claim (other than
 any consideration received in respect of a Claim for accrued but unpaid interest and possibly accrued OID),
 and (ii) the U.S. Holder’s adjusted tax basis in its Claim (other than any tax basis attributable to accrued
 but unpaid interest and possibly accrued OID). See IX.B.4—“Character of Gain or Loss,” below. A U.S.
 Holder will have ordinary interest income to the extent of any consideration allocable to accrued but unpaid
 interest not previously included in income. See IX.B.5—“Distributions in Discharge of Accrued Interest,”
 below. The tax treatment of a holder of Allowed Ongoing Trade Claims is expected to be the same if an
 Alternative Transaction is implemented.

         In the event of the subsequent disallowance of any Ongoing Trade Claims, a U.S. Holder of a
 previously Allowed Ongoing Trade Claim may receive additional post-Effective Date distributions.
 Accordingly, it is possible that any loss, or a portion of any gain, realized by a U.S. Holder may be deferred

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 until all Disputed Ongoing Trade Claims are Allowed or Disallowed. In addition, a U.S. Holder may have
 imputed interest income with respect to such post-Effective Date distribution. U.S. Holders are urged to
 consult their own tax advisors regarding the possible application (and the ability to elect out) of the
 “installment method” of reporting any gain that may be recognized by them in respect of their Claims due
 to the receipt of consideration in a taxable year subsequent to the taxable year in which the Effective Date
 occurs. The discussion herein assumes that the installment method does not apply.

                    3.          Holders of Class 6(b) Other General Unsecured Claims

         Pursuant to the Plan, holders of Other General Unsecured Claims (other than holders of Term Loan
 Deficiency Claims) will receive, in final satisfaction of their Claims, their Pro Rata share of cash allocable
 to the applicable Debtor cash pool in an aggregate amount equal to (a) $3,000,000, if the class votes to
 accept the Plan, or (b) $1,000,000, if the class votes to reject the Plan; provided that the aggregate amount
 of cash distributed on account of an Allowed Ongoing Trade Claim will not exceed fifty percent of the
 Allowed amount of such Claim.

          In general, a U.S. Holder of an Allowed Other General Unsecured Claim will recognize gain or
 loss in an amount equal to the difference, if any, between (i) any cash received in satisfaction of its Claim
 (other than any consideration received in respect of a Claim for accrued but unpaid interest and possibly
 accrued OID), and (ii) the U.S. Holder’s adjusted tax basis in its Claim (other than any tax basis attributable
 to accrued but unpaid interest and possibly accrued OID). See IX.B.4—“Character of Gain or Loss,” below.
 A U.S. Holder will have ordinary interest income to the extent of any consideration allocable to accrued
 but unpaid interest not previously included in income. See IX.B.5—“Distributions in Discharge of Accrued
 Interest,” below. The tax treatment of a holder of Allowed Other General Unsecured Claims is expected to
 be the same if an Alternative Transaction is implemented.

         In the event of the subsequent disallowance of any Other General Unsecured Claims, a U.S. Holder
 of a previously Allowed Other General Unsecured Claim (other than holders of Term Loan Deficiency
 Claims) may receive additional post-Effective Date distributions subject to the treatment discussed above
 (see IX.B.2—“Holders of Class 6(a) Ongoing Trade Claims”). U.S. Holders are urged to consult their own
 tax advisors regarding the treatment of additional post-Effective Date distributions.

                    4.          Character of Gain or Loss

          Where gain or loss is recognized by a U.S. Holder, the character of such gain or loss as long-term
 or short-term capital gain or loss or as ordinary income or loss will be determined by a number of factors,
 including the tax status of the holder, whether the Term Loan Secured Claim, IPCo Notes Claim, Ongoing
 Trade Claim, or Other General Unsecured Claim constitutes a capital asset in the hands of the U.S. Holder
 and how long it has been held, whether the Term Loan Secured Claim, IPCo Notes Claim, Ongoing Trade
 Claim, or Other General Unsecured Claim was acquired at a market discount, and whether and to what
 extent the holder previously claimed a bad debt deduction. In general, any gain or loss generally should be
 long-term capital gain or loss if the U.S. Holder’s holding period is more than one year at that time. A
 reduced tax rate on long-term capital gain may apply to non-corporate U.S. Holders. The deductibility of
 capital loss is subject to significant limitations.

         A U.S. Holder that purchased its Term Loan Secured Claims, IPCo Notes Claims, or Ongoing
 Trade Claims, or Other General Unsecured Claims from a prior holder at a “market discount” (relative to
 the principal amount of the Term Loan Secured Claims, IPCo Notes Claims, or Ongoing Trade Claims, or
 Other General Unsecured Claims at the time of acquisition) may be subject to the market discount rules of
 the Tax Code. In general, a debt instrument is considered to have been acquired with market discount if
 the U.S. Holder’s adjusted tax basis in the debt instrument is less than (i) its “stated redemption price at

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 maturity” (which generally would be equal to the stated principal amount if all stated interest was required
 to be paid in cash or property at least annually) or (ii) in the case of a debt instrument issued with OID, its
 adjusted issue price, in each case, by at least a de minimis amount. Under these rules, any gain recognized
 on the exchange of Term Loan Secured Claims, IPCo Notes Claims, Ongoing Trade Claims, or Other
 General Unsecured Claims (other than in respect of a Term Loan Secured Claim, IPCo Notes Claim,
 Ongoing Trade Claim, or Other General Unsecured Claim for accrued but unpaid interest) generally will
 be treated as ordinary income to the extent of the market discount accrued (on a straight line basis or, at the
 election of the holder, on a constant yield basis) during the U.S. Holder’s period of ownership, unless the
 holder elected to include the market discount in income as it accrued. If a U.S. Holder of a Term Loan
 Secured Claim, IPCo Notes Claim, Ongoing Trade Claim, or Other General Unsecured Claim did not elect
 to include market discount in income as it accrued and, thus, under the market discount rules, was required
 to defer all or a portion of any deductions for interest on debt incurred or maintained to purchase or carry
 its Term Loan Secured Claim, IPCo Notes Claim, Ongoing Trade Claim, or Other General Unsecured
 Claim, such deferred amounts would become deductible at the time of the exchange.

                    5.          Distributions in Discharge of Accrued Interest

          In general, to the extent that any exchange consideration received pursuant to the Plan by a U.S.
 Holder of a Term Loan Secured Claim, IPCo Notes Claim, Ongoing Trade Claim, or Other General
 Unsecured Claim is received in satisfaction of accrued interest or OID during its holding period, such
 amount will be taxable to the U.S. Holder as interest income (if not previously included in the U.S. Holder’s
 gross income). Conversely, a U.S. Holder may be entitled to recognize a deductible loss to the extent any
 accrued interest or OID was previously included in its gross income and is not paid in full. However, the
 IRS has privately ruled in the case of a tax-free exchange that a holder could not claim an ordinary loss
 with respect to any unpaid OID. It is unclear whether the same result would arise in the case of a taxable
 transaction with respect to previously included OID that is not paid in full.

          The Plan provides that except as otherwise required by law (as reasonably determined by the
 Reorganized Debtors), distributions with respect to Allowed Term Loan Secured Claims, IPCo Notes
 Claims, Ongoing Trade Claims, or Other General Unsecured Claims are allocable first to the principal
 amount of such Allowed Claims (as determined for U.S. federal income tax purposes) and, thereafter, to
 the remaining portion of such Allowed Claims, including any Allowed Claim for accrued but unpaid
 interest, if any. See Section 6.18 of the Plan. There is no assurance that the IRS will respect such allocation
 for U.S. federal income tax purposes. U.S. Holders are urged to consult their own tax advisor regarding
 the allocation of consideration received under the Plan, as well as the deductibility of accrued but unpaid
 interest (including OID) and the character of any loss claimed with respect to accrued but unpaid interest
 (including OID) previously included in gross income for U.S. federal income tax purposes.

                    6.          Information Reporting and Backup Withholding

          Payments of interest (including accruals of OID) or dividends and any other reportable payments,
 possibly including amounts received pursuant to the Plan and payments of proceeds from the sale,
 retirement or other disposition of the exchange consideration, may be subject to “backup withholding”
 (currently at a rate of 24%) if a recipient of those payments fails to furnish to the payor certain identifying
 information, fails properly to report interest or dividends, and, under certain circumstances, fails to provide
 a certification that the recipient is not subject to backup withholding. Backup withholding is not an
 additional tax. Any amounts deducted and withheld generally should be allowed as a credit against that
 recipient’s U.S. federal income tax, provided that appropriate proof is timely provided under rules
 established by the IRS. Furthermore, certain penalties may be imposed by the IRS on a recipient of
 payments who is required to supply information but who does not do so in the proper manner. Backup
 withholding generally should not apply with respect to payments made to certain exempt recipients, such
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 as corporations and financial institutions. Information may also be required to be provided to the IRS
 concerning payments, unless an exemption applies. U.S. Holders should consult their own tax advisor
 regarding their qualification for exemption from backup withholding and information reporting and the
 procedures for obtaining such an exemption.

          Treasury Regulations generally require disclosure by a taxpayer on its U.S. federal income tax
 return of certain types of transactions in which the taxpayer participated, including, among other types of
 transactions, certain transactions that result in the taxpayer’s claiming a loss in excess of certain thresholds.
 U.S. Holders are urged to consult their own tax advisor regarding these regulations and whether the
 contemplated transactions under the Plan would be subject to these regulations and require disclosure on
 their tax return.

         The foregoing summary has been provided for informational purposes only and does not
 discuss all aspects of U.S. federal income taxation that may be relevant to a particular holder of a
 Claim. All holders of Claims are urged to consult their tax advisors concerning the federal, state,
 local, non-U.S., and other tax consequences applicable under the Plan.

                                                  X.
                                CERTAIN RISK FACTORS TO BE CONSIDERED

          Before voting to accept or reject the Plan, holders of Claims should read and carefully consider the
 risk factors set forth below, in addition to the information set forth in this Disclosure Statement together
 with any attachments, exhibits, or documents incorporated by reference hereto. The factors below should
 not be regarded as the only risks associated with the Plan or its implementation.

          A.        Certain Bankruptcy Law Considerations

                    1.          Risk of Non-Confirmation of Plan

          Although the Debtors believe that the Plan will satisfy all requirements necessary for confirmation
 by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the same
 conclusion or that modifications to the Plan will not be required for confirmation or that such modifications
 would not necessitate re-solicitation of votes. Moreover, the Debtors can make no assurances that they will
 receive the requisite acceptances to confirm the Plan, and even if all Classes entitled to vote on the Plan
 vote in favor of the Plan or the requirements for “cramdown” are met with respect to any Class that rejects
 the Plan, the Bankruptcy Court, which may exercise substantial discretion as a court of equity, may choose
 not to confirm the Plan. If the Plan is not confirmed, it is unclear what distributions (if any) holders of
 Claims or Interests ultimately would receive with respect to their Claims or Interests under a subsequent
 plan of reorganization.

                    2.          Risk of Non-Consensual Confirmation

          If any impaired class of Claims or Interests does not accept or is deemed not to accept the Plan, the
 Bankruptcy Court may nevertheless confirm such Plan if at least one impaired class has accepted the Plan
 (with such acceptance being determined without including the vote of any “insider” in such class), and as
 to each impaired class that has not accepted the Plan, the Bankruptcy Court determines that the Plan “does
 not discriminate unfairly” and is “fair and equitable” with respect to such class. The Debtors believe that
 the Plan satisfies these requirements.




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                    3.          Risk of Non-Occurrence of Effective Date

          Although the Debtors believe that the Effective Date will occur soon after the Confirmation Date,
 there can be no assurance as to the timing of the Effective Date. If the conditions precedent to the Effective
 Date set forth in the Plan have not occurred or have not been waived as set forth in Article IX of the Plan,
 then the Confirmation Order may be vacated, in which event no distributions would be made under the
 Plan, the Debtors and all holders of Claims or Interests would be restored to the status quo as of the day
 immediately preceding the Confirmation Date, and the Debtors’ obligations with respect to Claims and
 Interests would remain unchanged.

                    4.          Risk of Termination of Transaction Support Agreement

           The Transaction Support Agreement contains certain provisions that give the parties thereto the
 right to terminate the Transaction Support Agreement if various events occur. As noted above, termination
 of the Transaction Support Agreement could result in protracted Chapter 11 Cases, which could
 significantly and detrimentally impact the Debtors’ relationships with vendors, suppliers, employees, and
 customers. The Transaction Support Agreement provides that if the Transaction Support Agreement is
 terminated, each vote or any consent given by the Consenting Support Parties or the Sponsors prior to such
 termination will be deemed null and void ab initio.

                    5.          Conversion to Chapter 7 Cases

          If no plan of reorganization can be confirmed, or if the Bankruptcy Court otherwise finds that it
 would be in the best interest of holders of Claims and Interests, the Chapter 11 Cases may be converted to
 cases under chapter 7 of the Bankruptcy Code, after which a trustee would be appointed to liquidate the
 Debtors’ assets and distribute their proceeds in accordance with the priorities established by the Bankruptcy
 Code. See Article VII.C hereof, as well as the Liquidation Analysis attached hereto as Exhibit C, for a
 discussion of the effects that a chapter 7 liquidation would have on the recoveries of holders of Claims and
 Interests.

                    6.          Claims Could Be More than Projected

         There can be no assurance that the estimated Allowed amount of Claims will not be significantly
 more than projected, which, in turn, could cause the value of distributions to be reduced substantially.
 Inevitably, some assumptions will not materialize, and unanticipated events and circumstances may affect
 the ultimate results. Therefore, the actual amount of Allowed Claims may vary from the Debtors’
 projections and feasibility analysis, and the variation may be material.

          B.        Risks Relating to Reorganized Debtors’ Business and Financial Condition

                    1.          Risks Associated with Debtors’ Business and Industry

          The fashion retail business is highly competitive. The fashion retail industry generally compete on
 quality, design, customer service, and price. The Reorganized Debtors will compete primarily with
 specialty retailers, department stores and e-commerce businesses that engage in the sale of women’s, men’s,
 and children’s apparel, accessories and similar merchandise, some of whom are or may become the
 Reorganized Debtors’ wholesale customers. Heightened competition could include the intensification of
 price competition, the entry of new competitors and the expansion, renovation, and opening of new stores
 by new and existing competitors. If the Reorganized Debtors fail to successfully respond to competitive
 pressures in this industry or to effectively implement their strategies to respond to these pressures, their
 operating results may be negatively affected. Some of the Reorganized Debtors’ principal competitors will

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 have greater financial resources than the Reorganized Debtors and either have used or may in the future use
 those resources to take steps that may have an adverse effect on the Reorganized Debtors’ competitive
 position and financial performance.

                    2.          COVID-19 Risks

          The Debtors have experienced operational and liquidity issues as a result of COVID-19. As of the
 Petition Date, all of the Debtors’ retail stores are closed. Continued store closures may adversely impact
 the Debtors’ sale volume and online traffic. In addition, while the Debtors’ two distribution facilities
 continue to operate as of the Petition Date, a worsening COVID-19 situation could force the Debtors to
 temporarily close these operations, which would reduce the Debtors’ ability to operate their business and
 increase risk of liquidity constraints.

                    3.          Merchandising Operations

          The Debtors rely significantly on their suppliers. Adverse changes in any of the relationships with
 their suppliers, or the inability to enter into new relationships with suppliers, could negatively impact the
 Debtors’ operations and performance. The Debtors’ current arrangements with suppliers may not remain
 in effect on current or similar terms, and the impact of changes to those arrangements may adversely impact
 the Debtors’ revenue.

                    4.          Right-Sizing Real Estate Portfolio

          The Debtors’ efforts to renegotiate leases and potentially close stores during the Chapter 11 Cases
 is part of the Debtors’ wider effort to cut costs and maintain profitability. The Debtors’ forward-looking
 financial projections are based on substantial concessions from various landlords. If the Debtors are unable
 to reach satisfactory terms with the quantity of landlords they anticipate, the Debtors may be forced to close
 additional stores, thereby decreasing revenue. Further, the actual lease savings realized by the Debtors may
 be substantially less than the Debtors anticipate.

                    5.          Post-Effective Date Indebtedness

         Following the Effective Date, the Reorganized Debtors will have to satisfy the obligations related
 to the Exit ABL Facility and New Term Loans. The Reorganized Debtors’ ability to service their debt
 obligations will depend on, among other things, the Reorganized Debtors’ compliance with affirmative and
 negative covenants, and the Reorganized Debtors’ future operating performance, which depends partly on
 economic, financial, competitive, and other factors beyond the Reorganized Debtors’ control. The
 Reorganized Debtors may not be able to generate sufficient cash from operations to meet their debt service
 obligations as well as fund necessary capital expenditures. In addition, if the Reorganized Debtors need to
 refinance their debt, obtain additional financing, or sell assets or equity, they may not be able to do so on
 commercially reasonable terms, if at all.

                    6.          Pending and Future Litigation

         There is, and may be in the future, certain litigation that could result in a material judgment against
 the Debtors or the Reorganized Debtors. Such litigation, and any judgment in connection therewith, could
 have a material negative effect on the Debtors or the Reorganized Debtors.




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          C.        Factors Relating to Securities to Be Issued under Plan Generally

                    1.          Implied Valuation of Securities

          The estimated value of the New Common Shares for purposes of estimating recovery percentages
 under the Plan is based on the Valuation Analysis, which is annexed hereto as Exhibit D and which
 represents a hypothetical valuation of the Reorganized Debtors and assumes that, among other things, the
 Reorganized Debtors continue as an operating business. The Valuation Analysis does not purport to
 constitute an appraisal of the Reorganized Debtors or necessarily reflect the actual market value that might
 be realized through a sale or liquidation of the Reorganized Debtors or their assets, which may be materially
 different than the estimate set forth in the Valuation Analysis.

         In preparing the Valuation Analysis, Lazard performed a variety of financial analyses and
 considered a variety of factors, as set forth in greater detail in the Valuation Analysis.

          Furthermore, a liquid trading market for the New Common Shares may not develop or, if it
 develops, continue. In addition, the New Common Shares will not be listed on any securities exchange and
 the Reorganized Debtors will not be obligated to cause the New Common Shares to be listed on any
 securities exchange or over-the-counter market. Accordingly, the estimated value of the New Common
 Shares does not necessarily reflect the actual market value of the New Common Shares that might be
 realized after confirmation of the Plan, which may be materially lower than the estimated valuation of the
 New Common Shares as set forth in this Disclosure Statement and the exhibits hereto. Accordingly, such
 estimated value is not necessarily indicative of the prices at which the New Common Shares may trade after
 giving effect to the transactions set forth in the Plan.

                    2.          Potential Dilution

        The ownership percentage represented by the New Common Shares distributed on the Effective
 Date under the Plan will be subject to dilution from exercise of the New Warrants, the post-Effective Date
 Management Incentive Plan, and other securities that may be issued post-emergence.

         In the future, similar to all companies, additional equity financings or other share issuances by any
 of the Reorganized Debtors could adversely affect the value of the New Common Shares issuable upon
 such conversion. The amount and dilutive effect of the foregoing could be material.

                    3.          Dividends

         The Reorganized Debtors may not pay any dividends on the New Common Shares. In such
 circumstances, the success of an investment in the Reorganized Debtors will depend entirely upon any
 future appreciation in the value of the New Common Shares. There is, however, no guarantee that the New
 Common Shares will appreciate in value or even maintain its initial implied valuation.

                    4.          Restrictions on Ability to Resell New Common Shares

          For a discussion of transfer restrictions on the New Common Shares under applicable federal or
 state securities law, see Section VIII of this Disclosure Statement.




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          D.        Risks Related to New Common Shares

                    1.          Significant Holders

         The holders of Term Loan Secured Claims and IPCo Notes Claims as well as Backstop Parties are
 expected to acquire a significant ownership interest in the Reorganized Debtors upon consummation of the
 Plan. These holders may, among other things, exercise a controlling influence over the business and affairs
 of the Reorganized Debtors and have the power to elect directors, control the appointment of a majority of
 the board of directors, and approve significant mergers and other material corporate transactions.

                    2.          Interests Subordinated to Reorganized Debtors’ Indebtedness

         In any subsequent liquidation, dissolution, or winding up of the Reorganized Debtors, the New
 Common Shares will rank below all debt claims against the Reorganized Debtors. As a result, holders of
 the New Common Shares will not be entitled to receive any payment or other distribution of assets upon
 the liquidation, dissolution, or winding up of the Reorganized Debtors until after all the Reorganized
 Debtors’ obligations to its debt holders have been satisfied.

                    3.          Implied Valuation of New Common Shares Not Intended to Represent
                                Trading Value of New Common Shares

          The valuation of the Reorganized Debtors may not represent the trading value of the New Common
 Shares in public or private markets and is subject to additional uncertainties and contingencies, all of which
 are difficult to predict. Actual market prices of such securities at issuance will depend upon, among other
 things: (a) prevailing interest rates; (b) conditions in the financial markets; (c) the anticipated initial
 securities holdings of prepetition creditors, some of whom may prefer to liquidate their investment rather
 than hold it on a long-term basis; and (d) other factors that generally influence the prices of securities. The
 actual market price of the New Common Shares is likely to be volatile. Many factors including factors
 unrelated to the Reorganized Debtors’ actual operating performance and other factors not possible to
 predict, could cause the market price of the New Common Shares to rise and fall. Accordingly, the implied
 value, stated in the Valuation Analysis, attached hereto as Exhibit D, and in the Plan, of the securities to
 be issued does not necessarily reflect, and should not be construed as reflecting, values that will be attained
 for the New Common Shares in the public or private markets.

                    4.          New Common Shares May Be Subject to Further Dilution

          The New Common Shares to be issued on the Effective Date are subject to dilution from (a) New
 Common Shares issued upon the exercise of the New Warrants, (ii) New Common Shares issued pursuant
 to the Management Incentive Plan, and (iii) other New Common Shares issued by the Reorganized Debtors
 after the Effective Date. The Reorganized Debtors may issue equity securities in connection with future
 investments, acquisitions, or capital raising transactions. Such issuances or grants could constitute a
 significant portion of the then-outstanding common stock, which may result in a dilution in ownership of
 common stock, including shares of New Common Shares issued pursuant to the Plan.

          E.        Additional Factors

                    1.          Debtors Could Withdraw Plan

       Subject to the terms of, and without prejudice to, the rights of any party to the Transaction Support
 Agreement, the Plan may be revoked or withdrawn prior to the Confirmation Date by the Debtors.


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                    2.          Debtors Have No Duty to Update

         The statements contained in this Disclosure Statement are made by the Debtors as of the date
 hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after that date does
 not imply that there has been no change in the information set forth herein since that date. The Debtors
 have no duty to update this Disclosure Statement unless otherwise ordered to do so by the Bankruptcy
 Court.

                    3.          No Representations Outside Disclosure Statement Are Authorized

          No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan are
 authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure
 Statement. Any representations or inducements made to secure your acceptance or rejection of the Plan
 that are other than those contained in, or included with, this Disclosure Statement should not be relied upon
 in making the decision to accept or reject the Plan.

                    4.          No Legal or Tax Advice Is Provided by Disclosure Statement

        The contents of this Disclosure Statement should not be construed as legal, business, or tax advice.
 Each Claim or Interest holder should consult their own legal counsel and accountant as to legal, tax, and
 other matters concerning their Claim or Interest.

         This Disclosure Statement is not legal advice to you. This Disclosure Statement may not be relied
 upon for any purpose other than to determine how to vote on the Plan or object to confirmation of the Plan.

                    5.          No Admission Made

          Nothing contained herein or in the Plan will constitute an admission of, or will be deemed evidence
 of, the tax or other legal effects of the Plan on the Debtors or holders of Claims or Interests.

                    6.          Certain Tax Consequences

         For a discussion of certain tax considerations to the Debtors and certain holders of Claims in
 connection with the implementation of the Plan, see Article IX hereof.

                                                XI.
                                VOTING PROCEDURES AND REQUIREMENTS

          Before voting to accept or reject the Plan, each holder of a Claim entitled to vote (each, a “Voting
 Creditor”) should carefully review the Plan attached hereto as Exhibit A. All descriptions of the Plan set
 forth in this Disclosure Statement are subject to the terms and provisions of the Plan.

          A.        Voting Instructions and Voting Deadline

         All Voting Creditors have been sent a Ballot together with this Disclosure Statement and should
 read the Ballot carefully and follow the instructions contained therein. Please use only the Ballot that
 accompanies this Disclosure Statement to cast your vote. Special procedures are set forth below for the
 beneficial holders of Claims (“Beneficial Holders”) held in “street name” through a broker, dealer,
 commercial bank, trust company, or other agent or nominee (each, a “Nominee”).



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         The Debtors have engaged Omni as their voting agent (the “Voting Agent”) to assist in the
 transmission of voting materials and in the tabulation of votes on the Plan. FOR YOUR VOTE TO BE
 COUNTED, YOUR VOTE MUST BE RECEIVED BY THE VOTING AGENT AT THE ADDRESS
 SET FORTH BELOW OR THROUGH THE E-BALLOT PORTAL ON OR BEFORE THE
 VOTING DEADLINE OF 4:00 P.M. (EASTERN TIME) ON [●], 2020 UNLESS EXTENDED BY
 THE DEBTORS.

      A BENEFICIAL HOLDER OF THE IPCO NOTES HOLDING SUCH NOTES IN “STREET
 NAME” THROUGH A NOMINEE MAY VOTE AS FURTHER DESCRIBED BELOW.

       IF IT IS A NOMINEE’S CUSTOMARY AND ACCEPTED PRACTICE TO COLLECT VOTES
 FROM     BENEFICIAL    HOLDERS    BY  VOTER   INFORMATION     FORM   (“VIF”),
 E-MAIL, TELEPHONE, OR OTHER CUSTOMARY MEANS OF COMMUNICATION, THE
 NOMINEE MAY EMPLOY THAT METHOD OF COMMUNICATION IN LIEU OF COLLECTING
 PAPER BENEFICIAL HOLDER BALLOTS.

       IF YOU MUST RETURN YOUR BALLOT (OR OTHERWISE CONVEY YOUR VOTE) TO
 YOUR NOMINEE, YOU MUST RETURN YOUR BALLOT (OR OTHER CUSTOMARY
 COMMUNICATION) TO YOUR NOMINEE IN SUFFICIENT TIME FOR YOUR NOMINEE TO
 PROCESS YOUR VOTE AND RETURN A MASTER BALLOT INCORPORATING YOUR VOTE TO
 THE VOTING AGENT BEFORE THE VOTING DEADLINE.

       IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING AGENT AT
 THE NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT BALLOT. ANY BALLOT
 THAT IS EXECUTED AND RETURNED BUT WHICH DOES NOT INDICATE AN ACCEPTANCE
 OR REJECTION OF THE PLAN WILL NOT BE COUNTED.

      IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU MAY
 CONTACT THE VOTING AGENT AT:

                                    Chinos Holdings, Inc. Ballot Processing
                                           c/o Omni Agent Solutions
                                         5955 De Soto Ave., Suite 100
                                          Woodland Hills, CA 91367

                Telephone: (866) 991-8218 (U.S. & Canada) and (818) 924-2298 (International)
                   E-mail: chinosinquiries@omniagnt.com with “Chinos” in the subject line

         Additional copies of this Disclosure Statement are available upon request made to the Voting
 Agent, at the telephone numbers or e-mail address set forth immediately above.

          B.        Voting Procedures

         The Debtors are providing copies of this Disclosure Statement (including all exhibits and
 appendices) and related materials and a Ballot (collectively, a “Solicitation Package”) to all Voting
 Creditors. Voting Creditors may include Nominees. If such Nominees do not hold Claims for their own
 account, they must provide copies of the Solicitation Package to their customers that are the Voting
 Creditors as of the Record Date. Any Voting Creditor that is a Beneficial Holder and has not received a
 Ballot should contact its Nominee. Any Voting Creditor that is a Nominee and has not received a Ballot
 should contact the Voting Agent.


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         Voting Creditors should provide all of the information requested by the Ballot and return all Ballots
 received in the enclosed, self-addressed, postage-paid envelope provided with each such Ballot either to the
 Voting Agent or their Nominee, as applicable.

          In addition to accepting hard-copy Ballots, the Debtors will seek authorization to accept Ballots
 (from voting parties that are not required to vote through a Nominee) via electronic, online transmissions,
 solely through a customized online balloting portal on the Debtors’ case website to be maintained by the
 Voting Agent (the “E-Ballot Portal”). The encrypted ballot data and audit trail created by such electronic
 submission through the E-Ballot Portal shall become part of the record of any Ballot submitted in this
 manner, and the Voting Creditor’s electronic signature will be deemed to be immediately legally valid and
 effective.

          The Record Date for determining which Voting Creditors are entitled to vote on the Plan is [●],
 2020. The administrative agents or indenture trustees under any debt documents will not vote on behalf of
 their respective holders. Such holders must submit their own Ballots.

          C.        Parties Entitled to Vote

          Under the Bankruptcy Code, only holders of Claims or Interests in “impaired” classes are entitled
 to vote on the Plan. Under section 1124 of the Bankruptcy Code, a class of Claims or Interests is “impaired”
 under the Plan unless (1) the Plan leaves unaltered the legal, equitable, and contractual rights to which such
 Claim or Interest entitles the holder thereof or (2) notwithstanding any legal right to an accelerated payment
 of such Claim or Interest, the Plan cures all existing defaults (other than defaults resulting from the
 occurrence of events of bankruptcy) and reinstates the maturity of such claim or interest as it existed before
 the default.

          If, however, the holder of an impaired Claim or Interest will not receive or retain any distribution
 under the Plan on account of such Claim or Interest, the Bankruptcy Code deems such holder to have
 rejected the plan, and, accordingly, the holders of such Claims and Interests will not vote on the Plan and
 will not receive a Ballot. If a Claim or Interest is not impaired by the Plan, the Bankruptcy Code presumes
 the holder of such Claim or Interest to have accepted the Plan and, accordingly, the holders of such Claims
 and Interests are not entitled to vote on the Plan, and also will not receive a Ballot

        A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of the
 Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the provisions of
 the Bankruptcy Code.

          The Bankruptcy Code defines “acceptance” of a plan by a class of (a) Claims as acceptance by
 creditors in that class that hold at least two-thirds in dollar amount and more than one-half in number of the
 Claims that cast ballots for acceptance or rejection of the Plan and (b) Interests as acceptance by interest
 holders in that class that hold at least two-thirds in amount of the Interests that cast ballots for acceptance
 or rejection of the Plan.

          The Claims in the following classes are impaired under the Plan and entitled to vote to accept or
 reject the Plan:

          •         Class 4 Claims – Term Loan Secured Claims (Only Loan Debtors)

          •         Class 5 Claims – IPCo Notes Claims (Only IPCo Debtors)

          •         Class 6-A Claims – Ongoing Trade Claims (All Debtors)

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          •         Class 6-B Claims – Other General Unsecured Claims (All Debtors) 18

         For the avoidance of doubt, holders of Ongoing Trade Claims will be expressly designated as such
 in the Trade Agreements before the Voting Deadline.

                    1.          Voting Creditors (Who Are Record Holders)

        A Voting Creditor that holds a Claim as a record holder in its own name should vote on the Plan
 by completing and signing a Ballot and returning it directly to the Voting Agent on or before the Voting
 Deadline (a) using the enclosed pre-addressed, postage-paid return envelope or (b) via the E-Ballot Portal.
 The Voting Agent will not accept Ballots submitted by e-mail or facsimile.

                    2.          Beneficial Holders (Class 5 – IPCo Notes Claims)

         A Beneficial Holder of a Claim in Class 5 (IPCo Notes Claims) holding such Claim in “street name”
 through a Nominee may vote on the Plan by one of the following two methods (as selected by such
 Beneficial Holder’s Nominee):

           •        Complete and sign a Ballot (each, a “Beneficial Ballot”). Return the Beneficial Ballot to
                    your Nominee as promptly as possible and in sufficient time to allow such Nominee to
                    process your instructions and return a completed “master” Ballot (each, a “Master Ballot”)
                    to the Voting Agent by the Voting Deadline; or

           •         Complete and sign the pre-validated Beneficial Ballot (as described below) provided to
                     you by your Nominee. Return the pre-validated Beneficial Ballot to the Voting Agent by
                     the Voting Deadline using the return envelope provided in the Solicitation Package.

          Any Beneficial Ballot returned to a Nominee will not be counted for purposes of acceptance or
 rejection of the Plan until such Nominee properly completes and delivers to the Voting Agent a Master
 Ballot casting the vote of the applicable Beneficial Holder.

         If a Beneficial Holder holds Claims in Class 5 through more than one Nominee or through multiple
 accounts, such Beneficial Holder may receive more than one Beneficial Ballot and each such Beneficial
 Holder should execute a separate Beneficial Ballot for each block of Claims in Class 5 that it holds through
 any one Nominee and must return each such Beneficial Ballot to the appropriate Nominee. Votes cast by
 Beneficial Holders through Nominees will be applied to the applicable positions held by such Nominees,
 as of the Record Date, as evidenced by the applicable securities position report(s) obtained from DTC.
 Votes submitted by a Nominee pursuant to a Master Ballot will not be counted in excess of the amount of
 such Claims held by such Nominee as of the Record Date.

          If a Beneficial Holder is registered directly with the applicable indenture trustee, the voting amounts
 of its Claims shall be the amounts set forth on the books and records of the applicable indenture trustee as
 of the Record Date.




 18   For the avoidance of doubt, holders of Term Loan Deficiency Claims are entitled to vote as part of Class 6-B.


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                     3.         Nominees

         A Nominee that, on the Record Date, is the record holder of Claims for one or more Beneficial
 Holders can obtain and/or convey the votes of such Beneficial Holders, consistent with customary practices
 for obtaining the votes of securities held in “street name,” in one of the following two ways:

                                         Pre-Validated Ballots

           The Nominee may “pre-validate” a Beneficial Ballot by (i) signing the Beneficial Ballot;
 (ii) indicating on the Beneficial Ballot the amount and the account number of the Claims held by the
 Nominee for the Beneficial Holder; and (iii) forwarding such Beneficial Ballot, together with the Disclosure
 Statement, a pre-addressed, postage-paid return envelope addressed to, and provided by, Omni, and other
 materials requested to be forwarded, to the Beneficial Holder for voting. The Beneficial Holder must then
 complete the information requested in the Beneficial Ballot, and return the Beneficial Ballot directly to
 Omni in the pre-addressed, postage-paid return envelope so that it is RECEIVED by Omni on or before the
 Voting Deadline. A list of the Beneficial Holders to whom “pre-validated” Beneficial Ballots were
 delivered should be maintained by Nominees for inspection for at least one year from the Voting Deadline.

                                         Master Ballots

          If the Nominee elects not to pre-validate Beneficial Ballots, the Nominee may obtain the votes of
 Beneficial Holders by forwarding to the Beneficial Holders the unsigned Beneficial Ballots, VIF, e-mail,
 or other customary method of collecting votes from a Beneficial Holder, together with the Disclosure
 Statement, a pre-addressed, postage-paid return envelope provided by, and addressed to, the Nominee, and
 other materials requested to be forwarded. Each such Beneficial Holder must then indicate his, her, or its
 vote on the Beneficial Ballot, complete the information requested on the Beneficial Ballot, review the
 certifications contained on the Beneficial Ballot, execute the Beneficial Ballot, and return the Beneficial
 Ballot to the Nominee. If it is accepted practice for a Nominee to collect votes via e-mail, telephone, or
 other customary method of communication, the Beneficial Holder shall follow the Nominee’s instruction
 for completing and submitting its votes to the Nominee. After collecting the Beneficial Holders’ votes, the
 Nominee must, in turn, complete a Master Ballot compiling the votes and other information from the
 Beneficial Ballots, execute the Master Ballot, and deliver the Master Ballot to Omni so that it is RECEIVED
 by Omni on or before the Voting Deadline. 19 All Beneficial Ballots returned by Beneficial Holders should
 either be forwarded to Omni (along with the Master Ballot) or retained by Nominees for inspection for at
 least one year from the Voting Deadline. EACH NOMINEE SHOULD ADVISE ITS BENEFICIAL
 HOLDERS TO RETURN THEIR BENEFICIAL BALLOTS (OR OTHERWISE CONVEY THEIR
 VOTES) TO THE NOMINEE BY A DATE CALCULATED BY THE NOMINEE TO ALLOW IT TO
 PREPARE AND RETURN THE MASTER BALLOT TO OMNI SO THAT IT IS RECEIVED BY OMNI
 ON OR BEFORE THE VOTING DEADLINE. 20

                     4.         Non-Voting Parties

        The Debtors will, in connection with solicitation on the Plan, send an Opt Out Election Form to
 each holder of Claims and Interests not entitled to vote, pursuant to section 1126(f) and 1126(g) of the

 19   Nominees will be permitted to submit their Master Ballots to the Voting Agent by e-mail.

 20   Notwithstanding the foregoing, Nominees are authorized to transmit Solicitation Packages and collect votes to accept or to
      reject the Plan from Beneficial Holders in accordance with their customary practices, including the use of a “voting instruction
      form” in lieu of (or in addition to) a Beneficial Ballot, and collecting votes from Beneficial Holders through online voting, by
      phone, facsimile, or other electronic means.


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 Bankruptcy Code. The Opt Out Election Form allows such holders, despite their non-voting status, to opt
 out of certain third-party releases as detailed in the Plan. Moreover, the Opt Out Election Form includes
 certain additional information that the Debtors believe is relevant and appropriate, including the Release by
 Holders of Claims and Interest in clear and conspicuous language.

                    5.          Miscellaneous

          All Ballots must be signed by the Voting Creditor, or any person who has obtained a properly
 completed Ballot proxy from the Voting Creditor, by the Voting Deadline. Unless otherwise ordered by
 the Bankruptcy Court, Ballots that are signed, dated, and timely received, but on which a vote to accept or
 reject the Plan has not been indicated, will not be counted. Any Ballot marked to both accept and reject the
 Plan shall not be counted. If you return more than one Ballot voting the same Claims differently, and you
 do not correct this before the Voting Deadline, those Ballots will not be counted. An otherwise properly
 executed Ballot (other than a Master Ballot) that attempts to partially accept and partially reject the Plan
 will likewise not be counted. The Debtors may request that the Voting Agent attempt to contact voters to
 cure any such defects in the Ballots.

         The Ballots provided to Voting Creditors will reflect the principal amount of such Voting Creditor’s
 Claim; however, when tabulating votes, the Voting Agent may adjust the amount of such Voting Creditor’s
 Claim to reflect the amount of the Claim actually voted, including prepetition interest.

          Under the Bankruptcy Code, for purposes of determining whether the requisite acceptances have
 been received, only Voting Creditors that actually vote will be counted. The failure of a holder to deliver
 a duly executed Ballot to the Voting Agent or its Nominee will be deemed to constitute an abstention by
 such holder with respect to voting on the Plan and such abstentions will not be counted as votes for or
 against the Plan.

          Except as provided below, unless a Ballot or Master Ballot, as applicable, is submitted to the Voting
 Agent before the Voting Deadline together with any other documents required by such Ballot or Master
 Ballot, the Debtors may, in their sole discretion, reject such Ballot or Master Ballot as invalid, and therefore
 decline to utilize the vote(s) cast thereon in connection with seeking confirmation of the Plan.

                    6.          Fiduciaries and Other Representatives

         If a Beneficial Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-fact,
 officer of a corporation, or another person acting in a fiduciary or representative capacity, such person
 should indicate such capacity when signing and, if requested, must submit proper evidence satisfactory to
 the Voting Agent of authority to so act. Authorized signatories should submit a separate Beneficial Ballot
 for each Voting Creditor for whom they are voting.

       UNLESS THE BALLOT OR THE MASTER BALLOT IS SUBMITTED TO THE VOTING
 AGENT ON OR BEFORE THE VOTING DEADLINE, SUCH BALLOT OR MASTER BALLOT WILL
 BE REJECTED AS INVALID AND WILL NOT BE COUNTED AS AN ACCEPTANCE OR
 REJECTION OF THE PLAN; PROVIDED THAT THE DEBTORS RESERVE THE RIGHT, IN THEIR
 SOLE DISCRETION, TO REQUEST THE BANKRUPTCY COURT TO ALLOW SUCH BALLOT OR
 MASTER BALLOT TO BE COUNTED.

                    7.          Agreements upon Furnishing Ballots

         The delivery of an accepting Ballot pursuant to one of the procedures set forth above will constitute
 the agreement of the voter with respect to such Ballot to accept (a) all of the terms of, and conditions to,

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 this solicitation; and (b) the terms of the Plan including the injunction, releases, and exculpations set forth
 in Sections 10.6, 10.7, and 10.8 therein. All parties in interest retain their right to object to confirmation of
 the Plan pursuant to section 1128 of the Bankruptcy Code.

                    8.          Change of Vote

         Any party that has previously submitted a properly completed Ballot before the Voting Deadline
 may revoke such Ballot and change its vote by submitting to the Voting Agent or its Nominee, as applicable,
 a subsequent, properly completed Ballot for acceptance or rejection of the Plan before the Voting Deadline.

                    9.          Requirement to File a Proof of Claim

          Any person or entity that is required to timely file a proof of Claim in the form and manner specified
 by the order entered by the Bankruptcy Court establishing the date for filing proofs of claim in these Chapter
 11 Cases and who failed to do so on or before such date shall not, with respect to such Claim, be treated as
 a creditor of the Debtors for the purposes of voting on the Plan.

          D.        Waivers of Defects, Irregularities, etc.

          Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form, eligibility
 (including time of receipt), acceptance, and revocation or withdrawals of Ballots and Master Ballots will
 be determined by the Voting Agent or the Debtors, as applicable, which determination will be final and
 binding. The Debtors reserve the right to reject any and all Ballots and Master Ballots submitted not in
 proper form or the acceptance of which would, in the opinion of the Debtors or their counsel, as applicable,
 be unlawful. The Debtors further reserve their respective rights to waive any defects or irregularities or
 conditions of delivery as to any particular Ballot or Master Ballot. The interpretation (including the Ballots,
 the Master Ballots, and the respective instructions thereto) by the Debtors, unless otherwise directed by the
 Bankruptcy Court, will be final and binding on all parties. Unless waived, any defects or irregularities in
 connection with deliveries of Ballots and Master Ballots must be cured prior to the Voting Deadline or
 within such time as the Debtors (or the Bankruptcy Court) determines. Neither the Debtors nor any other
 person will be under any duty to provide notification of defects or irregularities with respect to deliveries
 of Ballots and Master Ballots nor will any of them incur any liabilities for failure to provide such
 notification. Unless otherwise directed by the Bankruptcy Court, delivery of such Ballots and Master
 Ballots will not be deemed to have been made until such irregularities have been cured or waived. Ballots
 and Master Ballots previously furnished (and as to which any irregularities have not theretofore been cured
 or waived) will be invalidated.

          E.        Further Information, Additional Copies

          If you have any questions or require further information about the voting procedures for voting
 your Claim, or about the packet of material you received, or if you wish to obtain an additional copy of the
 Plan, this Disclosure Statement, or any exhibits to such documents, please contact the Voting Agent.

                                                   XII.
                                           CONFIRMATION OF PLAN

          A.        Confirmation Hearing

         Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation
 hearing upon appropriate notice to all required parties. The Confirmation Hearing is scheduled for ______,
 2020 at __:00 (Eastern Time). The Confirmation Hearing may be adjourned from time to time by the

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 Bankruptcy Court without further notice except for the announcement of the adjourned date made at the
 Confirmation Hearing, at any subsequent adjourned Confirmation Hearing, or pursuant to a notice filed on
 the docket of the Chapter 11 Cases.

          B.        Objections to Confirmation

         Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the
 confirmation of a plan. Any objection to confirmation of the Plan must be in writing, must conform to the
 Bankruptcy Rules and applicable local rules, must set forth the name of the objector, the nature and amount
 of Claims or Interests asserted by the objector, the basis for the objection and the specific grounds thereof,
 and must be filed with the Bankruptcy Court, with a copy to the chambers of the United States Bankruptcy
 Judge supervising the Chapter 11 Cases, together with proof of service thereof, and served upon the
 following parties, including such other parties as the Bankruptcy Court may order:

                    1.          The Debtors at:

                                225 Liberty St.
                                New York, NY 10281
                                Attn: Maria DiLorenzo

                    2.          Office of the U.S. Trustee at:

                                Office of the U.S. Trustee for the Eastern District of Virginia
                                701 East Broad Street
                                Suite 4304
                                Richmond, VA 23219
                                Attn: Kenneth N. Whitehurst, III
                                Email: USTPRegion04.RH.ECF@usdoj.gov

                    3.          Counsel to the Debtors at:

                                Weil, Gotshal & Manges LLP
                                767 Fifth Avenue
                                New York, New York 10153
                                Attn: Ray C. Schrock, P.C.
                                        Ryan Preston Dahl, Esq.
                                        Candace M. Arthur, Esq.
                                        Daniel Gwen, Esq.
                                Email: Ray.Schrock@weil.com
                                        Ryan.Dahl@weil.com
                                        Candace.Arthur@weil.com
                                        Daniel.Gwen@weil.com

                                -and-

                                Hunton Andrews Kurth LLP
                                Riverfront Plaza, East Tower
                                951 East Byrd Street
                                Richmond, Virginia 23219
                                Attn: Tyler P. Brown, Esq.
                                        Henry P. (Toby) Long, III, Esq.

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                                       Nathan Kramer, Esq.
                                Email: tpbrown@HuntonAK.com
                                       hlong@HuntonAK.com
                                       nkramer@HuntonAK.com

                    4.          Counsel to the Ad Hoc Committee at:

                                Milbank LLP
                                55 Hudson Yards
                                New York, New York 10001
                                Attn: Dennis F. Dunne, Esq.
                                       Samuel A. Khalil, Esq.
                                       Matthew L. Brod, Esq.

                                -and-

                                Tavenner & Beran, PLC
                                20 North Eighth Street, 2nd Floor
                                Richmond, Virginia 23219
                                Attn: Lynn L. Tavenner, Esq.
                                       Paula S. Beran, Esq.
                                Email: LTavenner@Tb-Lawfirm.com
                                       pberan@Tb-Lawfirm.com

                    5.          Counsel to the Creditors’ Committee at:

                                Pachulski Stang Ziehl & Jones LLP
                                780 Third Avenue, 34th Floor
                                New York, NY 10017-2024
                                Attn: Bradford J. Sandler, Esq.
                                       Robert J. Feinstein, Esq.
                                       Shirley S. Cho, Esq.
                                       Debra Grassgreen, Esq.
                                Email: bsandler@pszjlaw.com
                                       rfeinstein@pszjlaw.com
                                       scho@pszjlaw.com
                                       dgrassgreen@pszjlaw.com

                                -and-

                                Hirschler Fleischer, P.C.
                                The Edgeworth Building
                                2100 East Cary Street
                                Richmond, Virginia 23223
                                P.O. Box 500
                                Attn: Robert S. Westermann
                                Email: rwestermann@hf-law.com

  UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT MAY
               NOT BE CONSIDERED BY THE BANKRUPTCY COURT

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          C.        Requirements for Confirmation of Plan

                    1.          Requirements of Section 1129(a) of the Bankruptcy Code

                                        General Requirements

          At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation
 requirements specified in section 1129(a) of the Bankruptcy Code have been satisfied including, without
 limitation, whether:

                                       (i)    the Plan complies with the applicable provisions of the
                                Bankruptcy Code;

                                       (ii)   the Debtors have complied with the applicable provisions of the
                                Bankruptcy Code;

                                        (iii)   the Plan has been proposed in good faith and not by any means
                                forbidden by law;

                                         (iv)    any payment made or promised by the Debtors or by a person
                                issuing securities or acquiring property under the Plan, for services or for costs
                                and expenses in or in connection with the Chapter 11 Cases, or in connection with
                                the Plan and incident to the Chapter 11 Cases, has been disclosed to the Bankruptcy
                                Court, and any such payment made before confirmation of the Plan is reasonable,
                                or if such payment is to be fixed after confirmation of the Plan, such payment is
                                subject to the approval of the Bankruptcy Court as reasonable;

                                        (v)      the Debtors have disclosed the identity and affiliations of any
                                individual proposed to serve, after confirmation of the Plan, as a director or officer
                                of the Reorganized Debtors, an affiliate of the Debtors participating in a Plan with
                                the Debtors, or a successor to the Debtors under the Plan, and the appointment to,
                                or continuance in, such office of such individual is consistent with the interests of
                                the holders of Claims and Interests and with public policy, and the Debtors have
                                disclosed the identity of any insider who will be employed or retained by the
                                Reorganized Debtors, and the nature of any compensation for such insider;

                                         (vi)     with respect to each Class of Claims or Interests, each holder of
                                an impaired Claim or impaired Interest has either accepted the Plan or will receive
                                or retain under the Plan, on account of such holder’s Claim or Interest, property of
                                a value, as of the Effective Date, that is not less than the amount such holder would
                                receive or retain if the Debtors were liquidated on the Effective Date under chapter
                                7 of the Bankruptcy Code;

                                         (vii)   except to the extent the Plan meets the requirements of section
                                1129(b) of the Bankruptcy Code (as discussed further below), each Class of Claims
                                either accepted the Plan or is not impaired under the Plan;

                                        (viii) except to the extent that the holder of a particular Claim has agreed
                                to a different treatment of such Claim, the Plan provides that an Allowed
                                Administrative Expense Claim (other than a Professional Fee Claim or DIP
                                Claims), will be paid in full on the Effective Date, and that Administrative Expense

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                                Claims will receive either payment in full on the Effective Date or deferred cash
                                payments over a period not exceeding five years after the Petition Date, of a value,
                                as of the Effective Date of the Plan, equal to the Allowed amount of such Claims;

                                        (ix)   at least one Class of impaired Claims has accepted the Plan,
                                determined without including any acceptance of the Plan by any insider holding a
                                Claim in such Class;

                                         (x)      confirmation of the Plan is not likely to be followed by the
                                liquidation, or the need for further financial reorganization, of the Debtors or any
                                successor to the Debtors under the Plan; and

                                       (xi)     all fees payable under section 1930 of title 28 of the United States
                                Code, as determined by the Bankruptcy Court at the Confirmation Hearing, have
                                been paid or the Plan provides for the payment of all such fees on the Effective
                                Date.

                                        Best Interests Test

         As noted above, with respect to each impaired class of claims and equity interests, confirmation of
 a plan requires that each holder thereof either (i) accept the plan, or (ii) receive or retain under the plan
 property of a value, as of the effective date of the plan, that is not less than the value such holder would
 receive or retain if the debtor was liquidated under chapter 7 of the Bankruptcy Code. This requirement is
 referred to as the “best interests test.”

          This test requires a bankruptcy court to determine what the holders of allowed claims and allowed
 equity interests in each impaired class would receive from a liquidation of the debtor’s assets and properties
 in the context of a liquidation under chapter 7 of the Bankruptcy Code. To determine if a plan is in the best
 interests of each impaired class, the value of the distributions from the proceeds of the liquidation of the
 debtor’s assets and properties (after subtracting the amounts attributable to the aforesaid claims) is then
 compared with the value offered to such classes of claims and equity interests under the plan.

         The Debtors believe that all holders of impaired Claims and Interests will receive under the Plan
 property with a value not less than the value such holders would receive in a liquidation under chapter 7 of
 the Bankruptcy Code. The Debtors’ belief is based primarily on the Liquidation Analysis attached hereto
 as Exhibit C.

         Any liquidation analysis is speculative as it is necessarily premised on assumptions and estimates,
 which are inherently subject to significant uncertainties and contingencies, many of which would be beyond
 the control of the Debtors. The Liquidation Analysis provided in Exhibit C is solely for the purpose of
 describing to the holders of Claims and Interests the effects of a hypothetical chapter 7 liquidation of the
 Debtors, subject to the assumptions set forth therein. There can be no assurance as to values that would
 actually be realized in a chapter 7 liquidation nor can there be any assurance that the Bankruptcy Court will
 accept the Debtors’ conclusions or concur with such assumptions in making its determinations under
 section 1129(a)(7) of the Bankruptcy Code.

                                        Feasibility

         The Bankruptcy Code requires that a debtor demonstrate that confirmation of a plan is not likely to
 be followed by liquidation or the need for further financial reorganization unless contemplated by the plan.
 The Effective Date will not occur unless the transactions contemplated by the Plan close. Upon such

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 closing, the Reorganized Debtors will have sufficient funds to make the distributions required under the
 Plan and funds will be available to them under the Exit ABL Facility and the New Term Loans.
 Accordingly, the Debtors believe that the Plan is feasible.

                                       Equitable Distribution of Voting Power

          On or before the Effective Date, pursuant to and only to the extent required by section 1123(a)(6)
 of the Bankruptcy Code, the organizational documents for the Debtors will be amended as necessary to
 satisfy the provisions of the Bankruptcy Code and will include, among other things, pursuant to section
 1123(a)(6) of the Bankruptcy Code, (i) a provision prohibiting the issuance of non-voting equity securities,
 and (ii) a provision setting forth an appropriate distribution of voting power among classes of equity
 securities possessing voting power.

                    2.          Additional Requirements for Non-Consensual Confirmation

          Pursuant to the Plan, holders of Claims and Interests in Class 8 (Section 510(b) Claims), Class 10-
 A (Existing Holdings Preferred Equity), and Class 10-B (Existing Holdings Equity) will not receive a
 distribution and are thereby deemed to reject the Plan. In addition, holders of Claims in Class 4 (Term
 Loan Secured Claims), Class 5 (IPCo Notes Claims), Class 6-A (Ongoing Trade Claims), or Class 6-B
 (Other General Unsecured Claims) may also vote to reject the Plan. Accordingly, the Debtors will request
 the Bankruptcy Court to confirm the Plan pursuant to section 1129(b) of the Bankruptcy Code. Section
 1129(b) requires that, with respect to each such rejecting Class, the Plan “does not discriminate unfairly”
 and is “fair and equitable.”

                                       Unfair Discrimination Test

          A chapter 11 plan does not discriminate unfairly, within the meaning of the Bankruptcy Code, if
 the legal rights of a dissenting Class are treated in a manner consistent with the treatment of other Classes
 whose legal rights are substantially similar to those of the dissenting Class and if no Class of Claims or
 Interests receives more than it is legally entitled to receive. This test does not require that the treatment be
 the same or equivalent, but that such treatment be “fair.”

         The Debtors believe the Plan satisfies the “unfair discrimination” test. Claims and Interests of
 equal priority are receiving comparable treatment and such treatment is fair under the circumstances.

                                       Fair and Equitable Test

         The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
 unsecured) and includes the general requirement that no class of claims receive more than 100% of the
 allowed amount of the claims in such class. As to dissenting classes, the test sets different standards
 depending on the type of claims in such class. The Debtors believe that the Plan satisfies the “fair and
 equitable” test with respect to all rejecting Classes, as further explained below.

                                       (i)    Secured Creditors

         The Bankruptcy Code requires that each holder of an impaired secured claim either (a) retain its
 liens on the property to the extent of the allowed amount of its secured claim and receive deferred cash
 payments having a value, as of the effective date of the plan, of at least the allowed amount of such claim,
 or (b) have the right to credit bid the amount of its claim if its property is sold and retain its liens on the
 proceeds of the sale (or if sold, on the proceeds thereof), or (c) receive the “indubitable equivalent” of its
 allowed secured claim.

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                                    (ii)     Unsecured Creditors

          The Bankruptcy Code requires that either (a) each holder of an impaired unsecured claim receive
 or retain under the plan property of a value equal to the amount of its allowed claim or (b) the holders of
 claims and equity interests that are junior to the claims of the dissenting class not receive any property
 under the plan.

                                    (iii)    Equity Interests

           The Bankruptcy Code requires that either (a) each holder of an equity interest receive or retain
 under the plan property of a value equal to the greater of (i) the fixed liquidation preference or redemption
 price, if any, of such stock and (ii) the value of the stock, or (b) the holders of equity interests that are junior
 to any dissenting class of equity interests not receive any property under the plan.

                                              XIII.
                                 CONCLUSION AND RECOMMENDATION

 The Debtors believe the Plan is in the best interests of all stakeholders and urge the holders of Claims in
 Classes 4, 5, 6-A, and 6-B to vote in favor thereof.

 Dated: June 11, 2020
                                                     Respectfully submitted,

                                                     CHINOS HOLDINGS, INC.
                                                     CHINOS INTERMEDIATE HOLDINGS A, INC.
                                                     CHINOS INTERMEDIATE, INC.
                                                     CHINOS INTERMEDIATE HOLDINGS B, INC.
                                                     J. CREW GROUP, INC.
                                                     J. CREW OPERATING CORP.
                                                     GRACE HOLMES, INC.
                                                     H.F.D. NO. 55, INC.
                                                     J. CREW INC.
                                                     J. CREW INTERNATIONAL, INC.
                                                     J. CREW VIRGINIA, INC.
                                                     MADEWELL INC.
                                                     J. CREW BRAND HOLDINGS, LLC
                                                     J. CREW BRAND INTERMEDIATE, LLC
                                                     J. CREW BRAND, LLC
                                                     J. CREW BRAND CORP.
                                                     J. CREW DOMESTIC BRAND, LLC
                                                     J. CREW INTERNATIONAL BRAND, LLC
                                                     By: /s/ Michael Nicholson
                                                     Name: Michael Nicholson
                                                     Title:   Authorized Signatory




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                                               Exhibit A

                                                 Plan




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                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA
                                           RICHMOND DIVISION

 ------------------------------------------------------------ x
                                                              :
 In re                                                        :           Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :           Case No. 20–32181 (KLP)
                                                              :
                                                   1
                                        Debtors.              :           (Jointly Administered)
                                                              :
 ------------------------------------------------------------ x

         JOINT PREARRANGED CHAPTER 11 PLAN OF REORGANIZATION OF CHINOS
        HOLDINGS, INC. AND ITS AFFILIATED DEBTORS (WITH TECHNICAL CHANGES)


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     Attorneys for Debtors and Debtors in Possession              Attorneys for Debtors and Debtors in Possession

     Dated: June 11, 2020
            Richmond, Virginia




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
       Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
       Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
       International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
       (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
       Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
       headquarters and service address is 225 Liberty St., New York, NY 10281.




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                 Chinos Holdings, Inc.; Chinos Intermediate Holdings A, Inc.; Chinos Intermediate, Inc.;
 Chinos Intermediate Holdings B, Inc.; J. Crew Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.;
 H.F.D. No. 55, Inc.; J. Crew Inc.; J. Crew International, Inc.; J. Crew Virginia, Inc.; Madewell Inc.; J. Crew
 Brand Holdings, LLC; J. Crew Brand Intermediate, LLC; J. Crew Brand, LLC; J. Crew Brand Corp.;
 J. Crew Domestic Brand, LLC; and J. Crew International Brand, LLC, as debtors and debtors in possession
 (each, a “Debtor” and, collectively, the “Debtors”), propose the following joint chapter 11 plan of
 reorganization pursuant to section 1121(a) of title 11 of the United States Code.

                ARTICLE I            DEFINITIONS, INTERPRETATION AND CONSENTS.

           A.        Definitions. The following terms shall have the respective meanings specified below:

         1.1     ABL Agent means Bank of America, N.A., in its capacity as administrative and collateral
 agent for the ABL Lenders.

          1.2    ABL Credit Agreement means the Credit Agreement, dated March 7, 2011, as amended,
 restated, amended and restated, modified, or supplemented from time to time through the Petition Date.

       1.3           ABL Facility means that certain asset-based lending facility pursuant to the ABL Credit
 Agreement.

          1.4      ABL Facility Claims means all “Obligations,” as defined in the ABL Credit Agreement,
 as of the Effective Date, including any accrued but unpaid interest, costs, fees, issued and outstanding letters
 of credit, cash management obligations, guarantees and indemnities.

           1.5     ABL Facility Documents means the ABL Credit Agreement and all other agreements,
 documents, and instruments delivered or entered into in connection therewith, including any guarantee
 agreements, pledge and collateral agreements, intercreditor agreements, subordination agreements, fee
 letters, and other security documents.

         1.6     ABL Lenders means the “Secured Parties” as defined in the ABL Credit Agreement and
 any other Entity that becomes a “Secured Party” under the ABL Facility from time to time in accordance
 with the ABL Credit Agreement, each in their capacity as such.

          1.7     Ad Hoc Committee means the ad hoc committee composed of certain holders of Term
 Loan Claims, IPCo Notes Claims, Existing Holdings Preferred Equity, and Existing Holdings Equity, each
 in their capacity as such, represented by PJT Partners LP, Milbank LLP, and Tavenner & Beran, PLC.

         1.8     Ad Hoc Committee Fees means, collectively, to the extent not previously paid, all
 outstanding, reasonable and documented fees and expenses of any professional retained on behalf of the
 Ad Hoc Committee (whether incurred directly or on their behalf and regardless of whether such fees and
 expenses are incurred before or after the Petition Date), including PJT Partners LP, Milbank LLP, and
 Tavenner & Beran, PLC.

         1.9      Administrative Expense Bar Date means the date that is 60 days after the Effective Date,
 which will be the deadline by which parties seeking payment of Administrative Expense Claims must file
 a motion seeking Allowance of such claim, submit a proof of claim, or otherwise request in writing payment
 of such claims from the Debtors or Reorganized Debtors.




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         1.10     Administrative Expense Claim means any Claim for costs or expenses of administration
 of any of the Chapter 11 Cases incurred after the Petition Date and through the Effective Date under sections
 503(b), 507(a)(2), and 507(b) of the Bankruptcy Code that have not already been paid by the Debtors,
 including (a) any actual and necessary costs and expenses of preserving the Estates, (b) any actual and
 necessary costs and expenses of operating the Debtors’ businesses, (c) any indebtedness or obligations
 incurred or assumed by the Debtors during the Chapter 11 Cases, including for the acquisition or lease of
 property or an interest in property or the performance of services, and (d) any compensation and
 reimbursement of expenses to the extent allowed under sections 330 or 503 of the Bankruptcy Code.

           1.11      Affiliates has the meaning set forth in section 101(2) of the Bankruptcy Code.

          1.12    Allowed means, with reference to any Claim or Interest, a Claim or Interest (a) arising on
 or before the Effective Date as to which (i) no objection to allowance or priority, and no request for
 estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
 has been interposed and not withdrawn within the applicable period fixed by the Plan or applicable law, or
 (ii) any objection or dispute has been determined in favor of the holder of the Claim or Interest by a Final
 Order, (b) that is compromised, settled, or otherwise resolved pursuant to the authority of the Debtors or
 the Reorganized Debtors, (d) that is included in the Schedules, but is not listed as unliquidated, contingent,
 or disputed; (e) as to which the liability of the Debtors or the Reorganized Debtors, as applicable, and the
 amount thereof are determined by a Final Order of a court of competent jurisdiction, (f) is not Disputed, or
 (g) is expressly allowed under the Plan; provided, that notwithstanding the foregoing, (x) unless expressly
 waived by the Plan, the Allowed amount of Claims or Interests shall be subject to and shall not exceed the
 limitations or maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 of the
 Bankruptcy Code, to the extent applicable, and (y) the Reorganized Debtors shall retain all claims and
 defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired pursuant to the Plan.

         1.13    Assumption Dispute means an objection or dispute relating to assumption of an Executory
 Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy Code, including to any Cure
 Obligation or adequate assurance of future performance under an Executory Contract or Unexpired Lease
 to be assumed, which objection or dispute has been timely filed or interposed in accordance with the Plan
 and applicable law and has not been withdrawn or determined by a Final Order.

          1.14    Avoidance Action means any action commenced, or that may be commenced, before or
 after the Effective Date pursuant to chapter 5 of the Bankruptcy Code including sections 544, 545, 547,
 548, 549, 550, or 551.

        1.15    Backstop Commitment Letter means the backstop commitment letter dated May 3, 2020,
 as amended from time to time, executed by the Backstop Parties, providing for, among other things, the
 DIP Obligations and the New Term Loans.

       1.16   Backstop Parties means the “Backstop Term Lenders” as defined in the Backstop
 Commitment Letter, each in their capacity as such.

         1.17     Backstop Premium means a fee in an amount equal to $40,000,000, which will be paid
 on the Effective Date to the Backstop Parties in accordance with the Backstop Commitment Letter in the
 form of New Common Shares, which shares will be subject to dilution by New Common Shares issuable
 upon exercise of the New Warrants, issued pursuant to the Management Incentive Plan, and otherwise
 issued after the Effective Date.

         1.18     Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. § 101, et seq., as
 now in effect or hereafter amended from time to time, as applicable to the Chapter 11 Cases.


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         1.19    Bankruptcy Court means the United States Bankruptcy Court for the Eastern District of
 Virginia having subject matter jurisdiction over the Chapter 11 Cases and, to the extent of any reference
 withdrawal made under section 157(d) of title 28 of the United States Code, the District Court having
 subject matter jurisdiction over the Chapter 11 Cases under section 157 of title 28 of the United States
 Code.

         1.20    Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as promulgated by
 the United States Supreme Court under section 2075 of title 28 of the United States Code and any Local
 Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to time and applicable to
 the Chapter 11 Cases.

         1.21     Benefit Plans means (a) each “employee benefit plan,” as defined in section 3(3) of the
 Employee Retirement Income Security Act of 1974, as amended, and (b) any other pension, retirement,
 bonus, incentive, health, life, disability, group insurance, vacation, holiday and fringe benefit plan, program,
 contract, or arrangement (whether written or unwritten) maintained, contributed to, or required to be
 contributed to, by the Debtors for the benefit of any of its current or former employees or independent
 contractors, other than those that entitle employees to, or that otherwise give rise to, Interests, or
 consideration based on the value of Interests, in the Debtors, which shall be assumed by the Debtors on the
 Effective Date.

           1.22    Causes of Action means any and all actions, proceedings, causes of action, controversies,
 liabilities, obligations, rights, rights of setoff, recoupment rights, suits, damages, judgments, accounts,
 defenses, offsets, powers, privileges, licenses, franchises, claims, Avoidance Actions, counterclaims, cross-
 claims, affirmative defenses, and demands of any kind or character whatsoever, whether known or
 unknown, asserted or unasserted, reduced to judgment or otherwise, liquidated or unliquidated, fixed or
 contingent, matured or unmatured, disputed or undisputed, secured or unsecured, or assertable directly or
 derivatively, existing or hereafter arising, in contract or in tort, in law, in equity, or otherwise, whether
 arising under the Bankruptcy Code or any applicable nonbankruptcy law, based in whole or in part upon
 any act or omission or other event occurring before the Petition Date or during the course of the Chapter 11
 Cases, including through the Effective Date. Without limiting the generality of the foregoing, when
 referring to Causes of Action of the Debtors or their Estates, Causes of Action shall include (a) all rights of
 setoff, counterclaim, or recoupment and claims on contracts or for breaches of duties imposed by law or
 equity, (b) claims (including Avoidance Actions) pursuant to section 362, and chapter 5 of the Bankruptcy
 Code including sections 510, 542, 543, 544 through 550, or 553, and (c) claims and defenses such as fraud,
 mistake, duress, usury, and any other defenses set forth in section 558 of the Bankruptcy Code.

        1.23   Chapter 11 Cases means the jointly administered cases under chapter 11 of the
 Bankruptcy Code commenced by the Debtors on the Petition Date in the Bankruptcy Court and styled In re
 Chinos Holdings, Inc., et al., Ch. 11 Case No. 20-32181 (KLP) (Jointly Administered).

         1.24     Chinos Holdings means Chinos Holdings, Inc., as debtor or debtor in possession, as the
 context requires.

           1.25      Claim has the meaning set forth in section 101(5) of the Bankruptcy Code, as against any
 Debtor.

          1.26   Class means a category of holders of Claims or Interests as set forth in Article III pursuant
 to section 1122(a) of the Bankruptcy Code.

        1.27    Collateral means any asset of the Estates that is subject to a Lien securing the payment or
 performance of a Claim to the extent provided by section 506 of the Bankruptcy Code, which Lien is valid,


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 perfected and enforceable, and has not been avoided under the Bankruptcy Code or applicable
 nonbankruptcy law.

        1.28    Confirmation Date means the date on which the Bankruptcy Court enters the
 Confirmation Order within the meaning of Bankruptcy Rules 5003 and 9021.

        1.29     Confirmation Hearing means the hearing to be held by the Bankruptcy Court to consider
 confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

        1.30      Confirmation Order means the order of the Bankruptcy Court confirming the Plan
 pursuant to section 1129 of the Bankruptcy Code.

       1.31          Consenting Support Parties has the meaning set forth in the Transaction Support
 Agreement.

           1.32      Creditor has the meaning set forth in section 101(10) of the Bankruptcy Code.

         1.33    Creditors’ Committee means the statutory committee of unsecured creditors appointed in
 these Chapter 11 Cases.

          1.34    Cure Obligation means the amount of cash or other property the Debtors must distribute
 (as the parties may agree or the Bankruptcy Court may order), as necessary, to (a) cure a monetary default
 by the applicable Debtor under an Executory Contract or Unexpired Lease as required by section 365(b)(1)
 of the Bankruptcy Code , and (b) permit the applicable Debtor to assume or assume and assign such
 Executory Contract or Unexpired Lease under section 365(a) of the Bankruptcy Code.

           1.35      Definitive Documents has the meaning set forth in the Transaction Support Agreement.

         1.36     DIP Agent means Wilmington Savings Fund Society, FSB in its capacity as administrative
 and collateral agent under the DIP Loan Documents.

         1.37    DIP Claims means all Claims arising under or related to the DIP Loan Documents,
 including any accrued but unpaid interest, costs, fees, guarantees and indemnities.

         1.38   DIP Credit Agreement means the postpetition credit agreement among the Debtors and
 the DIP Lenders as approved by the DIP Order.

        1.39    DIP Facility means the debtor-in-possession financing used to fund the operations of the
 Debtors during the pendency of these Chapter 11 Cases under the terms set forth in the DIP Loan
 Documents.

         1.40    DIP Lenders means the lenders party under the DIP Credit Agreement and any other
 Entity that becomes a lender under the DIP Facility from time to time in accordance with the DIP Credit
 Agreement, each in their capacity as such.

         1.41    DIP Loan Documents means, collectively, the DIP Credit Agreement and all other
 agreements, documents, and instruments delivered or entered into in connection therewith, including any
 guarantee agreements, pledge and collateral agreements, intercreditor agreements, subordination
 agreements, fee letters, and other security documents.

           1.42      DIP Obligations has the meaning set forth in the DIP Order.


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           1.43      DIP Order means the Interim DIP Order or the Final DIP Order, as applicable.

         1.44     Disallowed means, with respect to any Claim or Interest, that such Claim or Interest (a) has
 been determined by a Final Order or specified in a provision of the Plan not to be Allowed, (b) has been
 agreed to by the holder of such Claim or Interest and the applicable Debtor to be equal to $0 or to be
 expunged, (c) is listed in the Schedules as zero or as contingent, disputed, or unliquidated and as to which
 no proof of claim has been timely filed or deemed timely filed pursuant to either the Bankruptcy Code, any
 Final Order of the Bankruptcy Court or otherwise, (d) is not listed in the Schedules and as to which no proof
 of claim has been timely filed or deemed timely filed pursuant to either the Bankruptcy Code, any Final
 Order of the Bankruptcy Court, or otherwise.

       1.45     Disclosure Statement means the disclosure statement in respect of the Plan, as may be
 amended from time to time as approved by the Bankruptcy Court.

         1.46    Disputed means, with respect to a Claim or Interest, that (a) such Claim or Interest is
 neither Allowed nor Disallowed, nor deemed Allowed under sections 502, 503, or 1111 of the Bankruptcy
 Code or (b) the Debtors or any party in interest has interposed a timely objection or request for estimation,
 and such objection or request for estimation has not been withdrawn or determined by a Final Order. If the
 Debtors dispute only a portion of a Claim, such Claim shall be deemed Allowed in the amount the Debtors
 do not dispute and Disputed as to the balance of such Claim.

         1.47     Distribution Agent means any Entity in its capacity as a distribution agent under Article
 VI of the Plan (including a Reorganized Debtor that acts in such capacity).

         1.48   Distribution Record Date means, except as otherwise provided in the Plan or designated
 by the Bankruptcy Court, the Effective Date.

         1.49   DTC means the Depository Trust Company, a limited-purpose trust company organized
 under the New York State Banking Law.

         1.50     Effective Date means the date after entry of the Confirmation Order on which all
 conditions to the effectiveness of the Plan set forth in Article IX of the Plan have been satisfied or waived
 in accordance with the terms of the Plan.

          1.51    Eligible Holder means the IPCo Noteholders and Term Lenders that are qualified
 institutional buyers or accredited institutional investors eligible to participate in the DIP Facility and the
 New Term Loan.

       1.52    Employee Arrangements means all employee compensation plans, Benefit Plans,
 employment agreements, offer letters, or award letters to which any Debtor is a party.

          1.53    Entity means an individual, corporation, partnership, limited partnership, limited liability
 company, association, joint stock company, joint venture, estate, trust, unincorporated organization,
 governmental unit (as defined in section 101(27) of the Bankruptcy Code) or any political subdivision
 thereof, person (as defined in section 101(41) of the Bankruptcy Code), or other entity (as defined in section
 101(15) of the Bankruptcy Code.

           1.54      Estates means the estates of the Debtors created under section 541 of the Bankruptcy Code.

           1.55      Exchange Act means the Securities Exchange Act of 1934, as amended.



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         1.56      Exculpated Parties means, collectively and, in each case, in their capacities as such, (i) the
 Debtors, (ii) the Reorganized Debtors, (iii) the Creditors’ Committee, (iv) the Consenting Support Parties,
 (v) the ABL Agent and the ABL Lenders, (vi) the Term Agent and the Term Lenders, (vi) the Indenture
 Trustees and the IPCo Noteholders, (vii) the Backstop Parties, (viii) the DIP Lenders, (ix) the DIP Agent,
 (x) the New Term Lenders, (xi) the New Term Agent, (xii) the Sponsors, and (xiii) the Related Parties for
 each of the foregoing.

          1.57     Executory Contract means a contract to which one or more of the Debtors is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        1.58     Existing Holdings Equity means all Interests in Chino’s Holdings, Inc. as of the Petition
 Date except for Existing Holdings Preferred Equity.

         1.59    Existing Holdings Preferred Equity means the Series A Preferred Stock and Series B
 Preferred Stock, each issued by Chinos Holdings.

          1.60     Exit ABL Agent means the administrative and collateral agents under the Exit ABL
 Facility, solely in their capacity as such.

          1.61     Exit ABL Credit Agreement means that certain senior secured revolving credit
 agreement, dated as of the Effective Date (as it may be amended, restated, amended and restated,
 supplemented, or modified from time to time, solely in accordance with the terms thereof), which will be
 filed as part of the Plan Supplement.

         1.62     Exit ABL Facility means the senior secured asset-based revolving credit facility to be
 provided to certain of the Reorganized Debtors on the Effective Date on the terms and subject to the
 conditions set forth in the Exit ABL Credit Agreement.

         1.63    Exit ABL Facility Documents means, collectively, the Exit ABL Credit Agreement and
 each other agreement, security agreement, pledge agreement, collateral assignment, notice, mortgage,
 control agreement, guarantee, certificate, document or instrument executed or delivered in connection with
 the foregoing, whether or not specifically mentioned herein or therein, as the same may be modified,
 amended, restated, amended and restated, supplemented or replaced from time to time.

          1.64  Exit Facility Documents means, collectively, the New Term Documents and the Exit ABL
 Facility Documents.

         1.65    Exit ABL Lenders means the lenders under the Exit ABL Credit Agreement and any other
 Entity that becomes a lender under the Exit ABL Facility from time to time in accordance with the Exit
 ABL Credit Agreement.

        1.66    Final DIP Order means the order entered by the Bankruptcy Court, among other things,
 approving the DIP Facility and the Debtors’ use of cash collateral on a final basis (Docket No. 447).

         1.67     Final Order means an order or judgment of a court of competent jurisdiction that has been
 entered on the docket maintained by the clerk of such court, which has not been reversed, vacated or stayed
 and as to which (a) the time to appeal, petition for certiorari, or move for a new trial, reargument or
 rehearing has expired and as to which no appeal, petition for certiorari, or other proceedings for a new trial,
 reargument, or rehearing shall then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument,
 or rehearing thereof has been sought, such order or judgment shall have been affirmed by the highest court
 to which such order was appealed, or certiorari shall have been denied, or a new trial, reargument, or


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 rehearing shall have been denied or resulted in no modification of such order, and the time to take any
 further appeal, petition for certiorari or move for a new trial, reargument, or rehearing shall have expired;
 provided, that no order or judgment shall fail to be a “Final Order” solely because of the possibility that a
 motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy Rule (or
 any analogous rules applicable in another court of competent jurisdiction) or sections 502(j) or 1144 of the
 Bankruptcy Code has been or may be filed with respect to such order or judgment.

         1.68     General Unsecured Claim means any Claim as of the Petition Date that is neither secured
 by a Lien nor entitled to priority under the Bankruptcy Code or any order of the Bankruptcy Court; provided
 that a General Unsecured Claim does not include (a) any Intercompany Claim, (b) any deficiency claims
 with respect to the IPCo Notes, or (c) any Section 510(b) Claim.

         1.69    Governmental Entity means the United States and any State (including the District of
 Columbia and Puerto Rico), Commonwealth, District, Territory, municipality (including a political
 subdivision or public agency or instrumentality of a State), foreign state, or a department, agency, or
 instrumentality of the foregoing.

           1.70      Group, Inc. means J. Crew Group, Inc.

         1.71   Impaired means, with respect to a Claim, Interest, or Class of Claims or Interests,
 “impaired” within the meaning of sections 1123(a) and 1124 of the Bankruptcy Code.

         1.72    Incremental Debt Equity means New Common Shares issued after the Effective Date in
 connection with the “Fixed Component” as defined in the New Term Credit Agreement.

        1.73   Indentures means, collectively, the IPCo Indentures and the indenture for the
 7.75%/8.50% Senior PIK Toggle Notes due 2022

         1.74  Indenture Trustees means the IPCo Trustee and indenture trustee for the 7.75%/8.50%
 Senior PIK Toggle Notes due 2022.

         1.75     Indenture Trustee Fees means, collectively, to the extent not previously paid, all
 outstanding, reasonable and documented fees and expenses of the Indenture Trustees to the extent permitted
 under the applicable indenture regardless of whether such fees were incurred before or after the Petition
 Date.

          1.76       Intercompany Claim means any Claim held by a Debtor against another Debtor as of the
 Petition Date.

          1.77       Intercompany Interest means an Interest in a Debtor held by another Debtor as of the
 Petition Date.

          1.78     Interests means any equity interest in a Debtor immediately before the Effective Date,
 including, all issued, unissued, authorized or outstanding shares of stock, preferred stock, membership
 interests, other instruments evidencing an ownership interest, or equity security in any of the Debtors,
 whether or not transferable, and any option, warrant, right to purchase or acquire any such interests at any
 time, or any other interest that is exercisable, convertible or exchangeable into equity of a Debtor,
 contractual or otherwise, including, equity or equity-based incentives, grants, or other instruments issued,
 granted or promised to be granted to current or former employees, directors, officers, or contractors of the
 Debtors to acquire any such interests in a Debtor.



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         1.79    Interim DIP Order means the Interim Order (I) Authorizing the Debtors to Obtain
 Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
 Providing Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
 Secured Parties, (V) Modifying Automatic stay, (VI) Scheduling a Final Hearing, and (VII) Granting
 Related Relief (Docket No. 84).

         1.80     IPCo Debtors means J. Crew Brand, LLC, J. Crew Brand Corp., J. Crew Brand
 Intermediate, LLC, J. Crew International Brand, LLC, and J. Crew Domestic Brand, LLC, each in their
 capacity as obligor under or guarantor of the obligations under the IPCo Indentures, as applicable.

       1.81    IPCo Indentures means the two Indentures dated July 13, 2017 pursuant to which the
 IPCo Notes were issued, as amended from time to time.

          1.82   IPCo Intercreditor Agreement means the Intercreditor Agreement dated July 13, 2017
 between U.S. Bank National Association, as collateral agent for the New Notes Secured Parties (as defined
 in the IPCo Intercreditor Agreement) and U.S. Bank National Association, as collateral agent for the New
 Private Placement Notes Secured Parties (as defined in the IPCo Intercreditor Agreement).

           1.83      IPCo Noteholders means the holders of IPCo Notes, each in their capacity as such.

       1.84  IPCo Notes means the 13% Senior Secured Notes due 2021 and the 13% Senior Secured
 New Money Notes due 2021, issued under the respective IPCo Indentures.

          1.85     IPCo Notes Claims means all Claims as of the Petition Date arising under or related to the
 IPCo Indentures and the IPCo Notes, including any deficiency claims and all accrued but unpaid interest,
 costs, fees, and indemnities.

          1.86    IPCo Trustee means U.S. Bank National Association in its capacity as collateral agent and
 trustee under the IPCo Indentures.

           1.87      Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

          1.88     Loan Debtors means J. Crew Group, Inc., Chinos B, J. Crew Operating Corp., J. Crew
 Inc., J. Crew International, Inc., Grace Holmes, Inc., H. F. D. No. 55, Inc., Madewell Inc., and J. Crew
 Virginia, Inc., each in their capacity as obligor under or guarantor of the obligations under the ABL Facility
 Documents and Term Loan Documents, as applicable.

          1.89 Management Incentive Plan means the form, terms, allocation and vesting of awards
 under any management incentive plan adopted after the Effective Date by the New Board in its sole
 discretion.

         1.90    New Board means the initial board of directors of Reorganized Chinos Holdings consisting
 of seven directors to be selected in accordance with Section 5.11 of the Plan.

        1.91     New Common Shares means the shares of common stock of Reorganized Chinos
 Holdings, par value $.001 per share, issued on the Effective Date authorized pursuant to the Certificate of
 Incorporation of Reorganized Chinos Holdings, as set forth in the Plan Supplement.

         1.92    New Equity Allocation means 15% of New Common Shares allocated to the New Term
 Lenders in consideration for their commitments to participate in the New Term Loans in accordance with
 the Transaction Support Agreement, subject to dilution from (a) New Common Shares issued upon the


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 exercise of the New Warrants, (b) New Common Shares issued pursuant to the Management Incentive Plan,
 and (c) New Common Shares issued after the Effective Date other than the Incremental Debt Equity.

         1.93     New Organizational Documents means the organizational and governance documents for
 the Reorganized Debtors, including, as applicable, the certificates or articles of incorporation, certificates
 of formation or certificates of limited partnership, bylaws, limited liability company agreements, or limited
 partnership agreements (or equivalent governing documents of any of the foregoing). To the extent such
 New Organizational Documents reflect material changes to the Debtors’ existing organizational documents
 and bylaws, draft forms of such New Organizational Documents will be included in the Plan Supplement.

         1.94  New Term Agent means the administrative and collateral agent under the New Term
 Credit Agreement, in its capacity as such.

         1.95    New Term Credit Agreement means the credit agreement with respect to the New Term
 Loans, dated as of the Effective Date (as it may be amended, restated, amended and restated, supplemented,
 or modified from time to time, solely in accordance with the terms thereof), which will be filed as part of
 the Plan Supplement.

          1.96   New Term Documents means, collectively, the New Term Credit Agreement and each
 other agreement, security agreement, pledge agreement, collateral assignment, notice, mortgage, control
 agreement, guarantee, certificate, document or instrument executed or delivered in connection with the
 foregoing, whether or not specifically mentioned herein or therein, as the same may be modified, amended,
 restated, amended and restated, supplemented or replaced from time to time.

        1.97     New Term Lender means any lender in respect to the New Term Loan, including all DIP
 Lenders that convert DIP Obligations into New Term Loans, each in their capacity as such.

         1.98    New Term Loans means new senior secured first lien term loans extended to some of the
 Reorganized Debtors under the New Term Documents in an initial aggregate amount of $400 million,
 including any principal amount of DIP Obligations converted into such loans on a dollar-for-dollar basis.

         1.99      New Warrants means warrants entitling the holders thereof to purchase, in the aggregate,
 15% of the New Common Shares at a share price that assumes enterprise value of $1,750,000,000, which
 shares (a) will dilute New Common Shares issued (i) pursuant to the Plan, (ii) as New Equity Allocation or
 as Incremental Debt Equity, and (iii) as the Backstop Premium, and (b) will be diluted by any New Common
 Shares issued after the Effective Date before exercise of the New Warrants, on the terms and subject to the
 conditions set forth in the Warrant Agreement.

         1.100 Ongoing Trade Claim means any General Unsecured Claim held by a party that, within
 30 days of the Petition Date, has executed a trade agreement that expressly designates such party as a holder
 of an Ongoing Trade Claim and that provides for continuity of goods and services to be provided to the
 Reorganized Debtors for a period of at least 180 days on terms no less favorable to the Debtors than those
 in place for the year before the Petition Date, except as otherwise agreed by the Debtors with the consent
 of the Requisite Consenting Support Parties (such consent not to be unreasonably withheld).

         1.101 Other General Unsecured Claim means any General Unsecured Claim other than an
 Ongoing Trade Claim, including, for the avoidance of doubt, the Term Loan Deficiency Claims and all
 Claims arising from rejection of an Executory Contract or Unexpired Lease pursuant to sections 365 or
 1123 of the Bankruptcy Code.




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          1.102 Other Secured Claim means a Claim as of the Petition Date, other than an ABL Facility
 Claim, Term Loan Secured Claim, or IPCo Notes Claim, that is (a) secured by a Lien that is valid, perfected,
 and enforceable under applicable law or by reason of a Final Order, to the extent of the value of the
 applicable Collateral as (i) set forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors
 (with the consent of the Requisite Consenting Support Parties) or the Reorganized Debtors, as applicable,
 or (iii) determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or
 (b) secured by any right of setoff of the holder thereof in accordance with section 553 of the Bankruptcy
 Code.

       1.103 Petition Date means, with respect to each Debtor, the date on which such Debtor
 commenced its Chapter 11 Case.

         1.104 PIK Toggle Notes Claim means a Claim arising under the indenture for the 7.75%/8.50%
 Senior PIK Toggle Notes due 2022.

         1.105 Plan means this joint chapter 11 plan, including all appendices, exhibits, schedules, and
 supplements hereto (including, any appendices, schedules, and supplements contained in the Plan
 Supplement), as the same may be amended, supplemented, or modified from time to time in accordance
 with the provisions of the Bankruptcy Code.

          1.106 Plan Supplement means the forms of certain documents, schedules, and exhibits
 effectuating the transactions contemplated in the Plan, which are to be filed with the Bankruptcy Court not
 later than 10 calendar days before the deadline for filing objections to the Plan, including, (a) the Exit ABL
 Credit Agreement (b) the New Term Credit Agreement, (c) the Warrant Agreement, (d) the New
 Organizational Documents (to the extent such New Organizational Documents reflect material changes
 from the Debtors’ existing organizational documents and bylaws), (e) to the extent known, information
 required to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; (f) the schedule of
 Causes of Action retained by the Debtors; (g) the Schedule of Rejected Contracts and Leases; and (h) the
 Stockholders Agreement; provided that the Debtors shall have the right to amend any schedules, exhibits,
 or amendments filed as the Plan Supplement through the Effective Date, in accordance with the terms of
 the Plan and the Transaction Support Agreement.

          1.107 Priority Non-Tax Claim means any Claim entitled to priority in payment as specified in
 section 507(a) of the Bankruptcy Code, other than an Administrative Expense Claim, DIP Claim, or a
 Priority Tax Claim.

          1.108 Priority Tax Claim means any Claim of a Governmental Entity of the kind entitled to
 priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

          1.109 Pro Rata means the proportion that an Allowed Claim or Interest in a particular Class
 bears to the aggregate amount of Allowed Claims or Interests in that Class, or the proportion that Allowed
 Claims or Interests in a particular Class bear to the aggregate amount of Allowed Claims and Disputed
 Claims or Allowed Interests and Disputed Interests, as applicable, in a particular Class and other Classes
 entitled to share in the same recovery under the Plan.

        1.110 Professional means any professional retained pursuant to section 327, 328, or 363 of the
 Bankruptcy Code by the Debtors or any official committee appointed in the Chapter 11 Cases.

         1.111 Professional Fee Claims means all Claims for fees and expenses (including transaction
 and success fees) incurred by a Professional on or after the Petition Date to the extent such fees and expenses
 have not been paid pursuant to an order of the Bankruptcy Court.


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         1.112 Professional Fee Escrow means an escrow account established and funded pursuant to
 Section 2.2 of the Plan.

         1.113 Professional Fee Reserve Amount means the aggregate unpaid Professional Fee Claims
 through the Effective Date as estimated in accordance with Section 2.2(b) of the Plan.

        1.114 Registration Rights Agreement means the agreement pursuant to which Reorganized
 Chinos Holdings will register, offer, and sell the New Common Shares.

         1.115 Reinstate, Reinstated, or Reinstatement means providing a Claim or Interest with the
 treatment contemplated by section 1124(a)(2) of the Bankruptcy Code.

         1.116 Related Parties means individually or collectively, and each in their capacity as such:
 with respect to a given Entity, all present and former officers (including chief restructuring officers),
 directors (including independent directors), stockholders, general or limited partners, managers, managing
 directors, managing members, members, principals, employees, attorneys, agents, trustees, financial
 advisors, restructuring advisors, accountants, investment bankers, consultants, managed accounts, managed
 funds and other representatives and agents of such Entity.

          1.117 Released Parties means each of, and solely in their capacity as such, (a) the Debtors and
 the Reorganized Debtors, (b) the ABL Agent and ABL Lenders, (c) the Term Agent and Term Lenders,
 (d) the Indenture Trustees and IPCo Noteholders, (e) the Consenting Support Parties, (f) the Sponsors, (g)
 the DIP Agent and DIP Lenders, (h) the Exit ABL Agent and Exit ABL Lenders, (i) the New Term Agent
 and New Term Lenders, (j) the Backstop Parties, and (k) the Related Parties for each of the foregoing;
 provided that a holder of a Claim or Interest that objects to or opts-out of the releases set forth in Section
 10.7(b) of the Plan shall not be a “Released Party.”

         1.118 Reorganized Debtors means each of the Debtors, or any successor thereto, on and after
 the Effective Date.

           1.119     Required DIP Lenders means the “Required Lenders” under the DIP Credit Agreement.

        1.120 Requisite Consenting Support Parties has the meaning set forth in the Transaction
 Support Agreement.

         1.121 Schedule of Rejected Contracts and Leases means a schedule, filed as part of the Plan
 Supplement, that sets forth those Unexpired Leases and Executory Contracts that the Debtors with the
 consent of the Requisite Consenting Support Parties, have determined to reject under the Plan.

         1.122 Schedules means, collectively, the schedules of assets and liabilities and statements of
 financial affairs filed by the Debtors pursuant to section 521 of the Bankruptcy Code, as the same may be
 amended, modified, or supplemented from time to time.

         1.123 Section 510(b) Claims means any Claim as of the Petition Date (a) arising from the
 recession of a purchase or sale of a Security of a Debtor; (b) for damages arising from the purchase or sale
 of such Security; or (c) for reimbursement of contribution Allowed under section 502 of the Bankruptcy
 Code on account of such Claim.

           1.124     Securities Act means the Securities Act of 1933, as amended.

           1.125     Security has the meaning set forth in in section 101(49) of the Bankruptcy Code.


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         1.126 Sponsors means, collectively, TPG Chinos, L.P., TPG Chinos Co-Invest, L.P., Green
 Equity Investors V, L.P., Green Equity Investors Side V, L.P., and LGP Chino Coinvest LLC.

      1.127 Stockholders Agreement means the stockholders agreement among the holders of New
 Common Shares, which will be filed as part of the Plan Supplement.

           1.128     Tax Code means the Internal Revenue Code of 1986, as amended from time to time.

        1.129 Term Agent means Wilmington Savings Fund Society, FSB in its capacity as successor
 administrative agent under the Term Loan Agreement.

          1.130 Term Lenders means the lenders under the Term Loan Agreement and any other Entity
 that becomes a lender thereunder from time to time in accordance with the Term Loan Agreement, each in
 their capacity as such.

          1.131 Term Loan Agreement means the Amended and Restated Credit Agreement, dated March
 5, 2014 (as amended, restated, supplemented and otherwise modified from time to time) between Group,
 Inc. as the borrower, the Term Lenders, and the Term Agent.

         1.132 Term Loan Claims means the Term Loan Deficiency Claims and the Term Loan Secured
 Claims, collectively.

          1.133 Term Loan Deficiency Claims means any Claim arising under the Term Loan Documents
 that is not a secured Claim as determined pursuant to section 506(a) of the Bankruptcy Code.

           1.134 Term Loan Documents means the Term Loan Agreement and all other agreements,
 documents, and instruments delivered or entered into in connection therewith, including any guarantee
 agreements, pledge and collateral agreements, intercreditor agreements, subordination agreements, fee
 letters, and other security documents.

        1.135 Term Loan Secured Claims means all Claims arising under or related to the Term Loan
 Documents, including all accrued but unpaid interest, costs, fees, guarantees and indemnities, other than
 any Term Loan Deficiency Claims.

         1.136 Transaction Support Agreement means the Transaction Support Agreement, dated May
 3, 2020, among the Debtors and the other parties thereto, as it may be amended, supplemented, or modified
 from time to time in accordance with the terms thereof.

          1.137 Unexpired Lease means an unexpired lease to which one or more of the Debtors is a party
 that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

         1.138 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or Interests, not
 “impaired” within the meaning of sections 1123(a) and 1124 of the Bankruptcy Code.

        1.139 Warrant Agreement means the warrant agreement providing for issuance of the New
 Warrants, which will be filed as part of the Plan Supplement.

           B.        Interpretation; Application of Definitions and Rules of Construction

                  Unless otherwise specified, all section or exhibit references in the Plan are to the respective
 section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time to time.


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 The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to the Plan as
 a whole and not to any particular section, subsection, or clause contained therein. The headings in the Plan
 are for convenience of reference only and shall not limit or otherwise affect the provisions hereof. For
 purposes herein: (a) in the appropriate context, each term, whether stated in the singular or the plural, shall
 include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
 shall include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract, lease,
 instrument, release, indenture, or other agreement or document being in a particular form or on particular
 terms and conditions means that the referenced document shall be substantially in that form or substantially
 on those terms and conditions; (c) unless otherwise specified, all references herein to “Sections” are
 references to Sections hereof or hereto; (d) the rules of construction set forth in section 102 of the
 Bankruptcy Code shall apply; and (e) any term used in capitalized form herein that is not otherwise defined
 but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
 term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

           C.        Reference to Monetary Figures

                 All references in the Plan to monetary figures shall refer to legal tender of the United States
 of America, unless otherwise expressly provided.

           D.        Controlling Document

                 In the event of an inconsistency between the terms and provisions in the Plan (without
 reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
 Supplement, any other instrument or document created or executed pursuant to the Plan or any order (other
 than the Confirmation Order) referenced in the Plan (or any exhibits, schedules, appendices, supplements
 or amendments to any of the foregoing), the Plan (without reference to the Plan Supplement) shall govern
 and control; provided, that notwithstanding anything herein to the contrary, in the event of a conflict
 between the Confirmation Order, on the one hand, and the Plan or any of the instruments in the Plan
 Supplement, on the other hand, the Confirmation Order shall govern and control in all respects.

          ARTICLE II            ADMINISTRATIVE EXPENSE AND PRIORITY TAX CLAIMS.

           2.1.      Administrative Expense Claims

                   Each holder of an Allowed Administrative Expense Claim (other than a Professional Fee
 Claim or DIP Claim), except to the extent such holder agrees to less favorable treatment, shall receive, in
 full and final satisfaction, settlement, release, and discharge of, and in exchange for, such Claim, cash in an
 amount equal to such Allowed Administrative Expense Claim on, or as soon thereafter as is reasonably
 practicable, the later of (a) the Effective Date, and (b) the first business day after the date that is 30 calendar
 days after the date such Administrative Expense Claim becomes an Allowed Administrative Expense
 Claim; provided that (a) any Allowed Administrative Expense Claims representing liabilities incurred in
 the ordinary course of business shall be paid by the Debtors or the Reorganized Debtors, as applicable, in
 the ordinary course of business, consistent with past practice and in accordance with the terms and subject
 to the conditions of any course of dealing or agreements governing, instruments evidencing, or other
 documents relating to the applicable transaction and (b) the holders of any adequate protection claims
 granted by the DIP Order will not receive any recovery on account of such claims, having waived such
 recovery solely for purposes of the Plan.

                 Except as otherwise provided in Section 2.1 of the Plan and except with respect to
 Professional Fee Claims, requests for payment of Administrative Expense Claims must be filed and served
 on the Debtors or Reorganized Debtors no later than the Administrative Expense Bar Date. Holders of


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 Administrative Expense Claims that are required to file and serve a request for payment and that do not
 timely file and serve such a request shall be forever barred from asserting such Administrative Expense
 Claims against the Debtors, the Reorganized Debtors, or their respective property, and such Administrative
 Expense Claims shall be forever barred, estopped, and enjoined from asserting such Administrative
 Expense Claims.

           2.2.      Professional Fee Claims

                     (a)       Final Fee Applications

                 All final requests for Professional Fee Claims shall be filed no later than 60 days after the
 Effective Date unless otherwise ordered by the Bankruptcy Court.

                     (b)       Professional Fee Reserve Amount

                 All Professionals shall estimate in good faith their unpaid Professional Fee Claims before
 and as of the Effective Date and shall deliver such estimate to the Debtors and counsel to the Ad Hoc
 Committee at least three calendar days before the Effective Date; provided that such estimate shall not be
 deemed to limit the amount of the fees and expenses that are the subject of the Professional’s final request
 for payment of Professional Fee Claims. If a Professional does not provide such estimate, the Debtors and
 Reorganized Debtors may estimate the unbilled fees and expenses of such Professional; provided that such
 estimate shall not be considered an admission or limitation with respect to the fees and expenses of such
 Professional. The total amount so estimated as of the Effective Date shall comprise the Professional Fee
 Reserve Amount.

                     (c)       Professional Fee Escrow

                  If the Professional Fee Reserve Amount is greater than zero, then as soon as reasonably
 practicable after the Confirmation Date and no later than the Effective Date, the Debtors will establish and
 fund the Professional Fee Escrow with cash equal to the Professional Fee Reserve Amount, and no Liens,
 Claims, or interests will encumber the Professional Fee Escrow in any way. The Professional Fee Escrow
 (including funds held in the Professional Fe Escrow) will (i) not be and will not be deemed to be property
 of the Debtors or the Reorganized Debtors and (ii) will be held in trust for the Professionals; provided that
 funds remaining in the Professional Fee Escrow after all Allowed Professional Fee Claims have been
 irrevocably paid in full will revert to the Reorganized Debtors. Allowed Professional Fee Claims will be
 paid in cash to such Professionals from funds held in the Professional Fee Escrow when such Claims are
 Allowed by an order of the Bankruptcy Court; provided that the Debtors’ obligations with respect to
 Professional Fee Claims will not be limited nor deemed to be limited in any way to the balance of funds
 held in the Professional Fee Escrow.

                  If the amount of funds in the Professional Fee Escrow is insufficient to fund payment in
 full of all Allowed Professional Fee Claims and any other Allowed amounts owed to Professionals, the
 deficiency will be promptly funded to the Professional Fee Escrow from the Debtors’ estates and
 Reorganized Debtors without any further action or order of the Bankruptcy Court.

                     (d)       Post-Effective Date Fees and Expenses

                  On and after the Effective Date, the Debtors and the Reorganized Debtors, as applicable,
 will pay in the ordinary course of business and without any further action or order of the Bankruptcy Court,
 pay in cash the reasonable legal, professional, or other fees and expenses related to implementation of the
 Plan incurred by the Debtors and Reorganized Debtors, as applicable.


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                   On the Effective Date, any requirement that Professionals comply with sections 327
 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services provided
 after such date shall terminate, and the Reorganized Debtors may employ and pay any post-Effective Date
 fees and expenses of any Professional in the ordinary course of business without any further notice to or
 action, order, or approval of the Bankruptcy Court.

           2.3.      DIP Claims

                  Except if a holder of an Allowed DIP Claim agrees to less favorable treatment, each holder
 of an Allowed DIP Claim will receive, on the Effective Date, in full and final satisfaction, settlement,
 release, and discharge of such Allowed DIP Claim, (a) (i) on account of the outstanding principal amount
 of such Claim, an equal principal amount of New Term Loans, (ii) a portion of the New Equity Allocation
 and New Warrants, and (iii) cash on account of accrued and unpaid interest and other charges payable
 through the Effective Date, or (b) such other treatment agreed upon among the Debtors, the Requisite
 Consenting Support Parties, and the holders of Allowed DIP Claims.

           2.4.      Priority Tax Claims

                  Except if a holder of an Allowed Priority Tax Claim agrees to less favorable treatment,
 each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction, settlement, release,
 and discharge of, and in exchange for, such Allowed Priority Tax Claim, at the sole option of the
 Reorganized Debtors, cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter
 as is reasonably practicable, the later of (a) the Effective Date, to the extent such Claim is an Allowed
 Priority Tax Claim on the Effective Date, (b) the first business day after the date that is 30 calendar days
 after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and (c) the date such
 Allowed Priority Tax Claim is due and payable in the ordinary course; provided that the Debtors and the
 Reorganized Debtors, as applicable, reserve the right to prepay all or a portion of any Allowed Priority Tax
 Claim at any time without penalty or premium.

           2.5.      Payment of Statutory Fees

                   On and after the Effective Date, the Reorganized Debtors shall pay all fees incurred
 pursuant to section 1930 of chapter 123 of title 28 of the United States Code, together with interest, if any,
 pursuant to section 3717 of title 31 of the United States Code for each Debtor’s case, or until such time as
 a final decree is entered closing a particular Debtor’s case, a Final Order converting such Debtor’s case to
 a case under chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing such Debtor’s case
 is entered.

                  ARTICLE III         CLASSIFICATION OF CLAIMS AND INTERESTS.

           3.1.      Classification in General

                  A Claim or Interest is placed in a particular Class under sections 1122 and 1123(a)(1) of
 the Bankruptcy Code for all purposes, including voting, confirmation, and distribution under the Plan;
 provided that a Claim or Interest is placed in a particular Class for the purpose of receiving distributions
 pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest
 and such Allowed Claim or Allowed Interest has not been satisfied, released, or otherwise settled.




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           3.2.      Formation of Debtor Groups for Convenience Only

                   The Plan groups the Debtors together solely for the purpose of describing treatment under
 the Plan, confirmation of the Plan, and making distributions in accordance with the Plan. Such groupings
 shall not affect any Debtor’s status as a separate legal Entity, change the organizational structure of the
 Debtors’ business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
 or consolidation of any legal entities, or cause the transfer of any assets; and, except as otherwise provided
 by or permitted under the Plan, all Reorganized Debtors shall continue to exist as separate legal entities
 after the Effective Date.

           3.3.      Summary of Classification

                   The below table designates Classes of Claims and Interests for each Debtor and specifies
 which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to vote to accept or reject
 the Plan in accordance with section 1126 of the Bankruptcy Code, and (c) presumed to accept or deemed
 to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
 Claims and Priority Tax Claims have not been classified.

      Class              Designation                        Treatment              Entitled to Vote
           Priority Non-Tax Claims                          Unimpaired
        1                                                                      No (Presumed to accept)
           (All Debtors)
           Other Secured Claims                             Unimpaired
        2                                                                      No (Presumed to accept)
           (All Debtors)
           ABL Facility Claims                              Unimpaired
        3                                                                      No (Presumed to accept)
           (Only Loan Debtors)
           Term Loan Secured Claims                           Impaired
        4                                                                                Yes
           (Only Loan Debtors)
           IPCo Notes Claims                                  Impaired
        5                                                                                Yes
           (Only IPCo Debtors)
           Ongoing Trade Claims                               Impaired
      6-A                                                                                Yes
           (All Debtors)
           Other General Unsecured Claims                     Impaired
       6-B                                                                               Yes
           (All Debtors)
           Intercompany Claims                              Unimpaired
        7                                                                      No (Presumed to accept)
           (All Debtors)
           Section 510(b) Claims                              Impaired
        8                                                                       No (Deemed to reject)
           (All Debtors)
           Intercompany Interests                           Unimpaired
        9                                                                      No (Presumed to accept)
           (All Debtors)
           Existing Holdings Preferred Equity                 Impaired
      10-A                                                                      No (Deemed to reject)
           (Only Chinos Holdings)
           Existing Holdings Equity                           Impaired
      10-B                                                                      No (Deemed to reject)
           (Only Chinos Holdings)

           3.4.      Special Provision Governing Unimpaired Claims

                  Nothing in the Plan shall affect the rights of the Debtors or the Reorganized Debtors, as
 applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and equitable
 defenses to, or setoffs or recoupments against, any such Unimpaired Claims.



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           3.5.      Elimination of Vacant Classes

                 Any Class of Claims or Interests that, as of the commencement of the Confirmation
 Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
 zero for voting purposes shall be considered vacant, deemed eliminated from the Plan of the applicable
 Debtor for purposes of voting to accept or reject such Debtor’s Plan, and disregarded for purposes of
 determining whether such Plan satisfies section 1129(a)(8) of the Bankruptcy Code.

           3.6.      Voting Classes; Presumed Acceptance by Non-Voting Classes

                  If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests
 eligible to vote in such Class vote to accept or reject the Plan, the Debtors shall request the Bankruptcy
 Court at the Confirmation Hearing to deem the Plan accepted by such Class.

                     ARTICLE IV           TREATMENT OF CLAIMS AND INTERESTS.

           4.1.      Priority Non-Tax Claims (Class 1)

                (a)            Classification: For each Debtor, Class 1 consists of Priority Non-Tax Claims
 against such Debtor.

                    (b)    Treatment: Except if a holder of an Allowed Priority Non-Tax Claim agrees to a
 less favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, such Allowed Priority Non-Tax Claim, at the sole option of the Reorganized Debtors,
 (i) each such holder shall receive payment in cash in an amount equal to the Allowed amount of such Claim,
 payable on the later of the Effective Date and the date that is 10 business days after the date on which such
 Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon thereafter as is reasonably
 practicable, (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated, or (iii) such holder shall
 receive such other treatment consistent with section 1129(a)(9) of the Bankruptcy Code so as to render such
 holder’s Allowed Priority Non-Tax Claim Unimpaired.

                 (c)      Voting: Class 1 is Unimpaired, and the holders of Priority Non-Tax Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or reject the Plan, and the
 votes of such holders of Priority Non-Tax Claims will not be solicited.

           4.2.      Other Secured Claims (Class 2)

                  (a)      Classification: For each Debtor, Class 2 consists of Other Secured Claims against
 such Debtor. If Other Secured Claims are secured by different Collateral or different interests in the same
 Collateral, such Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept
 or reject the Plan and receiving distributions under the Plan.

                  (b)     Treatment: Except if a holder of an Allowed Other Secured Claim agrees to a less
 favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, such Allowed Other Secured Claim, at the option of the Reorganized Debtors, on the later
 of the Effective Date and the date that is 10 business days after the date such Other Secured Claim becomes
 an Allowed Claim, or as soon thereafter as is reasonably practicable, each holder of an Allowed Other
 Secured Claim shall receive on account of such Allowed Claim (i) cash in an amount equal to the Allowed
 amount of such Claim, (ii) delivery of the collateral securing such Allowed Claim and cash for any interest
 required under section 506(b) of the Bankruptcy Code, or (iii) Reinstatement or such other treatment that


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 will render such holder’s Allowed Other Secured Claim Unimpaired. If an Other Secured Claim is treated
 under clauses (i) or (ii), the Liens securing such Other Secured Claim shall be deemed released immediately
 upon payment or delivery of collateral, as applicable.

                 (c)      Voting: Class 2 is Unimpaired, and the holders of Other Secured Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject the Plan, and the
 votes of such holders of Other Secured Claims will not be solicited.

           4.3.      ABL Facility Claims (Class 3)

                 (a)     Classification: For each Loan Debtor, Class 3 consists of ABL Facility Claims,
 and such Class is vacant for all other Debtors.

                  (b)     Allowance: The ABL Facility Claims are Allowed pursuant to section 506(a) of
 the Bankruptcy Code against each of the Loan Debtors in the aggregate face amount of the then outstanding
 amount under the ABL Credit Agreement, (i) plus any unreimbursed amounts thereunder, and any accrued
 and unpaid interest payable at the default rate specified under the ABL Credit Agreement on such
 unreimbursed amounts through the Effective Date, (ii) plus the amount of any outstanding letters of credit
 issued pursuant to the ABL Facility, (iii) plus any fees, charges, expenses, and other amounts due but unpaid
 under the ABL Credit Agreement including any “Cash Management Obligations” as defined therein.
 Neither the ABL Lenders nor the ABL Agent shall be required to file proofs of claim on account of any
 ABL Facility Claims, but the ABL Agent will submit a payoff letter for the Debtors’ approval at least 14
 days before the Effective Date.

                 (c)      Treatment: Except if a holder of an Allowed ABL Facility Claim agrees to a less
 favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, each Allowed ABL Facility Claim, each holder of an Allowed ABL Facility Claim will
 receive, on the Effective Date, cash in the full amount of its Allowed ABL Facility Claim and all issued
 and outstanding letters of credit shall be cash collateralized in accordance with the terms and conditions of
 the ABL Credit Agreement. To the extent that any other ABL Facility Claim is contingent as of the
 Effective Date, the Reorganized Debtors may, in their sole discretion, elect to (i) terminate any further
 commitments under the ABL Facility, (ii) cash collateralize such contingent amounts, or (iii) provide the
 ABL Lenders with such other treatment mutually satisfactory.

                  (d)     Voting: Class 3 is Unimpaired, and the holders of ABL Facility Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Allowed ABL Facility Claims are not entitled to vote to accept or reject the Plan, and
 the votes of such holders of ABL Facility Claims will not be solicited.

           4.4.      Term Loan Secured Claims (Class 4)

                (a)      Classification: For each Loan Debtor, Class 4 consists of Term Loan Secured
 Claims, and such Class is vacant for all other Debtors.

                 (b)    Allowance: The Term Loan Secured Claims are Allowed pursuant to section
 506(a) of the Bankruptcy Code against each Loan Debtor in the aggregate amount of $716,645,605.

                  (c)      Treatment: Except if a holder of an Allowed Term Loan Secured Claim agrees to
 a less favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of,
 and in exchange for, its Allowed Term Loan Secured Claim, each holder of an Allowed Term Loan Secured


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 Claim will receive, on the Effective Date, its Pro Rata share of New Common Shares representing, in the
 aggregate, 76.5% of the New Common Shares issued on the Effective Date remaining after distributing the
 Backstop Premium, the New Equity Allocation, and any other New Common Shares distributed pursuant
 to the Plan other than the New Common Shares distributed to holders of IPCo Notes Claims, which will be
 subject to dilution from New Common Shares (i) issuable upon exercise of the New Warrants, (ii) issued
 pursuant to the Management Incentive Plan, and (iii) otherwise issued by Reorganized Chinos Holdings
 after the Effective Date, including the Incremental Debt Equity.

                  (d)     Voting: Class 4 is Impaired, and the holders of Allowed Term Loan Secured
 Claims are entitled to vote to accept or reject the Plan.

           4.5.      IPCo Notes Claims (Class 5)

                 (a)      Classification: For each IPCo Debtor, Class 5 consists of IPCo Notes Claims, and
 such Class is vacant for all other Debtors.

                  (b)     Allowance: The IPCo Notes Claims are Allowed against each IPCo Debtor in the
 aggregate principal amount of $347,599,000, plus (i) a make-whole premium equal to $58,044,927,
 (ii) accrued and unpaid interest through the Petition Date equal to $6,025,049, and (iii) any other prepetition
 obligations payable under the IPCo Indentures and IPCo Notes.

                  (c)      Treatment: Except if a holder of an Allowed IPCo Notes Claim agrees to a less
 favorable treatment of such Claim and notwithstanding anything to the contrary in the IPCo Intercreditor
 Agreement, in full and final satisfaction, settlement, release, and discharge of, and in exchange for, its
 Allowed IPCo Notes Claim, each holder of an Allowed IPCo Notes Claim will receive, on the Effective
 Date, its Pro Rata share of New Common Shares representing, in the aggregate, 23.5% of the New Common
 Shares issued on the Effective Date remaining after distributing the Backstop Premium, the New Equity
 Allocation, and any other New Common Shares distributed pursuant to the Plan other than the New
 Common Shares distributed to holders of Term Loan Secured Claims, subject to dilution from New
 Common Shares (i) issuable upon exercise of the New Warrants, (ii) issued pursuant to the Management
 Incentive Plan, and (iii) otherwise issued by Reorganized Chinos Holdings after the Effective Date,
 including the Incremental Debt Equity.

                   (d)     Voting: Class 5 is Impaired, and the holders of Allowed IPCo Notes Claims are
 entitled to vote to accept or reject the Plan.

           4.6.      Ongoing Trade Claims (Class 6-A)

                     (a)       Classification: For each Debtor, Class 6-A consists of Ongoing Trade Claims.

                  (b)     Treatment: Except if a holder of an Allowed Ongoing Trade Claim agrees to a less
 favorable treatment of such Claim, in full and final satisfaction, settlement, release, and discharge of, and
 in exchange for, such Claim, each holder of an Allowed Ongoing Trade Claim will receive, on the Effective
 Date, its Pro Rata share of a cash pool in an aggregate amount equal to $71,000,000; provided that the
 aggregate amount of cash distributed on account of any Allowed Ongoing Trade Claim will not exceed
 50% of the Allowed amount of such Claim.

                   (c)     Voting: Class 6-A is Impaired, and the holders of Allowed Ongoing Trade Claims
 are entitled to vote to accept or reject the Plan.




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           4.7.      Other General Unsecured Claims (Class 6-B)

                     (a)        Classification: For each Debtor, Class 6-B consists of Other General Unsecured
 Claims.

                  (b)     Treatment: Except if a holder of an Allowed Other General Unsecured Claim
 agrees to a less favorable treatment of such Claim, in full and final satisfaction, settlement, release, and
 discharge of, and in exchange for, such Claim, each holder of an Allowed Other General Unsecured Claim
 will receive, on the Effective Date, its Pro Rata share of the cash pool allocated to each Debtor as set forth
 below; provided that the aggregate amount of cash distributed on account of any Allowed Other General
 Unsecured Claim will not exceed 50% of the Allowed amount of such Claim. The cash pool may be
 reallocated among the Debtors after the occurrence of the Claims bar date, in their reasonable business
 judgement, to recalibrate for, among other things, the Claims asserted against each Debtor.

                                                                    Cash Pool
                               Debtor
                                                   If Class 6-B Accepts    If Class 6-B Rejects
                  J. Crew Inc.                    $69,000                 $23,000
                  J. Crew Operating Corp.         $1,877,000              $625,900
                  Grace Holmes, Inc.              $399,000                $133,000
                  H.F.D. No. 55, Inc.             $165,000                $55,000
                  Madewell Inc.                   $489,700                $163,000
                  J. Crew Group, Inc.             $300                    $100
                  Total                           $3,000,000              $1,000,000

 The Plan shall be deemed a filed objection for purposes of section 502 of the Bankruptcy Code to any Claim
 arising out of or relating to the rejection of an Executory Contract or Unexpired Lease whose holder is
 seeking the allowance of such Claim in excess of the amounts allowable under section 502(b) of the
 Bankruptcy Code.

 Subject to occurrence of the Effective Date and solely for purposes of the Plan, holders of the Term Loan
 Deficiency Claims agree to forgo any distribution under the Plan on account of such Term Loan Deficiency
 Claims.

                   (c)     Voting: Class 6-B is Impaired, and the holders of Other General Unsecured Claims
 are entitled to vote to accept or reject the Plan.

           4.8.      Intercompany Claims (Class 7)

                     (a)        Classification: For each Debtor, Class 7 consists of Intercompany Claims.

                   (b)     Treatment: From and after the Effective Date, all Intercompany Claims, including
 the PIK Toggle Notes Claim, shall be adjusted, continued, settled, Reinstated, discharged, contributed to
 capital, or eliminated, in each case to the extent determined to be appropriate by the Reorganized Debtors
 in their sole discretion.

                 (c)      Voting: Class 7 is Unimpaired, and the holders of Intercompany Claims are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject the Plan, and the votes
 of such holders will not be solicited.




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           4.9.      Section 510(b) Claims (Class 8)

                     (a)       Classification: For each Debtor, Class 8 consists of Section 510(b) Claims.

                  (b)      Treatment: On the Effective Date, all Section 510(b) Claims will be cancelled,
 released, discharged, and extinguished and will be of no further force or effect, and holders of such claims
 will not receive any distribution on account of such claims.

                  (c)      Voting: Class 8 is Impaired, and the holders of Section 510(b) Claims are
 conclusively deemed to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
 holders of Section 510(b) Claims are not entitled to vote to accept or reject the Plan, and the votes of such
 holders will not be solicited.

           4.10.     Intercompany Interests (Class 9)

                     (a)       Classification: For each Debtor, Class 9 consists of Intercompany Interests.

                  (b)      Treatment: From and after the Effective Date, all Intercompany Interests shall be
 adjusted, Reinstated, or cancelled, to the extent reasonably determined to be appropriate by the Reorganized
 Debtors in their sole discretion.

                 (c)     Voting: Class 9 is Unimpaired, and the holders of Intercompany Interests are
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
 Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject the Plan, and the
 votes of such holders will not be solicited.

           4.11.     Existing Holdings Preferred Equity (Class 10-A)

                 (a)     Classification: For Chinos Holdings, Class 10-A consists of Existing Holdings
 Preferred Equity, and such Class is vacant for all other Debtors.

                  (b)     Treatment: Holders of Existing Holdings Preferred Equity shall not receive or
 retain any property under the Plan on account of such Existing Holdings Preferred Equity. On the Effective
 Date, all Existing Holdings Preferred Equity shall be cancelled and shall be of no further force and effect,
 regardless of whether surrendered for cancellation.

                  (c)     Voting: Class 10-A is Impaired, and the holders of Existing Holdings Preferred
 Equity are conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
 Code. Therefore, holders of Existing Holdings Preferred Equity are not entitled to vote to accept or reject
 the Plan, and the votes of such holders of Existing Holdings Preferred Equity will not be solicited.

           4.12.     Existing Holdings Equity (Class 10-B)

                 (a)     Classification: For Chinos Holdings, Class 10-B consists of Existing Holdings
 Equity, and such Class is vacant for all other Debtors.

                 (b)      Treatment: Holders of Existing Holdings Equity shall not receive or retain any
 property under the Plan on account of such Existing Holdings Equity. On the Effective Date, all Existing
 Holdings Equity shall be cancelled and shall be of no further force and effect, regardless of whether
 surrendered for cancellation.



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                 (c)      Voting: Class 10-B is Impaired, and the holders of Existing Holdings Equity are
 conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
 Therefore, holders of Existing Holdings Equity are not entitled to vote to accept or reject the Plan, and the
 votes of such holders of Existing Holdings Equity will not be solicited.

                               ARTICLE V      MEANS FOR IMPLEMENTATION.

           5.1.      Sources of Funding for Plan Distributions

                  Distributions under the Plan will be funded with (a) the Debtors’ cash on hand, (b) cash
 proceeds from the Exit ABL Facility, (c) conversion of principal of DIP Obligations to New Term Loans
 pursuant to Section 2.3 of the Plan, (d) any cash proceeds from the New Term Loans, and (e) issuance of
 New Common Shares and New Warrants. The Confirmation Order will be deemed to authorize, among
 other things, the foregoing transactions.

           5.2.      General Corporate Authority

                    (a)      On the Effective Date, or as soon as practicable thereafter, the Reorganized
 Debtors shall take such actions as may be or become necessary or appropriate to effect any transaction
 described in, approved by, contemplated by, or necessary to effectuate the Plan, including (i) the execution
 and delivery of appropriate agreements or other documents of merger, consolidation, restructuring,
 financing, conversion, disposition, transfer, dissolution, transition services, or liquidation containing terms
 that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable law
 and any other terms to which the applicable Entities may determine; (ii) the execution and delivery of
 appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
 liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms to which
 the applicable parties agree; (iii) the filing of appropriate certificates or articles of incorporation,
 reincorporation, merger, consolidation, conversion, or dissolution and the New Organizational Documents
 pursuant to applicable state law; (iv) the issuance of securities, including the New Common Shares, New
 Equity Allocation, New Warrants, and the New Common Shares issuable upon exercise of the New
 Warrants, all of which shall be authorized and approved in all respects, without further action being required
 under applicable law, regulation, order, or rule; (v) if the Debtors expect to qualify for and elect to utilize
 the special bankruptcy exception under section 382(l)(5) of the Tax Code, the Debtors may seek Bankruptcy
 Court approval of certain procedures and potential restrictions on the accumulation of Claims by Entities
 who are or will be substantial claimholders and the charter, bylaws, and other organizational documents
 may restrict certain transfer of the New Common Shares, and (vi) all other actions that the applicable
 Entities determine to be necessary or appropriate, including making filings or recordings that may be
 required by applicable law or to reincorporate in another jurisdiction, subject, in each case, to the New
 Organizational Documents.

                  (b)      Each officer, manager, or member of the board of directors of the Debtors is (and
 each officer, manager, or member of the Reorganized Debtors, shall be) authorized and directed to issue,
 execute, deliver, file, or record such contracts, securities, instruments, releases, indentures, and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate,
 implement, and further evidence the terms and conditions of the Plan and the securities issued pursuant to
 the Plan (including the New Equity Allocation and New Warrants) in the name of and on behalf of the
 Reorganized Debtors, all of which shall be authorized and approved in all respects, in each case, without
 the need for any approvals, authorization, consents, or any further action required under applicable law,
 regulation, order, or rule (including any action by the stockholders or directors or managers of the Debtors
 or the Reorganized Debtors) except for those expressly required pursuant to the Plan.



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                (c)      All matters provided for herein involving the corporate structure of the Debtors or
 Reorganized Debtors, to the extent applicable, or any corporate or related action required by the Debtors or
 Reorganized Debtors in connection herewith shall be deemed to have occurred and shall be in effect,
 without any requirement of further action by the stockholders, members, or directors or managers of the
 Debtors or Reorganized Debtors, and with like effect as though such action had been taken unanimously
 by the stockholders, members, directors, managers, or officers, as applicable, of the Debtors or the
 Reorganized Debtors.

           5.3.      Exit ABL Facility

                 (a)      On the Effective Date, in accordance with, and subject to, the terms and conditions
 of the Exit ABL Facility Documents, the Reorganized Debtors will enter into the Exit ABL Facility without
 the need for any further corporate action and without further action by the holders of Claims or Interests.
 Any proceeds of the Exit ABL Facility shall be used to (i) fund distributions, costs, and expenses
 contemplated by the Plan, and (ii) fund general working capital and for general corporate purposes of the
 Reorganized Debtors, in each case subject to the terms of the Exit ABL Facility Documents.

                   (b)      On the Effective Date, the Exit ABL Facility Documents shall be executed and
 delivered by the Reorganized Debtors. All Liens and security interests granted pursuant to the Exit ABL
 Facility Documents shall be (i) valid, binding, perfected, and enforceable Liens on and security interests in
 the personal and real property described in and subject to such document, with the priorities established in
 respect thereof under applicable non-bankruptcy law, (ii) granted in good faith and deemed not to constitute
 a fraudulent conveyance or fraudulent transfer, and (iii) not otherwise subject to avoidance,
 recharacterization, or subordination under any applicable law. Each of the Entities granting such Liens and
 security interests are authorized to make all filings and recordings, and to obtain all governmental approvals
 and consents necessary to establish, attach, and perfect such Liens and security interests under any
 applicable law, and shall thereafter cooperate to make all other filings and recordings that otherwise would
 be necessary under applicable law to give notice of such Liens and security interests to third parties.

           5.4.      Conversion of DIP Claims; New Term Loans

 In consideration of each Consenting Support Party (which includes any IPCo Noteholder or Term Lender
 that is a qualified institutional buyer or accredited institutional investor and becomes a Consenting Support
 Party by electing to participate in the DIP Obligations and New Term Loans in accordance with the
 Transaction Support Agreement) agreeing to support the transactions described in the Transaction Support
 Agreement to be consummated pursuant to the Plan, consenting to exchange such party’s Term Loan
 Secured Claims and IPCo Notes Claims for the New Common Shares, and consenting to the various
 conditions and covenants set forth in the Transaction Support Agreement, including, among other things,
 the imposition of restrictions on the transfer of its Claims and Interests, each Consenting Support Party
 shall have the right to participate in providing the DIP Loans and the New Term Loans, and also to receive
 the New Equity Allocation and New Warrants. On the Effective Date:

                (a)     the principal amount of the DIP Claims will be converted to New Term Loans(the
 DIP Claims so converted shall be deemed to have been paid in full and be no longer outstanding);

                (b)     in accordance with, and subject to, the terms and conditions of the New Term
 Documents, the Reorganized Debtors will borrow or be deemed to have borrowed the New Term Loans
 without the need for any further corporate action and without further action by the holders of Claims or
 Interests;




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                  (c)      the New Term Documents shall be executed and delivered by the Reorganized
 Debtors. All Liens and security interests granted pursuant to the New Term Documents shall be (i) valid,
 binding, perfected, and enforceable Liens on and security interests in the personal and real property
 described in and subject to such document, with the priorities established in respect thereof under applicable
 non-bankruptcy law, (ii) granted in good faith and deemed not to constitute a fraudulent conveyance or
 fraudulent transfer, and (iii) not otherwise subject to avoidance, recharacterization, or subordination under
 any applicable law. Each of the Entities granting such Liens and security interests are authorized to make
 all filings and recordings, and to obtain all governmental approvals and consents necessary to establish,
 attach, and perfect such Liens and security interests under any applicable law, and shall thereafter cooperate
 to make all other filings and recordings that otherwise would be necessary under applicable law to give
 notice of such Liens and security interests to third parties; and

                 (d)     the Reorganized Debtors will issue to each Consenting Support Party the pro rata
 share (the numerator being the outstanding principal amount of New Term Loans held by such party on the
 Effective Date and the denominator being the aggregate outstanding principal amount of all New Term
 Loans on the Effective Date) of the New Equity Allocation and the New Warrants.

 Proceeds of the New Term Loans shall be used to (i) fund distributions, costs, and expenses contemplated
 by the Plan, and (ii) fund general working capital and general corporate needs of the Reorganized Debtors,
 in each case subject to the terms of the New Term Documents.

           5.5.      Backstop Commitments

                On the Effective Date, in exchange for providing the commitments described in the
 Backstop Commitment Letter, the Backstop Parties will receive the Backstop Premium in accordance with
 the Backstop Commitment Letter.

           5.6.      Authorization and Issuance of New Common Shares and the New Warrants

                 (a)     On the Effective Date, the Reorganized Debtors shall issue or cause to be issued
 the New Common Shares (including New Common Shares on account of the New Equity Allocation and
 the Backstop Premium) and the New Warrants in accordance with the terms of the Plan, the New
 Organizational Documents, and the Warrant Agreement, without the need for any further corporate, limited
 liability company, or shareholder action. All of the New Common Shares, including the New Common
 Shares issuable upon exercise of the New Warrants, upon payment of the exercise price in accordance with
 the terms of such New Warrant, when so issued, shall be duly authorized, validly issued, fully paid, and
 non-assessable when so issued.

                   (b)      On the Effective Date, (i) neither the New Common Shares nor the New Warrants
 shall be registered under the Securities Act, and neither the New Common Shares nor the New Warrants
 shall be listed for public trading on any securities exchange and (ii) none of the Reorganized Debtors shall
 be a reporting company under the Exchange Act.

                   (c)    Except as provided in the Plan or the Confirmation Order, the New Common
 Shares and the New Warrants shall be issued in the names of such holders or their nominees in accordance
 with DTC’s book-entry exchange procedures or on the books and records of a transfer agent; provided, that
 such New Common Shares and New Warrants will only be issued in accordance with DTC book-entry
 procedures if permitted to be held through DTC’s book-entry system and the Reorganized Debtors, in their
 sole discretion, deem such method of distribution advisable. If the New Common Shares or New Warrants
 are issued in accordance with DTC book-entry procedures (i) one or more global certificates representing
 such New Common Shares or New Warrants, as applicable, shall be registered with the transfer agent or


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 warrant agent, as applicable, as agent for the New Common Shares or New Warrants, as applicable, in the
 name of, and shall be deposited with, DTC or its nominee, (ii) the ownership interest of each holder of
 such New Common Shares or New Warrants, and transfers of ownership interests therein, shall be recorded
 on the records of the direct and indirect participants in DTC, and (iii) to receive distributions of New
 Common Shares or New Warrants, holders of applicable Allowed Claims shall be required to designate a
 direct or indirect participant in DTC with whom such holder has an account into which such New Common
 Shares or New Warrants, as applicable, may be deposited.

           5.7.      Continued Corporate Existence

                 (a)    The Debtors shall continue to exist after the Effective Date as the Reorganized
 Debtors in accordance with the applicable laws of the respective jurisdictions in which they are incorporated
 or organized and pursuant to the New Organizational Documents.

                  (b)      On or after the Effective Date, each Reorganized Debtor may take such action that
 may be necessary or appropriate as permitted by applicable law and such Reorganized Debtor’s
 organizational documents, as such Reorganized Debtor may determine is reasonable and appropriate to
 effect any transaction described in, approved by, or necessary or appropriate to effectuate, the Plan,
 including causing: (i) a Reorganized Debtor to be merged or dissolved; (ii) a Reorganized Debtor to be
 converted to a limited liability company or other entity; (iii) the legal name of a Reorganized Debtor to be
 changed; or (iv) the closure of a Chapter 11 Case on the Effective Date or any time thereafter.

           5.8.      Exemption from Securities Laws

                  (a)     On and as of the Effective Date, in accordance with the Transaction Support
 Agreement, if any party will beneficially own (as defined in Rules 13d-3 and 13d-5 under the Exchange
 Act) 2% or more of the New Common Shares outstanding on the Effective Date, Reorganized Chinos
 Holdings shall enter into and deliver the Registration Rights Agreement to each such party and such
 agreement shall be deemed to be valid, binding, and enforceable in accordance with its terms, and each
 party thereto shall be bound thereby.

                    (b)     The offer, issuance, and distribution of the New Common Shares pursuant to
 Section 4.4 and Section 4.5 of the Plan and the Backstop Premium will be exempt, pursuant to section 1145
 of the Bankruptcy Code, without further act or action by any Entity, from registration under the Securities
 Act, and all rules and regulations promulgated thereunder, and any state or local law requiring registration
 for the offer, issuance, or distribution of Securities. These securities shall be freely tradable by the recipients
 thereof, subject to: (i) the holder not being an “underwriter” with respect to such securities, as that term is
 defined in subsection (b) of section 1145 the Bankruptcy Code or being directly or indirectly controlling or
 controlled by, or under direct or indirect common control with, the Reorganized Debtor that issued such
 securities; (ii) compliance with any rules and regulations of the Securities and Exchange Commission
 applicable at the time of any future transfer of such securities or instruments; (iii) any restrictions on the
 transferability of the New Common Shares contained in the Stockholders Agreement; and (iv) any
 applicable regulatory approval.

                  (c)      The offer, issuance, and distribution of the New Equity Allocation and the New
 Warrants to the New Term Lenders are being made in reliance on the exemption from registration set forth
 in section 4(a)(2) of the Securities Act and/or Regulation D thereunder. Such securities together with the
 Shares of New Common Shares issuable upon exercise of the New Warrants will be considered “restricted
 securities” and may not be transferred except pursuant to an effective registration statement or under an
 available exemption from the registration requirements of the Securities Act, such as, under certain
 conditions, the resale provisions of Rule 144 or Rule 144A under the Securities Act. Additionally, the New


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 Warrants are subject to any restrictions on the transferability of such New Warrants contained in the
 Warrant Agreement.

                 (d)      If the Reorganized Debtors elect, on or after the Effective Date, for any portion of
 the New Common Shares to be held through the facilities of the DTC, then DTC will be required to accept
 and conclusively rely on the Plan and the Confirmation Order in lieu of a legal opinion regarding whether
 the New Common Shares are exempt from registration or eligible for DTC book-entry delivery, settlement,
 and depository services.

           5.9.      Cancellation of Existing Securities and Agreements

                  (a)     Except for the purpose of evidencing a right to a distribution under the Plan and
 except as otherwise set forth in the Plan, including with respect to Executory Contracts or Unexpired Leases
 that shall be assumed by the Reorganized Debtors on the Effective Date, all agreements, instruments, and
 other documents evidencing the ABL Facility Claims, Term Loans Claims, IPCo Notes Claims, PIK Toggle
 Notes Claims (if cancelled by the Reorganized Debtors pursuant to Section 4.8 of the Plan), Existing
 Holdings Preferred Equity, or Existing Holders Equity, and any rights of any holder in respect thereof shall
 be deemed cancelled, discharged, and of no force or effect and the obligations of the Debtors thereunder
 shall be deemed fully satisfied, released, and discharged.

                   (b)     Notwithstanding such cancellation and discharge, the ABL Credit Agreement, the
 IPCo Indentures, and the Term Loan Agreement shall continue in effect solely to the extent necessary to
 (i) allow the holders of Allowed ABL Facility Claims, Allowed IPCo Claims, and Allowed Term Loans
 Claims to receive distributions under the Plan, (ii) allow the Reorganized Debtors, the ABL Agent, the
 Term Agent, the Indenture Trustees, and the Distribution Agent, as applicable, to make post-Effective Date
 distributions or to otherwise exercise their rights and discharge their obligations relating to the interests of
 the holders of such Claims (including, if applicable, the right of the IPCo Trustee to exercise its respective
 charging lien), (iii) except as otherwise released, enjoined, or exculpated under the Plan, preserve their
 respective rights and obligations of the holders of such Claims vis-à-vis other holders of such Claims
 pursuant to any applicable documents, (iv) allow each of the ABL Agent, the Term Agent, and the Indenture
 Trustees to enforce its rights, claims, and interests vis-à-vis any non-Debtor, (v) preserve the rights of the
 ABL Agent and the Indenture Trustees to payment of fees and expenses, including in the exercise of its
 charging lien from any money or property distributable to the holders of the ABL Facility Claims or IPCo
 Notes Claims, and any rights to priority of payment, (vi) preserve the right of each Indenture Trustee to
 exculpation and indemnification from the Reorganized Debtors, (vii) allow the ABL Agent, the Term
 Agent, and the Indenture Trustees to enforce any obligations owed to them under the Plan, (viii) permit the
 ABL Agent, the Term Agent, and the Indenture Trustees to perform any function necessary to effectuate
 the foregoing, (ix) permit the ABL Agent, the Term Agent, and the Indenture Trustees to appear in the
 Chapter 11 Cases or in any proceeding in the Bankruptcy Court relating to the ABL Credit Agreement, the
 Indentures, or the Term Credit Agreement, as applicable, and (x) permit and require the ABL Agent, the
 Term Agent, and the Indenture Trustees to execute, deliver, and file any payoff or lien termination
 documentation requested by the Debtors in accordance with the ABL Credit Agreement, the Term Loan
 Agreement, or the Indentures (or any documents related thereto or otherwise delivered in connection
 therewith), as applicable; provided that nothing in this Section 5.9(b) shall affect the discharge of Claims
 pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan or result in any liability or expense
 to the Reorganized Debtors.

                (c)      Notwithstanding the foregoing, any provision in any document, instrument, lease,
 or other agreement that causes or effectuates, or purports to cause or effectuate, a default, termination,
 waiver, or other forfeiture of, or by, the Debtors of their interests, as a result of the cancellations,



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 terminations, satisfaction, releases, or discharges provided for in this Section 5.9 shall be deemed null and
 void and shall be of no force and effect.

           5.10.     Cancellation of Liens

                  Except as otherwise specifically provided in Section 5.9(b) of the Plan, upon the
 satisfaction of an Other Secured Claim, ABL Facility Claim, Term Loan Secured Claim, or IPCo Claim in
 accordance with the Plan, any Lien on the property securing such Claim shall be deemed automatically
 released and discharged without further action, and all of the right, title, and interest of any holder of such
 Lien, including any rights to any applicable Collateral, will revert to the applicable Reorganized Debtor and
 its successors and assigns. The holder of such Claim shall be directed to release any Collateral or other
 property of the Debtors held by such holder and to take such actions as may be requested by the Reorganized
 Debtors to evidence the release of such Lien, including the execution, delivery and filing or recording of
 such releases as may be requested by the Reorganized Debtors. The Reorganized Debtors also shall be
 authorized to execute and file on behalf of the holders of such Liens any instruments that may be necessary
 or appropriate to implement the provisions of this Section 5.10. The Indenture Trustees will be authorized
 and directed to execute and deliver to the Reorganized Debtors, at the Reorganized Debtors’ expense, any
 documents the Reorganized Debtors may request to evidence the Liens and rights to Collateral securing
 the applicable claims.

           5.11.     Officers and Boards of Directors

                  (a)     The identities of the members of the New Board and other boards of directors or
 managers of the Reorganized Debtors, and, to the extent applicable, the officers of each Reorganized
 Debtor, shall be disclosed at or before the Confirmation Hearing in accordance with section 1129(a)(5) of
 the Bankruptcy Code.

                 (b)     Commencing on the Effective Date, each of the directors, managers, and officers
 of each of the Reorganized Debtors shall be elected and serve pursuant to the terms of the applicable
 organizational documents of such Reorganized Debtor and may be replaced or removed in accordance with
 such organizational documents.

           5.12.     Certain Employee, Director, and Officer Matters

                   (a)      On the Effective Date, the Reorganized Debtors shall be deemed to have assumed
 all Benefit Plans and Employee Arrangements, other than those Executory Contracts that have been rejected
 by the Debtors or which are the subject of a pending rejection motion on the Confirmation Date; provided
 that notwithstanding anything to the contrary in the Employee Arrangements, the consummation of the Plan
 shall not be treated as a “change in control” or “change of control” or other similar transaction with respect
 to the Employee Arrangements.

                  (b)     For the avoidance of doubt, if a Benefit Plan or an Employee Arrangement is
 assumed, and such Benefit Plan or Employment Arrangement provides for an award or potential award of
 Existing Holdings Equity, such Benefit Plan or Employment Arrangement shall be assumed in all respects
 other than the provisions of such agreement relating to such award.




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                                    ARTICLE VI           DISTRIBUTIONS.

           6.1.      Distributions Generally

                 The Distribution Agent shall make all distributions under the Plan to the appropriate
 holders of Allowed Claims in accordance with the terms of the Plan.

                  Distributions to be made to holders of IPCo Notes Claims shall be made to the applicable
 IPCo Trustee, which, subject to their rights to assert their charging lien against distributions, shall transmit
 such distributions to holders of IPCo Notes Claims under their respective Indenture. The Indenture Trustees
 may, with the consent of the Debtors and the Requisite Consenting Support Parties, establish a different
 record date for distributions to holders of IPCo Notes Claims and shall transfer or direct the transfer of such
 distributions through the facilities of DTC when applicable. The Indenture Trustees shall be entitled to
 recognize and deal for all purposes under the Plan with holders of IPCo Notes Claims to the extent
 consistent with the customary practices of DTC, and all distributions to be made to holders of IPCo Notes
 Claims shall be delivered to the IPCo Trustee in a form that is eligible to be distributed through the facilities
 of DTC when applicable.

           6.2.      Distribution Record Date

                  As of the close of business on the Effective Date, the various lists of holders of Claims or
 Interests in each Class, as maintained by the Debtors or their respective agents, shall be deemed closed, and
 there shall be no further changes in the record holders of any Claims or Interests. The Reorganized Debtors
 shall have no obligation to recognize any transfer of the Claims or Interests occurring on or after the
 Effective Date. In addition, with respect to payment of any Cure Obligation or disputes over any Cure
 Obligation, neither the Reorganized Debtors nor the Distribution Agent shall have any obligation to
 recognize or deal with any party other than the non-Debtor party to the applicable Executory Contract or
 Unexpired Lease as of the Effective Date, even if such non-Debtor party has sold, assigned, or otherwise
 transferred its Claim for a Cure Obligation.

           6.3.      Date of Distributions

                  Except as otherwise provided in the Plan, any distributions and deliveries to be made under
 the Plan shall be made on the Effective Date or as otherwise determined in accordance with the Plan,
 including the treatment provisions of Article IV of the Plan, or as soon as practicable thereafter; provided
 that the Reorganized Debtors may implement periodic distributions to the extent they determine it to be
 appropriate. If any payment or act under the Plan is required to be made or performed on a date that is not
 a business day, then the making of such payment or the performance of such act may be completed on the
 next succeeding business day but shall be deemed to have been completed as of the required date.
 Distributions on account of any such Disputed Claims shall be made pursuant to the provisions set forth in
 Article VII of the Plan.

           6.4.      Distribution Agent

                  The Debtors and the Reorganized Debtors, as applicable, shall have the authority to enter
 into agreements with one or more Distribution Agents to facilitate the distributions required hereunder. All
 distributions under the Plan shall be made by the Distribution Agent, on behalf of the applicable Debtor
 (unless otherwise provided herein), or by the Reorganized Debtors if no Distribution Agents are engaged,
 on or after the Effective Date. The Reorganized Debtors shall use all commercially reasonable efforts to
 provide the Distribution Agent (if other than the Reorganized Debtors) with the amounts of Claims and the
 identities and addresses of holders of Claims, in each case, as set forth in the Debtors’ or the Reorganized


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 Debtors’ books and records. The Reorganized Debtors shall cooperate in good faith with the Distribution
 Agent (if other than the Reorganized Debtors) to comply with the reporting and withholding requirements
 outlined in Section 6.19 of the Plan.

           6.5.      Rights and Powers of Distribution Agent

                   (a)      From and after the Effective Date, the Distribution Agent, solely in its capacity as
 Distribution Agent, shall be exculpated by all Entities, including holders of Claims and Interests and other
 parties in interest, from any and all claims, Causes of Action, and other assertions of liability arising out of
 the discharge of the powers and duties conferred upon such Distribution Agent by the Plan or any order of
 the Bankruptcy Court entered pursuant to or in furtherance of the Plan, or applicable law, except for actions
 or omissions arising out of the gross negligence or willful misconduct, fraud, malpractice, criminal conduct,
 or ultra vires acts of such Distribution Agent. No holder of a Claim or Interest or other party in interest
 shall have or pursue any claim or Cause of Action against the Distribution Agent, solely in its capacity as
 Distribution Agent, for making payments in accordance with the Plan or for implementing provisions of
 the Plan, except for actions or omissions arising out of the gross negligence or willful misconduct, fraud,
 malpractice, criminal conduct, or ultra vires acts of such Distribution Agent.

                 (b)     The Distribution Agent shall be empowered to (i) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties hereunder, (ii) make all
 distributions provided for in the Plan, and (iii) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, or as deemed by the Distribution Agent to be
 necessary and proper to implement the provisions of the Plan.

           6.6.      Expenses of Distribution Agent

                  If the Distribution Agent is an Entity other than the Reorganized Debtors, and except as
 otherwise ordered by the Bankruptcy Court, any reasonable and documented fees and expenses incurred by
 the Distribution Agent acting in such capacity (including reasonable documented attorneys’ fees, expenses,
 and taxes) on or after the Effective Date shall be paid in cash by the Reorganized Debtors in the ordinary
 course of business upon presentation of invoices to the Reorganized Debtors and without the need for
 approval by the Bankruptcy Court.

           6.7.      Postpetition Interest

                  Except as otherwise specifically provided for in the Plan, the Confirmation Order, or
 another order of the Bankruptcy Court, interest shall not accrue or be paid on any Claims on or after the
 Petition Date, and no holder of a Claim shall be entitled to (a) interest accruing on or after the Petition Date
 on such Claim or (b) interest at the contract default rate.

           6.8.      Delivery of Distributions

                  Subject to the provisions contained in this Article VI, the Distribution Agent will issue or
 cause to be issued, and authenticate, as applicable, all distributions or payments to holders of Allowed
 Claims, as and when required by the Plan at: (a) the address of such holder on the books and records of the
 Debtors or their agents; (b) the address included on any filed proofs of claim; or (c) the address in any
 written notice of address change delivered to the Debtors or indicated on any transfers of Claims filed with
 the Bankruptcy Court. If any distribution to any holder is returned as undeliverable, no further distributions
 shall be made to such holder unless and until the Distribution Agent is notified in writing of such holder’s
 then-current address, at which time all then-due, missed distributions shall be made to such holder as soon
 as reasonably practicable thereafter without interest. Nothing herein shall require the Distribution Agent


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 or the Reorganized Debtors to attempt to locate holders of undeliverable distributions and, if located, assist
 such holders in complying with Section 6.19 of the Plan.

           6.9.      Distributions after Effective Date

               Distributions made after the Effective Date to holders of Disputed Claims that become
 Allowed Claims after the Effective Date shall be deemed to have been made on the Effective Date.

           6.10.     Unclaimed Property

                  Undeliverable or unclaimed distributions shall remain in the possession of the Reorganized
 Debtors until such time as a distribution becomes deliverable or the holder accepts distribution, and shall
 not accrue interest, dividends, or other accruals of any kind. No further distributions shall be made to the
 applicable holder unless and until the Distribution Agent is notified in writing of such holder’s then-current
 address or other necessary information for delivery, at which time such undelivered distribution shall be
 made to such holder within 90 days of receipt of such holder’s then-current address or other necessary
 information. Undeliverable or unclaimed distributions shall be deemed unclaimed property under section
 347(b) of the Bankruptcy Code at the expiration of 180 days from the later of (a) the Effective Date and (b)
 the date of the initial attempted distribution. On such date, all unclaimed property shall revert to the
 Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court
 (notwithstanding any applicable non-bankruptcy escheat, abandoned, or unclaimed property laws to the
 contrary), and the right, title, and interest of any other Entity to such property shall be discharged and
 forever barred. The Reorganized Debtors and the Distribution Agent shall have no obligation to attempt to
 locate any holder of an Allowed Claim other than by reviewing the Debtors’ books and records and filings
 with the Bankruptcy Court.

           6.11.     Time Bar to Cash Payments

                  Checks issued by the Distribution Agent on account of Allowed Claims shall be null and
 void if not negotiated within 180 days after the date of issuance thereof. Thereafter, the amount represented
 by such voided check shall irrevocably revert to the Reorganized Debtors, and any Claim in respect of such
 voided check shall be discharged and forever barred, notwithstanding any federal or state escheat laws to
 the contrary. Requests for re-issuance of any check shall be made to the Distribution Agent by the holder
 of the Allowed Claim to whom such check was originally issued.

           6.12.     Manner of Payment under Plan

                 Except as otherwise specifically provided in the Plan, at the option of the Reorganized
 Debtors, any cash payment to be made hereunder may be made by a check or wire transfer or as otherwise
 required or provided in applicable agreements or customary practices of the Debtors. The wire transfer fee
 will be deducted from the amount of the distribution to a holder of an Allowed Claim would otherwise
 receive.

           6.13.     Satisfaction of Claims

                 Except as otherwise specifically provided in the Plan, any distributions and deliveries to
 be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
 and discharge of and exchange for such Allowed Claims.




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           6.14.     Fractional Stock and New Warrants

                   If any distribution of New Common Shares or exercise of New Warrants would result in
 the issuance of a fractional New Common Share, then the number of New Common Shares to be issued in
 respect of such distribution or exercise, as applicable, shall be calculated to one decimal place and rounded
 up or down to the closest whole share (with a half share or greater rounded up and less than a half share
 rounded down). The total number of New Common Shares shall be adjusted as necessary to account for
 the rounding provided for herein. No consideration shall be provided in lieu of fractional shares that are
 rounded down. DTC is considered a single holder of New Common Shares for the rounding and distribution
 purposes. Neither the Reorganized Debtors nor the Distribution Agent shall have any obligation to make a
 distribution that is less than one New Common Share.

           6.15.     Minimum Cash Distributions

                   The Distribution Agent shall not be required to make any distribution on account of an
 Allowed Claim that is less than $50; provided that if no distribution is made to a holder of an Allowed
 Claim pursuant to this Section 6.15, the amount of such distribution shall be added to any subsequent
 distribution(s) to such holder on account of such Allowed Claim until the distribution such holder is entitled
 to is $50 or higher.

           6.16.     Maximum Distributions and Rights of Reimbursement

                  In no event shall an Allowed Claim receive distributions under the Plan in excess of the
 Allowed amount of such Claim, except to the extent postpetition interest is expressly Allowed by the Plan.
 Nothing contained herein shall in any way affect, impair or modify the rights of a holder of a claim against
 any Entity that is not a Debtor.

           6.17.     Setoffs and Recoupments

                 The Debtors and the Reorganized Debtors, as applicable, or such Entity’s designee
 (including the Distribution Agent) may, but shall not be required to, set off or recoup against any Claim,
 and any distribution to be made on account of such Claim, any and all claims, rights, and Causes of Action
 of any nature whatsoever that the Debtors or the Reorganized Debtors may have against the holder of such
 Claim pursuant to the Bankruptcy Code or applicable nonbankruptcy law; provided, that neither the failure
 to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a Debtor or a
 Reorganized Debtor or its successor or assign of any claims, rights, or Causes of Action that a Debtor or a
 Reorganized Debtor or its successor or assign may possess against the holder of such Claim.

           6.18.     Allocation of Distributions between Principal and Interest

                  Except as otherwise required by law (as reasonably determined by the Reorganized
 Debtors), distributions with respect to Allowed Claims in Classes 4, 5, 6-A, and 6-B shall be allocated first
 to the principal portion of such Allowed Claim (as determined for United States federal income tax
 purposes) and, thereafter, to the remaining portion of such Allowed Claim, if any.

           6.19.     Withholding and Reporting Requirements

                   (a)     Withholding Rights. In connection with the Plan, any party issuing any instrument
 or making any distribution described in the Plan or payment in connection therewith shall comply with all
 applicable withholding and reporting requirements imposed by any federal, state, or local taxing authority,
 and all distributions pursuant to the Plan and all related agreements shall be subject to any such withholding


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 or reporting requirements. In the case of a non-cash issuance or distribution that is subject to withholding,
 the distributing party may withhold an appropriate portion of such distributed property and either (i) sell
 such withheld property to generate cash necessary to pay over the withholding tax (or reimburse the
 distributing party for any advanced payment of the withholding tax), or (ii) pay the withholding tax using
 its own funds and retain such withheld property. Any amounts withheld pursuant to the preceding sentence
 shall be deemed to have been distributed to and received by the applicable recipient for all purposes of the
 Plan. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity that receives a
 distribution pursuant to the Plan shall have responsibility for any taxes imposed by any Governmental
 Entity, including income, withholding, and other taxes, on account of such distribution. Any party issuing
 any instrument or making any distribution pursuant to the Plan has the right, but not the obligation, to not
 make a distribution until such holder has made arrangements satisfactory to such issuing or disbursing party
 for payment of any such tax obligations.

                  (b)     Forms. Any party entitled to receive any property as an issuance or distribution
 under the Plan shall deliver to the withholding agent (which, if such withholding agent is not the
 Distribution Agent, shall subsequently deliver to the Distribution Agent) an appropriate Form W-9 or (if
 the payee is a foreign Entity) Form W-8 and any other forms or documents reasonably requested by any
 Reorganized Debtor to reduce or eliminate any withholding required by any federal, state, or local taxing
 authority. If such request is made by the Reorganized Debtors, and the holder fails to comply before the
 date that is 180 days after the request is made, the amount of such distribution shall irrevocably revert to
 the applicable Reorganized Debtor and any Claim in respect of such distribution shall be discharged and
 forever barred from assertion against the applicable Reorganized Debtor or its property.

           6.20.     Hart-Scott-Rodino Antitrust Improvements Act

                 Any New Common Shares or the New Warrants to be distributed to an Entity required to
 file a premerger notification and report form under the Hart-Scott-Rodino Antitrust Improvements Act of
 1976, as amended, to the extent applicable, shall not be distributed until the notification and waiting periods
 applicable under such Act to such Entity have expired or been terminated.

                        ARTICLE VII        PROCEDURES FOR DISPUTED CLAIMS.

           7.1.      Allowance of Claims

                 Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
 before the Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim
 until such Claim is deemed Allowed pursuant to the Plan, the Confirmation Order, or a Final Order. All
 settlements approved pursuant to Bankruptcy Rule 9019 or otherwise before the Effective Date by an order
 of the Bankruptcy Court shall be binding on all parties.

           7.2.      Disputed Claims Process

                  (a)    If a holder of a Claim elects to file a proof of claim, such holder shall be deemed
 to have consented to the jurisdiction of the Bankruptcy Court for all purposes with respect to such Claim,
 and the Bankruptcy Court shall retain nonexclusive jurisdiction over all such Claims, which shall be
 resolved on a case-by-case basis through settlements, Claim objections (or, if necessary, through adversary
 proceedings), adjudication in a forum other than the Bankruptcy Court, or by withdrawal of the Claims by
 the holders of such Claims.

                   (b)       The Debtors and the Reorganized Debtors, as applicable, shall have the exclusive
 authority to file, settle, compromise, withdraw, or litigate to judgment any objections to Claims; provided


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 that, consistent with section 502(a) of the Bankruptcy Code, any party in interest is permitted to object to
 any proof of claim that is filed with the Bankruptcy Court. Except for the Claims that are expressly Allowed
 by the Plan or a Final Order, all proofs of claim filed in these Chapter 11 Cases shall be considered Disputed
 Claims without further action by the Debtors.

                  (c)     Except as otherwise provided in the Plan, from and after the Effective Date, each
 Reorganized Debtor shall have and retain any and all rights and defenses the applicable Debtor had
 immediately before the Effective Date, including the Causes of Action retained pursuant to the Plan. From
 and after the Effective Date, the Reorganized Debtors may satisfy, dispute, settle, or otherwise compromise
 any Claim without approval of the Bankruptcy Court.

           7.3.      Objections to Claims

                   Only the Reorganized Debtors shall be entitled to object to Disputed Claims after the
 Effective Date. Any objections to proofs of claim shall be served and filed (a) on or before 180 days
 following the later of (i) the Effective Date and (ii) the date that a proof of claim is filed or amended or a
 Claim is otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such
 later date as ordered by the Bankruptcy Court upon motion filed by the Debtors or the Reorganized Debtors.
 The expiration of such period shall not limit or affect the Reorganized Debtors’ rights to dispute Claims
 asserted other than through a proof of claim.

           7.4.      Estimation of Claims

                  The Debtors or the Reorganized Debtors, as applicable, may at any time request that the
 Bankruptcy Court estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of
 the Bankruptcy Code regardless of whether the Debtors previously objected to such Claim or whether the
 Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to
 estimate any Claim at any time during litigation concerning any objection to any Claim, including during
 the pendency of any appeal relating to any such objection. If the Bankruptcy Court estimates any
 contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the Allowed
 amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court.
 Notwithstanding any provision in the Plan to the contrary, a Claim that has been expunged but that either
 is subject to appeal or has not been the subject of a Final Order shall be deemed to be estimated at zero
 dollars unless otherwise ordered by the Bankruptcy Court. If the estimated amount constitutes a maximum
 limitation on the amount of such Claim, the Debtors or the Reorganized Debtors may pursue supplementary
 proceedings to object to the allowance of such Claim.

           7.5.      Adjustment to Claims Without Objection

                   Any duplicate Claim or any Claim that has been paid, satisfied, amended, or superseded
 may be adjusted or expunged without the Reorganized Debtors having to file an application, motion,
 complaint, objection, or any other legal proceeding seeking to object to such Claim, and without any further
 notice to or action, order, or approval of the Bankruptcy Court.

           7.6.      Disallowance of Certain Claims

                 Any Claims held by Entities from which property is recoverable under section 542, 543,
 550, or 553 of the Bankruptcy Code or that are transferees of a transfer avoidable under section 522(f),
 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be deemed Disallowed pursuant
 to section 502(d) of the Bankruptcy Code unless expressly Allowed pursuant to the Plan, and holders of
 such Claims may not receive any distributions on account of such Claims until such time as such Causes of


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 Action against such holders have been settled or a Final Order of the Bankruptcy Court with respect thereto
 has been entered and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the
 Reorganized Debtors.

           7.7.      Amendment to Claims

                  A Claim may not be filed, amended, or supplemented after the applicable bar date
 established by the Bankruptcy Court without the prior written authorization of the Bankruptcy Court or the
 Reorganized Debtors, and any such new, amended, or supplemented Claim filed without such written
 authorization shall be deemed Disallowed in full and expunged without any further notice to or action,
 order, or approval of the Bankruptcy Court to the maximum extent provided by applicable law.

           7.8.      Late Filed Claims

                  Except as otherwise provided herein or as agreed to by the Debtors or the Reorganized
 Debtors, any proof of claim filed after the deadline established by the Bankruptcy Court with respect to
 such Claim shall be deemed Disallowed and expunged as of the Effective Date without any further notice
 to or action, order, or approval of the Bankruptcy Court, and holders of such Claims may not receive any
 distributions on account of such Claims, unless such late proof of claim has been deemed timely filed by a
 Final Order

           7.9.      No Distributions Pending Allowance

                 If an objection, motion to estimate, or other challenge to a Claim is filed, no distribution
 provided under the Plan shall be made on account of such Claim unless and until (and only to the extent
 that) such Claim becomes an Allowed Claim.

           7.10.     Distributions after Allowance

                  To the extent that a Disputed Claim ultimately becomes, in whole or in part, an Allowed
 Claim, distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
 provisions of the Plan, including the provisions of Article IV of the Plan. Such distributions shall be made
 as soon as practicable after the date that the order or judgment of the Bankruptcy Court allowing such
 Disputed Claim (or portion thereof) becomes a Final Order. In the event the Bankruptcy Court issues a
 Final Order deeming a Claim an Allowed Claim, the Distribution Agent shall remit for distribution to the
 holder of such Allowed Claim, the cash or cash equivalents in an amount equal to the amount that would
 have been distributed to the holder of such Claim from the Effective Date through and including the date
 of distribution had such Claim been Allowed as of the Effective Date.

           7.11.     Claim Resolution Procedures Cumulative

                 All of the objection, estimation, and resolution procedures in the Plan are intended to be
 cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
 compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
 Court approval.




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              ARTICLE VIII        EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

           8.1.      General Treatment

                  (a)    Unless otherwise provided by an order of the Bankruptcy Court, at least 21 days
 before the Confirmation Hearing, the Debtors shall file or serve notices of proposed assumption and
 proposed Cure Obligations on counterparties to Executory Contracts and Unexpired Leases to be assumed
 pursuant to the Plan. Any objection to the assumption of an Executory Contract or Unexpired Lease under
 the Plan must be filed, served and actually received by the Debtors no later than seven days before the
 Confirmation Hearing, unless otherwise extended by the Debtors. Any counterparty to an Executory
 Contract or Unexpired Lease that fails to timely object to the proposed assumption of any Executory
 Contract or Unexpired Lease will be deemed to have consented to such assumption and the proposed Cure
 Obligations.

                   (b)     As of and subject to the occurrence of the Effective Date and the payment of any
 applicable Cure Obligation, all Executory Contracts and Unexpired Leases, which have not expired or
 terminated by their own terms on or before the Effective Date, shall be deemed assumed by the Reorganized
 Debtors on the Effective Date, except for any Executory Contract or Unexpired Lease that (i) is listed on
 the Schedule of Rejected Contracts and Leases; (ii) has been previously rejected pursuant to a Final Order
 of the Bankruptcy Court (including where the effective date of such rejection is scheduled for after the
 Effective Date); (iii) has been previously assumed or assigned; or (iv) is the subject of a motion to assume,
 assign, or reject pending on the Effective Date; provided that the Debtors shall not reject, nor seek to reject,
 any Executory Contract or Unexpired Lease without the prior written consent of the Requisite Consenting
 Support Parties (such consent not to be unreasonably withheld).

                  (c)     Subject to the occurrence of the Effective Date, the payment of any applicable Cure
 Obligations, and resolution of any Assumption Dispute in accordance with Section 8.2 of the Plan, entry of
 the Confirmation Order shall constitute approval, pursuant to sections 365(a) and 1123 of the Bankruptcy
 Code, of the assumptions or rejections, as applicable, of the Executory Contract and Unexpired Lease in
 accordance with Section 8.1(b) of the Plan and a determination by the Bankruptcy Court that the
 Reorganized Debtors have provided adequate assurance of future performance under each assumed
 Executory Contract and Unexpired Lease. Each Executory Contract and Unexpired Lease assumed
 pursuant to the Plan shall vest in and be fully enforceable by the applicable Reorganized Debtor in
 accordance with its terms, except as modified by any order of the Bankruptcy Court authorizing and
 providing for its assumption. To the extent that any provision in any Executory Contract or Unexpired
 Lease assumed pursuant to the Plan restricts or prevents, purports to restrict or prevent, or is breached or
 deemed breached by the assumption of such Executory Contract or Unexpired Lease (including any
 “change of control” provision), such provision shall be deemed modified such that the assumption
 contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory Contract
 or Unexpired Lease or to exercise any other default-related rights with respect thereto.

           8.2.      Determination of Assumption Disputes and Deemed Consent

                (a)     Any Cure Obligation due under an Executory Contract and Unexpired Lease to be
 assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by
 payment in cash on the Effective Date, subject to the limitation described below, by the applicable
 Reorganized Debtor, or on such other terms as the parties to such Executory Contract or Unexpired Lease
 may otherwise agree.

                   (b)      In the event of an Assumption Dispute regarding (i) the amount of the Cure
 Obligation, (ii) the ability of the applicable Reorganized Debtor to provide “adequate assurance of future


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 performance” (within the meaning of section 365 of the Bankruptcy Code), or (iii) any other matter
 pertaining to the assumption of an Executory Contract or Unexpired Lease, sections 365 and 1123 of the
 Bankruptcy Code shall be deemed satisfied following the entry of a Final Order or orders resolving the
 dispute and approving the assumption; provided that the Reorganized Debtors may settle any dispute
 regarding the amount of any Cure Obligation without any further notice to any party or any action, order,
 or approval of the Bankruptcy Court.

                   (c)     After resolution of an Assumption Dispute by Final Order of the Bankruptcy Court
 or by the parties, the applicable Executory Contract or Unexpired Lease shall be deemed assumed effective
 as of the Effective Date; provided that if any Assumption Dispute is resolved unfavorably to the
 Reorganized Debtors, including a determination that the Claim subject to such Assumption Dispute is
 Allowed in an amount greater than the Cure Obligation for such Claim asserted by the Debtors and/or the
 Reorganized Debtors, the applicable Debtor may reject the applicable Executory Contract or Unexpired
 Lease by filing a notice indicating such rejection with the Bankruptcy Court, and any such rejection shall
 be effective as of the Effective Date.

                  (d)      Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise, subject to satisfaction of the applicable Cure Obligation, shall result in the full release and
 satisfaction of any defaults, whether monetary or nonmonetary, including defaults of provisions restricting
 the change in control or ownership interest composition or other bankruptcy-related defaults, arising under
 such assumed Executory Contract or Unexpired Lease at any time before the effective date of its
 assumption. Any Claim set forth in the Schedules or any proofs of claim with respect to an Executory
 Contract or Unexpired Lease that has been assumed shall be deemed Disallowed and expunged, without
 further notice to or action, order, or approval of the Bankruptcy Court.

                  (e)     With respect to any Assumption Dispute, neither the Reorganized Debtors nor the
 Distribution Agent shall have any obligation to recognize or deal with any party other than the non-Debtor
 party to the applicable Executory Contract or Unexpired Lease as of the Effective Date, even if such non-
 Debtor party has sold, assigned, or otherwise transferred such Executory Contract or Unexpired Lease or
 its Claim thereunder.

           8.3.      Claims Based on Rejection of Executory Contracts and Leases

                  (a)     Unless otherwise provided by an order of the Bankruptcy Court, any proofs           of
 claim based on the rejection of any Executory Contract or Unexpired Lease pursuant to the Plan               or
 otherwise must be filed with Bankruptcy Court and served on the Debtors or Reorganized Debtors,              as
 applicable, no later than 30 days after the later of the Effective Date or the effective date of rejection   of
 such Executory Contract or Unexpired Lease.

                  (b)     Claims arising from the rejection of Executory Contracts and Unexpired Leases,
 to the extent Allowed, shall be Other General Unsecured Claims in Class 6-B.

                   (c)      Each holder of a Claim arising from the rejection of an Executory Contract or
 Unexpired Lease for which a proof of claim was not timely filed as set forth in Section 8.3(a) above shall
 not be treated as a creditor with respect to such Claim, and any such Claim will be automatically Disallowed
 without the need for any objection or further notice to, or action, order, or approval of the Bankruptcy Court.

                   (d)    The Confirmation Order shall constitute the Bankruptcy Court’s approval of the
 rejection of all Executory Contracts and Unexpired Leases identified on the Schedule of Rejected Contracts
 and Leases, to the extent not already rejected by prior orders of the Bankruptcy Court.



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           8.4.      Contracts and Leases Entered into After the Petition Date

                 Contracts and leases entered into after the Petition Date by any Debtor and any Executory
 Contracts and Unexpired Leases assumed by any Debtor, will be performed by the applicable Debtor or
 Reorganized Debtor in the ordinary course of its business. Accordingly, such contracts and leases will
 remain unaffected by entry of the Confirmation Order and the occurrence of the Effective Date.

           8.5.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

                 (a)     Unless otherwise provided in the Plan, each assumed Executory Contract or
 Unexpired Lease shall include all modifications, amendments, supplements, restatements, or other
 agreements that in any manner affect such Executory Contract or Unexpired Lease, including any
 easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
 interests.

                  (b)     Unless otherwise provided in an order entered by the Bankruptcy Court,
 modifications, amendments, supplements, and restatements to Executory Contracts and Unexpired Leases
 executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of
 such Executory Contracts or Unexpired Leases, or the validity, priority, or amount of any Claims that may
 arise in connection therewith.

           8.6.      Survival of the Debtors’ Indemnification Obligations

                  Any obligations of the Debtors pursuant to their corporate charters, bylaws, limited liability
 company agreements, or other organizational documents to indemnify current and former officers,
 directors, agents, or employees with respect to all present and future actions, suits, and proceedings against
 the Debtors or such directors, officers, agents, or employees, based upon any act or omission for or on
 behalf of the Debtors, shall not be discharged or impaired by confirmation of the Plan. All such obligations
 shall be deemed and treated as Executory Contracts to be assumed by the Debtors under the Plan and shall
 continue as obligations of the Reorganized Debtors. Any Claim based on such obligations shall not be a
 Disputed Claim or subject to any objection by reason of section 502(e)(1)(B) of the Bankruptcy Code. The
 Debtors and the Reorganized Debtors, as applicable, shall not amend or restate their respective governance
 documents before or after the Effective Date to terminate or adversely affect any obligations to provide
 such indemnification rights or such directors’, officers’, employees’, or agents’ indemnification rights.

           8.7.      Insurance Policies

                   All insurance policies (including all directors’ and officers’ insurance policies, any
 extended discovery provisions thereunder, and tail coverage liability insurance policies) pursuant to which
 any Debtor has any obligations in effect as of the date of the Confirmation Order shall be deemed and
 treated as Executory Contracts under the Plan and shall be assumed by, and vest in, the applicable
 Reorganized Debtors and shall continue in full force and effect thereafter in accordance with their respective
 terms. All members, managers, directors, and officers who served in such capacity at any time before the
 Effective Date shall be entitled to the full benefits of any directors’ and officers’ insurance policies
 (including any “tail policy” and extended discovery provisions of any insurance policies) for the full term
 of such policies regardless of whether such members, managers, directors, and/or officers remain in such
 positions after the Effective Date, in each case, to the extent set forth in such policies.




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           8.8.      Intellectual Property Licenses and Agreements

                  All intellectual property contracts, licenses, royalties, or other similar agreements under
 which the Debtors have any rights or obligations as of the date of the Confirmation Order shall be deemed
 and treated as Executory Contracts under the Plan, shall be assumed by, and vest in, the applicable
 Reorganized Debtors on the Effective Date, and shall continue in full force and effect unless any such
 intellectual property contract, license, royalty, or other similar agreement is rejected pursuant to a separate
 order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors in
 accordance with Section 8.1 of the Plan. The Reorganized Debtors may take all actions as may be necessary
 or appropriate to ensure the vesting of such intellectual property contracts, licenses, royalties, or other
 similar agreements as contemplated herein.

           8.9.      Employee Compensation and Benefits

                  Except as listed in the Schedule of Rejected Contracts and Leases, all Benefit Plans and
 Employee Arrangements shall be treated as Executory Contracts under the Plan and deemed assumed on
 the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code. The
 Reorganized Debtors shall honor, in the ordinary course of business, Claims of employees employed as of
 the Effective Date for accrued vacation time arising before the Petition Date and not otherwise paid pursuant
 to a Bankruptcy Court order. Any assumption of the Benefit Plans and Employee Arrangements hereunder
 shall not trigger any applicable change of control, immediate vesting, termination, or similar provisions
 therein. No participant shall have rights under the Benefit Plans and Employee Arrangements assumed
 pursuant to the Plan other than those existing immediately before such assumption.

           8.10.     Assignment

                  To the extent any Executory Contract or Unexpired Lease is transferred or assigned
 hereunder, it shall remain in full force and effect for the benefit of the transferee or assignee in accordance
 with its terms, notwithstanding any provision in such Executory Contract or Unexpired Lease (including,
 those of the type set forth in section 365(b)(2) of the Bankruptcy Code) that prohibits, restricts, or conditions
 such transfer or assignment. Any provision that prohibits, restricts, or conditions the assignment or transfer
 of any such Executory Contract or Unexpired Lease or that terminates or modifies such Executory Contract
 or Unexpired Lease or allows the counterparty to such Executory Contract or Unexpired Lease to terminate,
 modify, recapture, impose any penalty, condition renewal or extension, or modify any term or condition
 upon any such transfer and assignment, constitutes an unenforceable anti-assignment provision and is void
 and of no force or effect.

           8.11.     Reservation of Rights

                   (a)     Neither the exclusion nor inclusion of any contract or lease on any exhibit,
 schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the Plan, will
 waive, exclude, limit, dismiss or otherwise alter any of the defenses, claims, causes of action, or other rights
 of the Debtors or Reorganized Debtors to subsequently argue that such contract or lease is or is not in fact
 an Executory Contract or Unexpired Lease or that the Debtors or the Reorganized Debtors or their
 respective affiliates do not have any liability thereunder.

                  (b)     Except as otherwise provided in the Plan, nothing in the Plan shall waive, excuse,
 limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
 Debtors and the Reorganized Debtors under any executory or non-executory contract or any unexpired or
 expired lease.



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                   (c)     Nothing in the Plan shall increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtors or the Reorganized Debtors under any executory or non-
 executory contract or any unexpired or expired lease.

                 (d)      If there is a dispute regarding whether a contract or lease is or was executory or
 unexpired at the time of its assumption under the Plan, the Debtors shall have 60 days following entry of a
 Final Order resolving such dispute to alter the proposed treatment of such contract or lease.

                               ARTICLE IX          CONDITIONS PRECEDENT

           9.1.      Conditions Precedent to Confirmation of the Plan

                     The following are conditions precedent to confirmation of the Plan:

                 (a)     the Bankruptcy Court shall have entered an order approving the Disclosure
 Statement as containing adequate information with respect to the Plan within the meaning of section 1125
 of the Bankruptcy Code;

                (b)      the proposed Confirmation Order shall be consistent with the Transaction Support
 Agreement and otherwise in form and substance reasonably satisfactory to the Debtors, the Requisite
 Consenting Support Parties, the Required DIP Lenders, the DIP Agent, the Exit ABL Agent, and the Exit
 Term Agent; provided that the Debtors will also consult in good faith with the ABL Agent regarding the
 form and substance of the Confirmation Order; and

                (c)     the Backstop Commitment Letter and the Transaction Support Agreement shall not
 have been terminated by the parties thereto and shall be in full force and effect and binding on all parties
 thereto.

           9.2.      Conditions Precedent to Effective Date

                 The occurrence of the Effective Date will be subject to the following conditions precedent,
 among others; provided that any condition can be waived with the prior written consent of the Debtors and
 the Requisite Consenting Support Parties:
                 (a)      the Transaction Support Agreement shall not have been terminated by the parties
 thereto and remains in full force and effect and binding on the parties thereto;

                 (b)     the Bankruptcy Court shall have entered the Confirmation Order consistent with
 the Transaction Support Agreement and the Confirmation Order shall not have been stayed;

                  (c)      the Definitive Documents shall be consistent with the Transaction Support
 Agreement and otherwise approved by the parties thereto consistent with their respective consent and
 approval rights as set forth in the Transaction Support Agreement;

                  (d)     all actions, documents, and agreements necessary to implement and consummate
 the Plan shall have been performed or executed, as applicable;

                 (e)    the Bankruptcy Court shall have entered the Final DIP Order, the DIP Loan
 Documents shall be in full force and effect in accordance with their terms, the DIP Termination Date (as
 defined in the DIP Orders) shall not have occurred, no Event of Default (as defined in the DIP Loan
 Documents) shall have occurred or be continuing, and the obligations outstanding under the DIP Credit
 Agreement shall not have been accelerated in accordance with the terms thereof;


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                 (f)     all documentation related to the Exit ABL Facility shall have been executed and
 delivered by each party thereto, and any conditions precedent related thereto shall have been satisfied or
 waived;

                  (g)     all documentation related to the New Term Credit Agreement shall have been
 executed and delivered by each party thereto, and any conditions precedent related thereto shall have been
 satisfied or waived; provided that the DIP Lenders shall be deemed to have executed and delivered the New
 Term Credit Agreement in accordance with the terms of the DIP Credit Agreement;

                 (h)      all conditions precedent to the issuance of the New Common Shares, other than
 the occurrence of the Effective Date, shall have occurred;

               (i)      the New Equity Allocation and New Warrants shall have been issued to the
 Consenting Support Parties in accordance with the Transaction Support Agreement;

                 (j)     the organizational documents and bylaws for Reorganized Chinos Holdings will
 be adopted on terms consistent with the Transaction Support Agreement and otherwise in form and
 substance reasonably satisfactory to the Debtors and the Requisite Consenting Support Parties;

                  (k)          the Backstop Commitment Letter shall not have been terminated and remains in
 full force and effect;

                 (l)           the Professional Fee Escrow Account shall have been established and funded as
 provided herein;

                 (m)      all fees and expenses owed pursuant to the Transaction Support Agreement or the
 DIP Order, including all Ad Hoc Committee Fees, to the extent unpaid and invoiced at least two business
 days before the Effective Date, shall have been paid by the Debtors or the Reorganized Debtors;

                  (n)     all governmental and third-party approvals and consents, including Bankruptcy
 Court approval, necessary in connection with the transactions contemplated by the Transaction Support
 Agreement shall have been obtained, not be subject to unfulfilled conditions, and be in full force and effect,
 and all applicable waiting periods shall have expired without any action being taken or threatened by any
 competent authority that would restrain, prevent or otherwise impose materially adverse conditions on such
 transactions; and

                  (o)      all other actions, documents, and agreements necessary to implement and
 effectuate the Plan shall have been performed or executed, as applicable.

           9.3.      Satisfaction or Waiver of Conditions Precedent

                 (a)     Except as otherwise provided herein, all actions required to be taken on the
 Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
 shall be deemed to have occurred before the taking of any other such action. No leave or order of the
 Bankruptcy Court shall be required for the waiver by the Debtors, with the prior written consent of the
 Requisite Consenting Support Parties, of any condition precedent set forth in Section 9.1 of the Plan, except
 the condition precedent set forth in Section 9.1(a), in accordance with the terms thereof.

                 (b)      The Confirmation Order shall contain a waiver of any stay of enforcement
 otherwise applicable, including pursuant to Bankruptcy Rule 3020(e), 6004(h), and 7062.



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           9.4.      Effect of Failure of a Condition

                  If the Effective Date does not occur, then (a) the Plan shall be null and void in all respects,
 (b) any settlement or compromise embodied in the Plan, assumption of Executory Contracts or Unexpired
 Leases effected under the Plan, and document or agreement executed pursuant to the Plan shall be deemed
 null and void, and (c) nothing contained in the Plan or the Disclosure Statement shall (i) constitute a waiver
 or release of any Claim or Interest or any claims or Causes of Action by the Debtors, (ii) prejudice in any
 manner the rights of any Entity, or (iii) constitute any admission, acknowledgement, offer, or undertaking
 by the Debtors, any of the Consenting Support Parties, or any other Entity.

                        ARTICLE X           EFFECT OF CONFIRMATION OF PLAN.

           10.1.     Vesting of Assets

                   On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
 assets and property of the Debtors’ Estates shall vest in the Reorganized Debtors, free and clear of all
 Claims, Liens, encumbrances, charges, and other interests, except as provided in the Plan or the
 Confirmation Order. On and after the Effective Date, the Reorganized Debtors may take any action,
 including, the operation of their businesses; the use, acquisition, sale, lease and disposition of property; and
 the entry into transactions, agreements, understandings, or arrangements, whether in or other than in the
 ordinary course of business, and execute, deliver, implement, and fully perform any and all obligations,
 instruments, documents, and papers or otherwise in connection with any of the foregoing, free of any
 restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects as if there were no pending
 cases under the Bankruptcy Code, except as expressly provided herein.

           10.2.     Binding Effect

                   As of the Effective Date, the Plan shall bind (a) all Entities that are parties to or are subject
 to the settlements, compromises, releases, discharges, and injunctions described in the Plan, (b) each Entity
 acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
 Leases, (c) all parties to the Transaction Support Agreement, and (d) all holders of Claims and Interests and
 their respective successors and assigns, notwithstanding whether any such holders were (i) Impaired or
 Unimpaired under the Plan, (ii) deemed to accept or reject the Plan, (iii) failed to vote to accept or reject
 the Plan, or (iv) voted to reject the Plan.

           10.3.     Compromise and Settlement of Claims, Interests, and Controversies

                  (a)     Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, in
 consideration for the classification, distributions, releases, and other benefits provided under the Plan, the
 provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, and
 controversies released, settled, compromised, discharged, or otherwise resolved pursuant to the Plan.

                  (b)     The Plan shall be deemed a motion to approve the good-faith compromise and
 settlement of all such Claims, Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule
 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of the compromise or settlement of all such Claims, Interests, and controversies,
 as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of
 the Debtors, their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. The
 compromises, settlements, and releases described herein shall be deemed nonseverable from one another
 and from all other provisions of the Plan.



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           10.4.     Discharge of Claims and Termination of Interests

                   Upon the Effective Date, in consideration of the distributions to be made hereunder, except
 as otherwise expressly provided herein, each holder (as well as any representatives, trustees, or agents on
 behalf of each holder) of a Claim or Interest and any affiliate of such holder shall be deemed to have forever
 waived, released, and discharged the Debtors, to the fullest extent permitted by section 1141 of the
 Bankruptcy Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
 Effective Date. Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code
 and except as otherwise specifically provided in the Plan, the distributions, rights, and treatment provided
 in the Plan shall be in full and final satisfaction, settlement, release, and discharge, effective as of the
 Effective Date, of all Interests and Claims of any nature whatsoever, including (unless otherwise
 specifically provided herein) any interest accrued on Claims from and after the Petition Date, whether
 known or unknown, regardless of whether any property shall have been distributed or retained pursuant to
 the Plan on account of such Claims or Interests, including demands, liabilities, and Causes of Action that
 arose before the Effective Date, any contingent or non-contingent liability on account of representations or
 warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g),
 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (a) a proof of claim or interest is
 filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest is Allowed;
 or (c) the holder of such Claim or Interest has accepted the Plan. The Confirmation Order shall be a judicial
 determination, subject to the Effective Date occurring, of the discharge of all Claims and Interests except
 as otherwise expressly provided in the Plan. Upon the Effective Date, all holders of Interests and Claims
 of any nature whatsoever shall be forever precluded and enjoined, pursuant to section 524 of the Bankruptcy
 Code, from prosecuting or asserting any such discharged Claim or terminated Interest against the Debtors,
 the Reorganized Debtors, or any of their assets or property, whether or not such holder has filed a proof of
 claim and whether or not the facts or legal bases therefor were known or existed before the Effective Date.

           10.5.     Term of Injunctions or Stays

                   Unless otherwise provided herein, in the Confirmation Order, or in another Final Order of
 the Bankruptcy Court, all injunctions or stays arising or issued under section 105 or 362 of the Bankruptcy
 Code or otherwise, and in existence on the Confirmation Date, shall remain in full force and effect until the
 later of the Effective Date and the date indicated in the order providing for such injunction or stay.

           10.6.     Injunction

                 (a)     Upon entry of the Confirmation Order, all holders of Claims and Interests
 and other parties in interest, along with their respective present or former employees, agents, officers,
 directors, principals, and affiliates, shall be enjoined from taking any actions to interfere with the
 implementation or consummation of the Plan.

                 (b)      Except as expressly provided in the Plan, the Confirmation Order, or another
 order of the Bankruptcy Court or agreed to by the Debtors and a holder of a Claim or Interest, all
 Entities who have held, hold, or may hold Claims or Interests (whether or not proof of such claims
 or interests has been filed and whether or not such Entities voted for or against the Plan or abstained
 from voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan) and
 other parties in interest, along with their respective present or former employees, agents, officers,
 directors, principals, and affiliates are permanently enjoined, on and after the Effective Date, solely
 with respect to the Claims, Interests, and Causes of Action that are extinguished, discharged, or
 released pursuant to the Plan, from (i) commencing, conducting, or continuing in any manner,
 directly or indirectly, any suit, action, or other proceeding of any kind (including, any proceeding in
 a judicial, arbitral, administrative or other forum) against or affecting the Released Parties or the


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 property of any of the Released Parties, (ii) enforcing, levying, attaching (including any prejudgment
 attachment), collecting, or otherwise recovering by any manner or means, whether directly or
 indirectly, any judgment, award, decree, or order against the Released Parties or the property of any
 of the Released Parties, (iii) creating, perfecting, or otherwise enforcing in any manner, directly or
 indirectly, any encumbrance of any kind against the Released Parties or the property of any of the
 Released Parties, (iv) asserting any right of setoff, directly or indirectly, against any obligation due
 the Released Parties or the property of any of the Released Parties, except as contemplated by the
 Plan, and (v) acting in any manner that does not conform to or comply with the provisions of the Plan
 or the Confirmation Order.

                 (c)     By accepting distributions under the Plan, each holder of an Allowed Claim
 extinguished, discharged, or released pursuant to the Plan shall be deemed to have affirmatively and
 specifically consented to be bound by the Plan, including the injunctions set forth in this Section 10.6.

               (d)    The injunctions in this Section 10.6 shall extend to any successors of the
 Debtors and the Reorganized Debtors and their respective property and interests in property.

           10.7.     Releases

                     (a)       Releases by Debtors

                  As of the Effective Date, for good and valuable consideration, on and after the
 Effective Date, the Released Parties shall be deemed to be conclusively, absolutely, unconditionally,
 irrevocably, and forever released and discharged by the Debtors, their Estates, the Reorganized
 Debtors, and any Entity seeking to exercise the rights of the foregoing, including any successors to
 the Debtors or any estate representatives appointed or selected pursuant to section 1123(b)(3) of the
 Bankruptcy Code, from any and all claims, obligations, rights, suits, judgments, damages, demands,
 debts, rights, Causes of Action, remedies, losses, and liabilities whatsoever, including any derivative
 claims, asserted or assertable on behalf of the Debtors, their Estates, or the Reorganized Debtors,
 whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or
 unmatured, contingent or fixed, existing or hereinafter arising, in law, equity or otherwise, that the
 Debtors, their Estates, the Reorganized Debtors, or their affiliates would have been legally entitled
 to assert in their own right (whether individually or collectively) or on behalf of the holder of any
 Claim or Interest or other Entity, based on or relating to, or in any manner arising from, in whole or
 in part, the Debtors, their Estates, the formation, operation, and conduct of the Debtors’ businesses,
 the Chapter 11 Cases, the acquisition, purchase, sale, or rescission of the purchase or sale of any debt
 or security of the Debtors or the Reorganized Debtors (including the New Equity Allocation and the
 New Warrants), the subject matter of, or the transactions or events giving rise to, any Claim or
 Interest, the business or contractual arrangements between the Debtors and any Released Party, the
 Debtors’ restructuring, the restructuring of any Claim or Interest before or during the Chapter 11
 Cases (including the restructuring of the IPCo Notes Claims notwithstanding the IPCo Intercreditor
 Agreement), the DIP Order, the Disclosure Statement, the Transaction Support Agreement, the New
 Term Loan, the Backstop Commitment, the Backstop Commitment Letter, the Plan, the Plan
 Supplement and other related agreements, instruments, and documents related to the foregoing
 (including the Definitive Documents), and the negotiation, formulation, or preparation thereof, the
 solicitation of votes on the Plan, or any other act or omission, in all cases based upon any act or
 omission, transaction, agreement, event, or other occurrence taking place on or before the Effective
 Date, including all Claims and Causes of Action under chapter 5 of the Bankruptcy Code or any
 other Avoidance Actions under the Bankruptcy Code or applicable federal or state law, including
 any preference or fraudulent transfer Claims or Causes of Action; provided that nothing in this
 release shall be construed to release any post-Effective Date obligations of any Entity under the Plan,


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 the Transaction Support Agreement, or any document, instrument, or agreement (including those
 set forth in the Plan Supplement) executed to implement the Plan.

                     (b)       Consensual Releases by Holders of Claims and Interests

                As of the Effective Date, for good and valuable consideration, on and after the
 Effective Date, each of the Released Parties shall be deemed to be conclusively, absolutely,
 unconditionally, irrevocably, and forever released and discharged by:
                            i. the other Released Parties;

                           ii. the holders of Impaired Claims who voted to accept the Plan;

                           iii. the holders of Impaired Claims who abstained from voting on the Plan or
                                voted to reject the Plan but did not opt-out of these releases on their ballots;

                           iv. the holders of Unimpaired Claims and Interests in Classes 1, 2, 3, 7, and 9 that
                               are presumed to accept the Plan but do not timely opt-out of the releases by
                               completing a written opt-out form; and

                           v. the holders of Impaired Claims and Interests in Classes 8, 10-A, and 10-B,
                              that are deemed to reject the Plan but do not timely opt-out of the releases by
                              completing a written opt-out form;

 and with respect to any Entity in the foregoing clauses (i) through (iv), (a) such Entity’s predecessors,
 successors, and assigns, and (b) all Entities entitled to assert Claims through or on behalf of such
 Entities with respect to the matters to which these releases apply, in each case, from any and all
 claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever,
 including any derivative claims, asserted or assertable on behalf of a Debtor, whether known or
 unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, contingent or
 fixed, existing or hereinafter arising, in law, equity or otherwise, that such Entity would have been
 legally entitled to assert in its own right (whether individually or collectively) based on or relating to,
 or in any manner arising from, in whole or in part, the Debtors and their Estates, the formation,
 operation, and conduct of the Debtors’ businesses, the Chapter 11 Cases, the acquisition, purchase,
 sale, or rescission of the purchase or sale of any debt or security of the Debtors or the Reorganized
 Debtors (including the New Equity Allocation and New Warrants), the subject matter of, or the
 transactions or events giving rise to, any Claim or Interest, the business or contractual arrangements
 between the Debtors and any Released Party, the Debtors’ restructuring (including the restructuring
 of the IPCo Notes Claims notwithstanding the IPCo Intercreditor Agreement), the restructuring of
 any Claim or Interest before or during the Chapter 11 Cases, the DIP Order, the Disclosure
 Statement, the Transaction Support Agreement, the New Term Loan, the Backstop Commitment,
 the Backstop Commitment Letter, the Plan, the Plan Supplement, and related agreements,
 instruments, and other documents (including the Definitive Documents), and the negotiation,
 formulation, or preparation thereof, the solicitation of votes on the Plan, or any other act or omission,
 in all cases based upon any transaction, agreement, event, or other occurrence taking place on or
 before the Effective Date, including all Claims and Causes of Action under chapter 5 of the
 Bankruptcy Code or any other Avoidance Actions under the Bankruptcy Code or applicable federal
 or state law, including any preference or fraudulent transfer Claims or Causes of Action; provided
 that nothing in this release shall be construed to release any post-Effective Date obligations of any
 Entity under the Plan, the Transaction Support Agreement, or any document, instrument, or
 agreement (including those set forth in the Plan Supplement) executed to implement the Plan.


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                  (c)     Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
 approval, pursuant to Bankruptcy Rule 9019, of the compromises memorialized in the releases set
 forth herein, and shall constitute the Bankruptcy Court’s finding that the releases set forth in the
 Plan are: (a) consensual; (b) essential to the confirmation of the Plan; (c) given in exchange for good
 and valuable consideration provided by the Released Parties, including the Released Parties’
 contributions to facilitating the restructuring and implementing the Plan; (d) a good faith settlement
 and compromise of the claims released; (e) in the best interests of the Debtors and their Estates;
 (f) fair, equitable, and reasonable; and (g) given and made after due notice and opportunity for
 hearing.

           10.8.     Exculpation

                  Notwithstanding anything herein to the contrary, and to the maximum extent
 permitted by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is
 hereby released and exculpated from, any claim, obligation, suit, judgment, damage, demand, debt,
 right, cause of action, remedy, loss, and liability for any claim in connection with or arising out of the
 administration of the Chapter 11 Cases, the formulation, preparation, and pursuit of the Disclosure
 Statement, the Transaction Support Agreement, the transactions relating to the Debtors’
 restructuring, the Plan (including the Plan Supplement), the solicitation of votes for, or confirmation
 of, the Plan, the funding or consummation of the Plan, the Definitive Documents, or any related
 agreements, instruments, or other documents, the offer, issuance, and distribution of any securities
 issued or to be issued pursuant to the Plan, whether or not such distribution occurs following the
 Effective Date, the occurrence of the Effective Date, negotiations regarding or concerning any of the
 foregoing, or the administration of the Plan or property to be distributed under the Plan, except for
 actions determined to constitute gross negligence, willful misconduct, or intentional fraud as
 determined by a Final Order by a court of competent jurisdiction. This exculpation shall be in
 addition to, and not in limitation of, all other releases, indemnities, exculpations and any other
 applicable law or rules protecting the Exculpated Parties from liability.

           10.9.     Retention of Causes of Action/Reservation of Rights

                  Except as otherwise provided in Section 10.7(a) of the Plan, nothing contained in the Plan
 or the Confirmation Order shall be deemed to be a waiver or relinquishment of any rights, claims, Causes
 of Action, rights of setoff or recoupment, or other legal or equitable defenses that the Debtors had
 immediately before the Effective Date on behalf of the Estates or themselves in accordance with any
 provision of the Bankruptcy Code or any applicable nonbankruptcy law, including any affirmative Causes
 of Action against any parties other than the Released Parties. The Reorganized Debtors shall have, retain,
 reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff or recoupment, and other
 legal or equitable defenses as fully as if the Chapter 11 Cases had not been commenced, and all of the
 Debtors’ legal and equitable rights in respect of any Unimpaired Claim may be asserted after the Effective
 Date to the same extent as if the Chapter 11 Cases had not been commenced. Notwithstanding the
 foregoing, the Debtors and the Reorganized Debtors shall not retain any claims or Causes of Action against
 any of the Released Parties released pursuant to the Plan (except that such claims or Causes of Action may
 be asserted as a defense to a Claim in connection with the claims reconciliation procedures).

           10.10. Ad Hoc Committee and Indenture Trustee Fees

                 On the Effective Date, the Debtors shall pay all Ad Hoc Committee Fees and Indenture
 Trustee Fees in cash to the extent not already paid by the Debtors subject to receipt by the Debtors of an
 invoice from any Entity entitled to Ad Hoc Committee Fees or Indenture Trustee Fees and in accordance
 with the applicable engagement letter, the applicable governing documents, or as otherwise agreed between


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 the Debtors and such Entity. On and after the Effective Date, the Debtors or the Reorganized Debtors, as
 applicable, shall pay all Ad Hoc Committee Fees and Indenture Trustee Fees in cash, to the extent not
 already paid by the Debtors, in each case, within ten business days of receipt by the Debtors or the
 Reorganized Debtors, as applicable, of an invoice from any Entity entitled to Ad Hoc Committee Fees or
 Indenture Trustee Fees for any unpaid fees in accordance with the applicable engagement letter, the
 applicable governing documents, or as otherwise agreed between the Debtors or Reorganized Debtors, as
 applicable, and such Entity.

                               ARTICLE XI         RETENTION OF JURISDICTION.

           11.1.     Retention of Jurisdiction

                   Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all matters arising under, or arising
 in, or relating to these Chapter 11 Cases to the fullest extent legally permissible by 28 U.S.C. § 1334 to
 hear, and by 28 U.S.C. § 157 to determine, all proceedings in respect thereof, including, without limitation,
 for the following purposes:

                (a)     to hear and determine matters relating to the assumption or rejection of Executory
 Contracts or Unexpired Leases, including Assumption Disputes, and the allowance, classification, priority,
 compromise, estimation, or payment of Claims resulting therefrom;

                (b)   to determine any motion, adversary proceeding, application, and contested matter
 pending on or commenced after the Confirmation Date, including any proceeding with respect to a Cause
 of Action;

                   (c)     to ensure that distributions to holders of Allowed Claims are accomplished as
 provided for in the Plan and the Confirmation Order and to adjudicate any and all disputes arising from or
 relating to distributions under the Plan;

                   (d)      to resolve disputes concerning Disputed Claims and consider the allowance,
 classification, priority, compromise, estimation, secured or unsecured status, amount, or payment of any
 Claim, including any Administrative Expense Claims, including any dispute over the application to any
 Claim of any limitation on its allowance set forth in sections 502 or 503 of the Bankruptcy Code or asserted
 under non-bankruptcy law pursuant to section 502(b)(1) of the Bankruptcy Code;

                (e)      to enter, implement, or enforce such orders as may be appropriate if the
 Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

                 (f)     to issue injunctions, enter and implement other orders, and take such other actions
 as may be necessary or appropriate to restrain interference with the consummation, implementation, or
 enforcement of the Plan, the Confirmation Order, and any other order of the Bankruptcy Court;

                  (g)      to hear and determine any application to modify the Plan in accordance with
 section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in
 the Plan, the Disclosure Statement, or any order of the Bankruptcy Court, including the Confirmation Order;

                     (h)       to hear and determine all Professional Fee Claims;

                (i)      to hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan, the Plan Supplement, the Confirmation Order, any transactions


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 or payments contemplated herein, or any agreement, instrument, or other document governing or relating
 to any of the foregoing, including, without limitation, the Transaction Support Agreement and the Backstop
 Commitment Letter; provided, for the avoidance of doubt, that any dispute arising after the Effective Date
 under or with respect to the Exit Facility Documents, the New Organizational Documents, or any other
 documents entered into by the Reorganized Debtors shall be adjudicated in accordance with the terms of
 such documents;

                (j)     to take any action and issue such orders as may be necessary to construe, interpret,
 enforce, implement, execute, and consummate the Plan;

                (k)      to determine such other matters and for such other purposes as may be provided in
 the Confirmation Order;

                 (l)     to hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for expedited
 determinations under section 505(b) of the Bankruptcy Code);

                  (m)      to hear, adjudicate, decide, or resolve any and all matters related to Article X of
 the Plan, including, the releases, discharge, exculpations, and injunctions issued thereunder;

                     (n)       to enforce all orders previously entered by the Bankruptcy Court;

                 (o)      to hear and determine any other matters related hereto and not inconsistent with
 the Bankruptcy Code and title 28 of the United States Code, including in connection with or related to the
 Plan, the Disclosure Statement, the Confirmation Order, the Plan Supplement, or any document related to
 the foregoing;

                     (p)       to enter a final decree closing the Chapter 11 Cases;

                     (q)       to recover all assets of the Debtors and property of the Debtors’ Estates, wherever
 located;

                 (r)      to hear and determine any rights, Claims, or Causes of Action held by or accruing
 to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or legal theory; and

                     (s)       to hear any other matter not inconsistent with the Bankruptcy Code.

            11.2.    Courts of Competent Jurisdiction

                  If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
 otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
 jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
 any other court having competent jurisdiction with respect to such matter.

                               ARTICLE XII        MISCELLANEOUS PROVISIONS.

            12.1.    Substantial Consummation of the Plan

                 On the Effective Date, the Plan shall be deemed to be substantially consummated under
 sections 1101 and 1127(b) of the Bankruptcy Code.




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           12.2.     Expedited Determination of Taxes

                 The Reorganized Debtors shall have the right to request an expedited determination under
 section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable
 periods of the Debtors through the Effective Date.

           12.3.     Dissolution of Committees

                  On the Effective Date, the Creditors’ Committee and any other official committees
 appointed in these Chapter 11 Cases will dissolve; provided that, after the Effective Date, the Creditors’
 Committee shall continue in existence and have standing and a right to be heard for the following limited
 purposes: (a) Professional Fee Claims or applications filed by the committee, and any relief related thereto,
 for compensation by Professionals and requests for allowance of Administrative Expense Claims for
 substantial contribution pursuant to section 503(b)(3)(D) of the Bankruptcy Code; and (b) any appeals of
 the Confirmation Order or other appeal to which the committee is a party. Upon the dissolution of the
 Creditors’ Committee, the Creditors’ Committee, its members, and the Committee’s Professionals will
 cease to have any duty, obligation, or role arising from or related to these Chapter 11 Cases and shall be
 released and discharged from all rights and duties from or related to these Chapter 11 Cases.

           12.4.     Exemption from Certain Transfer Taxes

                   Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of
 any securities or instruments hereunder, (b) the creation, filing or recording of any Lien, mortgage, deed of
 trust, or other security interest, (c) the making, assignment, filing or recording of any lease or sublease or
 the making or delivery of any deed, bill of sale, or other instrument of transfer under, pursuant to, in
 furtherance of, or in connection with the Plan, including, without limitation, any deeds, bills of sale, or
 assignments executed in connection with any of the transactions contemplated under the Plan or the
 reinvesting, transfer, or sale of any real or personal property of the Debtors pursuant to, in implementation
 of or as contemplated in the Plan (whether to one or more of the Reorganized Debtors or otherwise), (d) the
 grant of Collateral under the Exit Facility Documents, (e) any assumption, assignment, or sale of interests
 in Unexpired Leases or Executory Contracts pursuant to section 365 of the Bankruptcy Code and (f) the
 issuance, renewal, modification, or securing of indebtedness in furtherance of, or in connection with, the
 Plan, including the Confirmation Order, and in each case whether by the Debtors or the Reorganized
 Debtors, shall constitute a “transfer under a plan” within the purview of section 1146 of the Bankruptcy
 Code and shall not be subject to or taxed under any law imposing any document recording tax, stamp tax,
 conveyance fee, or other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
 Commercial Code filing or recording fee, regulatory filing or recording fee, sales tax, use tax, or other
 similar tax or governmental assessment. Consistent with the foregoing, each recorder of deeds or similar
 official for any county, city, or Governmental Entity in which any such instrument is to be recorded shall
 be ordered and directed to accept such instrument without requiring the payment of any filing fees,
 documentary stamp tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.

           12.5.     Modifications and Amendments

                   (a)     Subject to the terms of the Transaction Support Agreement, (i) the Debtors reserve
 the right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend, modify or
 supplement the Plan before the entry of the Confirmation Order, including amendments or modifications
 to satisfy section 1129(b) of the Bankruptcy Code and (ii) after entry of the Confirmation Order, the Debtors
 may, upon order of the Bankruptcy Court, amend, modify, or supplement the Plan in the manner provided
 for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, in each case without



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 additional disclosure pursuant to section 1125 of the Bankruptcy Code, except as the Bankruptcy Code may
 otherwise direct.

                  (b)      Subject to the Transaction Support Agreement, after the Confirmation Date, so
 long as such action does not materially adversely affect the treatment of holders of Claims or Interests
 hereunder, the Debtors may remedy any defect or omission or reconcile any inconsistencies in the Plan or
 the Confirmation Order with respect to such matters as may be necessary to carry out the purposes and
 effects of the Plan, and any holder of a Claim that has accepted the Plan shall be deemed to have accepted
 the Plan as amended, modified, or supplemented. Before the Effective Date, the Debtors may make
 appropriate technical adjustments and modifications to the Plan and the documents contained in the Plan
 Supplement without further order or approval of the Bankruptcy Court; provided, that such technical
 adjustments and modifications do not adversely affect in a material way the treatment of holders of Claims
 or Interests and that any such technical adjustment or modification is consistent with the Transaction
 Support Agreement.

                   (c)      Entry of the Confirmation Order shall mean that all modifications or amendments
 to the Plan since the solicitation of votes thereon are approved pursuant to section 1127(a) of the Bankruptcy
 Code and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

           12.6.     Revocation or Withdrawal of Plan

                   Subject to the terms of the Transaction Support Agreement, the Debtors reserve the right
 to revoke or withdraw the Plan before the Effective Date as to any or all of the Debtors. If, subject to any
 consent required under the Transaction Support Agreement, the Plan has been revoked or withdrawn with
 respect to any Debtor before the Effective Date, then, with respect to such Debtor: (a) the Plan shall be null
 and void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing of or
 limiting an amount of any Claim or Interest or Class of Claims or Interests), assumption of Executory
 Contracts or Unexpired Leases affected by the Plan, and any document or agreement executed pursuant to
 the Plan shall be deemed null and void; and (c) nothing contained in the Plan shall (i) constitute a waiver
 or release of any Claim against, or Interest in, such Debtor (ii) constitute a waiver or release of any claim
 of any other Entity, (iii) prejudice in any manner the rights of such Debtor or any other Entity, or
 (iii) constitute an admission of any sort with respect to such Debtors by any other Debtor, any Consenting
 Support Party, or any other Entity.

           12.7.     Severability of Plan Provisions

                  If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
 the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, in each case at the
 election and the request of the Debtors with the consent of the Requisite Consenting Support Parties, shall
 have the power to alter and interpret such term or provision to make it valid or enforceable to the maximum
 extent practicable, consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
 of the Plan shall remain in full force and effect and shall in no way be affected, impaired or invalidated by
 such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination
 and shall provide that each term and provision of the Plan, as it may have been altered or interpreted in
 accordance with the foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and
 may not be deleted or modified without the consent of the Debtors or the Reorganized Debtors (as the case
 may be), and (c) nonseverable and mutually dependent.




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           12.8.     Governing Law

                   Except if the Bankruptcy Code or other U.S. federal law is applicable, or if an exhibit or
 schedule hereto, or a document in the Plan Supplement or a Definitive Document provides otherwise, the
 rights, duties, and obligations arising under the Plan shall be governed by, and construed and enforced in
 accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
 laws there of; provided that corporate or entity governance matters relating to a Debtor or a Reorganized
 Debtor shall be governed by the laws of the state of incorporation or organization of the Debtors or the
 Reorganized Debtors.

           12.9.     Time

                  In computing any period of time prescribed or allowed by the Plan, unless otherwise set
 forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

           12.10. Dates of Actions to Implement the Plan

                 If any payment or act under the Plan is required to be made or performed on a date that is
 not a business day, then the making of such payment or the performance of such act may be completed on
 or as soon as reasonably practicable after the next succeeding business day, but shall be deemed to have
 been completed as of the required date.

           12.11. Immediate Binding Effect

                 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
 occurrence of the Effective Date, the terms of the Plan shall be immediately effective and enforceable and
 deemed binding upon and inure to the benefit of the Debtors, the holders of Claims and Interests, the
 Released Parties, and each of their respective successors and assigns, including, without limitation, the
 Reorganized Debtors.

           12.12. Successors and Assigns

                   The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or permitted
 assign, if any, of such Entity.

           12.13. Entire Agreement

                  Except as provided in the Transaction Support Agreement, on the Effective Date, the Plan,
 the Plan Supplement, and the Confirmation Order shall supersede all previous and contemporaneous
 negotiations, promises, covenants, agreements, understandings, and representations on such subjects, all of
 which have become merged and integrated into the Plan.

           12.14. Exhibits to Plan

                All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
 Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.




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           12.15. Notices

                 To be effective, all notices, requests, and demands to or upon the Debtors, the Creditors’
 Committee, the Ad Hoc Committee, or other notice parties shall be in writing (including by electronic or
 facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly
 given or made when actually delivered or, in the case of notice by facsimile transmission, when received
 and telephonically confirmed, addressed as follows:

                     (a)       if to the Debtors or the Reorganized Debtors:

                               225 Liberty Street, 17th Floor
                               New York, NY 10281
                               Attn: Maria DiLorenzo

                                       -and-

                               Weil, Gotshal & Manges LLP
                               767 Fifth Avenue
                               New York, New York 10153
                               Attn: Ray C. Schrock, P.C. (ray.schrock@weil.com
                                       Ryan Preston Dahl, Esq. (ryan.dahl@weil.com)
                                       Candace M. Arthur, Esq. (candace.arthur@weil.com)
                                       Daniel Gwen, Esq. (daniel.gwen@weil.com)

                                       -and-

                               Hunton Andrews Kurth LLP
                               Riverfront Plaza, East Tower
                               951 East Byrd Street
                               Richmond, Virginia 23219
                               Attn: Tyler P. Brown, Esq. (tpbrown@HuntonAK.com)
                                       Henry P. (Toby) Long, III, Esq. (hlong@HuntonAK.com)
                                       Nathan Kramer, Esq. (nkramer@HuntonAK.com)

                     (b)       if to the Creditors’ Committee:

                               Pachulski Stang Ziehl & Jones LLP
                               780 Third Avenue, 34th Floor
                               New York, New York 10017
                               Attn: Bradford J. Sandler, Esq. (bsandler@pszjlaw.com)
                                      Robert J. Feinstein, Esq. (rfeinstein@pszjlaw.com)
                                      Shirley S. Cho, Esq. (scho@pszjlaw.com)
                                      Debra Grassgreen, Esq. (dgrassgreen@pszjlaw.com)

                               -and-

                               Hirschler Fleischer, P.C.
                               The Edgeworth Building
                               2100 East Cary Street
                               Richmond, Virginia 23223
                               P.O. Box 500


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                               Attn:   Robert S. Westermann (rwestermann@hf-law.com)

                     (c)       If to the Ad Hoc Committee:

                               Milbank LLP
                               55 Hudson Yards
                               New York, New York 10001
                               Attn: Dennis F. Dunne, Esq. (ddunne@milbank.com)
                                      Samuel A. Khalil, Esq. (skhalil@milbank.com)
                                      Matthew L. Brod, Esq. (mbrod@milbank.com)

                               -and-

                               Tavenner & Beran, PLC
                               20 North Eighth Street, 2nd Floor
                               Richmond, Virginia 23219
                               Attn: Lynn L. Tavenner, Esq. (LTavenner@Tb-Lawfirm.com)
                                      Paula S. Beran, Esq. (pberan@Tb-Lawfirm.com)

                  After the occurrence of the Effective Date, the Reorganized Debtors have authority to send
 notice to all parties in interest that to continue to receive documents pursuant to Bankruptcy Rule 2002,
 such parties must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After
 the occurrence of the Effective Date, the Reorganized Debtors are authorized to limit the list of Entities
 receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have filed such renewed
 requests.




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 Dated: June 11, 2020


                                             Respectfully submitted,

                                              Chinos Holdings, Inc. and Its Debtor Affiliates

                                              By: /s/ Michael Nicholson
                                                  Name: Michael Nicholson
                                                  Title: Authorized Signatory




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                                                Exhibit B

                                           Financial Projections




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                                             Financial Projections
 In connection with the Disclosure Statement, 1 the Debtors’ management team (“Management”) prepared
 financial projections (the “Financial Projections”) for Chinos Holdings Inc. and its debtor affiliates
 (collectively, the “Debtors”) for the remainder of fiscal year 2020 ending January 30, 2021 through fiscal
 years 2024 ending February 1, 2025 (the “Projection Period”). The Financial Projections were prepared by
 Management with the assistance of the Debtors’ advisors and are based upon a number of assumptions
 made by Management with respect to the future performance of the Debtors’ operations. Although
 Management has prepared the Financial Projections in good faith and believes the assumptions to be
 reasonable, there can be no assurance that such assumptions will be realized. As described in detail
 in the Disclosure Statement, a variety of risk factors could affect the Debtors’ financial results and
 must be considered. Accordingly, the Financial Projections should be reviewed in conjunction with
 a review of the risk factors set forth in the Disclosure Statement and the assumptions described herein,
 including all relevant qualifications and footnotes.
 The Debtors believe that the Plan meets the feasibility requirements set forth in section 1129(a)(11) of the
 Bankruptcy Code, as confirmation is not likely to be followed by liquidation or the need for further financial
 reorganization of the Debtors or any successor under the Plan. In connection with the planning and
 development of the Plan and for the purposes of determining whether the Plan would satisfy this feasibility
 standard, the Debtors analyzed their ability to satisfy their financial obligations while maintaining sufficient
 liquidity and capital resources.
 These Financial Projections were not prepared with a view toward compliance with published
 guidelines of the United States Securities and Exchange Commission or guidelines established by the
 American Institute of Certified Public Accountants for preparation and presentation of prospective
 financial information. An independent auditor has not examined, compiled or performed any
 procedures with respect to the prospective financial information contained in this Exhibit and,
 accordingly, it does not express an opinion or any other form of assurance on such information or its
 achievability. The Debtors’ independent auditor assumes no responsibility for, and denies any
 association with, the prospective financial information.
 Principal Assumptions for the Financial Projections
 The Financial Projections are based upon, and assume the successful implementation of, the Debtors’ long
 range business plan for the Projection Period (the “LRP”). Both the LRP and the Financial Projections
 reflect numerous assumptions, including various assumptions regarding the anticipated future performance
 of the Debtors, industry performance, general business and economic conditions, and other matters, many
 of which are beyond the control of the Debtors or their advisors. In addition, the assumptions do not take
 into account the uncertainty and disruption of business that may accompany a restructuring pursuant to the
 Bankruptcy Code.
 Therefore, although the Financial Projections are necessarily presented with numerical specificity, the
 actual results achieved during the Projection Period may materially vary from the projected results.
 Accordingly, no definitive representation can be or is being made with respect to the accuracy of the
 Financial Projections or the ability of the Debtors to achieve the projected results of operations. See “Risk
 Factors” in Art. X of the Disclosure Statement.


 1
     Capitalized terms used herein but not otherwise defined have the meanings given to them in the Disclosure
     Statement to which this is an exhibit.
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 In deciding whether to vote to accept or reject the Plan, holders of Claims entitled to vote to accept or reject
 the Plan must make their own determinations as to the reasonableness of such assumptions and the
 reliability of the Financial Projections. See “Risk Factors” in Art. X of the Disclosure Statement.
 Moreover, the Financial Projections were prepared solely in connection with the restructuring pursuant to
 the Plan.


 Under Accounting Standards Codification “ASC” 852, “Reorganizations”, the Debtors note that the
 Financial Projections reflect the operational emergence from chapter 11 but not the impact of fresh start
 accounting that will likely be required upon the occurrence of the Effective Date. Fresh start accounting
 requires all assets, liabilities, and equity instruments to be fair valued. The Financial Projections account
 for the reorganization and related transactions pursuant to the Plan. While the Debtors expect that they will
 be required to implement fresh start accounting upon emergence, they have not yet completed the work
 required to quantify the effect upon the Financial Projections, which effect could be material. Accordingly,
 the current balance sheet projections include high level illustrative adjustments to be representative of fresh
 start accounting, but not intended to replace the full implementation of fresh start accounting, which effect
 could be material.
 Safe Harbor under The Private Securities Litigation Reform Act of 1995
 The Financial Projections contain statements which constitute “forward-looking statements” within the
 meaning of the Securities Act and the Securities Exchange Act. Forward-looking statements in the
 Financial Projections include the intent, belief, or current expectations of the Debtors and Management
 with respect to the timing of, completion of, and scope of the current restructuring, Plan, LRP, bank
 financing, and debt and equity market conditions and the Debtors’ future liquidity, as well as the
 assumptions upon which such statements are based.
 While the Debtors believe that the expectations are based upon reasonable assumptions within the bounds
 of their knowledge of their business and operations, parties in interest are cautioned that any such
 forward-looking statements are not guarantees of future performance, and involve risks and uncertainties,
 and that actual results may differ materially from those contemplated by such forward-looking statements.
 Select Risk Factors Related to the Financial Projections
 The Financial Projections are subject to inherent risks and uncertainties, most of which are difficult to
 predict and many of which are beyond Management’s control. Many factors could cause actual results,
 performance or achievements to differ materially from any future results, performance or achievements
 expressed or implied by these forward-looking statements. A description of the risk factors associated with
 the Plan, the Disclosure Statement, and the Financial Projections is included in Article X of the Disclosure
 Statement.
 Financial Projection General Assumptions
 Basis of Presentation (Non-GAAP)

     •       Non-GAAP profits and losses excludes certain expenses including income tax expense, interest
             expense, depreciation and amortization, transaction expenses, impairment losses, one time
             items, sponsor/management fees, and stock-based compensation.



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    •     Balance sheet projections include high level illustrative adjustments for fresh start accounting;
          projections are non-GAAP and not created in accordance with American Institute of Certified
          Public Accountants Statement of Position 90-7.

    •     The Projections include certain assumptions regarding the Debtors’ lease footprint and related
          lease obligations, which may materially change as a result of discussions and negotiations with
          lease counterparties.

    •     The Projections assume a capital structure contemplated by the Plan consisting of (a) a $400
          million Exit ABL Facility of which $291.0 million is assumed to be outstanding as of the
          assumed Effective Date which includes $64.8 million of letters of credit and (b) $400 million
          of New Term Loans. Intercompany payables to J. Crew Domestic Brand, LLC for intellectual
          property royalties would be assumed to cease on the Effective Date.
 Non-GAAP P&L

    •     Total Revenue
          −       Includes net sales of merchandise through stores, wholesale customers, and websites.
          −       Net sales are net of returns, shipping and handling fees, discounts and concessions,
                  cancellations, and loyalty rewards from gross sales.
          −       Sales are recognized in stores at the point of sale, at date of receipt by a customer for
                  e-commerce, and upon transfer of ownership to wholesale customers.
    •     Cost of Goods Sold
          −       Primarily includes the direct cost of purchased merchandise, freight including customs
                  and duties, design, and all shipping costs associated with the e-commerce business, as
                  well as costs associated with buying, production, and occupancy costs related to store
                  operations such as rent and utilities.
    •     SG&A
          −       Includes all operating expenses not included in cost of goods sold, primarily
                  administrative payroll, store expenses other than occupancy costs, corporate overhead,
                  depreciation and amortization, certain warehousing expenses and credit card fees.
 Non-GAAP Cash Flows

    •     The Debtors have not included a cash flow projection for fiscal year 2020 given the number of
          one-time restructuring-related charges that would not be representative of a normalized cash
          flow during the Projection Period
    •     Change in Working capital
          −        Driven by ordinary course changes in accounts receivable, accounts payable, inventory,
                   prepaid assets and other current assets, other current liabilities, and accrued
                   compensation.
    •     Interest Expense
          −        Interest expense for post-emergence period is based on pro forma $400 million New
                   Term Loans with an interest rate of LIBOR plus 100 basis points payable in cash and
                   900 basis points in PIK or “paid in kind” interest, switching to LIBOR plus 800 basis
                   points payable in cash after September 11, 2021, with quarterly amortization payments
                   of $1 million, an Exit ABL Facility of $400 million with an interest rate of LIBOR plus
                   125 basis points.

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    •     Cash Taxes
          −       Cash taxes based upon analyses conducted by the Debtors’ tax advisors in conjunction
                  with the Plan.
    •     Capital Expenditures
          −       Primarily reflects warehouse facility upgrades, corporate IT, real estate, store
                  remodeling and improvements, and other investments.
 Non-GAAP Balance Sheet

    •     Cash and Cash Equivalents
          −       Includes cash, credit card receivables, and cash held in international balance accounts.
    •     Accounts Receivable, Net
          −       Includes amounts due from wholesale customers, net of allowance for doubtful
                  accounts.
    •     Inventory
          −       Inventory consists primarily of purchased finished goods and merchandise and is
                  valued at the lower of average cost or net realizable value. The Debtors capitalize
                  certain design, purchasing and warehousing costs in inventory and these costs are
                  included in cost of goods sold as the inventories are sold.
          −       Inventory also includes in-transit inventories which have yet to be received in the
                  Debtors’ warehouses.
    •     Prepaid and Other Current Assets
          −       Consists of various prepaid expenses relating to occupancy, selling, maintenance,
                  insurance, monitoring fees, and other expenses that have not yet been fully amortized.
          −       Other current assets consist of miscellaneous receivables such as uncollected landlord
                  contributions, corporate receivables, cost of anticipated inventory returns, hosting
                  implementation costs, net vendor debit balances, and list rental receivables.
    •     Taxes Receivable
          −       Projections assume balance consists of net federal income tax refund not expected to
                  be received prior to Q4 2020 and expects to receive an additional $13 million in regard
                  to the U.S. stimulus tax refund in Q2 2020.
    •     Property, Plant & Equipment, Net
          −       Property and equipment are stated at cost less accumulated depreciation and
                  amortization. Depreciation and amortization of property and equipment is computed
                  on a straight-line basis over the estimated useful lives of the related assets, which is
                  twenty (20) years for buildings and improvements, three (3) to ten (10) years for
                  furniture, fixtures and equipment, and the shorter of their useful lives or related lease
                  terms for leasehold improvements. Certain costs (included in fixtures and equipment)
                  related to the acquisition and development of software are capitalized and amortizes
                  these costs using the straight-line method over the estimated useful life of the software,
                  which is three (3) to five (5) years.
    •     Right-of-Use Asset
          −       Reflects the Debtors’ right to use leased space over the life of a lease. The asset is
                  calculated as the initial amount of lease liability minus any lease incentives received.
    •     Intangible Assets, Net
          −       Intangible assets include the J.Crew and Madewell trade names, loyalty program,
                  customer lists, and favorable lease commitments. Indefinite-lived intangibles are not

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                    subject to amortization. Definite-lived intangibles are amortized on a straight-line basis
                    over their useful life or remaining lease term.
   •        Goodwill
            −       Includes illustrative fresh start accounting adjustment at emergence. Goodwill is held
                    constant over the projection period for illustrative purposes.
   •        Accounts Payable
            −       Includes obligations related primarily to inventory.
   •        Other Current Liabilities
            −       Consist of reserve for sales returns, accrued operating expenses, customer liabilities,
                    accrued freight expenses, and other accrued expenses.
   •        Deferred Tax Liabilities
            −       Are recognized based on the difference between the financial statement carrying
                    amount of existing assets and liabilities and their respective tax bases.
   •        Right-of-Use Lease Liability
            −       Right-of-use Lease Liability represents the present value of lease obligations with
                    terms of more than one year.

       1. Non-GAAP P&L                                 Projection Projection Projection Projection Projection
       ($ in Millions)                                   FY20       FY21       FY22       FY23       FY24
       Total Revenue                                      1,754.9         2,275.6        2,357.3      2,408.0     2,496.3
        YoY Growth (%)                                    (30.9%)          29.7%           3.6%         2.2%        3.7%

       Cost of Goods Sold                                 (1,227.6)      (1,362.5)       (1,392.1)    (1,420.0)   (1,462.8)
       Gross Margin                                          527.3          913.0           965.1        988.0    1,033.5
        Gross Margin (%)                                    30.0%          40.1%           40.9%        41.0%       41.4%

       SG&A                                                  (705.0)        (774.8)        (796.9)     (814.1)     (836.0)
       Operating Income                                     (177.7)         138.2          168.2       173.9       197.5
        Operating Margin (%)                               (10.1%)           6.1%           7.1%        7.2%        7.9%

       Adjustments2                                            52.7           0.2             0.2         0.2         0.2
       D&A                                                     72.3          69.9            70.4        70.1        70.5
       Adj. EBITDA                                            (52.7)        208.2           238.8       244.2       268.2
        Adj. Ebitda Margin (%)                               (3.0%)         9.2%           10.1%       10.1%       10.7%


       2. Non-GAAP Cash Flow Metrics                                   Projection Projection Projection Projection
       ($ in Millions)                                                   FY21       FY22       FY23       FY24
       Adjusted EBITDA                                                      208.2           238.8       244.2       268.2
       Cash Interest and Amortization                                        (19.3)          (42.7)      (42.3)      (42.0)
       Cash Taxes                                                            (34.1)          (96.6)      (47.5)      (54.7)
       Change in Working Capital                                              48.4            18.0        (1.7)       (3.0)
       Operating Cash Flow                                                  203.3           117.6       152.6       168.5
       Capital Expenditures                                                  (23.1)          (35.0)      (34.4)      (36.8)
       Total Cash Flow                                                      180.1             82.5      118.2       131.7



       2. Add-backs include share-based comp, amortization of lease commitments, and one time items

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      3. Non-GAAP Balance Sheet           Pro Forma Projection Projection Projection Projection
      ($ in Millions)                    September '20 FY21      FY22       FY23       FY24
      Cash and Cash Equivalents                  25.0     192.8      275.3     393.5      525.2
      Accounts Receivable                        55.7      24.7       25.5      26.3       27.1
      Merchandise Inventories                   468.5     363.4      376.0     383.7      398.1
      Prepaid Exp. & Other Crnt Assets           59.3      54.8       56.1      56.9       58.4
      Refundable Income Taxes                     7.0        -          -         -          -
      Total Current Assets                      615.4     635.7      732.9     860.5    1,008.8

      Property, Plant & Equipment               190.9      134.7     103.6       72.2      42.7
      Right of Use Asset                        431.0      415.5     441.8      507.6     600.2
      Intangible Assets, Net                    293.1      287.8     283.6      279.4     275.1
      Goodwill                                1,062.2    1,062.2   1,062.2    1,062.2   1,062.2
      Other Assets                               45.6       58.2     127.3      145.3     164.8
      Total Assets                            2,638.3    2,594.1   2,751.3    2,927.1   3,153.9

      Liabilities
      Accounts Payable                           68.9      47.5       74.0      79.6      87.2
      Other Current Liabilities                 224.3     118.2      123.2     124.3     129.2
      Borrowing Under ABL                       226.2        -          -         -         -
      ST ROU Lease Liability                    108.7      89.1       69.8      50.4      37.1
      Accrued Compensation                        2.0      25.6       26.6      27.7      28.8
      Total Current Liabilities                 630.2     280.4      293.6     281.9     282.3

      LT Debt                                   400.0      432.1     428.1      424.1     420.1
      ROU Lease Liability                       432.8      424.0     459.3      534.4     636.2
      Other Liabilities                          26.5       26.5      26.5       26.5      26.5
      Total Liabilities                       1,489.5    1,163.0   1,207.5    1,266.9   1,365.2
      Stockholders' Equity                    1,148.8    1,431.1   1,543.7    1,660.1   1,788.7
      Total Liabilities and SE                2,638.3    2,594.1   2,751.3   2,927.1    3,153.9




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                                                Exhibit C

                                           Liquidation Analysis




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                   LIQUIDATION ANALYSIS FOR CHINO HOLDINGS, INC., ET AL.

         I. Overview

 This Liquidation Analysis 1 has been prepared assuming that the Debtors hypothetically commence a
 liquidation under chapter 7 of the Bankruptcy Code as of September 12, 2020 (the “Conversion Date”), a
 day after the outside date under the Transaction Support Agreement for effectiveness of the Plan. Except
 as otherwise noted herein, the asset values reflected in this Liquidation Analysis are based upon the Debtors’
 unaudited books and records as of May 2, 2020, and those values are assumed to be representative of the
 Debtors’ assets as of the Conversion Date. 2 The claim values reflected in this Liquidation Analysis are
 estimated as at the Conversion Date. It is assumed that the Bankruptcy Court would appoint a chapter 7
 trustee (the “Trustee”) on the Liquidation Date to oversee the liquidation of the Debtors’ Estates, during
 which time substantially all of the Debtors’ assets would be sold, abandoned, surrendered, or otherwise
 liquidated, as applicable, and the Cash proceeds, net of liquidation-related costs, would then be distributed
 in accordance with applicable law. In addition, it is assumed that all of the non-Debtor affiliates would
 undertake parallel liquidations, whereby the proceeds of such liquidations are, in turn, distributed in
 accordance with the priority of claims and ownership on an entity-by-entity basis. The Liquidation Analysis
 assumes that the Debtors would be liquidated in a jointly administered case, but each Debtor is treated as
 an independent legal entity without substantive consolidation.

 Debtors that are not specifically presented in the Liquidation Analysis do not have any material assets for
 purposes of identifying distributable proceeds in a chapter 7 with respect to those entities, but those entities
 are also subject to material liabilities including obligations outstanding under the DIP Facility, namely:
 Chinos Holdings, Inc.; Chinos Intermediate Holdings A, Inc.; Chinos Intermediate, Inc.; J. Crew Group,
 Inc.; J. Crew International, Inc.; J. Crew Virginia, Inc.; J. Crew Brand Holdings, LLC; J. Crew Brand
 Intermediate, LLC; J. Crew Brand, LLC; J. Crew Brand Corp.; and J. Crew International Brand, LLC. Such
 entities are not specifically presented herein but, instead, are presumed to be administratively insolvent in
 a hypothetical chapter 7 proceeding.

 This Liquidation Analysis has not been examined or reviewed by independent accountants in accordance
 with standards promulgated by the American Institute of Certified Public Accountants. Although the
 Debtors consider the estimates and assumptions set forth herein to be reasonable under the circumstances,
 such estimates and assumptions are inherently subject to significant uncertainties and contingencies beyond
 the Debtors’ control. The impact of the COVID-19 (coronavirus) global health emergency has increased
 uncertainty with the temporary closure of stores and the negative impact on global economic output, product
 demand, foreign sourcing and operations generally. Accordingly, there can be no assurance that the results
 set forth in this Liquidation Analysis would be realized if the Debtors were actually liquidated pursuant to
 chapter 7 of the Bankruptcy Code, and actual results in such a proceeding could vary materially from those
 presented in this Liquidation Analysis, and distributions available to holders of Claims and Interests could
 differ materially from the projected recoveries set forth in this Liquidation Analysis.

 THIS LIQUIDATION ANALYSIS IS A HYPOTHETICAL EXERCISE THAT HAS BEEN PREPARED
 FOR THE SOLE PURPOSE OF PRESENTING A REASONABLE GOOD FAITH ESTIMATE OF THE
 PROCEEDS THAT WOULD BE REALIZED IF THE DEBTORS WERE LIQUIDATED IN


 1
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan or the
      Disclosure Statement, to which this Liquidation Analysis is attached as an exhibit.
 2
      Cash and cash equivalents and the intellectual property value of the J. Crew and Madewell trademarks are
      estimated as at the Conversion Date. The value of land and buildings is based on a third-party appraisal the
      Debtors received in April 2019.



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 ACCORDANCE WITH CHAPTER 7 OF THE BANKRUPTCY CODE AS OF THE CONVERSION
 DATE. THIS LIQUIDATION ANALYSIS IS NOT INTENDED AND SHOULD NOT BE USED FOR
 ANY OTHER PURPOSE. THIS LIQUIDATION ANALYSIS DOES NOT PURPORT TO BE A
 VALUATION OF THE DEBTORS’ ASSETS AS A GOING CONCERN AND THERE MAY BE A
 SIGNIFICANT DIFFERENCE BETWEEN THE VALUES AND RECOVERIES REPRESENTED IN
 THIS LIQUIDATION ANALYSIS AND THE VALUES THAT MAY BE REALIZED OR CLAIMS
 GENERATED IN AN ACTUAL LIQUIDATION.

 NOTHING CONTAINED IN THIS LIQUIDATION ANALYSIS IS INTENDED TO BE, OR
 CONSTITUTES, A CONCESSION, ADMISSION, OR ALLOWANCE OF ANY CLAIM BY THE
 DEBTORS. THE ACTUAL AMOUNT OR PRIORITY OF ALLOWED CLAIMS IN THESE CHAPTER
 11 CASES COULD MATERIALLY DIFFER FROM THE ESTIMATED AMOUNTS SET FORTH AND
 USED IN THIS LIQUIDATION ANALYSIS. THE DEBTORS RESERVE ALL RIGHTS TO
 SUPPLEMENT, MODIFY, OR AMEND THE ANALYSIS SET FORTH HEREIN.

         I. Global Assumptions and Basis of Presentation

 The actual amount and priority of Allowed Claims against the Debtors’ Estates may differ from the claim
 amounts used in this Liquidation Analysis.

 The Liquidation Analysis should be read in conjunction with the following global notes and assumptions:

      a) Chapter 7 Process

 On the Conversion Date, it is assumed that the Trustee would liquidate the Estates, during which time all
 of the Debtors’ assets would be sold or surrendered to the respective lien holders, and the cash proceeds,
 net of liquidation-related costs, would then be distributed to creditors in accordance with the priority scheme
 under section 726 of the Bankruptcy Code. Under section 704 of the Bankruptcy Code, a Trustee must,
 among other duties, collect and convert property of the Estates as expeditiously as is compatible with the
 best interests of parties in interest, which could result in potentially distressed recoveries.

 The liquidation of the Debtors’ estates is assumed to be completed over a six month period, in which the
 Trustee would first conduct sales of the Debtors’ inventory, 3 followed by the sale of other assets. For both
 the J. Crew and Madewell businesses, it is assumed the Trustee would conduct simultaneous going-out-of-
 business sales of the inventory at their remaining retail locations and online sales. The Trustee would
 discontinue online sales after week six, at which time, the remaining inventory for both businesses would
 be transferred to the Debtors’ respective retail stores for sale. The going-out-of-business sales for the J.
 Crew and Madewell inventory is projected to last for 19 weeks and 15 weeks, respectively. 4 The sale of
 furniture, fixtures, and equipment of the Debtors’ retail stores, along with all intellectual property and other
 assets would occur during months four through six.

 Throughout this period, the Trustee would also incur administrative expenses, such payroll, certain
 overhead, and professional expenses reasonably required to complete the wind-down of the Estates.




 3
      For purposes of this Liquidation Analysis, it is assumed that the Debtors would have access to the necessary
      intellectual property related to the J. Crew and Madewell brands during the inventory sale period following which
      the intellectual property assets would be liquidated as described herein.
 4
      The Liquidation Analysis assumes that all remaining stores will be operational by the Conversion Date.

                                                           2
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       b) Non-Debtor Affiliates

 The Liquidation Analysis assumes all of the non-Debtor affiliates would undertake parallel liquidations,
 whereby the proceeds of such liquidations are, in turn, distributed in accordance with the priority of Claims
 asserted against such entities on an entity-by-entity basis. Specifically, the Liquidation Analysis assumes
 that any recoveries from the non-Debtor affiliates are used (i) first to satisfy the wind-down or sale costs
 arising from the monetization of those assets; and (ii) second to satisfy indebtedness outstanding with
 respect to those interests or claims against those entities. The material assumptions (e.g. liquidation costs
 and asset recovery percentages) of the non-Debtors’ hypothetical liquidation analysis are substantially
 consistent with the assumptions underlying the liquidation of the Debtors.

       c) Additional Claims

 The cessation of business in a liquidation is likely to cause additional Claims to be asserted against the
 Debtors and the non-Debtor affiliates that otherwise would not exist absent such a liquidation. Examples
 of these kinds of Claims include employee-related Claims, such as severance or similar Claims, tax
 liabilities, Claims related to the rejection of Executory Contracts and Unexpired Leases, including real
 property leases and customer contracts, among others. These additional Claims could be significant and,
 in certain circumstances, may be entitled to priority under the Bankruptcy Code. No adjustment has been
 made for these potential Claims in this Liquidation Analysis.

       d) Avoidance Actions and Litigation

 No recovery or related litigation costs attributable to any potential avoidance actions under the Bankruptcy
 Code, including potential preference or fraudulent transfer actions, are included in the Liquidation Analysis.
 In addition, the Liquidation Analysis does not consider any additional recovery or claims that may arise
 from the outcome of current or potential actions by or against the Debtors. The Debtors believe that
 recoveries from such actions or litigation, if any, would be speculative in nature and are therefore not
 presented here. 5

         II. Conclusion

 The Debtors have determined that confirmation of the Plan will provide holders of Claims and Interests
 with a recovery that is not less than what they would otherwise receive in connection with a hypothetical
 liquidation of the Debtors’ Estates under chapter 7 of the Bankruptcy Code.

      III.    Notes to the Liquidation Analysis

 A.          Gross Proceeds

 1. Cash and Cash Equivalents

 The Debtors’ estimated balance of cash and cash equivalents as of the Conversion Date is approximately
 $90.3 million. This includes $56.8 million assumed to be held in the segregated domestic DIP Funding
 Account, providing primary security for the DIP Claims. The balance of domestic cash of $33.5 million is


 5
       See, e.g., Response of the Review Committee of J.Crew Operating Corp. to Motion of Debtors for Entry of Orders
       (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to use Cash Collateral,
       (III) Granting Liens and Providing Superpriority Administrative Expense Claims, (IV) Granting Adequate
       Protection to Prepetition Secured Parties, (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing,
       and (VII) Granting Related Relief [Docket No. 414].
                                                             3
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 estimated to be held in the Debtors’ concentration accounts, subject to priority claims of the ABL Lenders.
 In liquidation, the estimated recovery on the balance of cash is estimated at 100%.

 2. Accounts Receivable

 The Debtors’ estimated accounts receivables balance as of the Conversion Date is approximately $34.5
 million. This includes:

      •    A projected credit card receivables balance of $12.2 million with an estimated recovery of 90% to
           100%. These accounts consist of ordinary course credit card receivables and private label credit
           card deferred billing receivables, net of applicable fees and estimated chargebacks.

      •    $22.3 million of wholesale and corporate receivables with an estimated recovery of 70% to 80% in
           liquidation. Corporate receivables are primarily comprised of duty refunds and postage rebates,
           most, if not all, of which the Debtors anticipate recovering.

 For the purposes of the Liquidation Analysis, the Debtors assume an aggregate recovery range of $26.6
 million to $30.1 million.

 3. Inventory

 The Debtors’ estimated inventory book balance as of the Conversion Date is $397.1 million. This amount
 is net of certain reserves and ineligibles such as shrink and overstock.

 A 91% to 99% recovery has been estimated for the J. Crew inventory (including factory and wholesale) of
 $297.6 million, and a recovery of 62% to 70% has been estimated for J. Crew merchandise in transit of
 $8.8 million.

 A 124% to 130% recovery has been estimated for the Madewell inventory of $88.1 million, and a recovery
 of 95% to 100% has been estimated for Madewell merchandise in transit of $2.6 million.

 The estimated recoveries reflect the net orderly liquidation values (“NOLV”), based on a third party
 appraisal the Debtors received in February 2020.

 The NOLV is presented net of selling costs such as liquidator fees, store payroll, occupancy and advertising.

 4. Prepaid Expenses and Other Current Assets

 The Debtors’ estimated book balance of prepaid expenses and other current assets as of the Conversion
 Date is approximately $47.1 million. The balance includes prepayments for maintenance, insurance
 premiums, information technology, supplies and marketing-related services paid in advance as well as store
 related deposits. The Debtors estimate a recovery of prepaid expenses and deposits between 10% and 15%
 in aggregate, based on a review of actual balances at May 2, 2020.

 For the purposes of the Liquidation Analysis, the Debtors assume an aggregate recovery range of $4.7
 million to $7.1 million.

 5. Property and Equipment

 Property, plant, and equipment (“PP&E”) primarily consists of the Debtors’ owned real property in
 Lynchburg and Ashville as well as furniture, leasehold improvements, and equipment at the Debtors’ retail

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 stores and corporate headquarters facility. The Debtors’ estimated PP&E book value as of the Conversion
 Date is approximately $211.8 million.

 In liquidation, the land and buildings are assumed to be sold at between $12.1 million and $18.1 million.
 This is based on applying an assumed recovery of 50% to 75% to an appraisal value of $24.1 million as of
 April 2019, to account for the accelerated timeline and uncertainty of a liquidation sales process.

 The store furniture, fixtures and computer equipment are assumed to achieve recoveries of $3.4 million to
 $6.9 million, representing 5% to 10% of net book value. No recovery is assumed for leasehold
 improvements or other PP&E.

 In aggregate, the Debtors assume a 7% to 12% recovery for PP&E.

 6. Intangible Assets

 Intangible assets primarily consist of (a) the Licensed Marks, 6 (b) the Madewell trade names and
 trademarks, and (c) goodwill and other intangibles.

 Proceeds of the Licensed Marks are (a) first used to satisfy the DIP Claims, which has a first priority lien
 on all collateral securing the IPCo Notes and IPCo Indentures and (b) secondly used to pay off the
 obligations under the IPCo Notes and IPCo Indentures, which are guaranteed by substantially all of the
 assets of the IPCo Issuers and IPCo Guarantors and secured by the Licensed Marks.

 In liquidation, the Debtors estimate the Licensed Marks will be liquidated at a value of approximately
 $113.0 million to $146.0 million. 7

 In liquidation, the Debtors estimate the Madewell trade names and intellectual property will be liquidated
 at a value of approximately $47.0 million to $61.0 million.

 No liquidation value has been ascribed to goodwill or other intangible assets on the balance sheet, including
 the value of any intellectual property owned by J.Crew International, Inc. with respect to the use by certain
 parties outside the United States. The Debtors believe the value of such non-U.S. intellectual property is
 de minimis relative to the secured claims asserted against J. Crew International, Inc.

 7. Proceeds from Non-Debtor Affiliates

 The Debtors’ collection from intercompany balances depends on, among other things, the available
 proceeds from Debtor and non-Debtor liquidations and the characterization or recharacterization of such
 balances under applicable law. In addition, many of the non-Debtor affiliates are domiciled in foreign
 countries which may make it challenging to distribute proceeds to domestic Debtor entities or other foreign
 non-Debtor affiliates. The ultimate treatment of such balances in a chapter 7 liquidation cannot be
 guaranteed with any certainty.


 6
      J. Crew Domestic Brand, LLC owns 100% of an undivided ownership interest in the domestic J. Crew brand
      intellectual property (the “Licensed Marks”). Pursuant to two license agreements, Domestic Brand, as the
      licensor, provides exclusive, non-transferrable, sublicensable, royalty-bearing licenses with respect to 100% of
      the Licensed Marks to J. Crew International Brand, LLC, as licensee.
 7
      The range of values for the Licensed Marks and for the Madewell trade names and intellectual property are derived
      from third-party analysis of relevant distressed company transactions. It is noted that the disposition of
      intellectual property and trademarks in a distressed scenario is subject to significant uncertainty and could result
      in materially less proceeds for stakeholders.
                                                            5
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 Intercompany equity interests are valued based on net liquidation proceeds on an entity-by-entity basis.

 For the purposes of this Liquidation Analysis the Debtors assume no material recoveries from the non-
 Debtor affiliates through either intercompany debt balances or equity investments.

 B.        Liquidation Costs

 8. Chapter 7 Wind Down Costs

 Wind down costs are assumed to consist primarily of the ordinary course general and administrative costs
 that will be required to operate the Debtors’ businesses during a six month wind down period after the
 Conversion Date. Expenses are mainly comprised of corporate salaries and wages, information technology
 costs, and facility costs, not considered in the liquidation of inventory, as discussed in Note [3] regarding
 NOLV.

 Wind down costs include an estimate for severance assuming that all terminated full-time salaried corporate
 employees receive payments of, on average, two-months’ salary. However, the severance period and
 corresponding costs could differ materially from the assumptions set forth by this Liquidation Analysis,
 thereby reducing recoveries available to holders of Claims and Interests.

 Gift cards are assumed to be accepted during the first 30 days of the going-out-of-business sales, after the
 Conversion Date.

 Wind down costs associated with the Madewell brand are assumed to be allocated to Madewell Inc. with
 the remaining wind down costs split pro rata between the other Debtor entities based on projected
 hypothetical recovery amounts.

 9. Chapter 7 Trustee Fees

 Pursuant to sections 326 and 330 of the Bankruptcy Code, the Bankruptcy Court may allow reasonable
 compensation for the Trustee’s services, not to exceed 25% on the first $5,000 or less, 10% on any amount
 in excess of $5,000 but not in excess of $50,000, 5% on any amount in excess of $50,000 but not in excess
 of $1.0 million, and reasonable compensation not to exceed 3% of such moneys in excess of $1 million,
 upon all moneys disbursed or turned over in the case by the Trustee to parties in interest. This analysis
 assumes total fees amount to 2% to 3% of liquidation proceeds realized, excluding cash.

 10. Other Chapter 7 Trustee Fees

 Pursuant to section 726 of the Bankruptcy Code, the allowed administrative expenses incurred by the
 Trustee, including expenses affiliated with selling the Debtors’ assets and winding down operations, will
 be entitled to payment in full before any distribution to administrative claims and other priority claims. The
 Liquidation Analysis assumes that the fees for legal, financial and other Trustee professionals is assumed
 to be 3% of the total liquidation proceeds realized, excluding cash.

 C.        Claims

 11. Certain Administrative Expense Claims (Carve-Out)

 The DIP Order provides that certain fees and expenses of professionals retained in the Debtors’ chapter 11
 cases, fees payable to the United States Trustee for Region 4 pursuant to title 28 of the United States Code,
 fees payable to members of the Creditors’ Committee, and a certain amount of Trustee’s fees pursuant to

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 section 726(b) of the Bankruptcy Code, in each case subject to the terms of the DIP Order, are senior to the
 Debtors’ secured indebtedness, including the ABL Facility Claims, the DIP Claims, the Term Loan Claims,
 and the IPCo Notes Claims.

 The Liquidation Analysis assumes this Carve-Out amount totals approximately $8.0 million composed of:
 (a) $1.7 million of accrued but unpaid Professional Fee Claims that were not yet previously funded as of
 the Conversion Date in accordance with the DIP Order, (b) approximately $250,000 of fees required to be
 paid to the Clerk of the Court and to the Office of the United States Trustee under title 28 of the United
 States Code plus interest at the statutory rate, (c) $50,000 of fees and expenses incurred by the Trustee
 under section 726(b) of the Bankruptcy Code, and (d) $6 million of Professional Fee Claims incurred after
 the Carve-Out Trigger Notice as contemplated by the DIP Order.

 12. ABL Facility Claims

 The ABL Facility Claims include estimated balances outstanding on the ABL Facility and letters of credit 8
 as of the Conversion Date including accrued interest for a total aggregate amount of approximately $375.5
 million.

 Proceeds from the Current Asset Collateral (as defined in the ABL Credit Agreement) of $449.7 million to
 $482.6 million in aggregate constitute priority collateral for the ABL Facility Claims. After estimated
 liquidation costs of $61.4 million to $56.6 million and a pro rata allocation of the Carve-Out detailed above,
 the net proceeds of such collateral are assumed to be $382.3 million to $420.1 million in aggregate. Any
 residual proceeds from disposition of such collateral is assumed to be applied in accordance with the DIP
 Order.

 The Liquidation Analysis concludes that ABL Facility Claims will receive payment in full in a chapter 7
 scenario.

 13. DIP Claims and Diminution in Value

 The DIP Claims of $255.9 million include estimated borrowings under the DIP Facility as of the Conversion
 Date, including interest and any related fees outstanding. 9 The DIP Claim does not include payment of the
 Backstop Premium for consummating an alternative transaction, which totals $12 million. There can be no
 assurance that such fee will not be due and payable by the Debtors in the event of a chapter 7 liquidation.

 In accordance with the DIP Order, the liens securing the DIP Claims with respect to the DIP Collateral (as
 defined in the DIP Order) are senior in priority to liens securing the Term Loan Claims and IPCo Notes
 Claims (including any adequate protection claims in favor of the Term Lenders and IPCo Noteholders).

 Pursuant to the DIP Order, the Prepetition Term Secured Parties and Prepetition IPCo Secured Parties (each
 as defined in the DIP Order) are entitled to adequate protection for the diminution in value, if any, of their
 respective interests in their collateral as of the Petition Date. In the event of a chapter 7 liquidation,
 diminution in their secured parties’ collateral may be material and substantially reduce recoveries for junior
 stakeholders on a dollar-for-dollar basis. Because the Liquidation Analysis concludes that no recoveries



 8
      It is assumed that all letters of credit will be exercised by holders on the Debtors’ chapter 11 cases being converted
      to chapter 7.
 9
      The Liquidation Analysis assumes that the $145.0 million of Additional New Term Loans (as defined in the DIP
      Order) will remain undrawn.

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 are otherwise available for administrative claims, the Liquidation Analysis does not specifically present the
 impact of adequate protection claims on junior stakeholder recoveries.

 The Liquidation Analysis concludes DIP Claims will receive approximately 85% to 100% in a chapter 7
 liquidation. It is assumed that DIP collateral is marshalled to utilize proceeds from the Licensed Marks
 last, so that remaining proceeds are made available as recoveries towards the IPCo Notes Claims. Even if
 DIP collateral were marshalled in favor of Term Loan Claims, the change would not result in holders of
 Term Loan Claims receiving more under a chapter 7 liquidation than under the Plan.

 14. IPCo Notes Claims

 The IPCo Notes Claims are assumed to be approximately $411.7 million, composed of (a) $347.6 million
 of principal as of the Petition Date, (b) approximately $6.1 million of accrued and unpaid interest as of the
 Petition Date, and (c) a “make-whole” premium of approximately $58 million as of the Petition Date.

 The Liquidation Analysis anticipates no recovery for the IPCo Notes in the low scenario, and recoveries of
 approximately 13% in a high scenario.

 15. Term Loan Claims

 The Term Loan Claims are assumed to be approximately $1,342.1 million of principal and interest as of
 the Petition Date.

 The Liquidation Analysis concludes that there will be no recoveries on account of Term Loan Claims in a
 chapter 7 liquidation.

 16. Other Secured Claims

 The Debtors do not believe that there will be any material Other Secured Claims as of the Conversion Date.
 The Liquidation Analysis assumes that such claims will receive the value of their collateral, but that there
 will be no other recoveries on account of the Other Secured Claims in a chapter 7 liquidation.

 17. Other Administrative Expense Claims

 Administrative Expense Claims arising in a hypothetical chapter 7 liquidation include the costs of
 administering the chapter 7 estates, and claims arising during the Debtors’ chapter 11 cases before
 conversion into a chapter 7 such as (a) claims arising pursuant to section 503(b)(9) of the Bankruptcy Code;
 (b) postpetition trade payables; (c) accrued postpetition employee obligations; (d) accrued taxes; (e) accrued
 utility payments; (f) postpetition intercompany payables; and (h) other liabilities incurred by the Estates in
 the ordinary course of business.

 The Debtors estimate that amounts payable incurred on a postpetition basis, but not paid as of the
 Conversion Date, will exceed $129 million in the aggregate among all Debtors.

 The Liquidation Analysis concludes that there will be no recoveries on account of Administrative Expense
 Claims in a chapter 7 liquidation.

 18. Priority Non-Tax Claims

 The Liquidation Analysis assumes that Priority Non-Tax Claims outstanding as of the Conversion Date
 totals approximately $250,000.

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 The Liquidation Analysis concludes that there will be no recoveries on account of Priority Non-Tax Claims
 in a chapter 7 liquidation.

 19. General Unsecured Claims

 General Unsecured Claims arising in a hypothetical chapter 7 liquidation may include, among other things:
 (a) prepetition trade claims; (b) prepetition lease rejection damages claims; and (c) numerous other types
 of prepetition liabilities.

 The Liquidation Analysis does not include the Term Loan Deficiency Claim, any prepetition intercompany
 payables, or rejection claims for other executory contracts that the Debtors are a party to as of the
 Conversion Date, each of which may be significant. In addition, the Liquidation Analysis does not include
 claims that are unliquidated or speculative, including litigation claims asserted against the Debtors.

 The Liquidation Analysis concludes that there will be no recoveries on account of General Unsecured
 Claims in a chapter 7 liquidation.

 20. Section 510(b) Claims

 This Liquidation Analysis concludes that there will be no recoveries on account of Section 510(b) Claims
 in a chapter 7 liquidation.

 21. Intercompany Claims and Interests

 This Liquidation Analysis concludes that there will be no recoveries on account of Intercompany Claims
 or Intercompany Interests in a chapter 7 liquidation.

 22. Existing Holdings Preferred and Common Equity

 The Liquidation Analysis concludes that there will be no recoveries on account of Existing Holdings
 Preferred Equity or Existing Holdings Equity in a chapter 7 liquidation.




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Chinos Holdings, Inc
Hypothetical Liquidation Analysis by Entity - Summary
  ($ in millions)                                                                                                                       Low Recovery                                                                                                           High Recovery
                                                                                                                                                                               Chinos                                                                                                                 Chinos
                                                                   Consolidated
                                                                                                                     J. Crew                                        J. Crew Intermediate                                                    J. Crew                                        J. Crew Intermediate
                                                                   Book Value /     Madewell                        Operating          Grace     H.F.D. No.        Domestic Holdings A,                    Madewell                        Operating          Grace     H.F.D. No.        Domestic Holdings A,
                                                           Notes      Claim           Inc.         J. Crew Inc.       Corp.         Holmes, Inc.  55, Inc.        Brand, LLC     Inc.    Consolidated        Inc.         J. Crew Inc.       Corp.         Holmes, Inc.  55, Inc.        Brand, LLC     Inc.    Consolidated

  Gross Proceeds
  ABL Collateral                                                         465.1         124.2           143.0            36.1             91.5         54.8             -            -          449.7          130.7           156.1            36.5             99.6         59.6             -            -          482.6
  DIP Funding Acct                                                        56.8           -               -               -                -            -               -           56.8         56.8            -               -               -                -            -               -           56.8         56.8
  Other DIP Loan Collateral                                              411.2          47.7             6.5             5.9              6.9          0.1             -            -           67.2           62.3            10.0            10.0             10.5          0.2             -            -           93.0
  Licensed Marks                                                         250.2           -               -               -                -            -             113.0          -          113.0            -               -               -                -            -             146.0          -          146.0
                                                                      $1,183.3        $172.0          $149.5           $42.1            $98.4        $54.9          $113.0        $56.8       $686.7         $192.9          $166.1           $46.5           $110.2        $59.9          $146.0        $56.8       $778.5
  Liquidation costs
  Wind Down Costs                                          B8                           13.6             12.2             3.4             8.0          4.5              9.2         -           51.1           13.6             11.8             3.3             7.8          4.2             10.3         -           51.1
  Chapter 7 Trustee Fees                                   B9                            5.2              4.5             0.3             3.0          1.6              3.4         -           17.9            3.9              3.3             0.3             2.2          1.2              2.9         -           13.8
  Other Professional Fees                                  B10                           5.2              4.5             0.3             3.0          1.6              3.4         -           17.9            5.8              5.0             0.4             3.3          1.8              4.4         -           20.6
                                                                                       $23.9            $21.2            $4.0           $13.9         $7.8            $16.0               -    $86.8          $23.3            $20.1            $3.9           $13.3         $7.2            $17.6               -    $85.5
  Net Recovery
  ABL Collateral                                                                       106.9           122.8            33.0             78.5         47.0              -           -          388.2          114.9           137.3            33.8             87.6         52.4             -            -          426.0
  DIP Funding Acct                                                                       -               -               -                -            -                -          56.8         56.8            -               -               -                -            -               -           56.8         56.8
  Other DIP Loan Collateral                                                             41.1             5.6             5.1              5.9          0.1              -           -           57.8           54.8             8.8             8.8              9.2          0.2             -            -           81.8
  Licensed Marks                                                                         -               -               -                -            -               97.0         -           97.0            -               -               -                -            -             128.4          -          128.4
                                                                                      $148.0          $128.3           $38.1            $84.5        $47.1            $97.0       $56.8       $599.9         $169.7          $146.0           $42.6            $96.9        $52.6          $128.4        $56.8       $693.0
  Claims
  Certain Administrative Expense Claims (Carve-Out)        C11                8.0       (2.0)             (1.7)          (0.5)            (1.1)        (0.6)           (1.3)       (0.8)        (8.0)          (2.0)             (1.7)          (0.5)            (1.1)        (0.6)           (1.5)       (0.7)        (8.0)
  Net ABL Priority Collateral Liquidation Proceeds                                    $105.0          $121.1           $32.5            $77.4        $46.4                    -           -   $382.3         $112.9          $135.6           $33.3            $86.5        $51.8                    -           -   $420.1
  Less: ABL Credit Facility Claims (including LCs)         C12           375.5        (103.1)         (118.9)          (31.9)           (76.0)       (45.6)             -           -         (375.5)        (101.0)         (121.2)          (29.8)           (77.3)       (46.3)             -           -         (375.5)
  Percentage Recovery                                                                                                                                                                          100%                                                                                                                   100%
  Remaining amount available for distribution                                            1.9              2.1             0.6              1.4         0.8              -           -            6.8           12.0             14.4             3.5              9.2         5.5              -           -           44.6
  Net Amount Available for Distribution to the DIP Loans                               $42.9             $7.7            $5.7             $7.3        $0.9            $95.7       $56.1       $216.3          $66.7            $23.2          $12.3            $18.4         $5.7          $126.9        $56.2       $309.4
  Less: DIP Loans Claims                                   C13           255.9         (42.9)            (7.7)           (5.7)            (7.3)       (0.9)           (95.7)      (56.1)      (255.9)         (66.7)           (23.2)         (12.3)           (18.4)        (5.7)          (73.3)       (56.2)      (255.9)
  Percentage Recovery                                                                                                                                                                           85%                                                                                                                   100%
  Remaining amount available for distribution                                            -                -               -                -           -                -           -            -              -                -               -                -           -               53.5         -           53.5
  Remaining IPCo Notes Collateral Available for Distribution                                   -                -               -                -            -               -           -            -              -                -               -                -            -       $53.5                    $53.5
  Less: IPCo Notes Claims                                  C14           411.7                                                                                                                   -                                                                                           (53.5)                   (53.5)
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                   13%
       Remaining Amount Available for Distribution                                                                                                                                                                                                                                             -                        -
  Remaining Term Loan Collateral Available for Distribution                                    -                -               -                -            -               -           -            -              -                -               -                -            -               -           -         -
  Less: Prepetition Term Loan Claim                       C15           1,342.1                                                                                                                  -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Remaining Amount Available for Distribution                                                                                                                                                                                                                                                                           -
  Less: Other Secured Claims                               C16                -                                                                                                                  -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Less: Administrative Claims                              C17           129.4                                                                                                                   -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Less: Priority Non-Tax Claims                            C18                0.3                                                                                                                -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Less: General Unsecured Claims                           C19           324.3                                                                                                                   -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Less: Section 510(b) Claims                              C20                N/A                                                                                                                -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Less: Prepetition Intercompany Claims                    C21                N/A                                                                                                                -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%
  Less: Preferred and Common Equity                        C22                N/A                                                                                                                -                                                                                                                      -
  Percentage Recovery                                                                                                                                                                             0%                                                                                                                     0%




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 Chinos Holdings, Inc
 Hypothetical Liquidation Analysis by Entity - Low Scenario                       Hypothetical Recovery
   ($ in millions)                                                                                                                                                                                    Chinos
                                                                                                                                            J. Crew                                        J. Crew Intermediate
                                                                         Book                              Madewell                        Operating          Grace     H.F.D. No.        Domestic Holdings A,
                                                               Notes    Value        Low       High          Inc.         J. Crew Inc.       Corp.         Holmes, Inc.  55, Inc.        Brand, LLC     Inc.    Consolidated

   Cash and cash equivalents                                    A1       $90.3        100%       100%                 -                -      $33.5                     -            -               -   $56.8        $90.3
   Accounts Receivable                                          A2         34.5        77%        87%          12.2             11.1             2.7              0.7         0.0              -           -           26.6
   Inventory, Net                                               A3       397.1         98%       106%         112.1            132.0             -               90.8        54.8              -           -          389.6
   Prepaid Expenses & Other Current Assets                      A4         47.1        10%        15%           0.3              0.0             3.7              0.6         0.0              -           -            4.7
   Property and Equipment, Net                                  A5       211.8          7%        12%           0.4              6.5             2.2              6.3         0.1              -           -           15.5
   Intangible Assets and Goodwill, Net                          A6       402.5         40%        51%          47.0              -               -                -           -              113.0         -          160.0
   Intercompany Receivables from Non-Debtors                    A7         N/A                                  -                -               -                -           -                -           -            -
   Equity Interest in Non-Debtors                                          N/A                                  -                -               -                -           -                -           -            -
                                                                       $1,183.3                              $172.0          $149.5           $42.1            $98.4        $54.9          $113.0        $56.8       $686.7
   Gross Proceeds
   ABL Collateral                                                         465.1                               124.2           143.0            36.1             91.5         54.8             -            -          449.7
   DIP Funding Acct                                                        56.8                                 -               -               -                -            -               -           56.8         56.8
   Other DIP Loan Collateral                                              411.2                                47.7             6.5             5.9              6.9          0.1             -            -           67.2
   Licensed Marks                                                         250.2                                 -               -               -                -            -             113.0          -          113.0
                                                                       $1,183.3                              $172.0          $149.5           $42.1            $98.4        $54.9          $113.0        $56.8       $686.7
   Liquidation costs
   Wind Down Costs                                             B8                                              13.6             12.2             3.4             8.0          4.5              9.2         -           51.1
   Chapter 7 Trustee Fees                                      B9                                               5.2              4.5             0.3             3.0          1.6              3.4         -           17.9
   Other Professional Fees                                     B10                                              5.2              4.5             0.3             3.0          1.6              3.4         -           17.9
                                                                                                              $23.9            $21.2            $4.0           $13.9         $7.8            $16.0               -    $86.8
   Net Recovery
   ABL Collateral                                                                                             106.9           122.8            33.0             78.5         47.0              -           -          388.2
   DIP Funding Acct                                                                                             -               -               -                -            -                -          56.8         56.8
   Other DIP Loan Collateral                                                                                   41.1             5.6             5.1              5.9          0.1              -           -           57.8
   Licensed Marks                                                                                               -               -               -                -            -               97.0         -           97.0
                                                                                                             $148.0          $128.3           $38.1            $84.5        $47.1            $97.0       $56.8       $599.9
   Claims                                                               Claims
   Certain Administrative Expense Claims (Carve-Out)           C11          8.0                                (2.0)             (1.7)          (0.5)            (1.1)        (0.6)           (1.3)       (0.8)        (8.0)

   Net Collateral after Carve Out
   ABL Collateral                                                                                             105.0           121.1            32.5             77.4         46.4              -           -          382.3
   DIP Funding Acct                                                                                             -               -               -                -            -                -          56.1         56.1
   Other DIP Loan Collateral                                                                                   41.1             5.6             5.1              5.9          0.1              -           -           57.8
   Licensed Marks                                                                                               -               -               -                -            -               95.7         -           95.7
                                                                                                             $146.0          $126.6           $37.6            $83.3        $46.5            $95.7       $56.1       $591.8

   Net ABL Priority Collateral Available for Distribution                                                    $105.0          $121.1           $32.5            $77.4        $46.4                    -           -   $382.3
   Less: ABL Credit Facility Claims (including LCs)            C12       375.5                               (103.1)         (118.9)          (31.9)           (76.0)       (45.6)             -           -         (375.5)
   Remaining amount available for distribution                                                                  1.9             2.1             0.6              1.4          0.8              -           -            6.8

   Net Amount Available for Distribution to the DIP Loans                                                     $42.9             $7.7            $5.7             $7.3        $0.9            $95.7       $56.1       $216.3
   Less: DIP Loans Claims                                      C13       255.9                                (42.9)            (7.7)           (5.7)            (7.3)       (0.9)           (95.7)      (56.1)      (255.9)
   Remaining amount available for distribution                                                                  -                -               -                -           -                -           -            -

   Remaining IPCo Notes Collateral Available for Distribution                                                         -                -               -                -            -               -           -            -
   Less: IPCo Notes Claims                                    C14        411.7                                                                                                                                          -
   Remaining Amount Available for Distribution

   Remaining Term Loan Collateral Available for Distribution                                                          -                -               -                -            -               -                        -
   Less: Prepetition Term Loan Claim                           C15      1,342.1                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: Other Secured Claims                                  C16          -                                                                                                                                           -
   Remaining Amount Available for Distribution
   Less: Administrative Claims                                 C17       129.4                                                                                                                                          -
   Remaining Amount Available for Distribution
   Less: Priority Non-Tax Claims                               C18          0.3                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: General Unsecured Claims                              C19       324.3                                                                                                                                          -
   Remaining Amount Available for Distribution
   Less: Section 510(b) Claims                                 C20          N/A                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: Prepetition Intercompany Claims                       C21          N/A                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: Preferred and Common Equity                           C22          N/A                                                                                                                                         -
   Remaining Amount Available for Distribution




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 Chinos Holdings, Inc
 Hypothetical Liquidation Analysis by Entity - High Scenario                      Hypothetical Recovery
   ($ in millions)                                                                                                                                                                                    Chinos
                                                                                                                                            J. Crew                                        J. Crew Intermediate
                                                                         Book                              Madewell                        Operating          Grace     H.F.D. No.        Domestic Holdings A,
                                                               Notes    Value        Low       High          Inc.         J. Crew Inc.       Corp.         Holmes, Inc.  55, Inc.        Brand, LLC     Inc.    Consolidated

   Cash and cash equivalents                                    A1       $90.3        100%       100%                 -                -      $33.5                     -            -               -   $56.8        $90.3
   Accounts Receivable                                          A2         34.5        77%        87%          13.8             12.4             3.1              0.8         0.0              -           -           30.1
   Inventory, Net                                               A3       397.1         98%       106%         116.9            143.7             -               98.9        59.6              -           -          419.0
   Prepaid Expenses & Other Current Assets                      A4         47.1        10%        15%           0.5              0.0             5.6              0.9         0.0              -           -            7.1
   Property and Equipment, Net                                  A5       211.8          7%        12%           0.7             10.0             4.4              9.6         0.2              -           -           25.0
   Intangible Assets and Goodwill, Net                          A6       402.5         40%        51%          61.0              -               -                -           -              146.0         -          207.0
   Intercompany Receivables from Non-Debtors                    A7         N/A                                  -                -               -                -           -                -           -            -
   Equity Interest in Non-Debtors                                          N/A                                  -                -               -                -           -                -           -            -
                                                                       $1,183.3                              $192.9          $166.1           $46.5           $110.2        $59.9          $146.0        $56.8       $778.5
   Gross Proceeds
   ABL Collateral                                                         465.1                               130.7           156.1            36.5             99.6         59.6             -            -          482.6
   DIP Funding Acct                                                        56.8                                 -               -               -                -            -               -           56.8         56.8
   Other DIP Loan Collateral                                              411.2                                62.3            10.0            10.0             10.5          0.2             -            -           93.0
   Licensed Marks                                                         250.2                                 -               -               -                -            -             146.0          -          146.0
                                                                       $1,183.3                              $192.9          $166.1           $46.5           $110.2        $59.9          $146.0        $56.8       $778.5
   Liquidation costs
   Wind Down Costs                                             B8                                              13.6             11.8             3.3             7.8          4.2             10.3         -           51.1
   Chapter 7 Trustee Fees                                      B9                                               3.9              3.3             0.3             2.2          1.2              2.9         -           13.8
   Other Professional Fees                                     B10                                              5.8              5.0             0.4             3.3          1.8              4.4         -           20.6
                                                                                                              $23.3            $20.1            $3.9           $13.3         $7.2            $17.6               -    $85.5
   Net Recovery
   ABL Collateral                                                                                             114.9           137.3            33.8             87.6         52.4             -            -          426.0
   DIP Funding Acct                                                                                             -               -               -                -            -               -           56.8         56.8
   Other DIP Loan Collateral                                                                                   54.8             8.8             8.8              9.2          0.2             -            -           81.8
   Licensed Marks                                                                                               -               -               -                -            -             128.4          -          128.4
                                                                                                             $169.7          $146.0           $42.6            $96.9        $52.6          $128.4        $56.8       $693.0
   Claims                                                               Claims
   Certain Administrative Expense Claims (Carve-Out)           C11          8.0                                (2.0)             (1.7)          (0.5)            (1.1)        (0.6)           (1.5)       (0.7)        (8.0)

   Net Collateral after Carve Out
   ABL Collateral                                                                                             112.9           135.6            33.3             86.5         51.8             -            -          420.1
   DIP Funding Acct                                                                                             -               -               -                -            -               -           56.2         56.2
   Other DIP Loan Collateral                                                                                   54.8             8.8             8.8              9.2          0.2             -            -           81.8
   Licensed Marks                                                                                               -               -               -                -            -             126.9          -          126.9
                                                                                                             $167.7          $144.4           $42.1            $95.7        $52.0          $126.9        $56.2       $685.0

   Net ABL Priority Collateral Available for Distribution                                                    $112.9          $135.6           $33.3            $86.5        $51.8                    -           -   $420.1
   Less: ABL Credit Facility Claims (including LCs)            C12       375.5                               (101.0)         (121.2)          (29.8)           (77.3)       (46.3)             -           -         (375.5)
   Remaining amount available for distribution                                                                 12.0            14.4             3.5              9.2          5.5              -           -           44.6

   Net Amount Available for Distribution to the DIP Loans                                                     $66.7            $23.2          $12.3            $18.4         $5.7          $126.9        $56.2       $309.4
   Less: DIP Loans Claims                                      C13       255.9                                (66.7)           (23.2)         (12.3)           (18.4)        (5.7)          (73.3)       (46.5)      (255.9)
   Remaining amount available for distribution                                                                  -                -              -                -            -              53.5          9.7         53.5

   Remaining IPCo Notes Collateral Available for Distribution                                                         -                -               -                -            -       $53.5               -    $53.5
   Less: IPCo Notes Claims                                    C14        411.7                                                                                                              ($53.5)                   (53.5)
   Remaining Amount Available for Distribution

   Remaining Term Loan Collateral Available for Distribution                                                          -                -               -                -            -               -                        -
   Less: Prepetition Term Loan Claim                           C15      1,342.1                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: Other Secured Claims                                  C16          -                                                                                                                                           -
   Remaining Amount Available for Distribution
   Less: Administrative Claims                                 C17       129.4                                                                                                                                          -
   Remaining Amount Available for Distribution
   Less: Priority Non-Tax Claims                               C18          0.3                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: General Unsecured Claims                              C19       324.3                                                                                                                                          -
   Remaining Amount Available for Distribution
   Less: Section 510(b) Claims                                 C20          N/A                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: Prepetition Intercompany Claims                       C21          N/A                                                                                                                                         -
   Remaining Amount Available for Distribution
   Less: Preferred and Common Equity                           C22          N/A                                                                                                                                         -
   Remaining Amount Available for Distribution




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                                                Exhibit D

                                            Valuation Analysis




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                      Valuation Analysis of Reorganized Chinos Holdings

      THE INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR
 GUARANTEE OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH
 THE SALE OF ANY SECURITIES TO BE ISSUED PURSUANT TO THE PLAN. THE
 INFORMATION IS PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING
 ADEQUATE INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE TO
 ENABLE THE HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE
 PLAN TO MAKE AN INFORMED JUDGMENT ABOUT THE PLAN AND SHOULD NOT BE
 USED OR RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING THE PURCHASE OR
 SALE OF CLAIMS AGAINST THE DEBTORS OR ANY OF THEIR AFFILIATES.

    THE VALUATION ANALYSIS DOES NOT CONSTITUTE A RECOMMENDATION TO
 ANY HOLDER OF ALLOWED CLAIMS OR ANY OTHER PERSON AS TO HOW SUCH
 PERSON SHOULD VOTE OR OTHERWISE ACT WITH RESPECT TO THE PLAN.
 LAZARD HAS NOT BEEN REQUESTED TO, AND DOES NOT EXPRESS ANY VIEW AS
 TO, THE POTENTIAL TRADING VALUE OF REORGANIZED CHINOS HOLDINGS’S
 SECURITIES ON ISSUANCE OR AT ANY OTHER TIME.

    A. Lazard’s Estimated Valuation

         Solely for the purposes of the Plan and the Disclosure Statement, Lazard Frères & Co. LLC
 (“Lazard”), as investment banker to the Debtors, has estimated a range of total enterprise value
 (“Enterprise Value”) for Reorganized Chinos Holdings on a consolidated going-concern basis and
 pro forma for the transactions contemplated by the Plan (the “Valuation Analysis”). The Valuation
 Analysis is based on financial information and projections provided by the Debtors’ management,
 including the financial projections for the period of fiscal years 2020 through 2024 (the “Project
 Period”) attached to the Disclosure Statement as Exhibit B (collectively the “Projections”), and
 information that is publicly available or was provided by other sources. The Valuation Analysis
 assumes that the Effective Date will occur on September 11, 2020. The valuation estimates set
 forth herein represent valuation analyses of Reorganized Chinos Holdings based on the application
 of customary valuation techniques to the extent deemed appropriate by Lazard.

         Based on the Projections and solely for the purposes of the Plan, Lazard estimates that the
 potential range of Enterprise Value of Reorganized Chinos Holdings is approximately $1.66 to
 $2.03 billion. Based on the potential range of Enterprise Value and assumed net debt of $0.60
 billion as of the Effective Date, Lazard estimates an imputed range of potential equity value for
 Reorganized Chinos Holdings of $1.06 to $1.43 billion. For purposes of the Valuation Analysis,
 Lazard assumed that, between the date of filing of the Disclosure Statement and the assumed
 Effective Date, no material changes will occur that would affect the Projections or Valuation
 Analysis. Lazard’s Valuation Analysis does not constitute an opinion as to fairness from a
 financial point of view of the consideration to be received or paid under the Plan, of the terms and
 provisions of the Plan, or with respect to any other matters.
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    B. Valuation Methodology

         Lazard has estimated the consolidated value of Reorganized Chinos Holdings by primarily
 relying on two generally accepted valuation techniques: (i) Discounted Cash Flow (“DCF”)
 Analysis and (ii) Comparable Public Company Analysis. While Lazard recognizes that the
 precedent transaction methodology is often used, Lazard believes that this methodology has less
 relevance for purposes of assessing the Enterprise Value of Reorganized Chinos Holdings due to
 the lack of recent comparable precedent transactions, among other factors. For purposes of
 estimating the consolidated value of Reorganized Chinos Holdings, Lazard employed a sum-of-
 the-parts approach that values the Debtors’ two operating segments separately, taking into account
 differences in the business and financial characteristics of the J. Crew and Madewell businesses.

    (i)     Discounted Cash Flow Analysis:
                  DCF analysis is a forward-looking enterprise valuation methodology that
            estimates the value of an asset or business by calculating the present value of expected
            future cash flows to be generated by that asset or business. Under this methodology,
            projected future cash flows are discounted by the weighted average cost of capital (the
            “Discount Rate”) of the business. The Discount Rate reflects the estimated rate of
            return that would be required by debt and equity investors to invest in the business.
            The Enterprise Value of the firm is determined by calculating the present value of the
            unlevered after-tax free cash flows based on the Projections plus an estimate for the
            value of the firm beyond the Projection Period, known as the terminal value. The
            terminal value is derived using the normalized unlevered after-tax free cash flow in the
            final year of the Projection Period, and discounted back to the assumed Effective Date.

    (ii)    Comparable Public Company Analysis:

                  Comparable Public Company Analysis estimates the value of a company relative
            to other publicly traded companies with similar business and financial characteristics.
            Lazard first selected sets of publicly traded companies that it believes exhibit similar
            business and financial characteristics to J. Crew and Madewell. Criteria for the selected
            reference groups included, among other relevant characteristics, similarity in
            operations, business risks, growth prospects, product mix, customer base, margins,
            market presence, size and scale of operations. The selected reference groups may not
            be comparable to J. Crew and Madewell in all aspects, and may differ materially in
            certain specific respects.

                  In deriving Enterprise Value ranges under the Comparable Public Company
            Analysis methodology, Lazard used earnings before interest, taxes, depreciation and
            amortization (“EBITDA”) as its primary valuation metric. Lazard calculated FY2019A
            (representing Chinos Holdings’s fiscal year ending February 1, 2020) and FY2021E
            (representing Chinos Holdings’s fiscal year ending February 1, 2022) multiples of this
            reference group, applying certain qualitative judgments based on the characteristics of
            J. Crew and Madewell and each of their selected reference groups. Lazard then applied
            a range of multiples to the implied FY2019A and FY2021E EBITDA of each of J. Crew
            and Madewell.

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    (iii)   Precedent Transaction Analysis:

                  Precedent Transaction analysis estimates value by examining comparable
            precedent merger and acquisition transactions. The valuations paid in such acquisitions
            or implied in such mergers are analyzed as ratios of various financial metrics. These
            transaction multiples are calculated based on the purchase price paid to acquire
            companies that are comparable to J. Crew and Madewell. Precedent Transaction
            analysis reflects aspects of value other than the intrinsic value of a company, and the
            transactions analyzed invariably will have occurred in different operating and financial
            environments. As a result, there are inherent limitations in the application of Precedent
            Transaction analysis to determining the Enterprise Value for Reorganized Chinos
            Holdings.     While Lazard considered precedent transactions since 2010, Lazard
            believes that the transactions identified have less relevance when assessing the
            Enterprise Value of Reorganized Chinos Holdings due to the lack of recent and
            comparable observations, among other factors.

    C. Application of Valuation Methodologies to the Reorganized Debtors’ Operating
       Segments

     In performing the sum-of-the-parts valuation analysis described above, Lazard separately
 estimated the enterprise values of J. Crew and Madewell based on the application of the Discounted
 Cash Flow and Comparable Public Company analyses. While a sum-of-the-parts approach assigns
 value to each of the Debtors’ two operating segments, the valuation analysis described herein must
 be considered as a whole. Reliance on only one of the methodologies used, or portions of the
 analysis performed, could create a misleading or incomplete conclusion as to Enterprise Value.

    (i)     J. Crew
               Lazard relied primarily relied on two generally accepted valuation techniques: (i)
            DCF Analysis and (ii) Comparable Public Company Analysis in estimating the
            Enterprise Value range for J. Crew.

    (ii)    Madewell
               Lazard relied primarily relied on two generally accepted valuation techniques: (i)
            DCF Analysis and (ii) Comparable Public Company Analysis in estimating the
            Enterprise Value range for Madewell.

            THE VALUATION ANALYSIS REFLECTS WORK PERFORMED BY
 LAZARD ON THE BASIS OF INFORMATION IN RESPECT OF THE BUSINESSES AND
 ASSETS OF THE DEBTORS AVAILABLE TO LAZARD AS OF JUNE 10, 2020. IT SHOULD
 BE UNDERSTOOD THAT, ALTHOUGH SUBSEQUENT DEVELOPMENTS MAY HAVE
 AFFECTED OR AFFECT LAZARD'S CONCLUSIONS, LAZARD DOES NOT HAVE ANY
 OBLIGATION TO UPDATE, REVISE, OR REAFFIRM ITS VALUATION ANALYSIS AND
 DOES NOT INTEND TO DO SO. LAZARD IS NOT MAKING ANY ASSESSMENT
 REGARDING IMPACT OR THE ECONOMIC EFFECTS OF THE COVID-19 VIRUS,
 INCLUDING WITH RESPECT TO THE POTENTIAL IMPACT OR EFFECTS ON THE

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 FUTURE     FINANCIAL    PERFORMANCE      OF    THE    REORGANIZED
 DEBTORS. SUBSEQUENT DEVELOPMENTS, INCLUDING, WITHOUT LIMITATION, IN
 RELATION TO COVID-19, MAY AFFECT THE PROJECTIONS AND OTHER
 INFORMATION THAT LAZARD UTILIZED IN THE VALUATION ANALYSIS. LAZARD
 ASSUMES NO RESPONSIBILITY FOR UPDATING OR REVISING THE VALUATION
 ANALYSIS BASED ON CIRCUMSTANCES OR EVENTS AFTER THE DATE HEREOF.

      LAZARD DID NOT INDEPENDENTLY VERIFY THE PROJECTIONS OR OTHER
 INFORMATION THAT LAZARD USED IN THE VALUATION ANALYSIS, AND NO
 INDEPENDENT VALUATIONS OR APPRAISALS OF THE DEBTORS WERE SOUGHT OR
 OBTAINED IN CONNECTION THEREWITH.

      THE VALUATION ANALYSIS WAS DEVELOPED SOLELY FOR PURPOSES OF
 THE PLAN AND THE ANALYSIS OF POTENTIAL RELATIVE RECOVERIES TO
 CREDITORS THEREUNDER.      THE VALUATION ANALYSIS REFLECTS THE
 APPLICATION OF VARIOUS VALUATION TECHNIQUES, DOES NOT PURPORT TO BE
 AN OPINION AND DOES NOT PURPORT TO REFLECT OR CONSTITUTE AN
 APPRAISAL, LIQUIDATION VALUE, OR ESTIMATE OF THE ACTUAL MARKET VALUE
 THAT MAY BE REALIZED THROUGH THE SALE OF ANY SECURITIES TO BE ISSUED
 OR ASSETS TO BE SOLD PURSUANT TO THE PLAN, WHICH MAY BE SIGNIFICANTLY
 DIFFERENT THAN THE AMOUNTS SET FORTH IN THE VALUATION ANALYSIS.

       THE VALUE OF AN OPERATING BUSINESS IS SUBJECT TO NUMEROUS
 UNCERTAINTIES AND CONTINGENCIES THAT ARE DIFFICULT TO PREDICT AND
 WILL FLUCTUATE WITH CHANGES IN FACTORS AFFECTING THE FINANCIAL
 CONDITION AND PROSPECTS OF SUCH A BUSINESS. AS A RESULT, THE VALUATION
 ANALYSIS IS NOT NECESSARILY INDICATIVE OF ACTUAL OUTCOMES, WHICH MAY
 BE SIGNIFICANTLY MORE OR LESS FAVORABLE THAN THOSE SET FORTH HEREIN.
 BECAUSE SUCH ESTIMATES ARE INHERENTLY SUBJECT TO UNCERTAINTIES,
 NEITHER THE DEBTORS, LAZARD, NOR ANY OTHER PERSON ASSUMES
 RESPONSIBILITY FOR THEIR ACCURACY.        IN ADDITION, THE POTENTIAL
 VALUATION OF NEWLY ISSUED SECURITIES IS SUBJECT TO ADDITIONAL
 UNCERTAINTIES AND CONTINGENCIES, ALL OF WHICH ARE DIFFICULT TO
 PREDICT. ACTUAL MARKET PRICES OF SUCH SECURITIES AT ISSUANCE WILL
 DEPEND UPON, AMONG OTHER THINGS, PREVAILING INTEREST RATES,
 CONDITIONS IN THE FINANCIAL MARKETS, THE ANTICIPATED INITIAL SECURITIES
 HOLDINGS OF PREPETITION CREDITORS, SOME OF WHICH MAY PREFER TO
 LIQUIDATE THEIR INVESTMENT RATHER THAN HOLD IT ON A LONG-TERM BASIS,
 THE POTENTIALLY DILUTIVE IMPACT OF CERTAIN EVENTS, INCLUDING THE
 ISSUANCE OF EQUITY SECURITIES PURSUANT TO ANY MANAGEMENT INCENTIVE
 COMPENSATION PLAN, AND OTHER FACTORS THAT GENERALLY INFLUENCE THE
 PRICES OF SECURITIES.

         Management of the Debtors advised Lazard that the Projections were reasonably prepared
 in good faith and on a basis reflecting the Debtors’ best estimates and judgments as to the future
 operating and financial performance of Reorganized Chinos Holdings. The Valuation Analysis
 assumes that the actual performance of Reorganized Chinos Holdings will correspond to the

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 Projections in all material respects. If the business performs at levels below or above those set forth
 in the Projections, such performance may have a materially negative or positive impact,
 respectively, on the Valuation Analysis and estimated potential ranges of Enterprise Value therein.

         In preparing the Valuation Analysis, Lazard: (a) reviewed certain historical financial
 information of the Debtors for recent years and interim periods; (b) reviewed certain financial and
 operating data of the Debtors, including the Projections and anticipated store closure plan;
 (c) discussed the Debtors’ operations and future prospects with the Debtors’ senior management
 team and third-party advisors; (d) reviewed certain publicly available financial data for, and
 considered the market value of, public companies that Lazard deemed generally relevant in
 analyzing the value of Reorganized Chinos Holdings; (e) reviewed certain publicly available
 financial data for transactions involving companies similar in certain respects to J. Crew and
 Madewell; (f) considered certain economic and industry information that Lazard deemed
 generally relevant to Reorganized Chinos Holdings; and (g) conducted such other studies,
 analyses, inquiries, and investigations as Lazard deemed appropriate. Lazard assumed and relied
 on the accuracy and completeness of all financial and other information furnished to it by the
 Debtors’ management and other parties as well as publicly available information.

        Lazard did not estimate the value of any tax attributes nor did it estimate the impact of any
 cancellation of indebtedness income on the Reorganized Debtors’ projections. Any changes to the
 assumptions on the availability of tax attributes or the impact of cancellation of indebtedness
 income on the Reorganized Debtors’ projections could materially impact Lazard’s valuation
 analysis.

      THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A COMPLETE
 DESCRIPTION OF THE VALUATION ANALYSIS PERFORMED BY LAZARD. THE
 PREPARATION    OF   A   VALUATION     ANALYSIS   INVOLVES    VARIOUS
 DETERMINATIONS AS TO THE MOST APPROPRIATE AND RELEVANT METHODS OF
 FINANCIAL ANALYSIS AND THE APPLICATION OF THESE METHODS IN THE
 PARTICULAR CIRCUMSTANCES AND, THEREFORE, SUCH AN ANALYSIS IS NOT
 READILY SUITABLE TO SUMMARY DESCRIPTION. THE VALUATION ANALYSIS
 PERFORMED BY LAZARD IS NOT NECESSARILY INDICATIVE OF ACTUAL VALUES
 OR FUTURE RESULTS, WHICH MAY BE SIGNIFICANTLY MORE OR LESS FAVORABLE
 THAN THOSE DESCRIBED HEREIN.

      LAZARD IS ACTING AS INVESTMENT BANKER TO THE DEBTORS, AND HAS
 NOT BEEN, WILL NOT BE RESPONSIBLE FOR, AND WILL NOT PROVIDE ANY TAX,
 ACCOUNTING, ACTUARIAL, LEGAL, OR OTHER SPECIALIST ADVICE.




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